Case 1:17-mc-00151-LPS   Document 1584-1 Filed 03/04/25   Page 1 of 419 PageID #:
                                    35753




               ANNEX AA
OCTOBER 2024
 Case 1:17-mc-00151-LPS          Document 1584-1 Filed 03/04/25                   Page 2 of 419 PageID #:
                                            35754

Date        Project      Task   Description                                                            Value
1‐Oct‐24    Crystallex          Hearing, prep                                                          5:45
2‐Oct‐24    Crystallex          Tcs calls and emails re sale process and Order                         1:35
7‐Oct‐24    Crystallex          Tcs and emails re alter ego and sales process                          0:55
8‐Oct‐24    Crystallex          Tcs re waterfall, alter ego and sale process                           1:45
                                Zoom re waterfall, emails/ tcs re sale process, zoom w SPPs and
9‐Oct‐24    Crystallex          Elliot re sale order, deal terms, Order, alter ego, etc                4:40
10‐Oct‐24   Crystallex          Zoom call with Elliot, Weil EVR and SPPs, review docs, tcs             2:15
14‐Oct‐24   Crystallex          Tcs and emails re sales process, timeline                              1:20
15‐Oct‐24   Crystallex          Tcs and emails re sales process, Ct filings                            1:35
16‐Oct‐24   Crystallex          Conf call w Weil and EVR re Ct filings, letter from Elliot, rev docs   1:55
                                Emails re sale process and proposed submissions to Ct. Review
17‐Oct‐24   Crystallex          proposed filings                                                       2:05
18‐Oct‐24   Crystallex          Tcs, rev Ct filings                                                    1:20
23‐Oct‐24   Crystallex          Call w Weil and EVR re process, Ct filings and timing , follow up      1:40
29‐Oct‐24   Crystallex          Emails, tcs w Weil                                                     0:30
31‐Oct‐24   Crystallex          Tcs, emails, rev SM report, summaries, etc                             1:50
Case 1:17-mc-00151-LPS                 Document 1584-1 Filed 03/04/25 Page 3 of 419 PageID #:
                                                  35755
 767 Fifth Avenue                                              Weil, Gotshal & Manges LLP
 New York, NY 10153
 +1 212 310 8000 tel
 +1 212 310 8007 fax




 Robert B. Pincus, Special Master
                                                                                     February 28, 2025


 Attn: Robert Pincus

                               FOR PROFESSIONAL SERVICES AND DISBURSEMENTS



                                                                            Invoice Number: 2024013227
                                                                       Client/Matter Number: 67816.0003
 FOR PROFESSIONAL SERVICES AND DISBURSEMENTS for
 the period through October 31, 2024 in connection with the Citgo
 Restmchuing and M&A Process matter.


 FEES                                                                                    $2,513,712.00
 Volunta1y 10% Write-off                                                                  -$251,371.20
 FEES DUE                                                                                $2,262,340.80

 DISBURSEMENTS                                                                              $32,605.34
 TOTAL AMOUNT DUE                                                                        $2,294,946.14
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 4 of 419 PageID #:
                                                            35756




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227




                                                        TIMEKEEPER SUMMARY REPORT


                    TIMEKEEPER                                             RATE      HOURS        AMOUNT
                    New York


                     Partner
                    Schrock, Ray C.                                      $2,350.00     94.50     $222,075.00
                    Lender, David J.                                     $1,995.00     31.60      $63,042.00
                    Friedmann, Jared R.                                  $1,795.00     56.40     $101,238.00
                    Keenan, Eoghan P.                                    $1,795.00     86.60     $155,447.00
                    Welch, Alexander W.                                  $1,795.00     20.40      $36,618.00
                    Niles-Weed, Robert B.                                $1,725.00     48.20      $83,145.00


                     Counsel
                    Bentley, Chase A.                                    $1,595.00    168.40     $268,598.00
                    Curtis, Aaron J.                                     $1,595.00     90.40     $144,188.00
                    Margolis, Steven M.                                  $1,595.00      6.10       $9,729.50


                     Associate
                    Basil, Nico                                          $1,470.00      9.50      $13,965.00
                    Koivistoinen, Tanja                                  $1,470.00     61.70      $90,699.00
                    Sharma, Sakshi                                       $1,470.00      4.70       $6,909.00
                    Burrus, Maigreade B.                                 $1,420.00     95.60     $135,752.00
                    Shefa, Yonatan                                       $1,420.00     36.20      $51,404.00
                    Clarke, Andrew                                       $1,355.00     41.90      $56,774.50
                    Jaeger, Rebecca                                      $1,355.00     82.60     $111,923.00
                    Roberts, Ian                                         $1,290.00     59.70      $77,013.00
                    Rubin, Avi                                           $1,290.00     91.00     $117,390.00
                    Gehnrich, Charles                                    $1,175.00     52.90      $62,157.50
                    Kamath, Priya                                        $1,175.00     57.40      $67,445.00
                    Smith, Kara                                          $1,175.00     91.70     $107,747.50
                    Balido, Catherine                                      $995.00     29.00      $28,855.00
                    Evans, Emma                                            $995.00     39.80      $39,601.00
                    Mackinnon, Josh                                        $995.00     49.40      $49,153.00
                    Roche, Olivia                                          $995.00     10.90      $10,845.50
        Case 1:17-mc-00151-LPS                    Document 1584-1 Filed 03/04/25        Page 5 of 419 PageID #:
                                                             35757




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227




                                                           TIMEKEEPER SUMMARY REPORT


                    TIMEKEEPER                                             RATE        HOURS        AMOUNT
                    Serviss, Jess                                         $995.00        9.30        $9,253.50
                    Snider, Avi                                           $995.00         7.90       $7,860.50

                     Staff Attorney
                    McGovern, Kate                                        $595.00        80.80      $48,076.00
                    Ortiz, Heather L.                                     $595.00        25.00      $14,875.00


                     Litigation Support
                    Mosin, Olga                                           $490.00         6.40       $3,136.00
                    Robin, Artur                                          $460.00         5.40       $2,484.00

                     Paralegal
                    Okada, Tyler                                          $350.00         3.70       $1,295.00
                                      Subtotal New York:                               1,555.10   $2,198,694.50
                    Washington DC


                     Partner
                    Heyliger, Adé                                        $1,850.00        4.30       $7,955.00
                    Welch, Timothy C.                                    $1,750.00       36.00      $63,000.00


                     Associate
                    Vélez, Francisco J.                                  $1,420.00       22.90      $32,518.00
                    Liu, Sisi                                            $1,355.00       12.60      $17,073.00
                    Logan, Savannah L.                                   $1,175.00        9.50      $11,162.50
                                      Subtotal Washington DC:                            85.30     $131,708.50
                    Miami


                     Partner
                    Bodoh, Devon                                         $2,350.00        7.50      $17,625.00
                    Dulcey, Alfonso J.                                   $1,750.00        7.70      $13,475.00


                     Counsel
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25       Page 6 of 419 PageID #:
                                                              35758




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227




                                                          TIMEKEEPER SUMMARY REPORT


                    TIMEKEEPER                                              RATE      HOURS         AMOUNT
                    Sternlieb, Sarah                                     $1,595.00      8.20        $13,079.00


                     Associate
                    Fernandez, Ricardo                                   $1,290.00      11.00       $14,190.00
                    SanGiovanni, Giana                                     $995.00      50.10       $49,849.50
                                     Subtotal Miami:                                     84.50     $108,218.50
                    Silicon Valley


                     Associate
                    Lee, Charles                                         $1,420.00      10.40       $14,768.00
                    Ramsey, Alexis                                       $1,290.00      21.40       $27,606.00
                                     Subtotal Silicon Valley:                            31.80      $42,374.00

                    GRAND TOTAL                                                       1,756.70    $2,480,995.50
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 7 of 419 PageID #:
                                                            35759




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount


            10/01/24     Margolis, Steven      REVIEW SIGNING SET FROM J.           0.20   71810345     319.00
                         M.                    MACKINNON.

            10/01/24     Lender, David J.      PREP FOR HEARING; ATTEND HEARING    10.00   71806135   19,950.00
                                               AND POST HEARING MEETINGS.

            10/01/24     Ortiz, Heather L.     REVIEW DOCUMENTS FOR                 9.00   71894079    5,355.00
                                               RESPONSIVENESS, PRIVILEGE AND
                                               CONFIDENTIALITY IN RESPONSE TO VZ
                                               DISCOVERY REQUESTS.

            10/01/24     McGovern, Kate        REVIEW DOCUMENTS FOR DISCOVERY       7.50   71806015    4,462.50
                                               PRODUCTION.

            10/01/24     Friedmann, Jared R.   MEET WITH TEAM TO PREPARE FOR       10.20   71807793   18,309.00
                                               HEARING; ATTEND HEARING ON
                                               VENEZUELA’S MOTION TO PAUSE
                                               AND SPECIAL MASTER’S MOTION TO
                                               ENJOIN ALTER EGO ACTIONS; TRAVEL
                                               HOME FROM HEARINGS IN DC;
                                               EMAILS WITH TEAM RE: HEARING
                                               AND NEXT STEPS.

            10/01/24     Keenan, Eoghan P.     MEET WITH M&A TEAM RE: SIGNING       5.40   71804879    9,693.00
                                               CHECKLIST, UPDATES TO ESCROW
                                               AGREEMENT AND PAYING AGENT
                                               AGREEMENT; FOLLOW UP RE:
                                               SCHEDULE UPDATES; ATTEND COURT
                                               HEARING RE: INJUNCTION MOTION
                                               AND MOTION TO PAUSE; REVIEW
                                               SIGNING SET; REVIEW TRUST
                                               AGREEMENT PRECEDENT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 8 of 419 PageID #:
                                                            35760




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            10/01/24     Welch, Timothy C.     REVIEW BACKGROUND MATERIALS          2.20   71809707    3,850.00
                                               RE: OFAC ; REVIEW STOCK PURCHASE
                                               AGREEMENT; MEET AND EXCHANGE
                                               EMAILS WITH F. VELEZ AND S. LIU
                                               REGARDING SAME; PREPARE TALKING
                                               POINTS FOR UPCOMING MEETING
                                               WITH THE GOVERNMENT.

            10/01/24     Schrock, Ray C.       PREPARE FOR CONTESTED HEARING;      11.70   71831970   27,495.00
                                               ATTEND HEARING; FOLLOW UP
                                               MEETINGS AND WORK RELATED TO
                                               COURT DIRECTION; CALLS WITH
                                               SPECIAL MASTER RE: NEXT STEPS;
                                               RETURN TRAVEL WHILE READING
                                               CASE LAW FOR ALTER EGO.

            10/01/24     Welch, Alexander      PREPARE FOR AND ATTEND HEARING;      5.40   71843811    9,693.00
                         W.                    ATTEND DEBRIEF RE: SAME.

            10/01/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL             0.50   71812826     710.00
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: COURT HEARING.

            10/01/24     Curtis, Aaron J.      REVIEW AND COMMENT ON THE            3.70   71804054    5,901.50
                                               ARGUMENT OUTLINE RE: THE MOTION
                                               TO PAUSE; ATTEND HEARING ON THE
                                               MOTION TO PAUSE AND INJUNCTION
                                               MOTION; REVIEW AND RESPOND TO
                                               EMAILS RE: THE INJUNCTION MOTION.

            10/01/24     Bodoh, Devon          REVIEW TRUST MATTERS FOR TAX;        3.20   71817991    7,520.00
                                               CONFER WITH WEIL CORPORATE RE
                                               SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 9 of 419 PageID #:
                                                            35761




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/01/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        6.40   71805279    8,672.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO REQUESTS FOR PRODUCTION AND
                                               CODE DOCUMENTS AS APPROPRIATE;
                                               ATTEND HEARING REGARDING ALTER
                                               EGO MOTION AND DRAFT NOTES OF
                                               HEARING.

            10/01/24     Niles-Weed, Robert    ATTEND HEARING RE: ALTER EGOS,     11.20   71806771   19,320.00
                         B.                    MOTION TO PAUSE, SALE PROCESS,
                                               INCLUDING RELATED PREP AND
                                               FOLLOW-UP.

            10/01/24     Bentley, Chase A.     PREPARE FOR HEARING; MEET WITH     12.70   71830183   20,256.50
                                               WEIL TEAM RE SAME; CONFER WITH
                                               SPPS AND BUYER; ATTEND HEARING;
                                               TRAVEL BACK FROM HEARING IN DC.

            10/01/24     Rubin, Avi            CALLS WITH WEIL M&A; ATTEND         5.40   71805549    6,966.00
                                               INTERNAL CHECK-IN CALL; ATTEND
                                               HEARING ON PAUSE AND INJUNCTION
                                               MOTION; DISCUSS SPA ITEMS WITH
                                               WEIL M&A; CORRESPONDENCE WITH
                                               WEIL RX REGARDING SPA ITEMS;
                                               DRAFT TRUST/ESCROW OVERVIEW;
                                               DISCUSS TRUST ITEMS WITH WEIL
                                               M&A.

            10/01/24     Gehnrich, Charles     CONDUCT DOCUMENT REVIEW.            1.40   71812613    1,645.00
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 10 of 419 PageID
                                                            #: 35762




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                         Hours       Index   Amount

            10/01/24     Smith, Kara           RESPOND TO D. LENDER'S QUESTION     7.80   71882800   9,165.00
                                               ON ALTER EGO CASES; REVIEW
                                               DOCUMENTS FOR PRODUCTIONS TO
                                               VENEZUELA PARTIES; PULL
                                               DOCUMENTS IN ADVANCE OF ALTER
                                               EGO INJUNCTION HEARING; ATTEND
                                               EGO INJUNCTION HEARING
                                               (VIRTUALLY) AND TAKE NOTES;
                                               REVIEW PRODUCTIONS OF
                                               DOCUMENTS TO VENEZUELA
                                               PARTIES; REVIEW DOCUMENT
                                               PRODUCTIONS TO VENEZUELA
                                               PARTIES.

            10/01/24     Basil, Nico           CORRESPONDENCE WITH JONES DAY;      5.20   71810317   7,644.00
                                               COURT HEARING; M&A CHECK IN
                                               ATTEND MEETING; MEET WITH
                                               T.KOIVISTOINEN TO DISCUSS
                                               TRANSACTION AND SPA.

            10/01/24     Balido, Catherine     LISTEN IN TO 10/1 HEARING;          1.70   71840571   1,691.50
                                               COORDINATE CASE LOGISTICS; PULL
                                               ITEMS FOR DOCKET AHEAD OF 10/1
                                               HEARING.

            10/01/24     Mackinnon, Josh       REDACT SPA; PREPARE PROPOSED        6.80   71807029   6,766.00
                                               TRANSACTIONS SUMMARY TO GO
                                               INTO SALE MOTION; ATTEND
                                               INJUNCTION MOTION HEARING.

            10/01/24     Roche, Olivia         CONDUCT CITGO DOCUMENT REVIEW.      0.90   71802967    895.50

            10/01/24     Snider, Avi           REVIEW DOCUMENTS FOR                5.10   71854186   5,074.50
                                               RESPONSIVENESS AND PRIVILEGE.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 11 of 419 PageID
                                                            #: 35763




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            10/01/24     SanGiovanni, Giana    REVIEW AND RESPOND TO EMAILS         5.60   71813567    5,572.00
                                               FROM LITIGATION TEAM RE: NOTICE
                                               OF APPEAL FILED IN CRYSTALLEX
                                               PROCEEDING; EMAIL LITIGATION
                                               TEAM RE: SALE RECOMMENDATION;
                                               PULL AND ORGANIZE RESEARCH INTO
                                               FOLDER; EMAIL K. SMITH RE: STATUS
                                               OF GOOD-FAITH RESEARCH; EMAIL P.
                                               KAMATH RE: STATUS OF RESEARCH;
                                               REVIEW AND ANALYZE DOCUMENTS
                                               FOR RESPONSIVENESS TO DOCUMENT
                                               REQUESTS RELATED TO SALE
                                               PROCESS AND PRIVILEGE.

            10/01/24     Koivistoinen, Tanja   REVIEW SPA AND ATTEND INTERNAL       4.40   71827836    6,468.00
                                               MEETING RE: SAME; ATTEND
                                               INTERNAL M&A STATUS MEETING RE:
                                               TRANSACTION NEXT STEPS; ATTEND
                                               HEARING RE: SPA.

            10/01/24     Roberts, Ian          CORRESPOND WITH C. BENTLEY AND       0.60   71842051     774.00
                                               M. BURRUS RE ALTER EGO PLEADINGS;
                                               CORRESPOND WITH C. BALIDO RE
                                               JULY FEE STATEMENT.

            10/01/24     Burrus, Maigreade     ATTEND ALTER EGO HEARING;            7.90   71838313   11,218.00
                         B.                    CONFER WITH J. DAY RE:
                                               REDACTIONS; ASSIST HEARING
                                               PREPARATION; PREPARE BIDDER
                                               PROTECTIONS MOTION; PREPARE
                                               JULY FEE REPORT.

            10/01/24     Ramsey, Alexis        CONDUCT DOCUMENT REVIEW FOR          1.80   71816415    2,322.00
                                               PRIVILEGE, RELEVANCE, AND
                                               CONFIDENTIALITY.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 12 of 419 PageID
                                                            #: 35764




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/01/24     Clarke, Andrew        REVIEW VARIOUS MATTER RELATED       3.80   71790226   5,149.00
                                               EMAIL CORRESPONDENCE; PREPARE
                                               MATERIALS FOR HEARING; EMAIL C.
                                               BENTLEY RE: SAME; REVIEW
                                               PLEADINGS RE: ALTER EGO
                                               INJUNCTION MOTION AHEAD OF
                                               HEARING; ATTEND HEARING.

            10/01/24     Lee, Charles          CONDUCT DOCUMENT REVIEW.            5.20   71840083   7,384.00

            10/01/24     Liu, Sisi             DRAFT TALKING POINTS FOR CALL       6.00   71814244   8,130.00
                                               WITH THE GOVERNMENT; REVIEW
                                               MATERIALS RELATED TO SAME.

            10/01/24     Vélez, Francisco J.   REVIEW AND RESPOND TO               5.30   71802865   7,526.00
                                               CORRESPONDENCE(S) RECEIVED; MEET
                                               WITH T. WELCH TO DISCUSS THE
                                               PURCHASE AGREEMENT AND
                                               STRATEGY FOR THE MEETING WITH
                                               TREASURY; REVIEW PREVIOUS US
                                               GOVERNMENT CALL NOTES AND
                                               TALKING POINTS DOCUMENTS;
                                               ANALYSIS AND CONSIDER THE
                                               EXECUTED PURCHASE AGREEMENT;
                                               SEND SUMMARY OF THE
                                               TERMINATION FEES, IMPLICATIONS
                                               FOR TRANSACTION TIMING, AND
                                               ISSUES LEFT OPEN/UNRESOLVED BY
                                               THE SPA TO T. WELCH.

            10/02/24     Margolis, Steven      REVIEW TRANSACTION DOCUMENTS        0.20   71826709    319.00
                         M.                    AND CLOSING CHECKLIST AND
                                               RELATED ISSUES.

            10/02/24     McGovern, Kate        REVIEW DOCUMENTS FOR                5.50   71814511   3,272.50
                                               PRODUCTION.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 13 of 419 PageID
                                                            #: 35765




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            10/02/24     Friedmann, Jared R.   REVIEW COURT ORDERS AND EMAILS      1.50   71836880   2,692.50
                                               WITH TEAM RE: NEXT STEPS; CALL
                                               WITH SPECIAL MASTER AND TEAM
                                               RE: SAME AND NEXT STEPS (PART);
                                               CALL WITH A.CURTIS AND
                                               R.NILES-WEED RE: RESEARCH ISSUES
                                               AND NEXT STEPS IN LIGHT OF
                                               HEARING ON MOTION FOR
                                               INJUNCTION AND SUBSEQUENT
                                               COURT ORDERS; CALL WITH COUNSEL
                                               FOR REPUBLIC/PDVSA RE: REDACTION
                                               AND NEXT STEPS; CALL WITH
                                               C.BENTLEY RE: SAME; EMAILS WITH
                                               TEAM RE: COORDINATING ON NEXT
                                               STEPS, INCLUDING WITH OTHER
                                               PARTIES; EMAIL TO ELLIOTT'S
                                               COUNSEL RE: SAME.

            10/02/24     Keenan, Eoghan P.     CALL WITH SPECIAL MASTER,           3.20   71815633   5,744.00
                                               EVERCORE AND WEIL RE: RESPONSE
                                               TO COURT HEARING, ORAL ORDERS,
                                               NEXT STEPS WITH ELLIOTT AND
                                               ENGAGEMENT WITH SALE PROCESS
                                               PARTIES; MEET WITH WEIL M&A
                                               TEAMS RE: SIGNING AND CLOSING
                                               CHECKLIST, DISCLOSURE SCHEDULES
                                               AND TRUST DOCUMENTATION; CALL
                                               WITH EIMER STAHL AND WEIL RE:
                                               COURT FILINGS AND
                                               CONFIDENTIALITY; MEET WITH WEIL
                                               RX, LITIGATION AND M&A RE: WORK
                                               STREAMS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 14 of 419 PageID
                                                            #: 35766




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/02/24     Welch, Timothy C.     CALL AND EXCHANGE EMAILS WITH       4.30   71817683   7,525.00
                                               THE DEPARTMENT OF JUSTICE
                                               REGARDING MEETING WITH THE DOJ,
                                               STATE DEPARTMENT, AND TREASURY
                                               DEPARTMENT; CALL AND EXCHANGE
                                               EMAILS WITH DEBEVOISE AND EMAIL
                                               E. KEENAN AND OTHERS REGARDING
                                               SAME; REVIEW DRAFT TALKING
                                               POINTS FOR MEETING WITH
                                               GOVERNMENT; REVIEW COMPANY
                                               DISCLOSURE SCHEDULES; CALL AND
                                               EXCHANGE EMAILS WITH F. VELEZ
                                               REGARDING SAME, UNRESOLVED
                                               ISSUES IN STOCK PURCHASE
                                               AGREEMENT, AND TRANSACTION
                                               TIMING; EXCHANGE EMAILS WITH S.
                                               LIU REGARDING ALTER EGO MEETING;
                                               EXCHANGE EMAILS WITH F. VELEZ
                                               REGARDING OFAC LICENSING ISSUES,
                                               RELATED SPA COVENANTS AND
                                               CONDITIONS.

            10/02/24     Schrock, Ray C.       TEND TO NUMEROUS MATTERS            3.80   71832561   8,930.00
                                               RELATED TO FOLLOW UP FROM
                                               HEARING AND PREP FOR NEXT STEPS;
                                               CALLS AND EMAILS WITH SM, WEIL
                                               AND EVERCORE RE: SAME; REVIEW
                                               MATERIALS RE: COURT DIRECTION.

            10/02/24     Welch, Alexander      CALL WITH WEIL TEAMS RE:            1.20   71843813   2,154.00
                         W.                    HEARING; CALL WITH WORKING
                                               GROUP AND SM RE: NEXT STEPS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 15 of 419 PageID
                                                            #: 35767




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/02/24     Shefa, Yonatan        WEIL TEAM WIP MEETING;               0.90   71812849   1,278.00
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION TEAM RE: POST-HEARING
                                               WORK STREAMS.

            10/02/24     Curtis, Aaron J.      MEET WITH J. FRIEDMANN AND R.        3.80   71814109   6,061.00
                                               NILES-WEED TO DISCUSS THE
                                               INJUNCTION MOTION SUBMISSION;
                                               MEET WITH R. JAEGER AND K. SMITH
                                               TO DISCUSS THE INJUNCTION MOTION
                                               SUBMISSION; CALL WITH THE WEIL
                                               TEAM TO DISCUSS THE INJUNCTION
                                               MOTION AND SALE PROCESS; REVIEW
                                               AND RESPOND TO EMAILS RE: THE
                                               INJUNCTION MOTION, ALTER EGO
                                               CLAIMS, AND MOTION TO SEAL;
                                               REVIEW AND ANALYZE THE
                                               RESPONSE TO THE OBJECTION TO
                                               MODIFICATION TO THE SALES
                                               PROCEDURE ORDER; REVIEW AND
                                               ANALYZE RESEARCH RE: THE ALTER
                                               EGO CLAIMS; CALL WITH E. EVANS TO
                                               DISCUSS THE COURT’S ORDERS RE:
                                               THE INJUNCTION MOTION.

            10/02/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS         5.00   71833080   6,775.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               AND CODE DOCUMENTS AS
                                               APPROPRIATE; DRAFT AND SEND
                                               EMAILS REGARDING ALTER EGO
                                               ISSUES; CONFER WITH TEAM
                                               REGARDING NEXT STEPS REGARDING
                                               ALTER EGO SUBMISSION TO COURT;
                                               CONFER WITH TEAMS REGARDING
                                               ONGOING ISSUES AND
                                               WORKSTREAMS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 16 of 419 PageID
                                                            #: 35768




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours       Index    Amount


            10/02/24     Dulcey, Alfonso J.    DISCUSS TRUST AGREEMENT AND          1.00   71815648    1,750.00
                                               TERM SHEET.

            10/02/24     Niles-Weed, Robert    REVIEW ORAL ORDER AND                4.20   71817176    7,245.00
                         B.                    DEVELOPING PLAN RE: REVISED
                                               PROPOSED ORDER AND POTENTIAL
                                               ALTER EGO PROCEEDINGS; MEETING
                                               RE: RESPONSE TO ORAL ORDER;
                                               COMMUNICATIONS RE: PLAN FOR
                                               ALTER EGO PROCEEDINGS.

            10/02/24     Bentley, Chase A.     EMAILS RE FEE REPORT; PHONE CALL    10.40   71830364   16,588.00
                                               WITH SPECIAL MASTER, EVERCORE
                                               AND WEIL TEAMS RE ONGOING
                                               WORKSTREAMS; DISCUSS ALTER EGO
                                               WITH R. SCHROCK AND A. WELCH;
                                               EMAILS RE ALTER EGO; PHONE CALL
                                               WITH AKIN RE SPA; REVIEW CITGO
                                               MOTION RE SPA REDACTIONS; PHONE
                                               CALLS RE SAME; COMMENT ON
                                               SAME.

            10/02/24     Rubin, Avi            CALL WITH WEIL ANTITRUST TEAM;       3.70   71816910    4,773.00
                                               ATTEND CALL WITH EVERCORE AND
                                               THE SPECIAL MASTER; ATTEND
                                               INTERNAL WIP CALL; UPDATE
                                               ESCROW OVERVIEW DOCUMENT;
                                               COORDINATE TRUST ESCROW ITEMS.

            10/02/24     Gehnrich, Charles     ATTEND WEEKLY TEAM MEETING.          0.50   71821279     587.50
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 17 of 419 PageID
                                                            #: 35769




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            10/02/24     Smith, Kara           PULL FILINGS FROM ALTER EGO CASES     4.60   71845237   5,405.00
                                               FOR A. CURTIS; WIP MEETING; REVIEW
                                               DOCUMENTS FOR PRODUCTION TO
                                               VENEZUELA PARTIES; MEET WITH A.
                                               CURTIS ON ALTER EGO ISSUE NEXT
                                               STEPS; FOLLOW-UP RESEARCH ON
                                               ALTER EGO QUESTIONS.

            10/02/24     Logan, Savannah L.    CORRESPONDENCE RE ANTITRUST           1.00   71813467   1,175.00
                                               FILINGS AND OBSERVATION
                                               COMMITTEE; DRAFT WORKSTREAM
                                               UPDATE.

            10/02/24     Okada, Tyler          UPDATE CASE CALENDAR.                 0.20   71851002     70.00

            10/02/24     Basil, Nico           CALL WITH SPECIAL MASTER AND          1.80   71818055   2,646.00
                                               EVERCORE; CALL WITH EIMER; WIP
                                               CALL WITH WEIL TEAM; OTHER
                                               CORRESPONDENCE AND DISCUSSIONS.

            10/02/24     Balido, Catherine     REVIEW FEE REPORT AND DRAFT           4.30   71840803   4,278.50
                                               NARRATIVES FOR INCLUSION IN
                                               REPORT; ATTEND WIP MEETING WITH
                                               WEIL RX, WEIL LIT, AND WEIL M&A;
                                               ATTEND WEIL RX WIP MEETING;
                                               UPDATE WIP LIST.

            10/02/24     Evans, Emma           SUMMARIZE AND ANALYZE JUDGE           4.40   71819586   4,378.00
                                               STARK'S ORAL ORDERS; REVIEW
                                               DOCUMENTS FOR PRODUCTION TO
                                               VENEZUELAN PARTIES;
                                               CORRESPONDENCE RE: SALE AND
                                               RELATED MOTIONS;
                                               CORRESPONDENCE RE: ALTER EGO
                                               CLAIMS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 18 of 419 PageID
                                                            #: 35770




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/02/24     Mackinnon, Josh       PREPARE SALE TRANSACTION            4.90   71815114   4,875.50
                                               SUMMARY FOR SALE MOTION;
                                               UPDATE WORKSTREAM LIST AND
                                               SIGNING CHECKLIST; ATTEND WEIL
                                               CALL AND CALL WITH JONES
                                               DAY/EIMER.

            10/02/24     Roche, Olivia         CONDUCT DOCUMENT REVIEW.            0.80   71815126    796.00

            10/02/24     Serviss, Jess         ATTEND WORK IN PROGRESS CALL        1.50   71816929   1,492.50
                                               WITH WEIL TEAM; ATTEND CHECK-IN
                                               WITH WEIL M&A TEAM; ATTEND
                                               CALL WITH EIMER, JONES DAY AND
                                               WEIL TEAMS; ATTEND CHECK-IN
                                               WITH SPECIAL MASTER, EVERCORE
                                               AND WEIL TEAMS.

            10/02/24     Snider, Avi           REVIEW DOCUMENTS FOR                2.80   71854165   2,786.00
                                               RESPONSIVENESS AND PRIVILEGE.

            10/02/24     Koivistoinen, Tanja   ATTEND CALL WITH JONES DAY, WEIL    2.50   71827733   3,675.00
                                               RX, AND EIMER STAHL TEAMS RE:
                                               SPA REDACTIONS; ATTEND ALL
                                               TEAMS STATUS CALL; ATTEND WEIL
                                               WIP CALL; ATTEND WEEKLY STATUS
                                               CALL WITH THE SPECIAL MASTER,
                                               EVERCORE AND WEIL TEAMS;
                                               RESEARCH ON GRANTOR TRUSTS AND
                                               TRUST AGREEMENT PRECEDENTS.

            10/02/24     Fernandez, Ricardo    REVIEW AND RESPOND TO EMAILS        0.80   71831685   1,032.00
                                               FROM/TO WEIL TAX/CORPORATE
                                               TEAMS; RESEARCH QUESTION
                                               REGARDING UNWIND SCENARIO;
                                               CALLS WITH WEIL TAX TO DISCUSS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 19 of 419 PageID
                                                            #: 35771




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/02/24     Roberts, Ian          CORRESPOND WITH T. OKADA RE         2.30   71842034    2,967.00
                                               CALENDARING; CORRESPOND WITH C.
                                               BALIDO RE WORK-IN-PROCESS
                                               MEETING; ATTEND
                                               WEIL/EVERCORE/SPECIAL MASTER
                                               CHECK-IN CALL; ATTEND
                                               WORK-IN-PROCESS MEETING WITH
                                               RESTRUCTURING, LITIGATION, AND
                                               M&A TEAMS; ATTEND RX
                                               WORK-IN-PROCESS MEETING.

            10/02/24     Burrus, Maigreade     ATTEND WEIL WIP CALL; ATTEND        7.60   71838413   10,792.00
                         B.                    CALL WITH SPECIAL MASTER,
                                               EVERCORE, AND WEIL; PREPARE JULY
                                               FEE REPORT; ATTEND WEIL RX WIP;
                                               PREPARE BIDDER PROTECTION
                                               MOTION; REVIEW COURT ORDERS
                                               AND SUMMARIZE UPCOMING
                                               DEADLINES.

            10/02/24     Ramsey, Alexis        CONDUCT DOCUMENT REVIEW FOR         2.40   71816495    3,096.00
                                               PRIVILEGE, RELEVANCE, AND
                                               CONFIDENTIALITY.

            10/02/24     Clarke, Andrew        REVIEW VARIOUS MATTERS RELATED      2.80   71815705    3,794.00
                                               EMAILS FROM WEIL TEAM; REVIEW
                                               DOCKET UPDATES; ATTEND WIP
                                               MEETING; ATTEND TO REDACTIONS
                                               OF CONFIDENTIAL MATERIAL IN SPA;
                                               CONSIDER NEXT STEPS RE: STATUS
                                               REPORT; EMAIL TO C. BALIDO RE:
                                               SAME.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 20 of 419 PageID
                                                            #: 35772




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/02/24     Vélez, Francisco J.   REVIEW AND RESPOND TO               4.80   71819736   6,816.00
                                               CORRESPONDENCE(S) RECEIVED; MEET
                                               WITH T. WELCH TO DISCUSS THE
                                               PURCHASE AGREEMENT AND
                                               STRATEGY FOR THE MEETING WITH
                                               TREASURY; REVIEW DISCLOSURE
                                               SCHEDULES, DEAL TIMING
                                               DOCUMENT; AND PREVIOUS
                                               CORRESPONDENCES REGARDING THE
                                               TRANSACTION AND MEETING WITH
                                               U.S. GOVERNMENT; DRAFT AND
                                               REVISE TALKING POINTS AHEAD OF
                                               THE MEETING THE U.S. GOVERNMENT;
                                               SEND TO T. WELCH FOR REVIEW;
                                               DRAFT INTERPRETATION OF THE
                                               TERMINATIONS RIGHTS AND FEES OF
                                               THE PURCHASE AGREEMENT AND
                                               SEND TO T. WELCH.

            10/03/24     McGovern, Kate        REVIEW DOCUMENTS FOR                7.30   71821645   4,343.50
                                               PRODUCTION.

            10/03/24     Keenan, Eoghan P.     CALL WITH M. CRUZ, WEIL TAX AND     4.10   71831566   7,359.50
                                               WEIL M&A RE: TRUST STRUCTURE
                                               DOCUMENTATION AND
                                               CONSIDERATIONS; WEEKLY CALL
                                               WITH SALE PROCESS PARTIES RE:
                                               SALE PROCESS AND ENGAGEMENT
                                               WITH THE COURT; REVIEW
                                               REQUESTED CHANGES TO
                                               REPRESENTATIONS AND
                                               WARRANTIES; REVIEW COMMENTS
                                               TO ECL AND LIMITED GUARANTEE.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 21 of 419 PageID
                                                            #: 35773




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/03/24     Welch, Timothy C.     REVIEW STOCK PURCHASE               3.50   71821690    6,125.00
                                               AGREEMENT, SALE PROCEDURES
                                               ORDER, AND BIDDING PROCEDURES;
                                               EXCHANGE EMAILS WITH F. VELEZ
                                               AND S. LIU REGARDING TERMINATION
                                               FEE CLAIM, REVERSE TERMINATION
                                               FEE, TRACKING OF BUYER
                                               COMPLIANCE THE OFAC LICENSE
                                               COVENANT AND OTHER
                                               AGREEMENTS, AND RELATED
                                               CONSIDERATIONS; REVIEW AND
                                               REVISE DRAFT TALKING POINTS FOR
                                               MEETING WITH U.S. GOVERNMENT
                                               REGARDING TRANSACTION
                                               LICENSING; EXCHANGE EMAILS WITH
                                               S. LIU REGARDING ALTER EGO CALL;
                                               REVIEW OPPOSITION TO OBJECTION
                                               TO SPO MODIFICATION; EXCHANGE
                                               EMAILS WITH F. VELEZ REGARDING
                                               SAME; CALL AND EXCHANGE EMAILS
                                               WITH F. VELEZ REGARDING TALKING
                                               POINTS; EXCHANGE EMAILS WITH S.
                                               LIU REGARDING PLAN IN RELATION
                                               TO ESCROW.

            10/03/24     Schrock, Ray C.       TEND TO NUMEROUS MATTERS            5.60   71832345   13,160.00
                                               RELATED TO FOLLOW UP FROM
                                               HEARING AND PREP FOR NEXT STEPS;
                                               COMMUNICATIONS WITH LEAD
                                               BIDDER COUNSEL RE: OUTSTANDING
                                               SPA ISSUES; REVIEW SPA;
                                               CORRESPOND WITH WEIL TEAM RE:
                                               SAME; ATTENTION TO ALTER EGO
                                               ISSUES; CALL WITH SPPS.

            10/03/24     Welch, Alexander      WEEKLY CALL WITH SPPS; CONSIDER     0.70   71843775    1,256.50
                         W.                    SAME AND NEXT STEPS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 22 of 419 PageID
                                                            #: 35774




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount


            10/03/24     Curtis, Aaron J.      CALL WITH C. BENTLEY TO DISCUSS     4.10   71820538    6,539.50
                                               THE ALTER EGO PROPOSAL; CALL
                                               WITH CRYSTALLEX AND CONOCO TO
                                               DISCUSS THE ALTER EGO MOTION
                                               AND THE SPA; CALL WITH R. JAEGER
                                               TO DISCUSS THE ALTER EGO LETTER
                                               AND PROPOSED ORDER; REVIEW AND
                                               REVISE THE ALTER EGO LETTER AND
                                               PROPOSED ORDER; REVIEW AND
                                               COMMENT ON THE MOTIONS TO SEAL
                                               FILINGS FOR THE OBJECTION TO THE
                                               MODIFICATION OF THE SALE
                                               PROCEDURES ORDER; REVIEW AND
                                               RESPOND TO EMAILS RE: THE
                                               MOTIONS TO SEAL, THE ALTER EGO
                                               MOTION, AND THE PROPOSED ORDER.

            10/03/24     Bodoh, Devon          REVIEW TRUST STRUCTURE AND          4.30   71838222   10,105.00
                                               IMPACT ON TAX; CONFER WITH WEIL
                                               RX AND CORPORATE REGARDING.
                                               TRUSTS AND TAX MATTERS; FOLLOW
                                               UP REVIEW RE SAME.

            10/03/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        5.10   71833109    6,910.50
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               AND CODE DOCUMENTS AS
                                               APPROPRIATE; CONFER WITH P.
                                               KAMATH AND K. SMITH REGARDING
                                               ALTER EGO SUBMISSION; CONFER
                                               WITH A. CURTIS REGARDING
                                               SUBMISSION TO COURT REGARDING
                                               ALTER EGO CLAIMS; DRAFT
                                               SUBMISSION TO THE COURT
                                               REGARDING ALTER EGO CLAIMS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 23 of 419 PageID
                                                            #: 35775




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/03/24     Dulcey, Alfonso J.    RESEARCH TRUST                      3.70   71830537    6,475.00
                                               CHARACTERIZATION ALTERNATIVES;
                                               CALL WITH WEIL M&A AND TAX
                                               TEAMS.

            10/03/24     Niles-Weed, Robert    REVIEW AND COMMENT ON ALTER         1.10   71832415    1,897.50
                         B.                    EGO LETTER/PROPOSED ORDER.

            10/03/24     Bentley, Chase A.     REVIEW AND REVISE MOTION TO         6.50   71830347   10,367.50
                                               REDACT; REVIEW SPA EXHIBITS;
                                               COORDINATE SAME; PHONE CALLS
                                               WITH EIMER STAHL RE MOTION TO
                                               REDACT; WEEKLY CALL WITH SPPS;
                                               REVIEW FEE REPORT; CONSIDER
                                               ALTER EGO ISSUE.

            10/03/24     Rubin, Avi            ATTEND TRUST STRUCTURE              2.80   71823405    3,612.00
                                               DOCUMENTATION CALL; ATTEND
                                               CALL WITH WLRK AND GIBSON AND
                                               INTERNAL MEETING; REVISE LIMITED
                                               GUARANTEE; COORDINATE
                                               DISCLOSURE SCHEDULES ITEMS; CALL
                                               WITH AKIN.

            10/03/24     Gehnrich, Charles     CONDUCT DOCUMENT REVIEW;            7.80   71824725    9,165.00
                                               SUMMARIZE ALTER EGO MERITS.

            10/03/24     Kamath, Priya         MEET WITH R. JAEGER AND K. SMITH    0.40   71819529     470.00
                                               TO DISCUSS RESEARCH ASSIGNMENT
                                               ON JUDGE STARK'S RULING ON
                                               INJUNCTION MOTION.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 24 of 419 PageID
                                                            #: 35776




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/03/24     Kamath, Priya         RESEARCH FINDINGS OF FACT THAT      2.30   71837461   2,702.50
                                               JUDGE STARK MAY MAKE WHEN
                                               RULING ON A MOTION FOR A
                                               PRELIMINARY INJUNCTION OR
                                               PERMANENT INJUNCTION FOR A.
                                               CURTIS.

            10/03/24     Kamath, Priya         REVIEW ALTER EGO REPLY BRIEF AND    3.30   71837491   3,877.50
                                               THE SPECIAL MASTER'S OPPOSITION
                                               TO THE MOTION TO PAUSE.

            10/03/24     Smith, Kara           RESEARCH QUESTIONS FOR ALTER        3.80   71845203   4,465.00
                                               EGO MOTION FOLLOW UP; MEET WITH
                                               R. JAEGAR AND P. KAMATH ON
                                               ALTER EGO MOTION FOLLOW UP
                                               QUESTIONS.

            10/03/24     Logan, Savannah L.    CORRESPONDENCE RE WORK STREAM       1.10   71882966   1,292.50
                                               STATUS.

            10/03/24     Okada, Tyler          REVIEW RECENTLY FILED PLEADINGS,    0.30   71851056    105.00
                                               PREPARE UPDATED DOCKET
                                               SCHEDULE FOR TEAM REVIEW.

            10/03/24     Basil, Nico           TRUST STRUCTURE DOCUMENTATION       2.50   71822194   3,675.00
                                               CALL; CALL WITH SALE PROCESS
                                               PARTIES; REVIEW AND COMMENT ON
                                               ECL; CORRESPONDENCE RE:
                                               DISCLOSURE SCHEDULES.

            10/03/24     Balido, Catherine     ASSIST IN PREPARATION OF MOTION     1.50   71840661   1,492.50
                                               TO SEAL; REVISE JULY REPORT.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 25 of 419 PageID
                                                            #: 35777




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                         Hours       Index   Amount

            10/03/24     Evans, Emma           REVIEW DOCUMENTS FOR                7.10   71819587   7,064.50
                                               PRODUCTION TO VENEZUELAN
                                               PARTIES; DRAFT ALTER EGO MERITS
                                               ANALYSIS RE: PDVH;
                                               CORRESPONDENCE RE: SALE AND
                                               RELATED MOTIONS.

            10/03/24     Mackinnon, Josh       PREPARE TRUST STRUCTURE             5.00   71821606   4,975.00
                                               CHECKLIST; CONFER WITH N. BASIL
                                               RE: TRANSACTION SUMMARY; DRAFT
                                               TRANSACTION SUMMARY AND SEND
                                               TO TEAM FOR REVIEW; ATTEND CALL
                                               WITH MARIEL AND TAX TEAM TO
                                               DISCUSS TRUST STRUCTURE; ATTEND
                                               CALL WITH SALE PROCESS PARTIES.

            10/03/24     Roche, Olivia         CONDUCT DOCUMENT REVIEW.            6.20   71821880   6,169.00

            10/03/24     Serviss, Jess         ATTEND CHECK-IN CALL WITH           1.20   71821926   1,194.00
                                               CONOCO, CRYSTALLEX AND WEIL
                                               TEAMS; ATTEND CALL WITH C
                                               BENTLEY AND WEIL M&A TEAM;
                                               ATTEND POST-CALL DISCUSSION
                                               WITH M&A TEAM.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 26 of 419 PageID
                                                            #: 35778




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index    Amount

            10/03/24     Koivistoinen, Tanja   ATTEND INTERNAL CALL WITH WEIL        5.80   71821935    8,526.00
                                               TAX AND M&A TEAMS RE: TRUST
                                               AGREEMENTS; REVIEW THE SCOPE OF
                                               MATERIAL CONTRACTS TO BE
                                               DISCLOSED UNDER THE ELLIOTT SPA;
                                               ATTEND CALL WITH AKIN GUMP RE:
                                               SAME; REVIEW AND REVISE WORK
                                               STREAMS STATUS LIST; REVIEW
                                               TRUST STRUCTURE TERM SHEET AND
                                               VARIOUS TRUST AGREEMENT
                                               PRECEDENTS; ATTEND SPECIAL
                                               MASTER/CRYSTALLEX/CONOCO
                                               WEEKLY CALL; REVIEW ECL AND
                                               LIMITED GUARANTEES DRAFTS.

            10/03/24     Roberts, Ian          ATTEND SPECIAL                        0.50   71842010     645.00
                                               MASTER/CRYSTALLEX/CONOCO
                                               WEEKLY CALL.

            10/03/24     Burrus, Maigreade     PREPARE MOTION RE: REDACTIONS         8.30   71838394   11,786.00
                         B.                    AND CONFER WITH C. BENTLEY AND
                                               C. BALIDO MULTIPLE TIMES RE: SAME;
                                               PREPARE NOTICE RE: REDACTIONS;
                                               ATTEND CALL WITH CONOCO AND
                                               CRYSTALLEX.

            10/03/24     Ramsey, Alexis        CONDUCT DOCUMENT REVIEW FOR           6.10   71824100    7,869.00
                                               PRIVILEGE, RELEVANCE, AND
                                               CONFIDENTIALITY.

            10/03/24     Clarke, Andrew        ATTEND CALL WITH GIBSON TEAM,         0.90   71819422    1,219.50
                                               WEIL TEAM, AND EVERCORE TEAM
                                               RE: SALE PROCESS; REVIEW VARIOUS
                                               EMAILS FROM WEIL TEAM RE: SALE
                                               PROCESS; REVIEW DOCKET UPDATES.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 27 of 419 PageID
                                                            #: 35779




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/03/24     Liu, Sisi             CONFER WITH M. BURRUS RE:           0.40   71821249    542.00
                                               ESCROW AND EMAIL T. WELCH RE:
                                               SAME.

            10/03/24     Vélez, Francisco J.   ATTENTION AND RESPONSE TO           4.10   71819739   5,822.00
                                               CORRESPONDENCE(S) RECEIVED;
                                               CONTINUE TO DISCUSS AND DRAFT
                                               THE INTERPRETATION OF THE
                                               TERMINATIONS RIGHTS AND FEES OF
                                               THE PURCHASE AGREEMENT, THE
                                               SALE ORDER AND THE BIDDING
                                               PROCEDURES AND SEND TO T. WELCH;
                                               REVIEW SPECIAL MASTER’S
                                               OPPOSITION TO PDVH AND CITGO’S
                                               OBJECTION TO THE SPECIAL
                                               MASTER’S MATERIAL MODIFICATION
                                               OF THE SALE PROCEDURES ORDER.

            10/04/24     Lender, David J.      ANALYZE INJUNCTION ISSUES; TEAM     1.40   71830841   2,793.00
                                               CALL RE ALTER EGO CLAIMS.

            10/04/24     McGovern, Kate        REVIEW DOCUMENTS FOR                7.70   71832325   4,581.50
                                               PRODUCTION.

            10/04/24     Friedmann, Jared R.   TEAM CALL RE: ALTER EGO ISSUES;     1.10   71827793   1,974.50
                                               DRAFT LETTER/ORDER PER J.STARK
                                               ORDER.

            10/04/24     Keenan, Eoghan P.     REVIEW TRUST AGREEMENT              2.10   71831479   3,769.50
                                               PRECEDENT; CALL WITH C. BENTLEY
                                               RE: PDVH COURT FILING OF SPA
                                               MARKUP; EMAILS WITH WEIL M&A
                                               TEAM RE: PREPARATION OF BIDDER
                                               PROTECTION SUMMARY; EMAILS
                                               WITH T. WELCH RE: OFAC CALL.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 28 of 419 PageID
                                                            #: 35780




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index    Amount

            10/04/24     Welch, Timothy C.     REVIEW BUYER'S SPA OBLIGATIONS        4.60   71840562    8,050.00
                                               CHART; EXCHANGE EMAILS WITH S.
                                               LIU REGARDING SAME; EXCHANGE
                                               EMAILS WITH DOJ REGARDING
                                               MEETING WITH THE U.S.
                                               GOVERNMENT; EXCHANGE EMAILS
                                               WITH F. VELEZ AND S. LIU REGARDING
                                               SAME; EMAIL C. BENTLEY AND E.
                                               KEENAN REGARDING SAME,
                                               PARTICIPANTS, AND
                                               CONFIDENTIALITY; EMAIL DEBEVOISE
                                               REGARDING SAME; DRAFT AND
                                               REVISE TALKING POINTS AND BEGIN
                                               ASSEMBLING EXHIBITS FOR MEETING
                                               WITH THE GOVERNMENT.

            10/04/24     Schrock, Ray C.       TEND TO NUMEROUS MATTERS              5.90   71832265   13,865.00
                                               RELATED TO FOLLOW UP FROM
                                               HEARING AND PREP FOR NEXT STEPS;
                                               REVIEW DOCUMENTS RELATED TO
                                               ALTER EGO; DISCUSS VARIOUS
                                               MATTERS WITH SM AND ADVISORS;
                                               CALL WITH QUINN; REVIEW LETTER;
                                               CALL WITH SPPS.

            10/04/24     Welch, Alexander      CALL WITH QE.                         0.60   71843802    1,077.00
                         W.
            10/04/24     Curtis, Aaron J.      CALL WITH THE RESTRUCTURING           2.30   71824227    3,668.50
                                               AND LITIGATION TEAMS TO DISCUSS
                                               THE LETTER AND PROPOSED ORDER
                                               RE: THE ALTER EGO ACTIONS; REVISE
                                               LETTER AND PROPOSED ORDER RE:
                                               THE ALTER EGO ACTIONS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 29 of 419 PageID
                                                            #: 35781




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            10/04/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS         4.10   71833228    5,555.50
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               AND CODE DOCUMENTS AS
                                               APPROPRIATE; RESEARCH CASE LAW
                                               FOR USE IN ALTER EGO PROCEEDING
                                               SUBMISSION.

            10/04/24     Niles-Weed, Robert    REVIEW RESEARCH AND DRAFTING         2.10   71832309    3,622.50
                         B.                    LETTER AND PROPOSED ORDER IN
                                               RESPONSE TO 10/2 ORAL ORDER; WEIL
                                               INTERNAL DISCUSSION RE: ALTER EGO
                                               PROPOSED ORDER AND PROCESS.

            10/04/24     Bentley, Chase A.     REVIEW AND COMMENT ON                7.20   71830171   11,484.00
                                               PROPOSED ORDER AND LETTER;
                                               CALLS AND EMAILS WITH WEIL, SPPS
                                               AND BUYER RE SAME; REVIEW AND
                                               REVISE FEE REPORT; REVIEW AND
                                               REVISE BID PROTECTION MOTION.

            10/04/24     Rubin, Avi            DRAFT AND REVISE BIDDER              3.10   71824794    3,999.00
                                               PROTECTION SUMMARY TABLE;
                                               INCORPORATE WEIL M&A
                                               COMMENTS TO TABLE; REVIEW AND
                                               PROVIDE COMMENTS TO
                                               WORKSTREAM STATUS LIST;
                                               COORDINATE DISCLOSURE
                                               SCHEDULES ITEMS.

            10/04/24     Kamath, Priya         RESEARCH RE: MOTION FOR A            4.80   71822536    5,640.00
                                               PRELIMINARY INJUNCTION OR
                                               PERMANENT INJUNCTION FOR A.
                                               CURTIS; REVISE SUMMARY OF
                                               RESEARCH ON FINDINGS OF FACT
                                               AND INJUNCTIONS IN LINE WITH
                                               SUGGESTIONS FROM R. JAEGER.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 30 of 419 PageID
                                                            #: 35782




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            10/04/24     Smith, Kara           CONDUCT RESEARCH ON INJUNCTION       7.60   71845291   8,930.00
                                               MOTION FOLLOW-UP QUESTIONS;
                                               REVIEW DOCUMENT PRODUCTIONS
                                               TO VENEZUELA PARTIES.

            10/04/24     Logan, Savannah L.    CORRESPONDENCE WITH JONES DAY        1.50   71883010   1,762.50
                                               RE HSR FILING PREP;
                                               CORRESPONDENCE RE WORK STREAM
                                               STATUS.

            10/04/24     Balido, Catherine     REVISE LIST OF COUNSEL EMAILS FOR    2.80   71840635   2,786.00
                                               SERVICE; UPDATE AND CIRCULATE
                                               WIP LIST TO M&A AND LITIGATION
                                               TEAMS.

            10/04/24     Evans, Emma           REVIEW DOCUMENTS FOR                 1.80   71832147   1,791.00
                                               PRODUCTION TO VENEZUELA
                                               PARTIES; CORRESPONDENCE RE:
                                               DOCUMENT REVIEW.

            10/04/24     Mackinnon, Josh       PREPARE CHART LISTING ELLIOTT BID    2.90   71832931   2,885.50
                                               PROTECTIONS FOR RESTRUCTURING
                                               TEAM; UPDATE WORKSTREAM LIST
                                               AND CHECKLIST; CORRESPOND WITH
                                               AKIN REGARDING MATERIAL
                                               CONTRACTS REP.

            10/04/24     Roche, Olivia         CONDUCT DOCUMENT REVIEW.             3.00   71827353   2,985.00

            10/04/24     Koivistoinen, Tanja   PREPARE SUMMARY OF SPA BIDDER        6.40   71827697   9,408.00
                                               PROTECTIONS; REVIEW AND UPDATE
                                               WIP TASK LIST; PREPARE WORK
                                               STREAMS STATUS LIST; REVIEW
                                               TRUST AGREEMENT PRECEDENTS;
                                               REVIEW TRANSFER CLAUSES OF THE
                                               TRUST AGREEMENT PRECEDENTS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 31 of 419 PageID
                                                            #: 35783




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index    Amount


            10/04/24     Roberts, Ian          CORRESPOND WITH M. BURRUS RE          0.40   71842006     516.00
                                               WORKSTREAMS; CORRESPOND WITH
                                               C. BALIDO RE WORK-IN-PROCESS LIST.

            10/04/24     Burrus, Maigreade     CALL WITH RX AND LITIGATION           2.30   71838303    3,266.00
                         B.                    TEAMS RE: ALTER EGO ACTIONS;
                                               CONFER WITH C. BENTLEY RE: BIDDER
                                               PROTECTIONS; CONFER WITH C.
                                               BENTLEY AND C. BALIDO RE:
                                               CLAIMANTS; COORDINATE MEETINGS
                                               WITH CLAIMANTS.

            10/04/24     Ramsey, Alexis        CONDUCT DOCUMENT REVIEW FOR           8.40   71828015   10,836.00
                                               PRIVILEGE, RELEVANCE, AND
                                               CONFIDENTIALITY.

            10/04/24     Clarke, Andrew        REVIEW VARIOUS EMAILS FROM WEIL       0.40   71823839     542.00
                                               TEAM; REVIEW DRAFT TIMELINE.

            10/04/24     Lee, Charles          REVIEW DOCUMENTS FOR PRIVILEGE.       5.20   71840018    7,384.00

            10/04/24     Liu, Sisi             REVIEW HORIZON SPA AND                2.60   71827680    3,523.00
                                               SUMMARIZE AND PREPARE CHART OF
                                               THE RELEVANT PROVISIONS RE:
                                               BUYER’S OBLIGATIONS TO OBTAIN AN
                                               OFAC LICENSE.

            10/05/24     Lender, David J.      REVISE LETTER AND ORDER; EMAILS       1.90   71830967    3,790.50
                                               RE ALTER EGO ANALYSIS; TELEPHONE
                                               CALL WITH ELLIOTT AND COUNSEL.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 32 of 419 PageID
                                                            #: 35784




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/05/24     Friedmann, Jared R.   DRAFT AND REVISE LETTER FROM        1.90   71827779    3,410.50
                                               SPECIAL MASTER TO COURT RE:
                                               PROPOSED NEXT STEPS ON ALTER EGO
                                               ISSUES AND REVISE ORDER ON
                                               PENDING INJUNCTION MOTION;
                                               EMAILS WITH TEAM RE: SAME;
                                               REVIEW COMMENTS TO SAME FROM
                                               RESTRUCTURING GROUP; CALL WITH
                                               AKIN AND QE RE: SAME AND NEXT
                                               STEPS.

            10/05/24     Welch, Timothy C.     REVIEW BACKGROUND                   7.80   71840980   13,650.00
                                               DOCUMENTATION REGARDING
                                               CORRESPONDENCE WITH THE U.S.
                                               GOVERNMENT; REVIEW LETTER FROM
                                               THE DEPARTMENT OF JUSTICE,
                                               FREQUENTLY ASKED QUESTIONS
                                               FROM THE OFFICE OF FOREIGN
                                               ASSETS CONTROL, NOTES FROM
                                               PRIOR MEETINGS WITH GOVERNMENT,
                                               AND OTHER BACKGROUND
                                               MATERIALS; DRAFT AND REVISE
                                               TALKING POINTS FOR MEETING WITH
                                               THE U.S. GOVERNMENT; CALL AND
                                               EXCHANGE EMAILS WITH S. LIU AND
                                               F. VELEZ REGARDING SAME; DRAFT
                                               OUTLINE OF MEETING; EXCHANGE
                                               EMAILS WITH THE DOJ REGARDING
                                               SAME; EXCHANGE EMAILS WITH E.
                                               KEENAN AND C. BENTLEY REGARDING
                                               MEETING AND TALKING POINTS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 33 of 419 PageID
                                                            #: 35785




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/05/24     Schrock, Ray C.       TEND TO VARIOUS MATTERS              2.50   71832427   5,875.00
                                               RELATED TO REVISED ORDER RE:
                                               ALTER EGO AND PROVIDE COMMENTS
                                               TO SAME; COMMUNICATIONS WITH
                                               STAKEHOLDERS; DISCUSS ORDER AND
                                               SALE PROCESS WITH WEIL AND SM.

            10/05/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL             0.90   71841852   1,278.00
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: MOTION TO SEAL AND
                                               ALTER EGO HEARING FOLLOW-UP.

            10/05/24     Curtis, Aaron J.      CALL WITH ELLIOTT'S COUNSEL TO       4.10   71838234   6,539.50
                                               DISCUSS THE LETTER AND PROPOSED
                                               ORDER RE: ALTER EGO CLAIMS;
                                               REVISE LETTER AND PROPOSED ORDER
                                               RE: ALTER EGO CLAIMS; REVIEW AND
                                               RESPOND TO EMAILS RE: THE LETTER
                                               AND PROPOSED ORDER RE: ALTER EGO
                                               CLAIMS.

            10/05/24     Jaeger, Rebecca       REVISE ALTER EGO LETTER TO COURT.    0.50   71832840    677.50

            10/05/24     Niles-Weed, Robert    COMMUNICATIONS RE: REVISED           2.40   71832362   4,140.00
                         B.                    LETTER AND PROPOSED ORDER IN
                                               RESPONSE TO 10/2 ORAL ORDER AND
                                               POTENTIAL PROCESS FOR RESOLVING
                                               ALTER EGO ACTIONS.

            10/05/24     Bentley, Chase A.     REVIEW PROPOSED ORDER AND            2.60   71826392   4,147.00
                                               LETTER RE ALTER EGO AND
                                               COMMENT ON SAME; EMAILS AND
                                               PHONE CALLS WITH WEIL AND OTHER
                                               RE SAME.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 34 of 419 PageID
                                                            #: 35786




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/05/24     Gehnrich, Charles     ANALYZE CASE LAW RE: INJUNCTION     4.60   71831838   5,405.00
                                               LETTER.

            10/05/24     Evans, Emma           CONDUCT DOCUMENT REVIEW FOR         1.20   71832124   1,194.00
                                               PRODUCTION TO VENEZUELA
                                               PARTIES.

            10/05/24     Liu, Sisi             REVIEW AND COMMENT ON DRAFT         1.00   71827591   1,355.00
                                               TALKING POINTS; DISCUSSION WITH
                                               T. WELCH RE: SAME.

            10/05/24     Vélez, Francisco J.   ATTENTION AND RESPONSE TO           1.20   71831421   1,704.00
                                               CORRESPONDENCE(S) RECEIVED;
                                               REVIEW LATEST TALKING POINTS
                                               DRAFT PROVIDED BY T. WELCH; SEND
                                               UPDATE TO T. WELCH; CALL
                                               REGARDING TALKING POINTS WITH T.
                                               WELCH.

            10/06/24     Lender, David J.      ANALYZE ALTER EGO ISSUES;           4.90   71830944   9,775.50
                                               TELEPHONE CALL WITH CONOCO,
                                               CRYSTALLEX; POST TEAM TELEPHONE
                                               CALL; REVIEW REVISE LETTERS AND
                                               ORDERS; TELEPHONE CALL WITH
                                               ELLIOTT AND COUNSEL.

            10/06/24     Friedmann, Jared R.   CALL WITH COUNSEL FOR               2.50   71827867   4,487.50
                                               CRYSTALLEX AND CONOCO RE:
                                               INJUNCTION ORDER; TEAM MEETING
                                               RE: SAME; REVIEW SUGGESTED EDITS
                                               TO LETTER TO J.STARK AND
                                               PROPOSED ORDER AND EMAILS WITH
                                               TEAM RE: SAME; CALL WITH
                                               COUNSEL FOR ELLIOTT RE: SAME.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 35 of 419 PageID
                                                            #: 35787




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/06/24     Keenan, Eoghan P.     REVIEW TALKING POINTS FOR OFAC      0.80   71831624   1,436.00
                                               MEETING; CALL WITH T. WELCH RE:
                                               SAME.

            10/06/24     Welch, Timothy C.     REVISE DRAFT TALKING POINTS FOR     2.10   71841043   3,675.00
                                               MEETING WITH THE GOVERNMENT;
                                               EXCHANGE EMAILS WITH C. BENTLEY
                                               REGARDING SAME; CALL AND
                                               EXCHANGE EMAILS WITH E. KEENAN
                                               REGARDING SPA, ALTER EGO CLAIMS,
                                               ESCROW AND TRUST STRUCTURE,
                                               AND MEETING WITH GOVERNMENT.

            10/06/24     Schrock, Ray C.       TEND TO VARIOUS MATTERS             3.10   71832197   7,285.00
                                               RELATED TO REVISED ORDER RE:
                                               ALTER EGO; COMMUNICATIONS WITH
                                               STAKEHOLDERS; EMAILS AND PHONE
                                               CALLS WITH WEIL AND SM; CALL
                                               WITH SPPS.

            10/06/24     Welch, Alexander      ATTEND CALL WITH SPPS.              0.50   71831068    897.50
                         W.
            10/06/24     Curtis, Aaron J.      CALL WITH ELLIOTT'S COUNSEL TO      1.50   71838278   2,392.50
                                               DISCUSS THE LETTER AND PROPOSED
                                               ORDER RE: THE ALTER EGO CLAIMS;
                                               REVIEW AND ANALYZE REVISIONS TO
                                               THE LETTER RE: ALTER EGO CLAIMS;
                                               REVISE THE LETTER RE: THE ALTER
                                               EGO CLAIMS.

            10/06/24     Niles-Weed, Robert    REVIEW AND REVISE ALTER EGO         2.90   71832229   5,002.50
                         B.                    LETTER/PROPOSED ORDER.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 36 of 419 PageID
                                                            #: 35788




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                         Hours       Index   Amount

            10/06/24     Bentley, Chase A.     REVIEW PROPOSED ORDER AND           4.40   71830186   7,018.00
                                               LETTER AND COMMENT ON SAME;
                                               PHONE CALLS AND EMAILS WITH
                                               WEIL, SPPS AND BUYER RE SAME;
                                               EMAILS RE OFAC.

            10/06/24     Rubin, Avi            INCORPORATE WEIL M&A                0.50   71833921    645.00
                                               COMMENTS TO BIDDER PROTECTION
                                               SUMMARY TABLE; CORRESPONDENCE
                                               WITH WEIL M&A REGARDING WIP
                                               LIST, ESCROW AGREEMENT AND
                                               PAYING AGENT AGREEMENT.

            10/06/24     Kamath, Priya         RESEARCH INJUNCTIONS ISSUED IN      7.70   71827933   9,047.50
                                               FEDERAL COURTS AND
                                               PARTICULARLY THE THIRD CIRCUIT
                                               FOR A. CURTIS.

            10/06/24     Mackinnon, Josh       UPDATE WIP LIST AND SEND TO RX      0.50   71833101    497.50
                                               TEAM.

            10/06/24     Koivistoinen, Tanja   REVIEW TRANSFER AND SECURITIES      2.80   71896245   4,116.00
                                               LAWS PROVISIONS OF THE TRUST
                                               AGREEMENT PRECEDENTS.

            10/06/24     Burrus, Maigreade     CALL WITH CRYSTALLEX, CONOCO,       1.50   71905410   2,130.00
                         B.                    AND SPECIAL MASTER: CALL WITH
                                               WEIL TEAM RE: DEAL TERMS.

            10/07/24     Lender, David J.      REVIEW OIEG COMPLAINT; TEAM         2.00   71851204   3,990.00
                                               MEETING RE ALTER EGO; TELEPHONE
                                               CALL WITH OIEG COUNSEL AND
                                               TELEPHONE CALL WITH TEAM RE
                                               SAME; REVIEW REVISE ORDER AND
                                               LETTER.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 37 of 419 PageID
                                                            #: 35789




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/07/24     Ortiz, Heather L.     REVIEW DOCUMENTS FOR                 5.00   71894086   2,975.00
                                               RESPONSIVENESS, PRIVILEGE AND
                                               CONFIDENTIALITY.

            10/07/24     McGovern, Kate        REVIEW DOCUMENTS FOR                 4.90   71854152   2,915.50
                                               PRODUCTION.

            10/07/24     Friedmann, Jared R.   TEAM CALL RE: ADDRESSING ALTER       4.90   71858970   8,795.50
                                               EGO ISSUES IN LIGHT OF CALLS WITH
                                               COUNSEL FOR CREDITORS AND
                                               BIDDERS; WIP MEETING WITH
                                               RESTRUCTURING, LITIGATION AND
                                               CORPORATE TEAMS; CALL WITH
                                               COUNSEL FROM WEIL, AKIN, QE,
                                               GIBSON AND WACHTELL RE: ALTER
                                               EGO ISSUES AND DRAFT ORDER AND
                                               LETTER; EMAILS WITH R.JAEGER RE:
                                               STATUS OF DOCUMENT REVIEW AND
                                               COLLECTION OF SUPPLEMENTAL
                                               PRODUCTION; CALL WITH COUNSEL
                                               FOR OIEG RE: STATUS OF ALTER AGO
                                               COMPLAINT AND POSITION IN
                                               CONNECTION WITH SAME;
                                               LITIGATION TEAM CALL RE: STATUS
                                               UPDATES AND NEXT STEPS; REVIEW
                                               AND REVISE REVISE DRAFT ORDER
                                               AND DRAFT COVER LETTER TO COURT
                                               RE: ALTER EGO ISSUES; EMAILS WITH
                                               TEAM RE: COMMENTS TO SAME;
                                               REVIEW REVISE DRAFT LETTER AND
                                               EMAILS WITH A.CURTIS RE:
                                               CIRCULATING SAME TO
                                               RESTRUCTURING TEAM.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 38 of 419 PageID
                                                            #: 35790




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/07/24     Keenan, Eoghan P.     REVIEW TRUST DOCUMENTATION          3.70   71844887   6,641.50
                                               PRECEDENT; MEET WITH WEIL RX,
                                               LITIGATION, CAPITAL MARKETS AND
                                               M&A TEAM RE: COURT STATUS,
                                               ALTER EGO CLAIMS AND
                                               ENGAGEMENT WITH ELLIOTT TEAM;
                                               REVIEW WORKING CAPITAL TERMS
                                               AND CALL WITH M. WINTERHOLLER
                                               RE: EXAMPLE CALCULATIONS.

            10/07/24     Welch, Timothy C.     REVIEW AND RESPOND TO               3.20   71872142   5,600.00
                                               COMMENTS AND EDITS AND REVISE
                                               DRAFT TALKING POINTS FOR
                                               MEETING WITH U.S. GOVERNMENT;
                                               CALL AND EXCHANGE EMAILS WITH
                                               C. BENTLEY REGARDING SAME;
                                               EXCHANGE EMAILS WITH S. KINI
                                               FROM DEBEVOISE REGARDING OFAC
                                               LICENSE APPLICATION AND
                                               FOLLOW-UP QUESTIONS FOR TALKING
                                               POINTS; CALL WITH E. WERNER FROM
                                               DEBEVOISE REGARDING SAME;
                                               EXCHANGE EMAILS WITH C. BENTLEY,
                                               F. VELEZ, AND S. LIU REGARDING
                                               MEETING WITH DEBEVOISE IN
                                               ADVANCE OF MEETING WITH
                                               GOVERNMENT.

            10/07/24     Schrock, Ray C.       CALLS WITH NUMEROUS PARTIES RE:     3.80   71900830   8,930.00
                                               TRANSACTION AND REVIEW
                                               DOCUMENTS RELATED TO SAME;
                                               PHONE CALLS WITH WEIL TEAMS RE:
                                               ALTER EGO.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 39 of 419 PageID
                                                            #: 35791




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/07/24     Welch, Alexander      CALL WITH WEIL TEAM; CALL RE:       0.80   71912051    1,436.00
                         W.                    ALTER EGO CLAIMS; DISCUSS NEXT
                                               STEPS.

            10/07/24     Shefa, Yonatan        ATTEND WIP MEETING; WEIL            2.00   71871606    2,840.00
                                               LITIGATION TEAM STRATEGY
                                               MEETINGS; CORRESPONDENCE WITH
                                               WEIL LITIGATION AND
                                               RESTRUCTURING TEAMS RE: ALTER
                                               EGO ISSUES AND LETTER TO COURT.

            10/07/24     Curtis, Aaron J.      CALL WITH THE WEIL ASSOCIATES TO    7.30   71843932   11,643.50
                                               DISCUSS RESEARCH RE: THE ALTER
                                               EGO CLAIMS; CALL WITH
                                               CRYSTALLEX, CONOCO, AND ELLIOTT
                                               TO DISCUSS THE LETTER AND
                                               PROPOSED ORDER RE: ALTER EGO
                                               CLAIMS; CALL WITH THE WEIL
                                               LITIGATION TEAM TO DISCUSS ALTER
                                               EGO CLAIMS, DOCUMENT REVIEW,
                                               AND SALE ORDER; CALL WITH D.
                                               LENDER AND R. NILES-WEED RE: THE
                                               LETTER RE: ALTER EGO CLAIMS;
                                               REVIEW AND RESPOND TO EMAILS RE:
                                               THE ALTER EGO CLAIMS; REVISE THE
                                               LETTER AND PROPOSED ORDER RE:
                                               SAME.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 40 of 419 PageID
                                                            #: 35792




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours       Index    Amount

            10/07/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS         3.50   71904718    4,742.50
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO VENEZUELA PARTIES' REQUESTS
                                               FOR PRODUCTION AND CODE
                                               DOCUMENTS AS APPROPRIATE;
                                               ATTEND WIP MEETING TO DISCUSS
                                               ONGOING WORKSTREAMS AND
                                               PROJECTS; DRAFT AND SEND EMAILS
                                               REGARDING TRANSCRIPT OF
                                               HEARING; CONFER WITH LITIGATION
                                               TEAM REGARDING ONGOING
                                               WORKSTREAMS AND PROJECTS.

            10/07/24     Niles-Weed, Robert    CALLS RE: LETTER AND PROPOSED        5.00   71849046    8,625.00
                         B.                    ORDER IN RESPONSE TO 10/2 ORAL
                                               ORDER; REVIEW AND REVISING DRAFT
                                               LETTER AND PROPOSED ORDER IN
                                               RESPONSE TO 10/2 ORAL ORDER, AND
                                               COMMUNICATIONS RE: SAME.

            10/07/24     Bentley, Chase A.     EMAILS RE ALTER EGO; REVIEW         11.80   71898773   18,821.00
                                               PROPOSED ORDER AND LETTER;
                                               REVIEW MATERIALS RE OFAC
                                               LICENSE; ATTEND WEIL WIP CALL;
                                               PHONE CALL WITH BUYER,
                                               CRYSTALLEX, AND CONOCO RE ALTER
                                               EGO; PHONE CALL WITH T. WELCH RE
                                               OFAC; PHONE CALL WITH AJC RE
                                               ALTER EGO; PHONE CALL WITH
                                               CRYSTALLEX RE ALTER EGO AND
                                               ELLIOTT SPA; MULTIPLE EMAILS
                                               REGARDING THE FOREGOING; REVIEW
                                               MOTION; REVIEW FEE REPORT;
                                               ATTEND WEIL WIP CALL.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 41 of 419 PageID
                                                            #: 35793




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/07/24     Rubin, Avi            ATTEND INTERNAL CHECK-IN CALLS;     4.20   71855725   5,418.00
                                               CALLS WITH EVERCORE TO DISCUSS
                                               SPA ITEMS; CORRESPONDENCE WITH
                                               WEIL M&A REGARDING SPA R&W
                                               ITEMS; UPDATE AND CIRCULATE
                                               LIMITED GUARANTEE AND EQUITY
                                               COMMITMENT LETTER DRAFTS;
                                               CORRESPONDENCE WITH JONES DAY
                                               TEAM REGARDING DISCLOSURE
                                               SCHEDULES ITEMS.

            10/07/24     Gehnrich, Charles     ATTEND LITIGATION TEAM MEETING      3.30   71878519   3,877.50
                                               TO DISCUSS RESEARCH; CONDUCT
                                               RESEARCH RE: IN REM JURISDICTION
                                               FOR LETTER TO THE COURT; ATTEND
                                               WEEKLY LITIGATION MEETING.

            10/07/24     Kamath, Priya         REVIEW RESEARCH MEMO BY G.          3.70   71838662   4,347.50
                                               SANGIOVANNI; MEETING WITH
                                               RESTRUCTURING, M&A AND
                                               LITIGATION TEAMS TO DISCUSS
                                               WORKS IN PROGRESS; LITIGATION
                                               TEAM MEETING WITH A. CURTIS AND
                                               Y. SHEFA TO DISCUSS OUTSTANDING
                                               RESEARCH QUESTIONS IN
                                               CONNECTION WITH DRAFT LETTER TO
                                               THE COURT; LITIGATION TEAM
                                               MEETING WITH J. FRIEDMANN AND R.
                                               NILES-WEED TO DISCUSS WORKS IN
                                               PROGRESS; RESEARCH RE: ASSET
                                               SALES FOR A. CURTIS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 42 of 419 PageID
                                                            #: 35794




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/07/24     Smith, Kara           LITIGATION TEAM MEETING; REVIEW      7.50   72035042   8,812.50
                                               DOCUMENT PRODUCTIONS TO
                                               VENEZUELA PARTIES; CONDUCT
                                               RESEARCH RE: PRINCESS LIDA
                                               DOCTRINE FOR ALTER EGO RESPONSE;
                                               REVIEW DOCUMENTS FOR
                                               PRODUCTIONS TO VENEZUELA
                                               PARTIES; RESEARCH MEETING WITH
                                               ASSOCIATE TEAM; WIP MEETING;
                                               SEND FOLLOW UP RESEARCH TO C.
                                               GEHNRICH AND COORDINATE RUSORO
                                               FILINGS WITH E. EVANS; LITIGATION
                                               TEAM ASSOCIATE MEETING.

            10/07/24     Logan, Savannah L.    CORRESPONDENCE RE EX-US FILINGS.     0.40   71880348    470.00

            10/07/24     Sharma, Sakshi        CALL WITH WEIL RX AND M&A RE:        0.50   71845370    735.00
                                               DEAL.

            10/07/24     Balido, Catherine     REVISE JULY REPORT; UPDATE WIP       2.50   71908327   2,487.50
                                               LIST WITH M&A AND LITIGATION
                                               COMMENTS; DRAFT STATUS REPORT.

            10/07/24     Evans, Emma           REVISE WEIL TEAM MEETING             6.10   71874050   6,069.50
                                               AGENDA; PREPARE AGENDA FOR
                                               LITIGATION TEAM MEETING; REVIEW
                                               DOCUMENTS FOR PRODUCTION TO
                                               VENEZUELA PARTIES; CALL RE:
                                               RESEARCH WORKSTREAMS FOR
                                               ALTER EGO CLAIMANTS; CONDUCT
                                               RESEARCH RE: ALTER EGO
                                               CLAIMANTS; ATTEND WEIL
                                               LITIGATION TEAM MEETING.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 43 of 419 PageID
                                                            #: 35795




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/07/24     Mackinnon, Josh       ATTEND WIP CALL; UPDATE WGL          1.80   71845268   1,791.00
                                               AND WORKSTREAM LIST; ATTEND
                                               M&A CHECK-IN.

            10/07/24     Serviss, Jess         ATTEND WORK-IN-PROGRESS              0.50   71844742    497.50
                                               MEETING WITH WEIL TEAM.

            10/07/24     Koivistoinen, Tanja   REVIEW TRUST AGREEMENT               3.30   71896253   4,851.00
                                               PRECEDENTS AND TRUST STRUCTURE
                                               TERM SHEET; ATTEND INTERNAL
                                               WEIL M&A STATUS MEETING; REVIEW
                                               SUMMARY OF THE WIP CALL.

            10/07/24     Fernandez, Ricardo    REVIEW EMAILS FROM/TO WEIL           0.10   71848664    129.00
                                               TAX/CORPORATE.

            10/07/24     Roberts, Ian          ATTEND WORK-IN-PROCESS CALL          1.60   71844317   2,064.00
                                               WITH WEIL TEAMS; CALL WITH M.
                                               BURRUS RE JULY FEE REPORT; REVIEW
                                               DRAFT OF SAME AND SEND
                                               COMMENTS TO C. BALIDO.

            10/07/24     Burrus, Maigreade     ATTEND WEIL WIP; CALL WITH           3.30   71905258   4,686.00
                         B.                    ELLIOTT, CONOCO, AND CRYSTALLEX
                                               RE: DEAL TERMS: REVIEW AND REVISE
                                               JULY REPORT.

            10/07/24     Ramsey, Alexis        CONDUCT DOCUMENT REVIEW FOR          2.40   71847916   3,096.00
                                               PRIVILEGE, RELEVANCE, AND
                                               CONFIDENTIALITY.

            10/07/24     Clarke, Andrew        DRAFT STATUS REPORT; ATTEND          1.00   71841186   1,355.00
                                               WEIL WIP MEETING.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 44 of 419 PageID
                                                            #: 35796




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/07/24     Vélez, Francisco J.   ATTENTION AND RESPONSE TO            0.40   71859262    568.00
                                               CORRESPONDENCE(S) RECEIVED;
                                               DISCUSS UPCOMING MEETING WITH
                                               GOVERNMENT WITH T. WELCH.

            10/08/24     Lender, David J.      ANALYZE ALTER EGO ISSUES;            4.70   71873535   9,376.50
                                               MEETING WITH R. NILES-WEED AND A.
                                               CURTIS RE SAME; TELEPHONE CALL
                                               WITH QUINN RE PROPOSED ORDER;
                                               TEAM TELEPHONE CALL RE SAME;
                                               ANALYZE ORDER AND REVISE SAME;
                                               TELEPHONE CALL WITH QUINN RE
                                               REVISE ORDER; TELEPHONE CALL
                                               WITH CONOCO, CRYSTALLEX RE
                                               ORDER; TELEPHONE CALL WITH
                                               QUINN RE ORDER; ANALYZED ALTER
                                               EGO CLAIMS; TELEPHONE CALL WITH
                                               C. BENTLEY RE SAME; TELEPHONE
                                               CALL WITH R. SCHROCK RE SAME.

            10/08/24     McGovern, Kate        REVIEW DOCUMENTS FOR                 4.00   71874449   2,380.00
                                               PRODUCTION.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 45 of 419 PageID
                                                            #: 35797




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index    Amount

            10/08/24     Friedmann, Jared R.   EMAILS WITH TEAM RE:                  2.20   71903278    3,949.00
                                               NEGOTIATION OF INJUNCTIVE ORDER
                                               AND QE'S POSITION RE: SAME; REVIEW
                                               REVISE DRAFT ORDER AND COVER
                                               LETTER TO COURT; EMAILS WITH
                                               TEAM RE: COMMENTS TO SAME;
                                               WEIL/EVERCORE WEEKLY CHECK-IN
                                               CALL; REVIEW ELLIOTT DRAFT OF
                                               INJUNCTIVE ORDER; EMAILS WITH
                                               INTERESTED PARTIES RE: SAME;
                                               REVIEW ELLIOTT SPA WATERFALL
                                               ILLUSTRATION; REVIEW DRAFT
                                               LETTER REQUESTING ADDITIONAL
                                               TIME TO PROVIDE REVISE PROPOSED
                                               INJUNCTION ORDER; CALL WITH
                                               A.CURTIS RE: SAME; EMAILS WITH
                                               R.JAEGER RE: STATUS OF DOCUMENT
                                               REVIEW AND COLLECTING
                                               SUPPLEMENTAL EMAILS FROM WEIL
                                               AND EVERCORE; EMAILS RE:
                                               PRIVILEGE ISSUES.

            10/08/24     Keenan, Eoghan P.     WEEKLY MEETING WITH WEIL AND          5.70   71874001   10,231.50
                                               EVERCORE TEAMS RE: ENGAGEMENT
                                               WITH ELLIOTT, SALE PROCESS
                                               PARTIES AND THE COURT; REVIEW
                                               TALKING POINTS FROM OFAC
                                               COUNSEL; CALL WITH T. WELCH RE:
                                               ENGAGEMENT WITH OFAC
                                               REGULATORS; CALLS WITH SPECIAL
                                               MASTER, WEIL AND EVERCORE RE:
                                               REVIEW OF WATERFALL EXAMPLES
                                               AND SCENARIOS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 46 of 419 PageID
                                                            #: 35798




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/08/24     Welch, Timothy C.     EXCHANGE EMAILS WITH R. DURA        2.50   71872141   4,375.00
                                               FROM DEBEVOISE REGARDING
                                               MEETING TO DISCUSS TALKING
                                               POINTS FOR MEETING WITH U.S.
                                               GOVERNMENT; MEET AND EXCHANGE
                                               EMAILS WITH F. VELEZ AND
                                               EXCHANGE EMAILS WITH C. BENTLEY
                                               REGARDING SAME; REVISE DRAFT
                                               TALKING POINTS; PREPARE FOR AND
                                               PARTICIPATE IN MEETING WITH
                                               DEBEVOISE; EXCHANGE EMAILS WITH
                                               S. LIU REGARDING DISCUSSION
                                               DURING UPDATE CALL REGARDING
                                               ALTER EGO AND WATERFALL ISSUES;
                                               EXCHANGE EMAILS WITH C. BENTLEY
                                               REGARDING GOLD RESERVE
                                               OUTREACH; MEET AND EMAIL F.
                                               VELEZ REGARDING SAME, REVIEW
                                               HEARING TRANSCRIPT, AND
                                               TRACKING OF DOCKET; CALL AND
                                               EXCHANGE EMAILS WITH E. KEENAN
                                               REGARDING MEETING WITH
                                               GOVERNMENT AND SPA COVENANTS.

            10/08/24     Schrock, Ray C.       PREP FOR IN PERSON MEETINGS WITH    3.00   71900569   7,050.00
                                               BUYER AND SPPS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 47 of 419 PageID
                                                            #: 35799




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/08/24     Shefa, Yonatan        REVIEW DOCKETS FROM ALTER EGO       5.60   71878543    7,952.00
                                               CASES AND CORRESPONDENCE WITH
                                               WEIL LITIGATION TEAM RE: SAME;
                                               ANALYZE CASE LAW PERTAINING TO
                                               ALTER EGO ISSUES AND
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION TEAM RE: SAME; REVIEW
                                               DRAFT LETTER TO JUDGE STARK AND
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: SAME; ANALYZE
                                               DOCUMENTS FOR PRODUCTION.

            10/08/24     Mosin, Olga           PREPARE DOCUMENTS FOR REVIEW.       1.70   72046337     833.00

            10/08/24     Curtis, Aaron J.      CALL WITH CRYSTALLEX AND            6.90   71878376   11,005.50
                                               CONOCO TO DISCUSS THE PROPOSED
                                               ORDER; CALL WITH ELLIOTT TO
                                               DISCUSS THE PROPOSED ORDER;
                                               CALLS WITH THE WEIL TEAM TO
                                               DISCUSS THE PROPOSED ORDER AND
                                               LETTER; REVISE PROPOSED ORDER
                                               AND LETTER RE: ALTER EGO CLAIMS;
                                               REVIEW AND RESPOND TO EMAILS RE:
                                               THE ALTER EGO CLAIMS.

            10/08/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        4.40   71887939    5,962.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO VENEZUELA PARTIES' DOCUMENT
                                               REQUESTS AND CODE DOCUMENTS AS
                                               APPROPRIATE.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 48 of 419 PageID
                                                            #: 35800




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/08/24     Niles-Weed, Robert    REVIEW FILINGS IN GRAMERCY ALTER    6.40   71877881   11,040.00
                         B.                    EGO ACTION RE: DELAWARE
                                               PROCEEDINGS; COMMUNICATIONS RE:
                                               RESPONSE TO 10/2 ORAL ORDER;
                                               DRAFTING, REVISING, AND
                                               FINALIZING LETTER RE: EXTENSION
                                               REQUEST TO RESPOND TO 10/2 ORAL
                                               ORDER.

            10/08/24     Bentley, Chase A.     EMAIL AND PHONE CALLS WITH T.       7.80   71880334   12,441.00
                                               WELCH AND BUYER COUNSEL RE
                                               OFAC; ATTEND WEEKLY CHECK-IN
                                               CALL WITH EVERCORE; REVIEW
                                               WATERFALL ANALYSIS; MULTIPLE
                                               EMAILS AND CALLS RE ALTER EGO;
                                               REVIEW AND REVISE LETTER RE
                                               ALTER EGO; REVIEW AND REVISE
                                               BIDDER PROTECTION MOTION; DRAFT
                                               ILLUSTRATIVE SALE TIMELINE;
                                               PREPARE MATERIALS FOR UPCOMING
                                               MEETING WITH BUYER AND SPPS.

            10/08/24     Rubin, Avi            CALLS WITH WEIL M&A; CALLS WITH     3.60   71875434    4,644.00
                                               EVERCORE AND SPECIAL MASTER;
                                               COORDINATE DISCLOSURE
                                               SCHEDULES ITEMS; COORDINATE
                                               SIGNING ITEMS.

            10/08/24     Gehnrich, Charles     CONDUCT RESEARCH RE: IN REM         4.50   71878526    5,287.50
                                               JURISDICTION; REVIEW ALTER-EGO
                                               MATTER DOCKETS; SUMMARIZE
                                               RESEARCH RE IN REM JURISDICTION,
                                               AND RELATED CORRESPONDENCE;
                                               CONDUCT DOCUMENT REVIEW.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 49 of 419 PageID
                                                            #: 35801




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/08/24     Kamath, Priya         RESEARCH RE: ASSET SALES FOR A.     5.40   71859047    6,345.00
                                               CURTIS; REVIEW BRIEFING RELATED
                                               TO INJUNCTION MOTION AND
                                               COMPILE TO PREPARE FOR MEETING
                                               BETWEEN SPECIAL MASTER AND
                                               EVERCORE.

            10/08/24     Smith, Kara           REVIEW DOCUMENT PRODUCTIONS         8.90   71914647   10,457.50
                                               TO VENEZUELA PARTIES; CONDUCT
                                               RESEARCH RE: JURISDICTION;
                                               RESEARCH QUESTIONS ON ALTER EGO
                                               ISSUES FOR INJUNCTION MOTION
                                               RESPONSE.

            10/08/24     Sharma, Sakshi        CALL WITH WEIL RX AND M&A RE:       0.30   71874837     441.00
                                               STATUS UPDATE.

            10/08/24     Okada, Tyler          REVIEW RECENTLY FILED PLEADINGS,    0.40   71904820     140.00
                                               PREPARE UPDATED DOCKET
                                               SCHEDULE FOR TEAM REVIEW.

            10/08/24     Balido, Catherine     ATTEND WEEKLY CALL WITH             0.50   71908030     497.50
                                               EVERCORE.

            10/08/24     Evans, Emma           RESEARCH RE: ALTER EGO DOCKETS;     4.10   71876758    4,079.50
                                               CORRESPONDENCE RE: ALTER EGO
                                               PLAINTIFFS; REVIEW DOCUMENTS
                                               FOR PRODUCTION TO VENEZUELA
                                               PARTIES.

            10/08/24     Mackinnon, Josh       ATTEND EVERCORE CHECK-IN            0.50   71876270     497.50
                                               MEETING WITH WEIL TEAM.

            10/08/24     Serviss, Jess         ATTEND CHECK-IN MEETING WITH        0.30   71873593     298.50
                                               EVERCORE AND WEIL TEAMS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 50 of 419 PageID
                                                            #: 35802




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/08/24     Koivistoinen, Tanja   ATTEND WIP CALL AND INTERNAL        0.90   71896256   1,323.00
                                               WEIL M&A MEETING RE: STATUS.

            10/08/24     Roberts, Ian          ATTEND WEIL/EVERCORE WEEKLY         1.80   71877657   2,322.00
                                               CHECK-IN CALL; CORRESPOND WITH
                                               C. BENTLEY RE UPCOMING MEETING;
                                               COORDINATE SAME; PREPARE
                                               MATERIALS FOR SAME.

            10/08/24     Burrus, Maigreade     CALL WITH WEIL RE: SPA; PREPARE     5.00   71905374   7,100.00
                         B.                    JULY INVOICE; PREPARE FOR
                                               ALL-HANDS MEETING.

            10/08/24     Ramsey, Alexis        CONDUCT DOCUMENT REVIEW FOR         0.30   71874799    387.00
                                               PRIVILEGE, RELEVANCE, AND
                                               CONFIDENTIALITY.

            10/08/24     Clarke, Andrew        ATTEND CALL WITH WEIL AND           0.60   71859379    813.00
                                               EVERCORE TEAMS RE: SALE PROCESS;
                                               REVIEW VARIOUS EMAILS FROM WEIL
                                               TEAM.

            10/08/24     Vélez, Francisco J.   ATTENTION AND RESPONSE TO           4.90   71873520   6,958.00
                                               CORRESPONDENCE(S) RECEIVED;
                                               DISCUSS UPCOMING MEETING WITH
                                               GOVERNMENT WITH T. WELCH;
                                               REVIEW AND SUMMARIZE THE 10/1
                                               INJUNCTION HEARING; REVIEW
                                               DOCKET AND SEND SUMMARY TO T.
                                               WELCH IN PREPARATION FOR
                                               MEETING WITH OFAC; MEETING WITH
                                               BUYER'S SANCTIONS COUNSEL.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 51 of 419 PageID
                                                            #: 35803




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/09/24     Lender, David J.      TELEPHONE CALL WITH R.              1.80   71880270   3,591.00
                                               NILES-WEED RE ALTER EGO; ANALYZE
                                               ALTER EGO ISSUES; TELEPHONE CALL
                                               WITH EIMER RE ALTER EGO CLAIMS;
                                               ANALYZE CHANNELING INJUNCTIONS;
                                               TELEPHONE CALL WITH CHASE RE
                                               MEETING; TELEPHONE CALL WITH
                                               CURTIS RE SAME.

            10/09/24     McGovern, Kate        REVIEW DOCUMENTS FOR                1.20   71879501    714.00
                                               PRODUCTION.

            10/09/24     Friedmann, Jared R.   REVIEW SIEMENS’ ALTER EGO           2.70   71903093   4,846.50
                                               COMPLAINT; MEET WITH A.CURTIS
                                               RE: PREPARING FOR METING WITH
                                               COUNSEL FOR CREDITORS AND
                                               ELLIOTT; CALL WITH R.SCHROCK RE:
                                               SAME; EMAILS WITH TEAM RE:
                                               SAME; REVIEW COMPETING DRAFTS
                                               OF PROPOSED INJUNCTION ORDERS TO
                                               PREPARE FOR MEETING; ATTEND
                                               MEETING WITH COUNSEL FOR
                                               CREDITORS AND ELLIOTT (PART);
                                               EMAILS WITH TEAM RE: SAME;
                                               REVIEW DRAFT LANGUAGE TO
                                               RESPOND TO GOLD RESERVE AND
                                               EMAILS WITH TEAM RE: SAME.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 52 of 419 PageID
                                                            #: 35804




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/09/24     Keenan, Eoghan P.     CALL WITH GIBSON, WLRK, EVERCORE    9.20   71883883   16,514.00
                                               AND WEIL RE: PURCHASE PRICE
                                               ADJUSTMENTS IN THE SPA; ATTEND
                                               IN PERSON MEETING WITH
                                               CRYSTALLEX, CONOCO AND ELLIOTT
                                               (WITH OUTSIDE COUNSEL) RE:
                                               INJUNCTION MOTION AND DEAL
                                               TERMS; MEET WITH WEIL M&A TEAM
                                               RE: REVIEW EARN-OUT PROVISIONS
                                               AND EVERCORE ILLUSTRATIVE
                                               WATERFALL CALCULATIONS; CALL
                                               WITH EVERCORE RE: TREATMENT OF
                                               CLAIMS.

            10/09/24     Welch, Timothy C.     REVISE TALKING POINTS FOR           5.60   71885077    9,800.00
                                               MEETING WITH THE U.S.
                                               GOVERNMENT; MEET AND EXCHANGE
                                               EMAILS WITH S. LIU, EXCHANGE
                                               EMAILS WITH C. BENTLEY, AND CALL
                                               WITH E. KEENAN REGARDING SAME;
                                               PREPARE FOR AND PARTICIPATE IN
                                               MEETING WITH THE DEPARTMENTS
                                               OF JUSTICE, TREASURY, AND STATE;
                                               EXCHANGE EMAILS WITH R. DURA
                                               FROM DEBEVOISE REGARDING SAME;
                                               EXCHANGE EMAILS WITH S. LIU
                                               REGARDING NOTES FROM MEETING.

            10/09/24     Schrock, Ray C.       PREP AND ATTEND IN PERSON           8.10   71900441   19,035.00
                                               MEETINGS WITH SALE PROCESS
                                               PARTIES AND BUYER; DISCUSS SAME
                                               WITH WEIL, EVERCORE AND SM.

            10/09/24     Welch, Alexander      PREPARE FOR AND ATTEND IN           4.50   71899473    8,077.50
                         W.                    PERSON MEETING WITH BIDDER/SPPS;
                                               DISCUSS SAME.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 53 of 419 PageID
                                                            #: 35805




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount


            10/09/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL            1.20   71896103    1,704.00
                                               LITIGATION TEAM RE: ALTER EGO
                                               ISSUES AND OUTREACH FROM GOLD
                                               RESERVE.

            10/09/24     Curtis, Aaron J.      ATTEND MEETING WITH                 6.30   71886591   10,048.50
                                               CRYSTALLEX, CONOCO, AND ELLIOTT
                                               TO DISCUSS THE PROPOSED ORDER,
                                               TIMELINE, AND DEAL STRUCTURE;
                                               MEET WITH R. NILES-WEED TO
                                               DISCUSS THE PROPOSED ORDER RE:
                                               ALTER EGO CLAIMS; CALLS WITH THE
                                               WEIL TEAM TO DISCUSS THE LETTER
                                               RE: GOLD RESERVE AND THE ALTER
                                               EGO CLAIMS; REVIEW AND ANALYZE
                                               RESEARCH RE: CHANNELING
                                               INJUNCTIONS; REVIEW AND RESPOND
                                               TO EMAILS RE: THE ALTER EGO
                                               CLAIMS, CHANNELING INJUNCTIONS,
                                               AND THE GOLD RESERVE LETTER.

            10/09/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        4.50   71904553    6,097.50
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO REQUESTS FOR PRODUCTION AND
                                               CODE DOCUMENTS AS APPROPRIATE;
                                               DRAFT AND SEND EMAILS
                                               REGARDING HEARING TRANSCRIPT.

            10/09/24     Niles-Weed, Robert    COORDINATING AND REVIEW             4.60   71887400    7,935.00
                         B.                    RESEARCH RE: CHANNELING
                                               INJUNCTIONS; COMMUNICATIONS RE:
                                               RESEARCH REQUESTS ARISING FROM
                                               IN-PERSON MEETING REGARDING
                                               ALTER EGO ACTIONS AND REVISED
                                               PROPOSED ORDER.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 54 of 419 PageID
                                                            #: 35806




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                         Hours        Index    Amount

            10/09/24     Bentley, Chase A.     PREPARE FOR AND ATTEND IN           11.10   71880287   17,704.50
                                               PERSON MEETINGS WITH BUYER AND
                                               SPPS; REVIEW EVERCORE WATERFALL
                                               ANALYSIS; PHONE CALL WITH SPPS
                                               RE SAME; REVIEW AND REVISE FEE
                                               REPORT; DRAFT RESPONSES TO AJC
                                               LETTERS; DISCUSS SAME WITH
                                               SPECIAL MASTER AND WEIL.

            10/09/24     Rubin, Avi            ATTEND CALLS WITH WLRK AND           6.50   71884532    8,385.00
                                               GIBSON, EMERALD AND SPECIAL
                                               MASTER; CALL WITH EVERCORE TO
                                               DISCUSS SPA PURCHASE PRICE
                                               MECHANICS; ATTEND INTERNAL
                                               CHECK-IN CALL; PULL ESCROW
                                               INTEREST PROVISIONS FROM SPA;
                                               CORRESPONDENCE WITH JD
                                               REGARDING DISCLOSURE SCHEDULES;
                                               REVIEW EVERCORE CLOSING
                                               CONSIDERATION EXCEL TABLES.

            10/09/24     Gehnrich, Charles     CONDUCT RESEARCH RE;                 4.50   71893163    5,287.50
                                               CHANNELING INJUNCTIONS;
                                               CONDUCT RESEARCH RE: IN REM
                                               JURISDICTION; CONDUCT DOCUMENT
                                               REVIEW.

            10/09/24     Kamath, Priya         RESEARCH RE: ASSET SALES; DRAFT      2.40   71874327    2,820.00
                                               SUMMARY OF SAME.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 55 of 419 PageID
                                                            #: 35807




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                         Hours       Index   Amount

            10/09/24     Smith, Kara           REVIEW DOCUMENT PRODUCTIONS         8.40   71914726   9,870.00
                                               TO VENEZUELA PARTIES; DRAFT
                                               LETTER IN RESPONSE TO GOLD
                                               RESERVE; RESEARCH CHANNELING
                                               INJUNCTION FOR ALTER EGO
                                               RESPONSE; REVIEW DOCUMENT
                                               PRODUCTIONS IN RESPONSE TO
                                               VENEZUELA REQUESTS.

            10/09/24     Okada, Tyler          UPDATE CASE CALENDAR.               0.10   71905066     35.00

            10/09/24     Balido, Catherine     COORDINATE WITH PARALEGAL ON        0.20   71908238    199.00
                                               CASE CALENDAR; CIRCULATE JULY
                                               STATUS REPORT FOR REVIEW.

            10/09/24     Evans, Emma           CORRESPONDENCE RE: ALTER EGO        2.30   71885694   2,288.50
                                               CLAIMS, SALE TRANSACTION; CALL
                                               WITH G SANGIOVANI RE: ALTER EGO
                                               CLAIMS; REVIEW DOCUMENTS FOR
                                               PRODUCTION TO VENEZUELA
                                               PARTIES.

            10/09/24     Mackinnon, Josh       ATTEND M&A CHECK-IN; UPDATE         1.20   71888931   1,194.00
                                               DEAL CHRONOLOGY FOR IN-PERSON
                                               MEETING.

            10/09/24     Serviss, Jess         ATTEND CHECK-IN MEETING WITH        1.30   71879813   1,293.50
                                               WEIL M&A TEAM; ATTEND CALL
                                               WITH M. WINTERHOLLER AND WEIL
                                               M&A TEAM.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 56 of 419 PageID
                                                            #: 35808




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/09/24     SanGiovanni, Giana    REVIEW AND ANALYZE EMAILS FROM      1.00   71885637    995.00
                                               LITIGATION AND RX TEAMS RE:
                                               STATUS UPDATES; EMAIL LITIGATION
                                               TEAM RE: ALTER-EGO SUIT; DISCUSS
                                               MATTER UPDATES FOLLOWING OCT. 1
                                               HEARING ON PHONE WITH E. EVANS;
                                               UPDATE LITIGATION TASK LIST.

            10/09/24     Koivistoinen, Tanja   ATTEND INTERNAL M&A MEETING RE:     1.60   71896261   2,352.00
                                               STATUS; REVIEW EARN OUT TERM
                                               SHEET; ATTEND MEETING WITH
                                               EVERCORE/WEIL.

            10/09/24     Roberts, Ian          COORDINATE IN-PERSON MEETING;       2.00   71888361   2,580.00
                                               DRAFT AGENDA FOR SAME;
                                               CORRESPOND WITH C. BENTLEY AND
                                               M. BURRUS RE SAME.

            10/09/24     Burrus, Maigreade     ATTEND ALL HANDS MEETING WITH       5.50   71905351   7,810.00
                         B.                    CRYSTALLEX, CONOCO, AND ELLIOTT;
                                               PREPARE FOR ALL-HANDS MEETING.

            10/09/24     Clarke, Andrew        REVIEW VARIOUS EMAIL                2.80   71877732   3,794.00
                                               CORRESPONDENCE FROM WEIL TEAM;
                                               REVIEW SPA AND SALE PROCEDURES
                                               ORDER FOR PURPOSES OF DRAFT
                                               JOINT STATUS REPORT; DRAFT JOINT
                                               STATUS REPORT.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 57 of 419 PageID
                                                            #: 35809




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                         Hours       Index   Amount

            10/09/24     Liu, Sisi             ATTEND HORIZON CALL WITH            2.40   71884250   3,252.00
                                               GOVERNMENT REPRESENTATIVES
                                               AND DEBEVOISE; REVIEW REVISE
                                               TALKING POINTS, DRAFT AND
                                               CIRCULATE NOTES MEMORIALIZING
                                               DISCUSSION; REVIEW SPA FOR
                                               RESTRICTIONS ON SELLER
                                               PROHIBITIONS ON CONVERSATIONS
                                               WITH GOVERNMENT
                                               REPRESENTATIVES AND SUMMARIZE
                                               IN A COVER EMAIL.

            10/09/24     Vélez, Francisco J.   ATTENTION AND RESPONSE TO           2.20   71882084   3,124.00
                                               CORRESPONDENCE(S) RECEIVED;
                                               REVIEW FINAL DRAFT OF THE
                                               TALKING POINTS DOCUMENT AHEAD
                                               OF THE MEETING WITH THE USG;
                                               ATTEND USG MEETING; DRAFT NOTES
                                               AND REVISE NOTES PROVIDED BY
                                               S.LIU; DISCUSSION WITH T. WELCH
                                               POST- USG MEETING.

            10/10/24     Lender, David J.      REVIEW DRAFT ORDER; TELEPHONE       0.80   71887774   1,596.00
                                               CALL WITH CURTIS RE SAME;
                                               TELEPHONE CALL WITH CURTIS RE
                                               ORDER ISSUES; TELEPHONE CALL
                                               WITH BENTLEY RE SAME.

            10/10/24     Ortiz, Heather L.     REVIEW OF DOCUMENTS FOR             5.00   71894072   2,975.00
                                               RESPONSIVENESS, PRIVILEGE AND
                                               CONFIDENTIALITY.

            10/10/24     McGovern, Kate        REVIEW DOCUMENTS FOR                3.30   71888276   1,963.50
                                               PRODUCTION.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 58 of 419 PageID
                                                            #: 35810




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/10/24     Friedmann, Jared R.   EMAILS WITH TEAM RE: GOLD           2.10   71903315    3,769.50
                                               RESERVE’S REQUEST TO MEET AND
                                               CONFER; REVIEW/REVISE REVISE
                                               DRAFT INJUNCTION ORDER AND
                                               MEET WITH A. CURTIS RE: SAME;
                                               EMAILS WITH TEAM RE:
                                               ANTICIPATED LENGTH OF SALES
                                               HEARING FOR JOINT STATUS REPORT;
                                               CALL WITH AKIN, QE, GIBSON AND
                                               WACHTELL RE: SAME AND
                                               SCHEDULING.

            10/10/24     Keenan, Eoghan P.     MEETING WITH A. RUBIN RE: REVIEW    5.40   71895556    9,693.00
                                               OF EVERCORE MODEL FOR LOCK BOX
                                               AND CLOSING CONSIDERATION;
                                               ATTEND MEET AND CONFER;
                                               MEETING WITH WEIL M&A TEAM RE:
                                               WORK STREAMS AND NEXT STEPS.
                                               REVIEW NWC AND INVENTORY
                                               PRINCIPLES.

            10/10/24     Robin, Artur          ATTEND TO PREPARATION OF            2.10   71899984     966.00
                                               DOCUMENTS FOR ATTORNEY'S
                                               REVIEW.

            10/10/24     Schrock, Ray C.       CALLS WITH NUMEROUS PARTIES RE:     5.70   71900652   13,395.00
                                               TRANSACTION AND REVIEW
                                               DOCUMENTS RELATED TO SAME;
                                               CALLS WITH BUYER COUNSEL;
                                               DISCUSS SAME WITH WEIL TEAM.

            10/10/24     Welch, Alexander      CALL WITH SPPS AND BIDDER;          1.80   71898868    3,231.00
                         W.                    DISCUSS SAME.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 59 of 419 PageID
                                                            #: 35811




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/10/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL            4.90   71896065    6,958.00
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: CORRESPONDENCE WITH
                                               SALE PARTIES; ANALYZE
                                               DOCUMENTS FOR PRODUCTION.

            10/10/24     Curtis, Aaron J.      CALL WITH CRYSTALLEX, CONOCO,       5.10   71886562    8,134.50
                                               AND ELLIOTT TO DISCUSS THE
                                               PROPOSED ORDER, TIMELINE, AND
                                               DEAL STRUCTURE; CALL WITH C.
                                               BENTLEY TO DISCUSS RESEARCH RE:
                                               SALE PROCEEDS; CALL WITH M.
                                               BURRUS TO DISCUSS SALE PROCEEDS;
                                               MEET WITH C. GEHNRICH TO DISCUSS
                                               RESEARCH RE: SALE PROCEEDS; CALL
                                               WITH D. LENDER TO DISCUSS THE
                                               PROPOSED ORDER FOR THE ALTER
                                               EGO MOTION; REVIEW AND REVISE
                                               THE PROPOSED ORDER FOR THE
                                               ALTER EGO MOTION; REVIEW AND
                                               RESPOND TO EMAILS RE: THE
                                               PROPOSED ORDER, THE SALE
                                               HEARING, AND CORRESPONDENCE
                                               WITH JUDGMENT CREDITORS; REVIEW
                                               AND REVISE THE LETTER TO THE
                                               COURT RE: THE LETTER FROM GOLD
                                               RESERVE.

            10/10/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        8.00   71887932   10,840.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO VENEZUELA PARTIES REQUESTS
                                               FOR PRODUCTION AND CODE
                                               DOCUMENTS AS APPROPRIATE.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 60 of 419 PageID
                                                            #: 35812




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/10/24     Niles-Weed, Robert    COMMUNICATIONS RE: REVISED          1.50   71887433    2,587.50
                         B.                    PROPOSED ORDER ON ALTER EGO
                                               MOTION AND JOINT STATUS REPORT.

            10/10/24     Bentley, Chase A.     REVIEW AND REVISE FEE REPORT;       7.80   71899531   12,441.00
                                               DRAFT AND SEND CORRESPONDENCE
                                               TO AJCS IN RESPONSE TO LETTERS;
                                               DISCUSS SAME WITH WEIL TEAM;
                                               DRAFT ILLUSTRATIVE SALE
                                               TIMELINE; MEET WITH WEIL RX TEAM
                                               TO DISCUSS JOINT STATUS REPORT;
                                               PHONE CALL WITH BUYER,
                                               CRYSTALLEX AND CONOCO TO
                                               DISCUSS ALTER EGO AND SALE
                                               PROCESS; MULTIPLE EMAILS AND
                                               PHONE CALLS REGARDING THE
                                               FOREGOING.

            10/10/24     Rubin, Avi            CALL WITH WEIL M&A; CALL WITH       6.20   71888313    7,998.00
                                               EVERCORE; MEET WITH WEIL M&A TO
                                               DISCUSS SPA CLOSING
                                               CONSIDERATION FILE; ATTEND
                                               INVENTORY DISCUSSION; ATTEND
                                               INTERNAL CHECK-IN CALL; REVIEW
                                               AND PROVIDE COMMENTS TO SPA
                                               QUESTIONS; CORRESPONDENCE WITH
                                               WEIL RX AND EVERCORE TEAMS
                                               REGARDING SPA CLOSING
                                               CONSIDERATION FILE.

            10/10/24     Gehnrich, Charles     CONDUCT DOCUMENT REVIEW;            4.80   71900343    5,640.00
                                               ANALYZE CASE LAW REGARDING
                                               ADEQUATE PROTECTION CONCERNS.

            10/10/24     Kamath, Priya         CONDUCT RESEARCH RE: ASSET          5.00   71885981    5,875.00
                                               SALES.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 61 of 419 PageID
                                                            #: 35813




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            10/10/24     Smith, Kara           REVIEW DOCUMENT PRODUCTIONS IN      7.00   72013615   8,225.00
                                               RESPONSE TO VENEZUELA PARTIES'
                                               REQUESTS.

            10/10/24     Okada, Tyler          ASSIST WITH PREPARATION OF          0.30   71904915    105.00
                                               MATERIALS RE: SPECIAL MASTER'S
                                               AUGUST 2024 MONTHLY REPORT.

            10/10/24     Balido, Catherine     MEETING WITH C. BENTLEY AND A.      0.80   71908081    796.00
                                               CLARKE RE: JOINT STATUS REPORT.

            10/10/24     Balido, Catherine     REVISE JULY STATUS REPORT;          3.30   71908110   3,283.50
                                               COORDINATE WITH PARALEGAL
                                               REGARDING REDACTION FOR JULY
                                               STATUS REPORT; CIRCULATE JULY
                                               STATUS REPORT TO SPECIAL MASTER
                                               TO REVIEW; ASSIST A. CLARKE IN
                                               DRAFT JOINT STATUS REPORT; PULL
                                               PRECEDENT SALE MOTIONS FOR
                                               CIRCULATION TO LITIGATION TEAM.

            10/10/24     Evans, Emma           REVIEW DOCUMENTS FOR                2.60   71885701   2,587.00
                                               PRODUCTION TO VENEZUELA
                                               PARTIES; CORRESPONDENCE RE:
                                               ALTER EGO AND SALE.

            10/10/24     Mackinnon, Josh       UPDATE WORKSTREAM LIST;             3.70   71889200   3,681.50
                                               ANSWER QUESTIONS REGARDING SPA
                                               IN EMAIL TO RX; ATTEND INVENTORY
                                               CALL; SUMMARIZE NOTES FROM
                                               INVENTORY CALL.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 62 of 419 PageID
                                                            #: 35814




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/10/24     Koivistoinen, Tanja   ATTEND INTERNAL MEETING RE:         2.20   71896251   3,234.00
                                               EVERCORE'S SPA CLOSING
                                               CONSIDERATION CALCULATION;
                                               REVIEW SPA CLOSING
                                               CONSIDERATION AND THE SPA;
                                               ATTEND WEEKLY WIP CALL; ATTEND
                                               AN INTERNAL WEIL M&A TEAM
                                               MEETING.

            10/10/24     Roberts, Ian          CALL WITH M. BURRUS RE              2.80   71888404   3,612.00
                                               WORKSTREAMS; CORRESPOND WITH
                                               C. BENTLEY AND M. BURRUS RE
                                               BIDDER PROTECTIONS MOTION;
                                               CONDUCT RESEARCH RE SAME;
                                               CORRESPOND WITH C. BALIDO RE
                                               SALE MOTIONS.

            10/10/24     Burrus, Maigreade     CALL WITH CRYSTALLEX, CONOCO,       6.30   71905259   8,946.00
                         B.                    AND ELLIOTT RE: DEAL TERMS;
                                               PREPARE BIDDER PROTECTION
                                               MOTION; PREPARE JULY REPORT:
                                               RESEARCH RE: SALE ORDER.

            10/10/24     Clarke, Andrew        MEET WITH C. BENTLEY AND C.         5.40   71902704   7,317.00
                                               BALIDO RE JOINT STATUS REPORT;
                                               EMAILS WITH WEIL M&A TEAM RE:
                                               JOINT STATUS REPORT; EMAILS WITH
                                               WEIL M&A TEAM RE: JOINT STATUS
                                               REPORT; DRAFT JOINT STATUS
                                               REPORT.

            10/10/24     Liu, Sisi             REVIEW CORRESPONDENCE RE:           0.10   71893495    135.50
                                               TOPPING PERIOD.

            10/11/24     Lender, David J.      REVIEW SCHEDULE AND TELEPHONE       0.20   71901223    399.00
                                               CALL WITH A. CURTIS RE SAME.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 63 of 419 PageID
                                                            #: 35815




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            10/11/24     Ortiz, Heather L.     REVIEW OF DOCUMENTS FOR              6.00   71925883   3,570.00
                                               RESPONSIVENESS, PRIVILEGE AND
                                               CONFIDENTIALITY.

            10/11/24     McGovern, Kate        REVIEW DOCUMENTS FOR                 6.10   71901271   3,629.50
                                               PRODUCTION.

            10/11/24     Friedmann, Jared R.   CALL WITH A. CURTIS RE: PROPOSED     1.20   71900794   2,154.00
                                               TIMELINE FOR LITIGATING ALTER
                                               EGO; DRAFT SUMMARY OF PROPOSED
                                               TIMELINE; EMAILS WITH TEAM RE:
                                               SAME; MEET AND CONFER WITH
                                               AKIN RE: SCHEDULE AND PROPOSED
                                               POSITIONS FOR BROADER MEET AND
                                               CONFER; REVIEW REVISE PROPOSED
                                               TIMELINE FOR LITIGATING ALTER EGO
                                               AND EMAILS WITH A. CURTIS RE:
                                               SAME.

            10/11/24     Keenan, Eoghan P.     REVIEW CLOSING CONSIDERATION         1.90   71895416   3,410.50
                                               AND LOCK BOX CONSIDERATION
                                               EXAMPLE CALCULATIONS FROM
                                               EVERCORE MODEL; MEETING WITH A.
                                               RUBIN RE: EVERCORE CALCULATIONS
                                               AND DEFINITIONS; CALL WITH
                                               EVERCORE AND WEIL RE: REVIEW OF
                                               LOCK BOX AND CLOSING
                                               CONSIDERATION CALCULATIONS;
                                               CALL WITH AKIN, QUINN AND WEIL
                                               TEAMS RE: MEET AND CONFER.

            10/11/24     Robin, Artur          PREPARE DOCUMENTS FOR                3.30   71899976   1,518.00
                                               ATTORNEY'S REVIEW.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 64 of 419 PageID
                                                            #: 35816




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/11/24     Schrock, Ray C.       CALLS WITH NUMEROUS PARTIES RE:      2.50   71900451   5,875.00
                                               TRANSACTION AND REVIEW
                                               DOCUMENTS RELATED TO SAME;
                                               DISCUSS SAME WITH WEIL AND SM;
                                               ATTEND WEEKLY CALL.

            10/11/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL             2.20   71909968   3,124.00
                                               LITIGATION TEAM RE: ALTER EGO
                                               ISSUES; ANALYZE DOCUMENTS FOR
                                               PRODUCTION AS PART OF DISCOVERY.

            10/11/24     Mosin, Olga           PREPARE DOCUMENTS FOR                3.10   72046345   1,519.00
                                               ATTORNEY REVIEW.

            10/11/24     Curtis, Aaron J.      CALL WITH J. FRIEDMANN TO            2.40   71894270   3,828.00
                                               DISCUSS THE TIMELINE FOR THE
                                               ALTER EGO CLAIMS; CALL WITH C.
                                               GEHNRICH TO DISCUSS RESEARCH RE:
                                               SALE PROCEEDS; CALL WITH D.
                                               LENDER RE: TIMELINE FOR THE ALTER
                                               EGO CLAIMS; CALL WITH ELLIOTT’S
                                               COUNSEL TO DISCUSS THE JOINT
                                               STATUS REPORT; PREPARE PROPOSED
                                               TIMELINE FOR THE ALTER EGO
                                               CLAIMS; REVIEW AND RESPOND TO
                                               EMAILS RE: TIMELINE AND RESEARCH
                                               RE: SALE PROCEEDS.

            10/11/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS         6.50   71904746   8,807.50
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO DOCUMENT REQUESTS AND CODE
                                               DOCUMENTS AS APPROPRIATE.

            10/11/24     Niles-Weed, Robert    STRATEGIZE RE: ALTER EGOS.           0.20   71906322    345.00
                         B.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 65 of 419 PageID
                                                            #: 35817




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/11/24     Bentley, Chase A.     PHONE CALL WITH BUYER RE JOINT      4.50   71899017   7,177.50
                                               STATUS REPORT; REVIEW AND REVISE
                                               SAME; REVISE ILLUSTRATIVE
                                               TIMELINE; EMAILS RE SAME; REVIEW
                                               CORRESPONDENCE FROM AJC;
                                               PREPARE RESPONSE TO SAME; PHONE
                                               CALL WITH CRYSTALLEX RE SALE
                                               PROCESS.

            10/11/24     Rubin, Avi            ATTEND CALL WITH EVERCORE TO        2.90   71894049   3,741.00
                                               DISCUSS SPA CLOSING
                                               CONSIDERATION; COORDINATE
                                               DISCLOSURE SCHEDULES AND SPA
                                               R&WS ITEMS; CORRESPONDENCE
                                               WITH WEIL M&A, WEIL RX, JD AND
                                               AKIN TEAMS.

            10/11/24     Gehnrich, Charles     ANALYZE CASE LAW REGARDING          5.00   71900548   5,875.00
                                               ADEQUATE PROTECTION; CONDUCT
                                               DOCUMENT REVIEW.

            10/11/24     Kamath, Priya         SUMMARIZE RESEARCH RE: ASSET        5.10   71888072   5,992.50
                                               SALES FOR R. NILES-WEED; REVIEW
                                               DOCKETS OF ALTER-EGO PLAINTIFFS
                                               AND REVIEW BRIEFING ON MOTIONS
                                               TO DISMISS IN RESPONSE TO
                                               QUESTION FROM A. CURTIS; REVIEW
                                               TEAM COMMUNICATIONS
                                               DISCUSSING DOCUMENT REVIEW
                                               PROTOCOL; REVIEW DOCUMENT
                                               REVIEW PROTOCOL AND REVIEW
                                               DOCUMENTS AHEAD OF POTENTIAL
                                               PRODUCTION.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 66 of 419 PageID
                                                            #: 35818




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/11/24     Smith, Kara           REVISE LETTER RESPONSE TO GOLD      2.30   71914742   2,702.50
                                               RESERVE, REVIEW SAME AND EMAIL
                                               TO RX COUNSEL AND ASSOCIATE
                                               TEAM; REVIEW DOCUMENT
                                               PRODUCTIONS IN RESPONSE TO
                                               VENEZUELA REQUESTS.

            10/11/24     Balido, Catherine     REVISE JOINT STATUS REPORT;         3.20   71908222   3,184.00
                                               CONFIRM CHANGES TO JULY INVOICE;
                                               CORRESPOND WITH POTTER RE:
                                               FILING OF JULY STATUS REPORT;
                                               REVISE WIP LIST.

            10/11/24     Mackinnon, Josh       ATTEND CALL WITH EVERCORE TO        1.80   71903012   1,791.00
                                               DISCUSS CLOSING CONSIDERATION;
                                               UPDATED WIP LIST AND
                                               WORKSTREAM LIST; RESEARCH RE:
                                               ITSR APPROVAL.

            10/11/24     SanGiovanni, Giana    REVIEW EMAILS FROM LITIGATION       0.70   71904693    696.50
                                               AND RX TEAMS RE: SALE HEARING,
                                               ALTER-EGO SUITS, AND LEGAL
                                               RESEARCH FINDINGS RELATED TO
                                               SALE PROCESS; EMAIL LITIGATION
                                               TEAM RE: STATUS OF MTD BRIEFING
                                               IN ALTER-EGO ACTIONS AND WIP
                                               TASK LIST.

            10/11/24     Koivistoinen, Tanja   ATTEND A CALL WITH EVERCORE RE:     0.70   71894317   1,029.00
                                               SPA CLOSING CONSIDERATION
                                               CALCULATION; PREPARE FOR SAME.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 67 of 419 PageID
                                                            #: 35819




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/11/24     Roberts, Ian          CONDUCT RESEARCH RE BIDDER           5.50   71899989   7,095.00
                                               PROTECTIONS MOTION; REVISE
                                               DRAFT OF BIDDER PROTECTIONS
                                               MOTION; CORRESPOND WITH M.
                                               BURRUS RE SAME; REVIEW STOCK
                                               PURCHASE AGREEMENT.

            10/11/24     Burrus, Maigreade     PREPARE JULY REPORT; RESEARCH RE:    5.60   71905313   7,952.00
                         B.                    BIDDER PROTECTION MOTION;
                                               PREPARE AND FILE JULY REPORT.

            10/12/24     Schrock, Ray C.       CALLS RELATED TO LEAD BIDDER         1.80   71900700   4,230.00
                                               TRANSACTION AND NEXT STEPS RE:
                                               ALTER EGO AND OTHER ISSUES.

            10/12/24     Bentley, Chase A.     PHONE CALLS AND EMAILS WITH          1.20   71898537   1,914.00
                                               BUYER, CRYSTALLEX, AND CONOCO
                                               RE ALTER EGO.

            10/13/24     Friedmann, Jared R.   STATUS MEETING WITH WACHTELL         1.00   71900609   1,795.00
                                               AND QE/AKIN TEAMS; FOLLOWED BY
                                               CALL WITH QE/AKIN.

            10/13/24     Keenan, Eoghan P.     CALL WITH WLRK, AKIN AND WEIL        1.00   71899964   1,795.00
                                               RE: MEET AND CONFER, ENGAGEMENT
                                               WITH COURT AND DEAL TERMS.

            10/13/24     Schrock, Ray C.       CALLS RELATED TO LEAD BIDDER         2.50   71900774   5,875.00
                                               TRANSACTION AND NEXT STEPS RE:
                                               ALTER EGO AND OTHER ISSUES.

            10/13/24     Welch, Alexander      EMAILS RE: STATUS OF BIDDER.         0.60   71898988   1,077.00
                         W.
            10/13/24     Curtis, Aaron J.      CALL WITH CRYSTALLEX, CONOCO,        1.00   71919055   1,595.00
                                               AND ELLIOTT TO DISCUSS THE KEY
                                               DEAL TERMS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 68 of 419 PageID
                                                            #: 35820




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount


            10/13/24     Bentley, Chase A.     PHONE CALLS AND EMAILS WITH          2.40   71898564    3,828.00
                                               BUYER, CRYSTALLEX, AND CONOCO
                                               RE ALTER EGO.

            10/13/24     Burrus, Maigreade     CALL WITH CONOCO, CRYSTALLEX,        1.00   71905325    1,420.00
                         B.                    AND ELLIOTT RE: DEAL TERMS.

            10/14/24     McGovern, Kate        REVIEW DOCUMENTS FOR                 8.50   71913491    5,057.50
                                               PRODUCTION.

            10/14/24     Friedmann, Jared R.   WEIL WIP MEETING RE: STATUS AND      1.90   71917198    3,410.50
                                               NEXT STEPS; LITIGATION TEAM
                                               MEETING RE: SAME; MEET AND
                                               CONFER WITH ALL PARTIES IN
                                               INTEREST RE: ADDRESSING J.STARK’S
                                               ORDER ON SCHEDULING; EMAILS
                                               WITH CONOCO REGARDING ALTER
                                               EGO ISSUE; EMAIL TEAM RE:
                                               ANTICIPATING TIMING OF DISCOVERY
                                               RELATED TO SALE
                                               RECOMMENDATION.

            10/14/24     Keenan, Eoghan P.     REVIEW UPDATED TO WIP; MEET          3.70   71916628    6,641.50
                                               WITH WEIL RX, LITIGATION AND
                                               M&A TEAMS RE: WORK STREAMS
                                               AND COURT PROCESS; ATTEND MEET
                                               AND CONFER WITH SALE PROCESS
                                               PARTIES.

            10/14/24     Schrock, Ray C.       ATTEND CALLS WITH SP PARTIES         4.90   71947570   11,515.00
                                               RELATED TO STATUS CONFERENCE;
                                               CALLS WITH BUYERS; CALLS WITH
                                               STAKEHOLDERS; CONFER WITH SM,
                                               WEIL AND EVERCORE TEAMS;
                                               ATTEND MEET AND CONFER RE:
                                               STATUS REPORT.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 69 of 419 PageID
                                                            #: 35821




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            10/14/24     Welch, Alexander      DISCUSS FILINGS; DISCUSS MEET AND    0.50   71957628    897.50
                         W.                    CONFER.

            10/14/24     Shefa, Yonatan        ATTEND WEIL WIP MEETING; WEIL        3.70   71924421   5,254.00
                                               LITIGATION TEAM STRATEGY
                                               MEETING; CORRESPONDENCE FROM C.
                                               BENTLEY AND E. KEENAN RE: MEET
                                               AND CONFER; ANALYZE DOCUMENTS
                                               FOR PRODUCTION AS PART OF
                                               DISCOVERY.

            10/14/24     Mosin, Olga           PREPARE DOCUMENTS FOR REVIEW.        1.60   72046352    784.00

            10/14/24     Curtis, Aaron J.      CALL WITH WEIL TEAM TO DISCUSS       3.00   71911799   4,785.00
                                               THE JOINT STATUS REPORT, ALTER
                                               EGO CLAIMS, AND TIMELINE; CALL
                                               WITH WEIL LITIGATION TEAM TO
                                               DISCUSS THE ALTER EGO CLAIMS AND
                                               DOCUMENT REVIEW; MEET AND
                                               CONFER WITH PARTIES TO DISCUSS
                                               THE JOINT STATUS REPORT; REVIEW
                                               AND RESPOND TO EMAILS RE: JOINT
                                               STATUS REPORT, ALTER EGO CLAIMS,
                                               AND TIMELINE.

            10/14/24     Niles-Weed, Robert    COMMUNICATIONS RE: MEET AND          1.40   71919007   2,415.00
                         B.                    CONFER ON JOINT STATUS REPORT,
                                               NEXT STEPS RE: ALTER EGO ACTIONS;
                                               REVIEW CONOCOPHILLIPS
                                               DECLARATORY JUDGMENT
                                               COMPLAINT.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 70 of 419 PageID
                                                            #: 35822




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/14/24     Bentley, Chase A.     PREPARE FOR AND ATTEND MEET         8.40   71945903   13,398.00
                                               AND CONFER WITH PARTIES RE JOINT
                                               STATUS REPORT; EMAILS WITH WEIL
                                               TEAM RE SAME; EMAILS WITH WEIL
                                               LIT RE BRIEFING TIMELINE; REVIEW
                                               MATERIALS FROM GOLD RESERVE;
                                               EMAILS WITH EVERCORE AND WEIL
                                               M&A RE SAME; EMAILS AND PHONE
                                               CALL WITH WACHTELL; EMAILS
                                               WITH SPECIAL MASTER RE TIMELINE;
                                               EMAILS WITH PARTIES RE TIMELINE;
                                               ATTEND WEIL WIP CALL.

            10/14/24     Rubin, Avi            CALL WITH WEIL RX TO DISCUSS        7.20   71915036    9,288.00
                                               TOPPING PERIOD PROVISIONS;
                                               ATTEND INTERNAL CHECK-IN CALLS;
                                               ATTEND MEET AND CONFER CALL;
                                               COORDINATE RESPONSES TO JOINT
                                               STATUS REPORT QUESTIONS;
                                               COORDINATE AND REVIEW
                                               DISCLOSURE SCHEDULES ITEMS;
                                               REVIEW AND PROVIDE COMMENTS TO
                                               GOLD RESERVE COMPARISON TABLE.

            10/14/24     Gehnrich, Charles     ATTEND WIP TEAM MEETING, AND        1.50   71919182    1,762.50
                                               TIME SPENT PREPARING; ATTEND
                                               LITIGATION TEAM MEETING;
                                               CONDUCT DOCUMENT REVIEW.

            10/14/24     Kamath, Priya         PREPARE LITIGATION TEAM MEETING     1.00   71902589    1,175.00
                                               AGENDA; MEET WITH
                                               RESTRUCTURING AND M&A TEAMS
                                               TO DISCUSS WORKS IN PROGRESS;
                                               MEET WITH LITIGATION TEAM TO
                                               DISCUSS WORKS IN PROGRESS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 71 of 419 PageID
                                                            #: 35823




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                        Hours        Index   Amount

            10/14/24     Sharma, Sakshi        CALL WITH RX AND M&A RE: DEAL.      0.60   71915353    882.00

            10/14/24     Balido, Catherine     MEET WITH M. BURRUS TO DISCUSS      2.00   71942818   1,990.00
                                               PROGRESS OF CASE; ATTEND WIP
                                               WITH WEIL M&A AND LIT TEAMS;
                                               REVIEW FEE REPORT; ATTEND MEET
                                               AND CONFER.

            10/14/24     Mackinnon, Josh       ATTEND WIP CALL; REVIEW             2.60   71917205   2,587.00
                                               REDACTED SPA TO ENSURE THERE
                                               WAS NO COMPANY CONFIDENTIAL
                                               INFORMATION IN REDACTIONS;
                                               ATTEND CALL WITH SPPS.

            10/14/24     Serviss, Jess         ATTEND MEET AND CONFER WITH         1.80   71913997   1,791.00
                                               CREDITORS; ATTEND
                                               WORK-IN-PROGRESS MEETING WITH
                                               WEIL TEAM; ATTEND POST-CALL
                                               DISCUSSION WITH WEIL M&A TEAM.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 72 of 419 PageID
                                                            #: 35824




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                         Hours       Index   Amount

            10/14/24     SanGiovanni, Giana    REVIEW, ANALYZE, AND REVISE         5.30   71912291   5,273.50
                                               LITIGATION TEAM TASK LIST WITH
                                               ONGOING AND NEW WORK STREAMS
                                               RELATED TO SALE PROCESS; REVIEW
                                               AND ANALYZE ALTER-EGO
                                               COMPLAINT BY SIEMENS ENERGY;
                                               REVIEW, ANALYZE, AND REVISE WIP
                                               TASK LIST WITH ONGOING AND NEW
                                               WORK STREAMS RELATED TO SALE
                                               PROCESS; EMAIL LITIGATION TEAM
                                               AND SUPPORT STAFF RE: PREPARING
                                               FOR WIP AND LITIGATION TEAM
                                               CALLS; ATTEND WIP MEETING WITH
                                               RX, M&A AND LITIGATION TEAM;
                                               ATTEND LITIGATION TEAM MEETING
                                               TO DISCUSS UPDATES RELATED TO
                                               SALE PROCESS AND WORK STREAMS;
                                               ATTEND MEET AND CONFER WITH
                                               SALE PROCESS PARTIES AHEAD OF
                                               FILING JOINT STATUS REPORT;
                                               COMPILE AND DISSEMINATE NOTES
                                               FROM MEET AND CONFER TO
                                               LITIGATION TEAM; REVIEW
                                               DOCUMENTS FOR RESPONSIVENESS
                                               TO INFORMAL RFPS AND FOR
                                               PRIVILEGE.

            10/14/24     Koivistoinen, Tanja   ATTEND WEEKLY WIP MEETING;          1.90   71942306   2,793.00
                                               REVIEW ANTITRUST FILING
                                               COOPERATION PROVISIONS IN THE
                                               COURT ORDERS; ATTEND MEET AND
                                               CONFER MEETING; REVIEW REVISE
                                               DISCLOSURE SCHEDULES.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 73 of 419 PageID
                                                            #: 35825




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/14/24     Roberts, Ian          ATTEND WORK-IN-PROCESS CALL         3.00   71956132   3,870.00
                                               WITH RESTRUCTURING, LITIGATION,
                                               AND M&A TEAMS; DISCUSS BIDDER
                                               PROTECTION MOTION WITH M.
                                               BURRUS; REVISE SAME.

            10/14/24     Burrus, Maigreade     ATTEND WORK IN PROGRESS             6.00   71952303   8,520.00
                         B.                    MEETING WITH WEIL LITIGATION,
                                               M&A, AND RESTRUCTURING; REVIEW
                                               CITGO PROPOSED REDACTIONS TO
                                               FILINGS; REVIEW AND MARKUP
                                               BIDDER PROTECTION MOTION.

            10/14/24     Clarke, Andrew        ATTEND WEIL WIP MEETING; EMAIL      6.30   71916816   8,536.50
                                               CORRESPONDENCE WITH A. RUBIN RE:
                                               JOINT STATUS REPORT; TELEPHONE
                                               CALL WITH A. RUBIN RE: JOINT
                                               STATUS REPORT; ATTEND MEET AND
                                               CONFER CALL RE: JOINT STATUS
                                               REPORT WITH WEIL TEAM,
                                               REPRESENTATIVES OF SALE PROCESS
                                               PARTIES; DRAFT JOINT STATUS
                                               REPORT; EMAIL CORRESPONDENCE TO
                                               C. BENTLEY RE: JOINT STATUS
                                               REPORT.

            10/15/24     Lender, David J.      REVIEW CONOCO DECLARATORY           0.50   71927415    997.50
                                               JUDGMENT COMPLAINT; ANALYZE
                                               REVISE ORDER.

            10/15/24     McGovern, Kate        REVIEW DOCUMENTS FOR                4.30   71923474   2,558.50
                                               PRODUCTION.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 74 of 419 PageID
                                                            #: 35826




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/15/24     Friedmann, Jared R.   REVIEW AND ANALYZE ALTER EGO         3.40   71921239   6,103.00
                                               DECLARATORY JUDGMENT FILED BY
                                               CONOCOPHILLIPS; REVIEW AND
                                               ANALYZE REVISE DRAFT INJUNCTION
                                               ORDER FROM QE AND CALL WITH
                                               A.CURTIS RE: SAME; EMAILS WITH
                                               TEAM RE: SAME; WEEKLY CHECK-IN
                                               CALL WITH SPECIAL MASTER AND
                                               EVERCORE TEAM; CALL WITH
                                               QE/AKIN TEAMS RE: INJUNCTION
                                               ORDER, ANTICIPATED ALTER EGO
                                               LITIGATION/DISCOVERY, AND TRUST
                                               AGREEMENT; CALL WITH A.CURTIS
                                               RE: SAME; DRAFT/REVISE INJUNCTION
                                               ORDER; CALL WITH A.CURTIS AND
                                               EMAILS WITH TEAM RE: SAME AND
                                               NEXT STEPS.

            10/15/24     Keenan, Eoghan P.     CALL WITH WEIL AND EVERCORE RE:      4.20   71919968   7,539.00
                                               ORGANIZATIONAL PREP FOR TOPPING
                                               PERIOD; REVIEW DECLARATORY
                                               JUDGMENT MOTION FILED BY
                                               CONOCOPHILIPS; CALL WITH SPECIAL
                                               MASTER, EVERCORE AND WEIL RE:
                                               OUTREACH BY GOLD RESERVE,
                                               INJUNCTION MOTION AND OTHER
                                               WORK STREAMS; CALL WITH
                                               COUNSEL TO BUYER AND WEIL RE:
                                               INJUNCTION MOTION, DECLARATORY
                                               JUDGMENT, TRUST DOCUMENTATION
                                               AND COMMITMENT LETTERS.

            10/15/24     Welch, Timothy C.     MEET AND EXCHANGE EMAILS WITH        0.10   71925693    175.00
                                               S. LIU REGARDING UPDATE CALL.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 75 of 419 PageID
                                                            #: 35827




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/15/24     Schrock, Ray C.       CALLS WITH SPECIAL MASTER AND        3.50   71947677   8,225.00
                                               PARTIES RELATED TO STATUS;
                                               REVIEW DOCUMENTS RELATED TO
                                               STATUS CONFERENCE.

            10/15/24     Welch, Alexander      CALL WITH EVERCORE; DISCUSS          0.70   71957821   1,256.50
                         W.                    SAME; EMAILS RE: STATUS MEETING.

            10/15/24     Shefa, Yonatan        CORRESPONDENCE FROM C. BENTLEY       0.60   71924329    852.00
                                               RE: REDACTIONS AND JOINT STATUS
                                               REPORT; ANALYZE ALTER EGO FILING.

            10/15/24     Curtis, Aaron J.      CALLS WITH J. FRIEDMANN TO           3.40   71919084   5,423.00
                                               DISCUSS THE PROPOSED ORDER;
                                               REVIEW AND ANALYZE
                                               DECLARATORY JUDGMENT
                                               COMPLAINT; REVIEW AND ANALYZE
                                               THE REVISED DRAFT OF THE
                                               PROPOSED ORDER; CALL WITH
                                               ELLIOTT'S COUNSEL TO DISCUSS THE
                                               INJUNCTION MOTION, DECLARATORY
                                               JUDGMENT ACTION, AND TRUST
                                               STRUCTURE; REVISE DRAFT OF THE
                                               PROPOSED ORDER.

            10/15/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS         3.20   71927864   4,336.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO DOCUMENT REQUESTS AND CODE
                                               DOCUMENTS AS APPROPRIATE.

            10/15/24     Niles-Weed, Robert    STRATEGIZE RESPONSE TO COURT         0.40   71921338    690.00
                         B.                    ORDER RE: ALTER EGO CLAIMS AND
                                               SALE PROCESS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 76 of 419 PageID
                                                            #: 35828




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                         Hours       Index    Amount

            10/15/24     Bentley, Chase A.     PHONE CALL WITH EVERCORE RE         9.80   71946002   15,631.00
                                               ELLIOTT TRANSACTION; ATTEND
                                               WEEKLY CHECK IN CALL WITH
                                               EVERCORE AND SPECIAL MASTER;
                                               MEET WITH WEIL RX TEAM RE
                                               ONGOING WORKSTREAMS; EMAIL
                                               AND PHONE CALLS WITH QUINN AND
                                               AKIN TEAMS RE JOINT STATUS
                                               REPORT AND ALTER EGO; DRAFT
                                               JOINT STATUS REPORT; EMAILS AND
                                               PHONE CALLS WITH WEIL LIT TEAM
                                               RE ALTER EGO; REVIEW MATERIALS
                                               FROM ELLIOTT.

            10/15/24     Rubin, Avi            ATTEND CALL WITH EVERCORE TO        4.20   71923829    5,418.00
                                               DISCUSS CLOSING CONSIDERATION;
                                               ATTEND CALL WITH SPECIAL
                                               MASTER AND EVERCORE; ATTEND
                                               CALL WITH EMERALD; REVISE AND
                                               INCORPORATE WEIL M&A
                                               COMMENTS TO GOLD RESERVE TABLE
                                               RESPONSE.

            10/15/24     Gehnrich, Charles     CORRESPONDENCE RE: SALE             1.80   71934101    2,115.00
                                               PROCEEDS; CONDUCT DOCUMENT
                                               REVIEW.

            10/15/24     Kamath, Priya         REVIEW DOCUMENTS FOR                2.90   71941039    3,407.50
                                               PRODUCTION TO ADDITIONAL
                                               JUDGMENT CREDITORS AND
                                               VENEZUELA PARTIES.

            10/15/24     Logan, Savannah L.    CORRESPONDENCE RE HSR PROCESS.      0.30   71932892     352.50
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 77 of 419 PageID
                                                            #: 35829




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/15/24     Okada, Tyler          REVIEW RECENTLY FILED PLEADINGS,    0.30   71955617    105.00
                                               PREPARE UPDATED DOCKET
                                               SCHEDULE FOR TEAM REVIEW.

            10/15/24     Balido, Catherine     ATTEND WEIL RX WIP MEETING;         2.60   71942806   2,587.00
                                               CORRESPOND WITH LITIGATION
                                               TEAM RE RESEARCH FOR SALE
                                               PROCESS; REVISE FEE REPORT.

            10/15/24     Evans, Emma           CORRESPONDENCE RE: SALE             1.50   71926130   1,492.50
                                               TRANSACTION; REVIEW DOCUMENTS
                                               FOR PRODUCTION TO VENEZUELA
                                               PARTIES.

            10/15/24     Mackinnon, Josh       ATTEND CALL WITH EVERCORE           0.70   71919975    696.50
                                               REGARDING TOPPING PERIOD;
                                               ATTEND (PARTIAL) EVERCORE
                                               CHECK-IN CALL; UPDATED
                                               WORKSTREAM LIST.

            10/15/24     Serviss, Jess         ATTEND CALL WITH EVERCORE AND       0.60   71949110    597.00
                                               WEIL TEAMS RE: CLOSING
                                               CONSIDERATION.

            10/15/24     SanGiovanni, Giana    REVIEW AND ANALYZE                  2.70   71922479   2,686.50
                                               CONOCOPHILLIPS’ COMPLAINT FOR
                                               DECLARATORY RELIEF; CALL K.
                                               SMITH TO DISCUSS BRIEFING
                                               SCHEDULE; EMAIL RX AND
                                               LITIGATION TEAMS RE: BRIEFING
                                               SCHEDULE W/R/T SPECIAL MASTER'S
                                               NOTICE OF RECOMMENDATION FILED
                                               IN SEPTEMBER; REVIEW AND
                                               ANALYZE DOCUMENTS FOR
                                               RESPONSIVENESS TO INFORMAL RFPS
                                               AND FOR PRIVILEGE.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 78 of 419 PageID
                                                            #: 35830




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            10/15/24     Koivistoinen, Tanja   ATTEND CLOSING CONSIDERATION        0.90   71942409   1,323.00
                                               CALCULATION CALL WITH EVERCORE;
                                               REVIEW AND COMPARE THE BIDDER
                                               NDAS FOR THE PURPOSES OF
                                               ACCEPTABLE CONFIDENTIALITY
                                               UNDERTAKING.

            10/15/24     Roberts, Ian          ATTEND WORK-IN-PROCESS MEETING;     1.40   71955965   1,806.00
                                               REVISE BIDDER PROTECTIONS
                                               MOTION; CORRESPOND WITH M.
                                               BURRUS RE SAME.

            10/15/24     Burrus, Maigreade     ATTEND WEIL RX WORK IN PROGRESS     2.00   71952276   2,840.00
                         B.                    MEETING; ATTEND WEIL AND
                                               EVERCORE CALL; REVIEW CONOCO
                                               COMPLAINT.

            10/15/24     Clarke, Andrew        ATTEND RX WIP MEETING; REVIEW       1.20   71917095   1,626.00
                                               EMAIL FROM C. BENTLEY RE: JOINT
                                               STATUS REPORT; REVIEW AND REVISE
                                               JOINT STATUS REPORT; EMAIL TO C.
                                               BALIDO RE: SAME; EMAIL TO C.
                                               BENTLEY RE: SAME.

            10/16/24     Lender, David J.      REVIEW AND REVISE JOINT STATUS      0.60   71927466   1,197.00
                                               REPORT; REVISE ORDER; REVIEW
                                               ORDER AND EMAIL RE SAME.

            10/16/24     McGovern, Kate        REVIEW DOCUMENTS FOR                8.60   71929528   5,117.00
                                               PRODUCTION.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 79 of 419 PageID
                                                            #: 35831




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/16/24     Friedmann, Jared R.   WEIL/EVERCORE/B.PINCUS WEEKLY        3.70   71942606   6,641.50
                                               CALL; REVIEW QE COMMENTS TO
                                               DRAFT LETTER TO COURT RE: ALTER
                                               EGO NEXT STEPS; CALL WITH
                                               A.CURTIS RE: SAME AND ALTER EGO
                                               CLAIMANTS' REQUEST TO MEET AND
                                               CONFER; EMAILS WITH W.TAFT RE:
                                               REQUEST TO MEET AND CONFER;
                                               EMAILS WITH C.BENTLEY RE: SAME;
                                               EMAILS WITH R.JAEGER RE: STATUS
                                               OF DOCUMENT REVIEW AND
                                               COLLECTION OF SUPPLEMENTAL
                                               DOCUMENTS; REVIEW AND ANALYZE
                                               GIBSON COMMENTS TO REVISE DRAFT
                                               INJUNCTIVE ORDER; EMAILS WITH
                                               TEAM RE: SAME; MEET AND CONFER
                                               WITH COUNSEL FOR ALTER EGO
                                               CLAIMANTS RE: PROPOSED
                                               INJUNCTIVE ORDER; CALL WITH
                                               C.BENTLEY RE: SAME AND NEXT
                                               STEPS; CALLS WITH A.CURTIS RE:
                                               PROPOSED REVISIONS TO INJUNCTIVE
                                               ORDER BASED ON GIBSON'S
                                               COMMENTS; REVIEW REVISE DRAFT
                                               INJUNCTIVE ORDER AND CALL WITH
                                               A.CURTIS RE: SAME AND NEXT STEPS;
                                               REVIEW REVISE DRAFT LETTER TO
                                               COURT RE: ALTER EGO AND EMAILS
                                               WITH TEAM RE: SAME AND NEXT
                                               STEPS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 80 of 419 PageID
                                                            #: 35832




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/16/24     Keenan, Eoghan P.     CALL WITH SPECIAL MASTER, WEIL      4.90   71929507   8,795.50
                                               AND EVERCORE RE: ENGAGEMENT
                                               WITH AMBER ENERGY AND SALE
                                               PROCESS PARTIES; REVIEW JOINT
                                               STATUS REPORT; REVIEW AMBER
                                               ENERGY POSITION STATEMENT;
                                               REVIEW CONCOPHILIPS MOTION FOR
                                               DECLARATORY JUDGMENT; CALL
                                               WITH AKIN, QUINN AND WEIL RE:
                                               JOINT STATUS REPORT, POSITION
                                               STATEMENT AND DECLARATORY
                                               JUDGMENT MOTION.

            10/16/24     Schrock, Ray C.       CALLS WITH SPECIAL MASTER AND       3.80   71947736   8,930.00
                                               PARTIES RELATED TO STATUS;
                                               REVIEW DOCUMENTS RELATED TO
                                               STATUS CONFERENCE; REVIEW
                                               CONOCO DJ COMPLAINT; DISCUSS
                                               THE FOREGOING WITH WEIL TEAM.

            10/16/24     Welch, Alexander      TEAM UPDATE CALL.                   0.50   71947002    897.50
                         W.
            10/16/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL            2.50   71955782   3,550.00
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: JOINT STATUS REPORT;
                                               REVIEW DOCUMENTS FOR
                                               PRODUCTION AS PART OF DISCOVERY.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 81 of 419 PageID
                                                            #: 35833




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/16/24     Curtis, Aaron J.      CALL WITH ELLIOTT'S COUNSEL TO       6.10   71927618   9,729.50
                                               DISCUSS THE JOINT STATUS REPORT
                                               AND PROPOSED ORDER; CALL WITH
                                               ALTER EGO CLAIMANTS' COUNSEL TO
                                               DISCUSS THE PROPOSAL FOR THE
                                               MERITS OF THE ALTER EGO CLAIMS;
                                               CALL WITH CLIENT AND EVERCORE
                                               TO DISCUSS THE JOINT STATUS
                                               REPORT AND ALTER EGO CLAIMS;
                                               CALLS WITH J. FRIEDMANN TO
                                               DISCUSS THE PROPOSED ORDER AND
                                               LETTER RE: ALTER EGO CLAIMS;
                                               DRAFT LETTER TO THE COURT RE: THE
                                               ALTER EGO CLAIMS; REVISE
                                               PROPOSED ORDER RE: THE
                                               INJUNCTION MOTION; REVIEW AND
                                               RESPOND TO EMAILS RE: ALTER EGO
                                               CLAIMS, PROPOSED ORDER, AND
                                               LETTER RE: THE ALTER EGO CLAIMS.

            10/16/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS         4.20   71927887   5,691.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO DOCUMENT REQUESTS AND CODE
                                               DOCUMENTS AS APPROPRIATE.

            10/16/24     Niles-Weed, Robert    STRATEGIZE ORDER RE: ALTER EGOS      0.50   71936781    862.50
                         B.                    AND SALE PROCESS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 82 of 419 PageID
                                                            #: 35834




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            10/16/24     Bentley, Chase A.     DRAFT AND REVISE JOINT STATUS       10.60   71945978   16,907.00
                                               REPORT; PHONE CALL WITH SPECIAL
                                               MASTER AND EVERCORE RE SAME;
                                               PHONE CALL WITH QUINN RE ELLIOTT
                                               TRANSACTION; DISCUSS SAME WITH
                                               R. SCHROCK; EMAILS WITH WEIL LIT
                                               RE TIMELINE; PHONE CALLS WITH
                                               PARTIES RE JOINT STATUS REPORT;
                                               PHONE CALL WITH QUINN AND AKIN
                                               RE ALTER EGO; REVIEW AKIN
                                               COMMENTS TO JOINT STATUS
                                               REPORT; DISCUSS SAME WITH E.
                                               KEENAN.

            10/16/24     Rubin, Avi            CALL WITH WEIL M&A; ATTEND           4.30   71931732    5,547.00
                                               CALL WITH EVERCORE AND SPECIAL
                                               MASTER; ATTEND CALL WITH
                                               EMERALD; MEET WITH WEIL M&A TO
                                               DISCUSS NDA COMPARISON;
                                               CORRESPONDENCE WITH WEIL M&A
                                               AND WEIL RX REGARDING PDVH
                                               ASSETS QUESTION; DRAFT
                                               STRAW-MAN ILLUSTRATIVE TOPPING
                                               PERIOD TIMELINE.

            10/16/24     Gehnrich, Charles     CONDUCT DOCUMENT REVIEW.             0.60   71940309     705.00

            10/16/24     Kamath, Priya         REVIEW DOCUMENTS FOR                 1.40   71941047    1,645.00
                                               PRODUCTION TO ADDITIONAL
                                               JUDGMENT CREDITORS AND
                                               VENEZUELA PARTIES.

            10/16/24     Balido, Catherine     REVISE JOINT STATUS REPORT; DRAFT    3.60   71942819    3,582.00
                                               AUGUST STATUS REPORT.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 83 of 419 PageID
                                                            #: 35835




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/16/24     Evans, Emma           CORRESPONDENCE RE: SALE              3.00   71934134   2,985.00
                                               SCHEDULE; REVIEW DOCUMENTS FOR
                                               PRODUCTION TO VENEZUELA
                                               PARTIES.

            10/16/24     Mackinnon, Josh       ATTEND SPECIAL MASTER CHECK-IN;      3.50   71929473   3,482.50
                                               REVIEW BIDDER NDAS AND COMPARE
                                               TO ELLIOTT'S NDA.

            10/16/24     SanGiovanni, Giana    RESEARCH STANDARDS IN JUDICIAL       1.90   71933640   1,890.50
                                               SALES FOR SALE
                                               RECOMMENDATION/ORDER AND
                                               COMPILE SUMMARY OF FINDINGS TO
                                               SEND TO K. SMITH.

            10/16/24     Koivistoinen, Tanja   ATTEND WEEKLY CHECK IN CALL          0.40   71941837    588.00
                                               WITH WEIL TEAMS / EVERCORE.

            10/16/24     Roberts, Ian          CORRESPOND WITH A. CLARKE RE         0.70   71955952    903.00
                                               LANGUAGE FOR STATUS REPORT;
                                               ATTEND WEIL/EVERCORE/SPECIAL
                                               MASTER CHECK-IN CALL.

            10/16/24     Burrus, Maigreade     REVIEW DRAFTS OF JOINT STATUS        1.40   71952386   1,988.00
                         B.                    REPORT; CONFER WITH A. CLARKE RE:
                                               JOINT STATUS REPORT.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 84 of 419 PageID
                                                            #: 35836




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/16/24     Clarke, Andrew        DRAFT JOINT STATUS REPORT;          3.80   71925363   5,149.00
                                               VARIOUS EMAILS WITH WEIL RX
                                               TEAM RE: SAME; ATTEND CALL WITH
                                               SPECIAL MASTER, WEIL TEAM, AND
                                               EVERCORE TEAM; VARIOUS EMAIL
                                               CORRESPONDENCE WITH WEIL TEAM;
                                               REVIEW EMAIL CORRESPONDENCE
                                               FROM AKIN AND ATTACHED
                                               COMMENTS ON JOINT STATUS
                                               REPORT; REVIEW EMAIL FROM C.
                                               BENTLEY RE: JOINT STATUS REPORT;
                                               REVIEW UPDATED DRAFT JOINT
                                               STATUS REPORT.

            10/16/24     Liu, Sisi             REVIEW CORRESPONDENCE RE: ALTER     0.10   71932401    135.50
                                               EGO PROPOSED ORDER.

            10/17/24     Lender, David J.      REVIEW ORDER AND LETTER; REVIEW     0.50   71936672    997.50
                                               AMBER POSITION STATEMENT.

            10/17/24     McGovern, Kate        REVIEW DOCUMENTS FOR                6.70   71936785   3,986.50
                                               PRODUCTION.

            10/17/24     Friedmann, Jared R.   EMAILS RE: LETTER/ORDER; CALL       2.50   71942532   4,487.50
                                               WITH A.CURTIS RE: SAME AND NEXT
                                               STEPS; REVIEW SUGGESTED EDITS
                                               FROM QE; CALL WITH A.CURTIS RE:
                                               SAME; FURTHER REVISE DRAFT;
                                               EMAILS WITH QE TEAM RE: SAME;
                                               EMAILS WITH A.CURTIS RE: SAME;
                                               CALL WITH COUNSEL FOR
                                               CRYSTALLEX AND CONOCO; REVIEW
                                               FURTHER REVISE DRAFT ORDER AND
                                               EMAILS WITH A.CURTIS RE: SAME
                                               AND QE COMMENTS TO DRAFT COVER
                                               LETTER.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 85 of 419 PageID
                                                            #: 35837




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            10/17/24     Keenan, Eoghan P.     CALL WITH WEIL RX RE: TREATMENT     3.40   71938441   6,103.00
                                               OF ASSUMED CLAIM BY BUYER;
                                               REVIEW TRUST MATERIALS; WEEKLY
                                               CALL WITH SALE PROCESS PARTIES,
                                               WEIL AND EVERCORE.

            10/17/24     Welch, Timothy C.     EXCHANGE EMAILS WITH S. LIU         0.10   71937910    175.00
                                               REGARDING TAKEAWAYS FROM CALL
                                               WITH CRYSTALLEX AND CONOCO
                                               REGARDING EXCLUSIVITY AND TRUST
                                               STRUCTURE.

            10/17/24     Schrock, Ray C.       REVIEW NUMEROUS                     2.50   71947715   5,875.00
                                               COMMUNICATIONS FROM
                                               STAKEHOLDERS RELATED TO STATUS
                                               CONFERENCE; ATTEND WEEKLY CALL
                                               WITH SPP'S; DISCUSS UPCOMING
                                               FILINGS WITH WEIL TEAM.

            10/17/24     Welch, Alexander      DISCUSS FILINGS; CALL WITH SPPS.    0.90   71957789   1,615.50
                         W.
            10/17/24     Curtis, Aaron J.      CALL WITH G. SANGIOVANNI ABOUT      4.90   71936431   7,815.50
                                               RESEARCH; CALLS WITH J.
                                               FRIEDMANN TO DISCUSS THE
                                               PROPOSED ORDER ON THE ALTER EGO
                                               CLAIMS; CALL WITH CRYSTALLEX
                                               AND CONOCO TO DISCUSS THE
                                               TRANSACTION WITH ELLIOTT;
                                               REVIEW AND REVISE DRAFTS OF THE
                                               PROPOSED ORDER AND THE LETTER
                                               RE: THE ALTER EGO CLAIMS; REVIEW
                                               AND RESPOND TO EMAILS RE: THE
                                               PROPOSED ORDER, LETTER, AND
                                               ALTER EGO CLAIMS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 86 of 419 PageID
                                                            #: 35838




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            10/17/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS         7.20   71949148    9,756.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO CITGO'S REQUESTS AND CODE
                                               DOCUMENTS AS APPROPRIATE;
                                               CONFER WITH G. SANGIOVANNI
                                               REGARDING DOCUMENT REVIEW;
                                               DRAFT AND SEND EMAILS
                                               REGARDING TRANSCRIPT OF COURT
                                               HEARING.

            10/17/24     Niles-Weed, Robert    REVIEW AMENDED COMPLAINT AND         0.80   71936916    1,380.00
                         B.                    MOTION TO DISMISS FILED IN ALTER
                                               EGO ACTIONS; COMMUNICATIONS RE:
                                               COMMENTS ON PROPOSED ORDER RE:
                                               ALTER EGO MOTION.

            10/17/24     Bentley, Chase A.     PHONE CALL WITH WEIL M&A RE          7.20   71945891   11,484.00
                                               ELLIOTT TRANSACTION; EMAILS
                                               WITH WEIL LIT RE ALTER EGO;
                                               REVIEW AND REVISE JOINT STATUS
                                               REPORT; EMAILS RE TIMELINE; PHONE
                                               CALL WITH WACHTELL RE ELLIOTT
                                               TRANSACTION; EMAILS RE TRUST
                                               DOCUMENTS; REVIEW FEE REPORT;
                                               REVIEW BID PROTECTION MOTION;
                                               ATTEND WEEKLY CALL WITH SPPS RE
                                               ONGOING WORKSTREAMS; REVIEW
                                               MATERIALS FROM ELLIOTT.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 87 of 419 PageID
                                                            #: 35839




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/17/24     Rubin, Avi            CALLS AND MEETINGS WITH WEIL         5.10   71937839   6,579.00
                                               M&A TO DISCUSS SPA AND
                                               SCHEDULES ITEMS; CALL WITH WEIL
                                               RX TO DISCUSS ASSUMED CLAIM
                                               MECHANICS; ATTEND CALL WITH
                                               GIBSON AND WLRK; CALL WITH WEIL
                                               RX TO DISCUSS NO-SHOP PROVISIONS;
                                               CALL WITH AKIN TO DISCUSS
                                               DISCLOSURE SCHEDULES; REVIEW
                                               AND PROVIDE COMMENTS TO NDA
                                               CHART; COORDINATE DISCLOSURE
                                               SCHEDULES ITEMS.

            10/17/24     Gehnrich, Charles     ANALYZE NEW COURT FILINGS IN THE     2.50   71940325   2,937.50
                                               ALTER EGO CASES; CONDUCT
                                               DOCUMENT REVIEW; ANALYZE
                                               QUESTION REGARDING ELLIOTT
                                               POSITION STATEMENT.

            10/17/24     Kamath, Priya         REVIEW DOCUMENTS FOR                 3.80   71934255   4,465.00
                                               PRODUCTION TO ADDITIONAL
                                               JUDGMENT CREDITORS.

            10/17/24     Smith, Kara           REVIEW DOCUMENTS IN RESPONSE TO      2.80   71960008   3,290.00
                                               VENEZUELA PARTIES' REQUESTS FOR
                                               PRODUCTION.

            10/17/24     Evans, Emma           CORRESPONDENCE RE: ALTER EGO         0.20   71939934    199.00
                                               CLAIMS AND DOCUMENT REVIEW.

            10/17/24     Mackinnon, Josh       RESEARCH FOR 2024 CAPEX BUDGET;      2.20   71937297   2,189.00
                                               ATTEND MEETING WITH SPPS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 88 of 419 PageID
                                                            #: 35840




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/17/24     SanGiovanni, Giana    COMPILE SUMMARY OF RESEARCH          4.30   71937002   4,278.50
                                               FINDINGS ON STANDARD IN JUDICIAL
                                               SALES FOR SALE
                                               RECOMMENDATION/ORDER TO SEND
                                               TO K. SMITH; EMAIL TEAM RE:
                                               RECENT FILINGS IN ALTER-EGO
                                               ACTIONS; CALL A CURTIS TO DISCUSS
                                               MATTER UPDATES AND STATUS OF
                                               WORK STREAMS RELATED TO SALE
                                               PROCESS; EMAIL K. SMITH RE:
                                               STATUS OF RESEARCH AND
                                               LITIGATION TEAM RE: CONOCO
                                               PHILLIPS COMPLAINT FOR
                                               DECLARATORY RELIEF; CALL R.
                                               JAEGER TO DISCUSS DOCUMENT
                                               REVIEW; REVIEW AND ANALYZE
                                               DOCUMENTS FOR RESPONSIVENESS
                                               TO INFORMAL RFPS AND FOR
                                               PRIVILEGE.

            10/17/24     Koivistoinen, Tanja   ATTEND WEEKLY MEETING WITH           1.60   71934475   2,352.00
                                               SPECIAL MASTER, CRYSTALLEX AND
                                               CITGO TEAMS; REVIEW JOINT STATUS
                                               REPORT; EMAIL CORRESPONDENCE
                                               WITH WEIL TAX TEAM RE: TRUST
                                               DOCUMENTATION.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 89 of 419 PageID
                                                            #: 35841




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/17/24     Roberts, Ian          ATTEND SPECIAL                      7.40   71955943   9,546.00
                                               MASTER/CRYSTELLAEX/CONOCO
                                               WEEKLY CALL; CORRESPOND WITH C.
                                               BENTLEY AND M. BURRUS RE BIDDER
                                               PROTECTIONS MOTION; REVISE
                                               BIDDER PROTECTIONS MOTION AND
                                               SEND TO M. BURRUS; CALL WITH M.
                                               BURRUS RE SAME; RESEARCH
                                               DECLARATIONS IN SUPPORT OF
                                               BIDDER PROTECTIONS; CORRESPOND
                                               WITH M. BURRUS RE SAME.

            10/17/24     Burrus, Maigreade     REVIEW AUGUST FEE REPORT; CONFER    6.30   71952362   8,946.00
                         B.                    WITH A. MATTSON RE: AUGUST FEE
                                               REPORT; REVIEW AND MARKUP
                                               BIDDER PROTECTION MOTION AND
                                               CONFER WITH I. ROBERTS RE: SAME;
                                               REVIEW PRECEDENT FOR BIDDER
                                               PROTECTION DECLARATION AND
                                               CONFER WITH I. ROBERTS RE: SAME;
                                               REVIEW PROPOSED ALTER EGO
                                               ORDER; REVIEW UPDATED JOINT
                                               STATUS REPORT.

            10/17/24     Clarke, Andrew        ATTEND WEEKLY CALL WITH             1.40   71934006   1,897.00
                                               COUNSEL TO SALE PROCESS PARTIES
                                               AND WEIL TEAM.

            10/18/24     McGovern, Kate        REVIEW DOCUMENTS FOR                5.20   71952701   3,094.00
                                               PRODUCTION.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 90 of 419 PageID
                                                            #: 35842




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/18/24     Friedmann, Jared R.   EMAILS WITH TEAM RE: FURTHER        0.60   71942605   1,077.00
                                               COMMENTS FROM QE TO DRAFT
                                               ORDER; EMAILS WITH A.CURTIS RE:
                                               SAME; CALL WITH A.CURTIS RE:
                                               FINALIZING DRAFT INJUNCTION
                                               ORDER AND LETTER ON ALTER EGO;
                                               REVIEW DRAFT JOINT STATEMENT RE:
                                               SCHEDULE/NEXT STEPS.

            10/18/24     Keenan, Eoghan P.     REVIEW PURCHASE AGREEMENT.          0.50   71947589    897.50

            10/18/24     Curtis, Aaron J.      CALL WITH J. FRIEDMANN TO           4.70   71945193   7,496.50
                                               DISCUSS THE PROPOSED ORDER RE:
                                               ALTER EGO CLAIMS; CALL WITH C.
                                               GEHNRICH TO DISCUSS THE RESEARCH
                                               RE: DISTRIBUTION OF PROCEEDS
                                               FROM JUDICIAL SALES; REVIEW AND
                                               REVISE PROPOSED ORDER AND LETTER
                                               RE ALTER EGO CLAIMS; REVIEW AND
                                               RESPOND TO EMAILS RE: THE
                                               PROPOSED ORDER AND LETTER RE
                                               ALTER EGO CLAIMS AND THE
                                               RESEARCH RE DISTRIBUTION OF
                                               PROCEEDS FROM JUDICIAL SALES;
                                               REVIEW AND ANALYZE RESEARCH RE:
                                               ATTACHING LIENS TO SALE
                                               PROCEEDS.

            10/18/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        6.50   71949005   8,807.50
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO CITGO'S REQUESTS FOR
                                               PRODUCTION AND CODE DOCUMENTS
                                               AS APPROPRIATE.

            10/18/24     Niles-Weed, Robert    FINALIZE AND FILE RESPONSE RE:      0.40   71947756    690.00
                         B.                    ALTER EGO CLAIMS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 91 of 419 PageID
                                                            #: 35843




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount


            10/18/24     Bentley, Chase A.     REVIEW AND REVISE JOINT STATUS       9.00   71945946   14,355.00
                                               REPORT; MULTIPLE PHONE CALLS
                                               AND EMAILS WITH ADVISORS TO
                                               PARTIES RE SAME; DISCUSS SAME
                                               WITH WEIL TEAM AND SPECIAL
                                               MASTER; COORDINATE FILING OF
                                               JOINT STATUS REPORT; REVIEW
                                               ALTER EGO FILING.

            10/18/24     Rubin, Avi            REVISE PAYING AGENT AGREEMENT;       1.90   71940638    2,451.00
                                               CALL WITH EVERCORE TEAM;
                                               CORRESPONDENCE WITH WEIL M&A
                                               REGARDING DATA ROOM QUESTIONS;
                                               REVIEW WORKSTREAM STATUS LIST;
                                               COORDINATE DISCLOSURE
                                               SCHEDULES ITEMS.

            10/18/24     Gehnrich, Charles     ANALYZE NEW FILINGS IN THE ALTER     5.20   71941987    6,110.00
                                               EGO CASES; CONDUCT RESEARCH RE:
                                               TIMING OF JUDICIAL SALE PROCEEDS;
                                               CONDUCT DOCUMENT REVIEW.

            10/18/24     Smith, Kara           REVIEW DOCUMENT PRODUCTIONS          5.30   71959875    6,227.50
                                               TO VENEZUELA PARTIES; REVIEW
                                               PROPOSED ORDER FOR ALTER EGO
                                               MOTION.

            10/18/24     Evans, Emma           CORRESPONDENCE RE: STATUS            0.20   71941480     199.00
                                               REPORT.

            10/18/24     Mackinnon, Josh       UPDATE WORKSTREAM LIST AND           0.50   71947919     497.50
                                               WIP LIST; CORRESPOND WITH
                                               PARTIES REGARDING SCHEDULES
                                               ATTACHMENTS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 92 of 419 PageID
                                                            #: 35844




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            10/18/24     SanGiovanni, Giana    REVIEW AND ANALYZE DOCKETS OF         6.20   71949900   6,169.00
                                               ALTER-EGO CASES AND EMAIL
                                               LITIGATION TEAM UPDATE; REVIEW
                                               AND RESPOND TO EMAILS FROM RX
                                               TEAM, LITIGATION TEAM, AND THIRD
                                               PARTIES RE: FILING OF JOINT STATUS
                                               REPORT AND PROPOSED ORDER;
                                               REVIEW AND ANALYZE DOCUMENTS
                                               FOR RESPONSIVENESS TO INFORMAL
                                               RFPS AND FOR PRIVILEGE; REVIEW,
                                               ANALYZE, AND REVISE PROPOSED
                                               ORDER RE: INJUNCTION MOTION;
                                               REVIEW, ANALYZE, AND REVISE
                                               COVER LETTER RE: SPECIAL MASTER'S
                                               POSITION ON ALTER-EGO
                                               DETERMINATION AND PROPOSED
                                               ORDER; CORRESPOND WITH A. CURTIS
                                               RE: REVISIONS TO PROPOSED
                                               ORDER/COVER LETTER; EMAIL RX
                                               AND LITIGATION TEAMS RE: QUINN'S
                                               QUESTIONS ABOUT SERVICE OF
                                               SEALED FILINGS.

            10/18/24     Koivistoinen, Tanja   REVIEW QUESTION RE: PENSION           0.20   71941785    294.00
                                               PLANS FROM PENSION BENEFIT
                                               GUARANTY CORPORATION.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 93 of 419 PageID
                                                            #: 35845




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/18/24     Roberts, Ian          REVISE BIDDER PROTECTIONS           9.00   71952346   11,610.00
                                               MOTION; CORRESPOND WITH C.
                                               BENTLEY AND M. BURRUS RE SAME;
                                               CORRESPOND WITH LITIGATION AND
                                               M&A TEAM RE WORK-IN-PROCESS
                                               LIST; CALL WITH M. BURRUS RE
                                               SERVICE; CORRESPOND WITH QUINN
                                               EMANUEL RE SAME; CALL WITH
                                               POTTER ANDERSON RE SAME;
                                               CORRESPOND WITH G. SANGIOVANNI
                                               RE SERVICE LIST; DRAFT
                                               DECLARATION IN SUPPORT OF BIDDER
                                               PROTECTION MOTION; CORRESPOND
                                               WITH M. BURRUS RE SAME.

            10/18/24     Burrus, Maigreade     REVISE AUGUST FEE REPORT AND        5.50   71952372    7,810.00
                         B.                    CONFER WITH C. BENTLEY RE: SAME;
                                               PREPARE ADDITIONAL EDITS TO
                                               BIDDER PROTECTION MOTION;
                                               REVIEW PROPOSED ADDITIONS TO
                                               JOINT STATUS REPORT AND
                                               MULTIPLE CORRESPONDENCE RE:
                                               SAME.

            10/18/24     Clarke, Andrew        DRAFT JOINT STATUS REPORT;          5.40   71955809    7,317.00
                                               REVIEW VARIOUS EMAILS FROM
                                               COUNSEL TO INTERESTED PARTIES RE
                                               SAME: VARIOUS EMAILS WITH WEIL
                                               TEAM RE: SAME; EMAILS WITH M.
                                               DANG RE: SAME; EMAILS WITH WEIL
                                               LITIGATION TEAM RE: DELAWARE
                                               LAW ISSUES.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 94 of 419 PageID
                                                            #: 35846




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/19/24     Margolis, Steven      REVIEW ISSUES FROM PBGC RE:         0.60   71952727    957.00
                         M.                    ASSUMPTION/CONTINUATION OF
                                               DEFINED BENEFIT PENSION PLANS;
                                               REVIEW PURCHASE AGREEMENT AND
                                               SCHEDULES; CONF. AND
                                               CORRESPONDENCE WITH AVI RUBIN
                                               AND WEIL TEAM ON SAME.

            10/19/24     Lender, David J.      REVIEW CITGO PETROLEUM POSITION     1.10   71946179   2,194.50
                                               STATEMENT; REVIEW AMBER
                                               AMICUS BRIEF; REVIEW BONDHOLDER
                                               SUBMISSION; REVIEW AND ANALYZE
                                               SPECIAL MASTER FILINGS WITH
                                               ATTACHMENTS AND ORDER.

            10/19/24     Schrock, Ray C.       REVIEW NUMEROUS                     1.10   71947797   2,585.00
                                               COMMUNICATIONS FROM
                                               STAKEHOLDERS RELATED TO STATUS
                                               CONFERENCE; DISCUSS SAME WITH
                                               WEIL TEAM.

            10/19/24     Shefa, Yonatan        CORRESPONDENCE FROM WEIL            1.00   71955792   1,420.00
                                               TEAMS RE: JOINT STATUS REPORT
                                               AND LETTER TO COURT.

            10/19/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        1.50   71949122   2,032.50
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO CITGO'S REQUESTS FOR
                                               PRODUCTION AND CODE DOCUMENTS
                                               AS APPROPRIATE.

            10/19/24     Rubin, Avi            CORRESPONDENCE WITH WEIL ECB        0.20   71941419    258.00
                                               TEAM REGARDING PENSION SPA
                                               ITEMS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 95 of 419 PageID
                                                            #: 35847




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/19/24     Kamath, Priya         REVIEW DOCUMENTS TO BE              0.40   71948413    470.00
                                               PRODUCED TO ADDITIONAL
                                               JUDGMENT CREDITORS AND
                                               VENEZUELA PARTIES FOR
                                               RESPONSIVENESS AND PRIVILEGE.

            10/19/24     Roberts, Ian          REVISE DECLARATION IN SUPPORT OF    5.10   71947226   6,579.00
                                               BIDDER PROTECTIONS MOTION;
                                               CONDUCT RESEARCH FOR SAME;
                                               SEND REVISE DRAFT OF SAME AND
                                               ANALYSIS OF RESEARCH RESULTS TO
                                               M. BURRUS.

            10/19/24     Burrus, Maigreade     REVIEW AND REVISE BIDDER            2.80   71952138   3,976.00
                         B.                    PROTECTION DECLARATION AND
                                               CONFER WITH I. ROBERTS RE: SAME.

            10/19/24     Clarke, Andrew        EMAIL CORRESPONDENCE WITH WEIL      0.90   71940626   1,219.50
                                               TEAM RE: OCTOBER 18 FILINGS;
                                               COLLATE OCTOBER 18 FILINGS FOR
                                               SPECIAL MASTER; DRAFT EMAIL
                                               CORRESPONDENCE TO SPECIAL
                                               MASTER RE: OCTOBER 18 FILINGS.

            10/20/24     Lender, David J.      REVIEW VACATUR DECISION;            0.70   71946351   1,396.50
                                               ANALYZE GIRARD MOTION TO
                                               DISMISS.

            10/20/24     Friedmann, Jared R.   REVIEW EIMER’S FORMAL DISCOVERY     0.40   71995545    718.00
                                               DEMANDS; EMAILS WITH R.JAEGER
                                               RE: ANALYSIS OF SAME.

            10/20/24     Schrock, Ray C.       REVIEW DOCUMENT AND ATTEND          1.50   71947597   3,525.00
                                               CALL WITH BUYER RELATED TO
                                               STATUS CONFERENCE.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 96 of 419 PageID
                                                            #: 35848




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/20/24     Curtis, Aaron J.      REVIEW AND ANALYZE RESEARCH RE:      0.50   71945212    797.50
                                               ESCROW; REVIEW AND RESPOND TO
                                               EMAILS RE: THE ALTER EGO CLAIMS.

            10/20/24     Kamath, Priya         REVIEW DOCUMENTS TO BE               0.30   71948492    352.50
                                               PRODUCED TO ADDITIONAL
                                               JUDGMENT CREDITORS AND
                                               VENEZUELA PARTIES FOR
                                               RESPONSIVENESS AND PRIVILEGE.

            10/20/24     Roberts, Ian          CORRESPOND WITH M. BURRUS RE         3.20   71946773   4,128.00
                                               RESEARCH ON STANDARD OF
                                               REVIEW; FURTHER REVISE
                                               DECLARATION IN SUPPORT OF THE
                                               BIDDER PROTECTIONS MOTION;
                                               CORRESPOND WITH M. BURRUS RE
                                               SAME; SEND SAME TO C. BENTLEY;
                                               DRAFT INDEX FOR OCTOBER 18
                                               FILINGS BINDER; COORDINATE SAME.

            10/20/24     Burrus, Maigreade     REVIEW AND REVISE BIDDER             2.30   71952152   3,266.00
                         B.                    PROTECTION MOTION; REVIEW
                                               RESEARCH RE: BIDDER PROTECTION
                                               MOTION AND CONFER WITH I.
                                               ROBERTS RE: SAME.

            10/21/24     Margolis, Steven      REVIEW ISSUES ON PBGC REQUEST RE:    0.80   71960331   1,276.00
                         M.                    TREATMENT OF DEFINED BENEFIT
                                               PLANS IN TRANSACTION AND
                                               VARIOUS CONF. AND
                                               CORRESPONDENCE WITH WEIL TEAM
                                               ON SAME; CORRESPONDENCE WITH
                                               AKIN ON PBGC AND PROPOSED
                                               RESPONSE; FOLLOWUP ON PBGC
                                               ISSUES.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 97 of 419 PageID
                                                            #: 35849




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/21/24     Friedmann, Jared R.   MEET WITH R.JAEGER RE: NEXT STEPS    1.70   71995546   3,051.50
                                               RE: RESPONDING TO EIMER’S FORMAL
                                               DISCOVERY DEMANDS AND
                                               CONDUCTING SECOND LEVEL REVIEW
                                               OF DOCUMENTS; CALL WITH
                                               C.BENTLEY RE: TIMING OF SAME; WIP
                                               MEETING WITH RX/M&A/LITIGATION
                                               TEAMS; LITIGATION TEAM MEETING
                                               RE: STATUS OF WIP AND NEXT STEPS
                                               AND STRATEGY; EMAIL TO EIMER
                                               FIRM RE: REQUEST TO MEET AND
                                               CONFER REGARDING DOCUMENT
                                               DEMANDS AND NEXT STEPS.

            10/21/24     Keenan, Eoghan P.     MEETING WITH WEIL RX AND WEIL        4.70   71966792   8,436.50
                                               LITIGATION RE: WORK STREAMS AND
                                               ENGAGEMENT WITH BUYER; REVIEW
                                               TRUST AGREEMENT PRECEDENT;
                                               COORDINATE RESPONSE TO PBGC
                                               OUTREACH; MEETING WITH WEIL
                                               M&A TEAM RE: ISSUES LISTS FOR
                                               AKIN MARKUPS; REVIEW MARKUP OF
                                               A&R SPA FROM AKIN TEAM.

            10/21/24     Schrock, Ray C.       ATTEND CALLS RELATED TO              2.10   71994807   4,935.00
                                               TRANSACTION WITH TEAM; REVIEW
                                               AND ANALYZE STAKEHOLDER
                                               COMMUNICATIONS.

            10/21/24     Welch, Alexander      DISCUSS WORKSTREAMS WITH ALL         0.40   72003448    718.00
                         W.                    WEIL TEAMS.
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 98 of 419 PageID
                                                            #: 35850




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/21/24     Shefa, Yonatan        WEIL WIP MEETING; CALL AND EMAIL     3.50   71976889   4,970.00
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION TEAM RE: ACTION ITEMS;
                                               REVIEW DOCKET UPDATES; REVIEW
                                               DOCUMENTS FOR PRODUCTION AS
                                               PART OF DISCOVERY.

            10/21/24     Curtis, Aaron J.      MEET WITH THE WEIL LITIGATION        1.90   71957398   3,030.50
                                               TEAM TO DISCUSS THE INJUNCTION
                                               MOTION, THE DOCUMENT REVIEW,
                                               AND THE BIDDER PROTECTION
                                               MOTION; MEET WITH C. GEHNRICH TO
                                               DISCUSS THE RESEARCH RE:
                                               DISBURSEMENT OF SALE PROCEEDS;
                                               REVIEW AND ANALYZE RESEARCH RE:
                                               DISBURSEMENT OF JUDICIAL SALE
                                               PROCEEDS; REVIEW AND RESPOND TO
                                               EMAILS RE: THE LETTER FROM SALE
                                               PROCESS PARTIES, THE INJUNCTION
                                               MOTION, AND THE RESEARCH RE:
                                               DISBURSEMENT OF SALE PROCEEDS.

            10/21/24     Jaeger, Rebecca       CONFER WITH TEAM REGARDING           2.20   72004681   2,981.00
                                               ONGOING ISSUES AND
                                               WORKSTREAMS; REVIEW AND
                                               ANALYZE DOCUMENTS FOR PRIVILEGE
                                               AND RESPONSIVENESS AND CODE
                                               DOCUMENTS AS APPROPRIATE;
                                               CONFER WITH J. FRIEDMANN
                                               REGARDING DISCOVERY AND
                                               DOCUMENT REVIEW; CONFER WITH
                                               LITIGATION TEAM REGARDING
                                               ONGOING WORKSTREAMS AND
                                               PROJECTS.

            10/21/24     Dulcey, Alfonso J.    REVIEW A&R SPA.                      0.60   71960254   1,050.00
         Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25     Page 99 of 419 PageID
                                                            #: 35851




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                         Hours       Index    Amount


            10/21/24     Niles-Weed, Robert    WEEKLY TEAM MEETING RE: SALE        0.80   71958829    1,380.00
                         B.                    PROCESS LITIGATION.

            10/21/24     Bentley, Chase A.     REVIEW AND REVISE FEE REPORT;       7.30   71998462   11,643.50
                                               PHONE CALL RE 2020S; ATTEND
                                               WEEKLY WEIL WIP CALL; PHONE
                                               CALLS WITH SPECIAL MASTER RE
                                               ONGOING WORKSTREAMS; PHONE
                                               CALL WITH SANTORA GROUP RE FEE
                                               REPORTS; REVIEW TRUST
                                               DOCUMENTS; PHONE CALL WITH
                                               WEIL M&A RE SAME; REVIEW BIDDER
                                               PROTECTION MOTION.

            10/21/24     Rubin, Avi            CALLS WITH AKIN, WEIL M&A AND       7.10   71960665    9,159.00
                                               WEIL TAX TEAMS; ATTEND
                                               INTERNAL CHECK-IN CALLS;
                                               COORDINATE PENSION QUESTIONS;
                                               REVISE ESCROW AGREEMENT;
                                               CORRESPONDENCE WITH SRS; REVIEW
                                               AND PREPARE ISSUES LIST FOR A&R
                                               SPA; COORDINATE DISCLOSURE
                                               SCHEDULES ITEMS.

            10/21/24     Gehnrich, Charles     ANALYZE CASE LAW REGARDING          3.60   71967241    4,230.00
                                               DISTRIBUTION OF SALE PROCEEDS
                                               FOR PERSONAL PROPERTY; ATTEND
                                               WIP MEETING; ATTEND LITIGATION
                                               TEAM MEETING.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 100 of 419 PageID
                                                           #: 35852




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/21/24     Kamath, Priya         ATTEND MEETING WITH                 1.10   71950556   1,292.50
                                               RESTRUCTURING AND M&A TEAMS
                                               TO DISCUSS WORKS IN PROGRESS;
                                               PREPARE AGENDA FOR LITIGATION
                                               TEAM WIP MEETING; ATTEND
                                               LITIGATION TEAM MEETING TO
                                               DISCUSS WORKS IN PROGRESS.

            10/21/24     Smith, Kara           ATTEND LITIGATION TEAM MEETING;     3.60   72011168   4,230.00
                                               ATTEND RESEARCH FOR SALE
                                               RECOMMENDATION; ATTEND WIP
                                               MEETING.

            10/21/24     Sharma, Sakshi        CALL WITH RX & M&A RE: MATTER       0.40   71959609    588.00
                                               UPDATE.

            10/21/24     Evans, Emma           ATTEND CITGO TEAM MEETING WITH      1.00   71960368    995.00
                                               RESTRUCTURING AND M&A; ATTEND
                                               LITIGATION TEAM MEETING RE:
                                               ALTER EGO CLAIMANTS AND
                                               VENEZUELA PARTIES REQUESTS FOR
                                               PRODUCTION; CORRESPONDENCE RE:
                                               LITIGATION TEAM MEETING AGENDA,
                                               SALE TRANSACTION SCHEDULE.

            10/21/24     Mackinnon, Josh       ATTEND WEIL WIP CALL; REVIEW        3.50   71959550   3,482.50
                                               JONES DAY AND CITGO EMAILS RE:
                                               DILIGENCE; DAILY M&A MEETING;
                                               PULL VDR DOCUMENTS FOR AKIN;
                                               PREPARE TRUST DOC ISSUES LIST.

            10/21/24     Serviss, Jess         ATTEND WEIL M&A TEAM CHECK-IN;      0.50   71958081    497.50
                                               ATTEND WORK-IN-PROGRESS
                                               MEETING WITH WEIL TEAM.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 101 of 419 PageID
                                                           #: 35853




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/21/24     SanGiovanni, Giana    REVIEW AND UPDATE LITIGATION         3.10   71957747   3,084.50
                                               TEAM TASK LIST; CORRESPOND WITH
                                               LITIGATION TEAM RE: PLANNING AND
                                               PREPARING FOR WEEKLY LITIGATION
                                               TEAM MEETING; REVIEW AND
                                               UPDATE WIP TASK LIST WITH
                                               LITIGATION TEAM'S WORK STREAMS;
                                               ATTEND WIP CALL WITH RX,
                                               LITIGATION, AND M&A TEAMS TO
                                               DISCUSS WORK STREAMS; ATTEND
                                               LITIGATION TEAM CALL TO DISCUSS
                                               WORK STREAMS; EMAIL M. BURRUS
                                               RE: SALE ORDER AND EMAIL
                                               LITIGATION TEAM RE: LETTER TO
                                               SPECIAL MASTER; REVIEW EMAIL
                                               FROM C. GEHNRICH RE: RESEARCH
                                               FINDINGS ON ESCROWING SALE
                                               PROCEEDS; EMAIL A. CURTIS, R.
                                               JAEGER, K. SMITH, AND R.
                                               NILES-WEED RE: MEETING TO DISCUSS
                                               SPECIAL MASTER'S RESPONSE TO
                                               POSITION STATEMENTS ON
                                               ALTER-EGO DETERMINATION; EMAIL
                                               K. SMITH RE: RESEARCH FINDINGS
                                               AND NEXT STEPS.

            10/21/24     Koivistoinen, Tanja   ATTEND WEEKLY STATUS CALL WITH       4.10   71993452   6,027.00
                                               WEIL TEAM; ATTEND INTERNAL WEIL
                                               M&A STATUS MEETING; REVIEW
                                               TRUST AGREEMENT AND A&R SPA
                                               PROVIDED BY AKIN TEAM; REVIEW
                                               WORKSTREAMS STATUS TRACKER;
                                               REVIEW OCTOBER 18 FILING
                                               DOCUMENTS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 102 of 419 PageID
                                                           #: 35854




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/21/24     Fernandez, Ricardo    READ AND SENT EMAILS FROM/TO        3.50   71965104   4,515.00
                                               WEIL TAX/CORPORATE TEAMS.
                                               REVIEW A&R SPA AND A&R TRUST
                                               AGREEMENT; DRAFT TAX ISSUES LIST
                                               TO A&R SPA AND A&R TRUST
                                               AGREEMENT; CALLS WITH WEIL TAX
                                               AND CORPORATE TEAMS TO DISCUSS.

            10/21/24     Roberts, Ian          CORRESPOND WITH J. MACKINNON        3.50   72007323   4,515.00
                                               AND G. SANGIOVANNI RE
                                               WORK-IN-PROCESS LIST; REVISE
                                               SAME; DISCUSS WORKSTREAMS
                                               WITH M. BURRUS; ATTEND
                                               WORK-IN-PROCESS MEETING WITH
                                               RESTRUCTURING, LITIGATION, AND
                                               M&A TEAMS; CORRESPOND WITH C.
                                               BENTLEY AND LITIGATION TEAM RE
                                               DECLARATION IN SUPPORT OF BIDDER
                                               PROTECTIONS MOTION; CORRESPOND
                                               WITH C. BENTLEY RE AUGUST FEE
                                               STATEMENT; REVISE BIDDER
                                               PROTECTION MOTION.

            10/21/24     Burrus, Maigreade     ATTEND WEIL RX, LIT, AND M&A        1.10   72005541   1,562.00
                         B.                    WORK IN PROGRESS MEETING;
                                               CONFER WITH EVERCORE RE: BIDDER
                                               PROTECTION DECLARATION; CONFER
                                               WITH R. PINCUS RE: AUGUST FEE
                                               REPORT.

            10/21/24     Clarke, Andrew        REVIEW DOCKET UPDATES; REVIEW       0.30   72007137    406.50
                                               VARIOUS EMAILS FROM WEIL TEAM
                                               RE: ONGOING WORKSTREAMS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 103 of 419 PageID
                                                           #: 35855




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            10/22/24     Margolis, Steven      REVIEW ISSUES ON PBGC INQUIRY FOR    1.40   71972958    2,233.00
                         M.                    ASSUMPTION/CONTINUATION OF
                                               PENSION PLANS; CONF. WITH AKIN
                                               AND WEIL TEAMS ON PURCHASE
                                               AGREEMENT, PROPOSED RESPONSES
                                               AND COORDINATION WITH PBGC;
                                               DRAFT CORRESPONDENCE TO A.
                                               WALKER AND K. NEUREITER ON
                                               PENSION PLAN ISSUES; REVIEW
                                               PURCHASE AGREEMENT AND
                                               INQUIRY; VARIOUS CONF. WITH A.
                                               RUBIN ON SAME.

            10/22/24     Friedmann, Jared R.   CALL WITH A.CURTIS RE: PREPARING     0.40   71995527     718.00
                                               FOR CALL WITH WACHTELL AND
                                               GIBSON ABOUT THEIR ANTICIPATED
                                               RESPONSE TO PROPOSED INJUNCTION
                                               ORDER AND SCHEDULE TO ADDRESS
                                               ALTER EGO CLAIMS; EMAILS WITH
                                               TEAM RE: SAME.

            10/22/24     Keenan, Eoghan P.     CALL WITH EVERCORE AND WEIL RE:      7.30   71968574   13,103.50
                                               ONGOING WORKSTREAMS; REVIEW
                                               A&R STOCK PURCHASE AGREEMENT
                                               MARKUP FROM AKIN; REVISE SPA
                                               ISSUES LIST; REVIEW DRAFT TRUST
                                               AGREEMENT FROM AKIN.

            10/22/24     Schrock, Ray C.       ATTEND CALLS RELATED TO              2.00   71994851    4,700.00
                                               TRANSACTION WITH TEAM; REVIEW
                                               AND ANALYZE STAKEHOLDER
                                               COMMUNICATIONS; CALL WITH
                                               EVERCORE.

            10/22/24     Welch, Alexander      CALL WITH EVERCORE RE: STATUS.       0.50   72003518     897.50
                         W.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 104 of 419 PageID
                                                           #: 35856




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            10/22/24     Shefa, Yonatan        REVIEW DOCKET FILINGS;                0.50   71994893    710.00
                                               CORRESPONDENCE FROM A. CURTIS,
                                               C. BENTLEY, AND G. SANGIOVANNI RE:
                                               STATUS CONFERENCE AND ALTER
                                               EGO SCHEDULE.

            10/22/24     Curtis, Aaron J.      CALL WITH J. FRIEDMANN TO             1.40   71967683   2,233.00
                                               DISCUSS THE CALL WITH
                                               CRYSTALLEX AND CONOCO TO
                                               DISCUSS THE ALTER EGO FILINGS;
                                               REVIEW AND RESPOND TO EMAILS RE:
                                               THE ALTER EGO FILINGS AND
                                               SCHEDULE.

            10/22/24     Jaeger, Rebecca       CONFER WITH CLIENT REGARDING          0.80   72004625   1,084.00
                                               TRIAL PREPARATION.

            10/22/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS          1.30   72004697   1,761.50
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO DOCUMENT REQUESTS AND CODE
                                               DOCUMENTS AS APPROPRIATE.

            10/22/24     Dulcey, Alfonso J.    REVIEW AND DISCUSS WITH WEIL          2.40   71974134   4,200.00
                                               TEAM REVISE SPA AND TRUST
                                               AGREEMENT.

            10/22/24     Bentley, Chase A.     REVIEW TRUST DOCUMENTS; EMAILS        4.20   71998459   6,699.00
                                               AND CALLS RE FEE REPORTS; EMAILS
                                               RE PBGC; EMAILS WITH A. CURTIS RE
                                               ALTER EGO FILINGS; PHONE CALL
                                               WITH EVERCORE TEAM RE ONGOING
                                               WORKSTREAMS; EMAILS WITH
                                               CHAMBERS RE STATUS CONFERENCE;
                                               DRAFT STATUS CONFERENCE
                                               TALKING POINTS; REVIEW ALTER EGO
                                               MATERIALS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 105 of 419 PageID
                                                           #: 35857




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            10/22/24     Rubin, Avi            CALLS WITH WEIL BENEFITS TEAM;       6.00   71973320   7,740.00
                                               CALL WITH EVERCORE; DISCUSS A&R
                                               SPA WITH WEIL M&A; ATTEND CALL
                                               WITH AKIN RE: PBGC;
                                               CORRESPONDENCE WITH WEIL
                                               ANTI-TRUST TEAM; COORDINATE
                                               DISCLOSURE SCHEDULES ITEMS;
                                               DRAFT A&R SPA ISSUES LIST; REVIEW
                                               AND REVISE A&R SPA DRAFT.
                                               CORRESPONDENCE WITH JD
                                               REGARDING REPS AND WARRANTIES.

            10/22/24     Gehnrich, Charles     REVISE LITIGATION SCHEDULE DATES.    0.20   71985156    235.00

            10/22/24     Logan, Savannah L.    REVIEW AND PROVIDE COMMENT RE        0.80   71985177    940.00
                                               POTENTIAL SECTION 8 CONCERN;
                                               ATTEND MEETING WITH CITGO
                                               ANTITRUST COUNSEL RE HSR FILING.

            10/22/24     Sharma, Sakshi        CALL WITH RX AND M&A RE: DEAL.       0.50   71974033    735.00

            10/22/24     Okada, Tyler          REVIEW RECENTLY FILED PLEADINGS,     0.60   72009902    210.00
                                               PREPARE UPDATED DOCKET
                                               SCHEDULE FOR TEAM REVIEW.

            10/22/24     Mackinnon, Josh       RESPOND TO AKIN QUESTIONS            1.20   71982255   1,194.00
                                               REGARDING SCHEDULES; ATTEND
                                               EVERCORE CHECK-IN; UPDATE
                                               WORKSTREAM LIST.

            10/22/24     Serviss, Jess         ATTEND CHECK-IN WITH EVERCORE        0.50   71972720    497.50
                                               AND WEIL TEAMS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 106 of 419 PageID
                                                           #: 35858




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            10/22/24     SanGiovanni, Giana    REVIEW EMAILS FROM LITIGATION        0.70   71981991     696.50
                                               AND RX TEAMS RE: ALTER-EGO
                                               BRIEFING/HEARING SCHEDULE;
                                               REVIEW, ANALYZE, AND PROPOSE
                                               REVISED BRIEFING/HEARING
                                               SCHEDULE.

            10/22/24     Koivistoinen, Tanja   REVIEW TRUST AGREEMENT AND           6.90   71993445   10,143.00
                                               A&R SPA PROVIDED BY AKIN;
                                               PREPARE TRUST AGREEMENT ISSUES
                                               LIST; ATTEND WEEKLY CHECK IN
                                               CALL; ATTEND CALL WITH WEIL AND
                                               AKIN ECB TEAMS AND PBGC.

            10/22/24     Fernandez, Ricardo    READ AND SENT EMAILS FROM/TO         4.10   71972740    5,289.00
                                               WEIL TAX/CORPORATE TEAMS;
                                               REVIEW A&R SPA AND TRUST
                                               AGREEMENT; DRAFT ISSUES LIST
                                               REGARDING TAX ISSUES IN A&R SPA
                                               AND TRUST AGREEMENT; CALLS
                                               WITH WEIL TAX AND CORPORATE
                                               TEAMS TO DISCUSS.

            10/22/24     Roberts, Ian          UPDATE WORK-IN-PROCESS LIST AND      2.20   72007315    2,838.00
                                               CIRCULATE TO TEAM; ATTEND
                                               WEIL/EVERCORE WEEKLY CHECK-IN
                                               CALL; REVIEW AND COMMENT ON
                                               JULY FEE INVOICE; CORRESPOND WITH
                                               Y. ALVARADO RE SAME.

            10/22/24     Burrus, Maigreade     CONFER WITH C. BENTLEY RE: FEE       0.50   72005415     710.00
                         B.                    REPORTS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 107 of 419 PageID
                                                           #: 35859




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            10/22/24     Clarke, Andrew        ATTEND WEEKLY MEETING WITH            0.90   71960317   1,219.50
                                               EVERCORE AND WEIL TEAMS; EMAILS
                                               WITH C. BENTLEY RE: PREPARATION
                                               FOR PROPOSED STATUS CONFERENCE;
                                               EMAILS WITH WEIL LITIGATION
                                               TEAM RE: ALTER-EGO ISSUES.

            10/23/24     Margolis, Steven      CONF. WITH A. WALKER AND K.           1.20   71983141   1,914.00
                         M.                    NEUREITER, J. CHATALIAN, T.
                                               KOIVISTOINEN AND N. GROSS RE: PBGC
                                               CLAIMS AND REQUESTS ON
                                               CONTINUATION OF DEFINED BENEFIT
                                               PENSION PLANS; CALL WITH J
                                               CHATALIAN RE: PATH FORWARD
                                               WITH PBGC; FOLLOW UP CONF. WITH
                                               T. KOIVISTOINEN ON SAME; DRAFT
                                               ISSUES LIST TO WEIL CORPORATE
                                               TEAM ON SCHEDULE REQUEST AND
                                               PROPOSED RESPONSE TO PBGC.

            10/23/24     Heyliger, Adé         REVIEW AND DISCUSS US SECURITIES      1.60   71992171   2,960.00
                                               LAW IMPLICATIONS OF ISSUING
                                               TRANSFERABLE TRUST INTERESTS.

            10/23/24     Friedmann, Jared R.   CALL WITH GIBSON AND WACHTELL         1.50   71995500   2,692.50
                                               TEAMS RE: PROPOSED INJUNCTION
                                               ORDER, SCHEDULE FOR ADDRESSING
                                               ALTER EGO CLAIMS; EMAILS WITH
                                               TEAM RE: SAME; CALL WITH
                                               A.CURTIS RE: SAME AND NEXT STEPS;
                                               REVIEW J.RAKOFF DECISION IN ALTER
                                               EGO ACTION; EMAILS WITH TEAM RE:
                                               SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 108 of 419 PageID
                                                           #: 35860




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/23/24     Keenan, Eoghan P.     ATTEND MEETING WITH SPECIAL          4.40   71985247   7,898.00
                                               MASTER, WEIL RX, WEIL LITIGATION
                                               AND EVERCORE TEAMS RE:
                                               ENGAGEMENT WITH THE COURT AND
                                               WORK STREAMS; REVISE TRUST
                                               AGREEMENT ISSUES LIST; REVIEW
                                               DRAFT TRUST AGREEMENT; MEETING
                                               WITH WEIL M&A TEAM RE:
                                               COMMENTS TO TRUST AGREEMENT.

            10/23/24     Schrock, Ray C.       TEND TO STAKEHOLDERS                 3.50   71994840   8,225.00
                                               COMMUNICATIONS; CALL WITH
                                               SPECIAL MASTER; FOLLOW UP WITH
                                               TEAM RE: NUMEROUS ISSUES; PHONE
                                               CALLS WITH STAKEHOLDERS.

            10/23/24     Shefa, Yonatan        REVIEW DOCKET FILINGS.               0.10   71994939    142.00

            10/23/24     Curtis, Aaron J.      CALL WITH J. FRIEDMANN TO            2.30   71981052   3,668.50
                                               DISCUSS THE CALL WITH
                                               CRYSTALLEX AND CONOCO AND THE
                                               PROPOSAL FOR THE ALTER EGO
                                               CLAIMS; CALL WITH R. NILES-WEED
                                               TO DISCUSS THE CALL WITH
                                               CRYSTALLEX AND CONOCO AND THE
                                               PROPOSAL FOR THE ALTER EGO
                                               CLAIMS; CALL WITH WEIL TEAM TO
                                               DISCUSS THE REPLY RE: THE ALTER
                                               EGO PROPOSAL; CALL WITH
                                               CRYSTALLEX AND CONOCO TO
                                               DISCUSS THE ALTER EGO PROPOSAL;
                                               REVIEW AND RESPOND TO EMAILS RE:
                                               CALL WITH CRYSTALLEX AND
                                               CONOCO AND THE DECISION ON RED
                                               TREE’S MOTION TO INTERVENE IN ONE
                                               OF THE ALTER EGO ACTIONS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 109 of 419 PageID
                                                           #: 35861




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            10/23/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        1.20   72004804   1,626.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO RFPS AND CODE DOCUMENTS AS
                                               APPROPRIATE; CONFER WITH
                                               LITIGATION TEAM REGARDING REPLY
                                               TO ALTER EGO POSITION
                                               STATEMENTS.

            10/23/24     Niles-Weed, Robert    MEETINGS WITH LITIGATION TEAM       1.10   71982829   1,897.50
                         B.                    RE: ALTER EGO HEARING PROCESS;
                                               CALL WITH CRYSTALLEX AND
                                               CONOCO RE: SAME.

            10/23/24     Bentley, Chase A.     PHONE CALL WITH GIBSON AND          3.40   71998339   5,423.00
                                               WACHTELL RE ALTER EGO; REVIEW
                                               MATERIALS RELATED TO SAME;
                                               REVIEW FEE REPORT; ATTEND
                                               WEEKLY CHECK-IN CALL WITH
                                               EVERCORE AND SPECIAL MASTER;
                                               REVIEW TRUST DOCUMENTS.

            10/23/24     Rubin, Avi            CALL WITH WEIL TAX TEAM TO          4.30   71982830   5,547.00
                                               DISCUSS A&R SPA; ATTEND CALL
                                               WITH SPECIAL MASTER AND
                                               EVERCORE; ATTEND INTERNAL
                                               CHECK-IN CALL; COORDINATE
                                               DISCLOSURE SCHEDULES ITEMS;
                                               DRAFT LIST OF A&R SPA COVENANT
                                               TIMING ITEMS; REVISE A&R SPA.

            10/23/24     Gehnrich, Charles     ANALYZE GIRARD STREET ORDER         0.20   71992512    235.00
                                               DENYING RED TREE MOTION TO
                                               INTERVENE.

            10/23/24     Kamath, Priya         REVIEW MEMO FROM G. SANGIOVANI      1.20   71993925   1,410.00
                                               ON RESEARCH.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 110 of 419 PageID
                                                           #: 35862




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            10/23/24     Smith, Kara           MEETING WITH WEIL TEAM RE DRAFT      0.50   72011158    587.50
                                               OF REPLY TO RESPONSE TO ALTER EGO
                                               MOTION PROPOSED ORDER.

            10/23/24     Logan, Savannah L.    CONDUCT RESEARCH RE HSR              1.50   71980365   1,762.50
                                               MATTERS.

            10/23/24     Sharma, Sakshi        CALL WITH M&A RE: TRUST              0.40   71982312    588.00
                                               STRUCTURE.

            10/23/24     Evans, Emma           CORRESPONDENCE RE: ALTER EGO         0.10   71998693     99.50
                                               CASES.

            10/23/24     Mackinnon, Josh       REVIEW TRUST AGREEMENT AND           1.00   71982173    995.00
                                               A&R SPA.

            10/23/24     Serviss, Jess         ATTEND M&A TEAM MEETING.             0.10   71981732     99.50

            10/23/24     SanGiovanni, Giana    ATTEND VARIOUS CALLS WITH R.         0.80   71982253    796.00
                                               NILES-WEED, A. CURTIS, R. JAEGER,
                                               AND K. SMITH RE: SPECIAL MASTER'S
                                               RESPONSE TO POSITION STATEMENTS
                                               ON ALTER-EGO DETERMINATION;
                                               COMPILE NOTES ON STRATEGY/PLAN
                                               FOR DRAFT AND DISSEMINATE TO
                                               TEAM; REVIEW AND ANALYZE
                                               EMAILS FROM LITIGATION AND RX
                                               TEAMS RE: ORDER ISSUED IN GIRARD
                                               STREET ALTER-EGO ACTION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 111 of 419 PageID
                                                           #: 35863




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/23/24     Koivistoinen, Tanja   ATTEND CHECK IN CALL WITH THE       3.40   71993439   4,998.00
                                               SPECIAL MASTER AND WEIL AND
                                               EVERCORE TEAMS; ATTEND
                                               INTERNAL STATUS MEETING WITH
                                               WEIL M&A TEAM; REVISE TRUST
                                               AGREEMENT; CALLS AND EMAIL
                                               CORRESPONDENCE WITH WEIL RX RE:
                                               TRUST AGREEMENT ISSUES LIST;
                                               CALLS AND EMAIL CORRESPONDENCE
                                               WITH WEIL CAPM TEAM RE:
                                               TRANSFERABILITY OF TRUST
                                               BENEFICIAL INTERESTS; EXAMINE
                                               THE SCOPE OF 2020 BONDHOLDERS.

            10/23/24     Roberts, Ian          CORRESPOND WITH M. BURRUS AND J.    0.20   72007345    258.00
                                               MACKINNON RE 2020S.

            10/23/24     Burrus, Maigreade     REVIEW AND PREPARE COMMENTS TO      4.00   72005442   5,680.00
                         B.                    TRUST AGREEMENT DRAFTS AND
                                               CONFER WITH C. BENTLEY RE: SAME.

            10/23/24     Clarke, Andrew        ATTEND WEEKLY CALL WITH SPECIAL     1.10   72007056   1,490.50
                                               MASTER, EVERCORE, AND WEIL
                                               TEAM; REVIEW ORAL ORDER OF
                                               JUDGE STARK DATED OCTOBER 23 ON
                                               DOCKET; EMAILS WITH C. BENTLEY
                                               RE: NEXT STEPS WITH RESPECT TO
                                               JOINT STATUS CONFERENCE; REVIEW
                                               VARIOUS EMAILS FROM WEIL TEAM
                                               RE: DOCKET UPDATES.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 112 of 419 PageID
                                                           #: 35864




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/24/24     Margolis, Steven      CORRESPONDENCE WITH A. WALKER        0.90   71988504   1,435.50
                         M.                    RE: STOCK PURCHASE AGREEMENT
                                               SCHEDULES AND SEND SAME;
                                               CORRESPONDENCE WITH J.
                                               CHATALIAN ON SAME; REVIEW
                                               RESPONSE AND ISSUES FROM A.
                                               WALKER; PREPARE DRAFT RESPONSE
                                               TO PBGC AND CORRESPONDENCE
                                               WITH J. CHATALIAN ON SAME.

            10/24/24     Lender, David J.      REVIEW CONOCO LETTER; REVIEW         0.50   71988360    997.50
                                               RAKOFF DECISION; TELEPHONE CALL
                                               WITH CURTIS RE SAME.

            10/24/24     Heyliger, Adé         REVIEW AND DISCUSS US SECURITIES     1.60   71992082   2,960.00
                                               LAW IMPLICATIONS OF ISSUING
                                               TRANSFERABLE TRUST INTERESTS.

            10/24/24     Friedmann, Jared R.   REVIEW DRAFT LETTER FROM             0.40   71995469    718.00
                                               WACHTELL RE: ALTER EGO ISSUES
                                               AND EMAILS WITH TEAM RE: SAME
                                               AN NEXT STEPS.

            10/24/24     Keenan, Eoghan P.     MEET WITH WEIL M&A TEAM RE:          2.00   71988471   3,590.00
                                               TRUST AGREEMENT AND STOCK
                                               PURCHASE AGREEMENT; REVIEW
                                               MARKUP OF THE STOCK PURCHASE
                                               AGREEMENT.

            10/24/24     Curtis, Aaron J.      REVIEW AND ANALYZE SDNY              0.70   71988239   1,116.50
                                               DECISION RE: RED TREE’S MOTION TO
                                               INTERVENE; REVIEW AND RESPOND
                                               TO EMAILS RE: THE DECISION ON RED
                                               TREE’S MOTION TO INTERVENE; CALL
                                               WITH D. LENDER TO DISCUSS THE
                                               ALTER EGO CLAIMS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 113 of 419 PageID
                                                           #: 35865




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            10/24/24     Jaeger, Rebecca       RESEARCH CASE LAW REGARDING         1.90   72004617   2,574.50
                                               ISSUE PRECLUSION; CONFER WITH G.
                                               SANGIOVANNI AND K. SMITH
                                               REGARDING RESPONSE TO ALTER EGO
                                               POSITION STATEMENT; REVIEW AND
                                               ANALYZE DOCUMENTS FOR PRIVILEGE
                                               AND RESPONSIVENESS TO DOCUMENT
                                               REQUESTS.

            10/24/24     Bentley, Chase A.     REVIEW ALTER EGO DECISION;          3.10   71998308   4,944.50
                                               EMAILS WITH WEIL TEAM RE SAME;
                                               REVIEW AND REVISE FEE REPORT;
                                               EMAILS RE CASE CALENDAR; REVIEW
                                               CONOCO DRAFT FILING; EMAILS RE
                                               SAME; EMAILS WITH BUYER RE
                                               REDACTIONS; PHONE CALL RE 2020S.

            10/24/24     Rubin, Avi            ATTEND CALL TO DISCUSS TRUST        1.40   71988252   1,806.00
                                               INTEREST TRANSFERABILITY; REVIEW
                                               AND PROVIDE COMMENTS TO
                                               WORKSTREAM STATUS LIST.

            10/24/24     Gehnrich, Charles     ANALYZE GIRARD STREET ORDER         0.20   71994895    235.00
                                               DENYING RED TREE MOTION TO
                                               INTERVENE.

            10/24/24     Smith, Kara           MEET WITH R. JAEGAR AND G.          4.30   72011135   5,052.50
                                               SANGIOVANNI RE RESEARCH PLAN
                                               FOR ALTER EGO RESPONSE; RESEARCH
                                               CASE STRATEGY FOR ALTER EGO
                                               RESPONSE RE COURT INJUNCTION
                                               AUTHORITY; CONDUCT RESEARCH
                                               FOR ALTER EGO RESPONSE TO REVISE
                                               PROPOSED ORDER; CONDUCT
                                               RESEARCH FOR INJUNCTION
                                               RESPONSE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 114 of 419 PageID
                                                           #: 35866




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount


            10/24/24     Logan, Savannah L.    RESEARCH AND ANALYZE POTENTIAL        1.50   72010342   1,762.50
                                               SECTION 8 CONCERN.

            10/24/24     Sharma, Sakshi        CALL WITH M&A AND PCAG RE:            1.60   72002521   2,352.00
                                               TRUST STRUCTURE; PREPARE
                                               LANGUAGE RE: SAME.

            10/24/24     Okada, Tyler          UPDATE CASE CALENDAR WITH             0.90   72010036    315.00
                                               RELEVANT DATES AND DEADLINES;
                                               ASSIST WITH PREPARATION OF
                                               MATERIALS RE: SPECIAL MASTER'S
                                               AUGUST 2024 FEE REPORT FOR M.
                                               BURRUS.

            10/24/24     Mackinnon, Josh       ATTEND CALL WITH CAPM AND PCAG        0.70   71990924    696.50
                                               REGARDING TRUST STRUCTURE.

            10/24/24     SanGiovanni, Giana    ANALYZE ENTRIES ON ALTER-EGO          0.30   71992760    298.50
                                               DOCKETS; DISCUSS SPECIAL
                                               MASTER'S RESPONSE TO POSITION
                                               STATEMENTS ON CALL WITH K.
                                               SMITH AND R. JAEGER.

            10/24/24     Koivistoinen, Tanja   CALL WITH WEIL M&A AND CAPM           1.20   71992304   1,764.00
                                               TEAMS RE: THE TRANSFERABILITY OF
                                               BENEFICIAL INTERESTS IN THE TRUST;
                                               REVIEW PRECEDENT LANGUAGE ON
                                               TRANSFERABILITY; REVIEW A&R SPA
                                               MARKUP.

            10/24/24     Fernandez, Ricardo    READ AND SENT EMAILS FROM/TO          1.40   71994135   1,806.00
                                               WEIL TAX; DRAFT TAX COMMENTS
                                               TO A&R SPA AND TRUST
                                               AGREEMENT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 115 of 419 PageID
                                                           #: 35867




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/24/24     Roberts, Ian          CORRESPOND WITH C. BENTLEY AND      0.90   72002237   1,161.00
                                               T. OKADA RE CALENDAR; DISCUSS
                                               AUGUST FEE STATEMENT FILING
                                               WITH M. BURRUS; CORRESPOND
                                               INTERNALLY RE SPECIAL
                                               MASTER/CRYSTALLEX/CONOCO
                                               WEEKLY CALL.

            10/24/24     Burrus, Maigreade     PREPARE JULY FEE REPORT AND         2.20   72005372   3,124.00
                         B.                    CONFER WITH WEIL RX TEAM RE:
                                               SAME; CONFER WITH I. ROBERTS RE:
                                               WIP.

            10/24/24     Clarke, Andrew        EMAILS WITH WEIL RX TEAM RE:        0.20   72006637    271.00
                                               MEETING WITH SALE PROCESS
                                               PARTIES.

            10/25/24     Friedmann, Jared R.   REVIEW LETTER SUBMITTED BY          0.40   71995540    718.00
                                               GIBSON RE: ALTER EGO ISSUES
                                               INCLUDING PROPOSED INJUNCTION
                                               ORDER; EMAILS WITH TEAM RE:
                                               SAME.

            10/25/24     Keenan, Eoghan P.     REVIEW MARKUP OF A&R SPA.           1.00   71999970   1,795.00

            10/25/24     Curtis, Aaron J.      REVIEW AND ANALYZE LETTERS          1.20   71993087   1,914.00
                                               FROM CRYSTALLEX AND CONOCO RE:
                                               THE ALTER EGO CLAIMS; REVIEW AND
                                               RESPOND TO EMAILS RE: THE
                                               CRYSTALLEX AND CONOCO LETTERS
                                               AND THE DECISION ON RED TREE’S
                                               INTERVENTION MOTION IN THE ALTER
                                               EGO CASE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 116 of 419 PageID
                                                           #: 35868




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/25/24     Bentley, Chase A.     EMAILS RE FEE REPORT; EMAILS RE      0.90   71998310   1,435.50
                                               ALTER EGO; REVIEW MATERIALS
                                               RELATED TO SAME.

            10/25/24     Gehnrich, Charles     DRAFT SUMMARY OF GIRARD STREET       0.70   71994914    822.50
                                               INTERVENTION DECISION AND
                                               RELATED ADVICE FOR SPECIAL
                                               MASTER.

            10/25/24     Smith, Kara           REVIEW RESPONSES AND RESEARCH        3.20   72011197   3,760.00
                                               LEGAL PRECEDENTS FOR RESPONSE TO
                                               REVISE PROPOSED INJUNCTION
                                               ORDER.

            10/25/24     Mackinnon, Josh       UPDATE WIP LIST.                     0.30   72002257    298.50

            10/25/24     SanGiovanni, Giana    REVIEW EMAILS FROM RX AND            2.10   72002028   2,089.50
                                               LITIGATION TEAMS RE: JUDGE
                                               RAKOFF'S ORDER IN GIRARD STREET
                                               ALTER-EGO ACTION AND EMAIL A.
                                               CURTIS, R. NILES-WEED, K. SMITH,
                                               AND R. JAEGER RE: CRYSTALLEX'S
                                               AND CONOCOPHILLIPS' POSITION
                                               STATEMENTS WITH RESPECT TO
                                               REVISE, PROPOSED ORDER AND
                                               SPECIAL MASTER'S POSITION
                                               STATEMENT ON ALTER-EGO
                                               DETERMINATION; REVIEW, ANALYZE,
                                               AND SUMMARIZE FOR CLIENT
                                               CRYSTALLEX'S AND CONOCOPHILLIPS'
                                               POSITION STATEMENTS; REVIEW AND
                                               RESPOND TO EMAILS FROM RX AND
                                               LITIGATION TEAMS RE: DRAFT CLIENT
                                               SUMMARY AND REVISING WIP TASK
                                               LIST; REVIEW AND ANALYZE DOCKET
                                               ACTIVITY IN ALTER-EGO ACTIONS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25         Page 117 of 419 PageID
                                                           #: 35869




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                             Hours      Index   Amount


            10/25/24     Koivistoinen, Tanja   REVIEW AND COMMENT ON THE A&R          1.40   71995413   2,058.00
                                               SPA DRAFT FROM AKIN.

            10/25/24     Fernandez, Ricardo    REVIEW A&R SPA AND TRUST               1.10   72003688   1,419.00
                                               AGREEMENT.

            10/25/24     Roberts, Ian          CORRESPOND INTERNALLY RE               0.50   72001975    645.00
                                               APPROVED JULY FEE REPORT;
                                               CORRESPOND WITH SANTORA RE
                                               SAME AND AUGUST FEE REPORT;
                                               UPDATE WORK-IN-PROCESS LIST AND
                                               CIRCULATE INTERNALLY.

            10/25/24     Clarke, Andrew        REVIEW EMAIL FROM M. BURRUS RE:        0.30   72006220    406.50
                                               AUGUST FEE REPORT; EMAILS WITH C.
                                               BENTLEY RE: SAME.

            10/26/24     Friedmann, Jared R.   FURTHER REVIEW AND ANALYZE             0.80   72057548   1,436.00
                                               LETTERS SUBMITTED BY CONOCO
                                               AND CRYSTALLEX IN CONNECTION
                                               WITH PROPOSED INJUNCTION ORDER
                                               AND PROPOSALS FOR LITIGATING
                                               ALTER EGO ISSUES IN DE; EMAILS
                                               WITH TEAM RE: SAME.

            10/26/24     Shefa, Yonatan        CORRESPONDENCE FROM C. BENTLEY,        0.60   72007650    852.00
                                               C. GEHNRICH, AND A. CURTIS RE: SDNY
                                               DECISION; REVIEW DOCKET ENTRIES.

            10/26/24     Rubin, Avi            REVIEW AKIN DRAFT OF DISCLOSURE        0.50   71994437    645.00
                                               SCHEDULES; CORRESPONDENCE WITH
                                               AKIN TEAM.

            10/27/24     Rubin, Avi            REVIEW AKIN DISCLOSURE                 0.10   72000516    129.00
                                               SCHEDULES MARKUP.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 118 of 419 PageID
                                                           #: 35870




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/28/24     Margolis, Steven      CONF. WITH N. GROSS RE: PBGC         0.30   72010102    478.50
                         M.                    ISSUES, PROPOSED RESPONSE ON
                                               REQUESTS, REVIEW ISSUES FROM JON
                                               CHATALIAN ON SAME.

            10/28/24     Heyliger, Adé         REVIEW TRUST AGREEMENT AND           1.10   72058052   2,035.00
                                               ACCOMPANYING DOCUMENTATION.

            10/28/24     Friedmann, Jared R.   EMAILS RE: SIX CREDITORS’ REQUEST    1.40   72057778   2,513.00
                                               THAT SPECIAL MASTER DO
                                               SOMETHING TO CORRECT J.RAKOFF’S
                                               MISUNDERSTANDING OF SALE
                                               PROCESS/BID; EMAILS WITH GIBSON
                                               AND WACHTELL TEAMS RE: SAME;
                                               WEEKLY COORDINATION CALL WITH
                                               RESTRUCTURING AND M&A TEAMS;
                                               FURTHER REVIEW/ANALYZE LETTERS
                                               SUBMITTED BY PARTIES IN INTEREST
                                               TO PREPARE FOR LITIGATION TEAM
                                               MEETING; LITIGATION TEAM
                                               MEETING RE: WIP AND STRATEGY.

            10/28/24     Keenan, Eoghan P.     REVISE MARKUP OF A&R SPA.            2.10   72009786   3,769.50
                                               ATTEND MEETING WITH WEIL RX, LIT
                                               AND M&A TEAMS RE: WORK
                                               STREAMS. ATTEND MEETING WITH
                                               WEIL M&A TEAM RE: OUTREACH TO
                                               DELAWARE COUNSEL AND NEXT
                                               STEPS ON THE TRUST
                                               DOCUMENTATION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25         Page 119 of 419 PageID
                                                           #: 35871




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                             Hours      Index   Amount

            10/28/24     Schrock, Ray C.       NUMEROUS COMMUNICATIONS WITH           2.50   72059160   5,875.00
                                               LEAD BIDDER, SPECIAL MASTER AND
                                               TEAM AND RELATED
                                               COMMUNICATIONS WITH
                                               STAKEHOLDERS RE: PROCESS AND
                                               FILINGS.

            10/28/24     Shefa, Yonatan        ATTEND WEIL WIP MEETING; ATTEND        0.70   72014824    994.00
                                               WEIL LITIGATION TEAM STRATEGY
                                               MEETING; REVIEW DOCKET ENTRIES.

            10/28/24     Curtis, Aaron J.      CALL WITH WEIL TEAM RE: ALTER          0.80   72008479   1,276.00
                                               EGO CLAIMS AND THE DEAL
                                               DOCUMENTATION; REVIEW AND
                                               RESPOND TO EMAILS RE: THE ALTER
                                               EGO CLAIMS AND THE GIRARD
                                               STREET CASE.

            10/28/24     Jaeger, Rebecca       CONFER WITH TEAM REGARDING             3.20   72041156   4,336.00
                                               ONGOING WORKSTREAMS AND
                                               PROJECTS; CONFER WITH LITIGATION
                                               TEAM REGARDING ONGOING
                                               WORKSTREAMS AND PROJECTS;
                                               DRAFT RESPONSES AND OBJECTIONS
                                               TO CITGO/PDVH'S REQUESTS FOR
                                               PRODUCTION; RESEARCH CASE LAW
                                               REGARDING ISSUE PRECLUSION FOR
                                               USE IN REPLY TO ALTER EGO BRIEFING.

            10/28/24     Sternlieb, Sarah      LIT TEAM CALL.                         0.60   72037911    957.00

            10/28/24     Niles-Weed, Robert    LITIGATION TEAM MEETING.               0.50   72014944    862.50
                         B.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 120 of 419 PageID
                                                           #: 35872




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/28/24     Bentley, Chase A.     ATTEND WEIL WIP CALL; EMAILS        1.80   72054326   2,871.00
                                               WITH WEIL LIT TEAM RE RED TREE
                                               INTERVENTION DENIAL; EMAILS RE
                                               DILIGENCE; REVIEW ALTER EGO
                                               MATERIALS; PHONE CALL RE CITGO
                                               DISCOVERY.

            10/28/24     Rubin, Avi            ATTEND INTERNAL CHECK-IN CALL;      2.30   72009704   2,967.00
                                               COORDINATE DISCLOSURE
                                               SCHEDULES ITEMS; COORDINATE
                                               ANTITRUST ANALYSIS ITEMS.

            10/28/24     Kamath, Priya         MEETING WITH RESTRUCTURING AND      1.00   72003103   1,175.00
                                               M&A TEAMS TO DISCUSS WORKS IN
                                               PROGRESS; MEETING WITH
                                               LITIGATION TEAM TO DISCUSS
                                               WORKS IN PROGRESS; PREPARE WIP
                                               MEETING AGENDA FOR LITIGATION
                                               TEAM.

            10/28/24     Smith, Kara           CONDUCT RESEARCH RE RESPONSE        4.80   72060079   5,640.00
                                               LETTER RE REVISE PROPOSED ORDER
                                               ON ALTER EGO ISSUE; LITIGATION
                                               TEAM MEETING; ATTEND WIP
                                               MEETING; CONDUCT RESEARCH FOR
                                               LETTER RESPONSE RE: ALTER EGO
                                               INJUNCTION.

            10/28/24     Logan, Savannah L.    COORDINATE WITH BUYER'S             0.30   72009462    352.50
                                               ANTITRUST COUNSEL RE MEETING.

            10/28/24     Sharma, Sakshi        WEIL WIP CALL.                      0.10   72009941    147.00

            10/28/24     Okada, Tyler          REVIEW RECENTLY FILED PLEADINGS,    0.60   72059039    210.00
                                               PREPARE UPDATED DOCKET
                                               SCHEDULE FOR TEAM REVIEW.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 121 of 419 PageID
                                                           #: 35873




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            10/28/24     Mackinnon, Josh       ATTEND WIP CALL; DRAFT EMAIL TO     0.90   72009931    895.50
                                               CONSULTATION COUNSEL AND
                                               SCHEDULED CALL.

            10/28/24     Serviss, Jess         ATTEND WORK-IN-PROGRESS             0.20   72009491    199.00
                                               MEETING WITH WEIL TEAM; ATTEND
                                               POST-CALL DISCUSSION WITH WEIL
                                               M&A TEAM.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 122 of 419 PageID
                                                           #: 35874




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/28/24     SanGiovanni, Giana    REVIEW, ANALYZE, AND REVISE WIP      3.90   72014674   3,880.50
                                               TASK LIST; EMAIL K. SMITH RE:
                                               RESEARCH FOR SPECIAL MASTER'S
                                               RESPONSE TO POSITION STATEMENTS
                                               AND REVIEW DOCKET ACTIVITY FOR
                                               ALTER-EGO ACTIONS; REVIEW,
                                               ANALYZE, AND UPDATE LITIGATION
                                               TASK LIST WITH WORK STREAMS
                                               RELATED TO SALE PROCESS; PLAN
                                               AND PREPARE FOR LITIGATION AND
                                               WIP TEAM MEETINGS DISCUSSING
                                               SALE PROCESS, TIMELINE, AND
                                               STRATEGY; ATTEND WIP CALL WITH
                                               RX, M&A, AND LITIGATION TEAMS;
                                               ATTEND LITIGATION TEAM MEETING
                                               RE: UPDATES; EMAIL LITIGATION
                                               TEAM RE: SIEMENS ALTER-EGO CASE;
                                               CORRESPOND WITH K. SMITH, R.
                                               JAEGER, A. CURTIS, AND R.
                                               NILES-WEED RE: CONTENT OF SPECIAL
                                               MASTER'S RESPONSE TO POSITION
                                               STATEMENTS DUE NOVEMBER 6;
                                               CONDUCT RESEARCH IN
                                               PREPARATION FOR SPECIAL
                                               MASTER'S RESPONSE TO POSITION
                                               STATEMENTS AND EMAIL
                                               PRELIMINARY RESEARCH FINDINGS
                                               TO K. SMITH.

            10/28/24     Roberts, Ian          CORRESPOND WITH G. SANGIOVANNI       1.00   72009588   1,290.00
                                               RE WORK-IN-PROCESS LIST; UPDATE
                                               SAME; ATTEND WORK-IN-PROCESS
                                               MEETING WITH WEIL
                                               RESTRUCTURING, M&A, AND LIT
                                               TEAMS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 123 of 419 PageID
                                                           #: 35875




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/28/24     Clarke, Andrew        REVIEW EMAIL FROM M. BURRUS RE:     0.60   72073808    813.00
                                               FEE STATUS REPORT NEXT STEPS;
                                               EMAILS WITH C. BENTLEY RE: SAME;
                                               ATTEND WIP CALL WITH WEIL TEAM.

            10/29/24     Friedmann, Jared R.   WEEKLY TEAM COORDINATION CALL       1.20   72057761   2,154.00
                                               WITH LITIGATION, RESTRUCTURING
                                               AND M&A TEAMS; EMAILS
                                               REGARDING CREDITORS REQUEST
                                               THAT SPECIAL MASTER INTERVENE IN
                                               SDNY ALTER EGO PROCEEDING TO
                                               CLARIFY ELLIOTT BID; MEET WITH
                                               A.CURTIS RE: SAME; REVIEW/REVISE
                                               EMAILS TO CREDITORS RE: SAME;
                                               CALL WITH C.BENTLEY RE:
                                               STRATEGY/POSITIONS FOR MEET AND
                                               CONFER WITH EIMER FIRM
                                               REGARDING DOCUMENT PRODUCTION
                                               AND TIMING; CALL WITH R.JAEGER
                                               RE: SAME.

            10/29/24     Keenan, Eoghan P.     REVISE MARKUP OF THE A&R SPA;       1.40   72016736   2,513.00
                                               MEET WITH WEIL RX AND EVERCORE
                                               TEAMS RE: STATUS UPDATE; MEET
                                               WITH WEIL M&A TEAM RE: TRUST
                                               DOCUMENT ENGAGEMENT WITH
                                               DELAWARE COUNSEL.

            10/29/24     Schrock, Ray C.       NUMEROUS COMMUNICATIONS WITH        3.00   72059188   7,050.00
                                               LEADER BIDDER, SPECIAL MASTER
                                               AND TEAM AND RELATED
                                               COMMUNICATIONS WITH
                                               STAKEHOLDERS RE: PROCESS AND
                                               FILINGS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 124 of 419 PageID
                                                           #: 35876




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/29/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL             0.60   72035250    852.00
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: ALTER EGO ACTIONS;
                                               REVIEW DOCKET FILINGS.

            10/29/24     Curtis, Aaron J.      CALL WITH WEIL AND EVERCORE          2.40   72015945   3,828.00
                                               TEAMS TO DISCUSS THE ALTER EGO
                                               CLAIMS AND NEGOTIATIONS WITH
                                               ELLIOTT; MEET WITH J. FRIEDMANN
                                               TO DISCUSS THE ALTER EGO CLAIMS;
                                               CALL WITH S. STERNLIEB TO DISCUSS
                                               THE ALTER EGO CLAIMS, THE 2020
                                               BONDHOLDERS, AND THE DEAL WITH
                                               ELLIOTT; REVIEW AND RESPOND TO
                                               EMAILS RE: THE ALTER EGO CLAIMS
                                               AND THE GIRARD STREET ACTION.

            10/29/24     Jaeger, Rebecca       REVISE RESPONSES AND OBJECTIONS      0.90   72041172   1,219.50
                                               TO CITGO/PDVH'S REQUESTS FOR
                                               PRODUCTION; CONFER WITH J.
                                               FRIEDMANN REGARDING MEET AND
                                               CONFER REGARDING DOCUMENT
                                               REQUESTS.

            10/29/24     Sternlieb, Sarah      REVIEW RECENT ALTER EGO FILINGS.     2.00   72037990   3,190.00

            10/29/24     Bentley, Chase A.     ATTEND WEEKLY CALL WITH              2.80   72054202   4,466.00
                                               EVERCORE RE ONGOING
                                               WORKSTREAMS; DISCUSS ONGOING
                                               WORKSTREAMS WITH I. ROBERTS
                                               AND M. BURRUS; EMAILS RE FEE
                                               REPORT; EMAIL AND PHONE CALLS RE
                                               RED TREE INTERVENTION DENIAL
                                               REVIEW ALTER EGO MATERIALS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 125 of 419 PageID
                                                           #: 35877




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/29/24     Rubin, Avi            CALL WITH WEIL INSURANCE TEAM        4.40   72019196   5,676.00
                                               TO DISCUSS DISCLOSURE SCHEDULES;
                                               ATTEND CALL WITH EVERCORE;
                                               ATTEND INVENTORY CALL;
                                               COORDINATE DISCLOSURE
                                               SCHEDULES ITEMS; CORRESPONDENCE
                                               WITH WEIL M&A REGARDING SPA
                                               COMMENTS AND QUESTIONS.

            10/29/24     Kamath, Priya         REVIEW JOINT STATUS REPORTS          2.50   72041534   2,937.50
                                               FILED BY ALTER EGO CLAIMANTS;
                                               REVIEW GIRARD STREET'S OPPOSITION
                                               TO PDVH’S MOTION TO DISMISS IN
                                               ALTER-EGO ACTION; REVIEW MOTION
                                               FOR AN EXTENSION TO REPLY FILED
                                               BY ALTER-EGO CLAIMANT.

            10/29/24     Smith, Kara           DRAFT LETTER RESPONSE RE: ALTER      4.90   72060543   5,757.50
                                               EGO PROPOSED ORDER.

            10/29/24     Sharma, Sakshi        CALL WITH WEIL AND EVERCORE RE:      0.30   72017389    441.00
                                               ONGOING WORKSTREAMS.

            10/29/24     Evans, Emma           CORRESPONDENCE RE: ALTER EGO         1.00   72025437    995.00
                                               PLAINTIFFS FILING; REVIEW AND
                                               ANALYZE G&A AND GRAMERCY
                                               MOTION FOR EXTENSION OF TIME;
                                               CORRESPONDENCE WITH WEIL TEAM
                                               RE: CASE DEVELOPMENT.

            10/29/24     Mackinnon, Josh       RESEARCH QUESTIONS REGARDING DE      1.60   72022338   1,592.00
                                               STATUTORY TRUSTS; ATTEND
                                               EVERCORE CHECK-IN.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 126 of 419 PageID
                                                           #: 35878




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/29/24     Serviss, Jess         ATTEND CHECK-IN WITH EVERCORE       0.30   72019134    298.50
                                               AND WEIL TEAMS. ATTEND
                                               POST-CALL DISCUSSION WITH WEIL
                                               M&A TEAM.

            10/29/24     SanGiovanni, Giana    EMAIL K. SMITH, R. JAEGER, A.       6.80   72016391   6,766.00
                                               CURTIS, AND R. NILES-WEED RE:
                                               ORDER DIRECTING PARTIES TO FILE
                                               JOINT STATUS REPORT AND REVIEW
                                               ALTER-EGO DOCKET ACTIVITY; EMAIL
                                               S. STERNLIEB RE: GIRARD STREET
                                               ORDER AND REVIEW EMAIL FROM E.
                                               EVANS RE: MOTION TO EXTEND IN
                                               CONOCOPHILLIPS' DECLARATORY
                                               JUDGMENT SUIT; CONDUCT
                                               RESEARCH FOR REVISED PROPOSED
                                               ORDER IN PREPARATION FOR DRAFT
                                               SPECIAL MASTER'S RESPONSE TO
                                               POSITION STATEMENTS;
                                               CORRESPOND WITH K. SMITH RE:
                                               RESEARCH FINDINGS; EMAIL S.
                                               STERNLIEB RE: INJUNCTION MOTION
                                               FILINGS; SUMMARIZE RESEARCH
                                               FINDINGS IN MEMORANDUM AND
                                               EMAIL TO K. SMITH.

            10/29/24     Koivistoinen, Tanja   REVIEW AND COMMENT ON THE A&R       2.70   72057898   3,969.00
                                               SPA DRAFT; ATTEND WEIL /
                                               EVERCORE WEEKLY CHECK-IN CALL.

            10/29/24     Roberts, Ian          CORRESPOND WITH C. BENTLEY AND      0.50   72069690    645.00
                                               C. BALIDO RE WORK-IN-PROCESS
                                               MEETING; ATTEND WEIL/EVERCORE
                                               WEEKLY CHECK-IN CALL.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 127 of 419 PageID
                                                           #: 35879




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/29/24     Burrus, Maigreade     ATTEND WEIL AND EVERCORE CALL;      0.90   72066287   1,278.00
                         B.                    CONFER WITH C. BENTLEY RE:
                                               VARIOUS WORKSTREAMS.

            10/30/24     Margolis, Steven      CORRESPONDENCE WITH J.              0.50   72028188    797.50
                         M.                    CHATALIAN RE: PBGC LETTER;
                                               REVIEW AND COMMENT ON SAME;
                                               FOLLOWUP CORRESPONDENCE WITH
                                               J. CHATALIAN RE: SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 128 of 419 PageID
                                                           #: 35880




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/30/24     Friedmann, Jared R.   REVIEW J.RAKOFF DECISION IN         2.60   72057758   4,667.00
                                               GIRARD ALTER EGO CASE TO PREPARE
                                               FOR MEET AND CONFER CALLS; CALL
                                               WITH COUNSEL FOR RED TREE RE:
                                               INTERVENTION MOTION AND
                                               REQUEST FOR SUPPORT FROM
                                               SPECIAL MASTER TO CLARIFY
                                               RECORD; MEET AND CONFER WITH
                                               COUNSEL FROM EIMER FIRM RE:
                                               DISCOVERY AND TIMING; CALL WITH
                                               C.BENTLEY RE: SAME AND NEXT
                                               STEPS; CALL WITH R.JAEGER RE:
                                               SAME AND PROTOCOL FOR SECOND
                                               LEVEL REVIEW; CALL WITH COUNSEL
                                               FOR SIX CREDITORS RE: REQUEST
                                               THAT SPECIAL MASTER TAKE STEPS
                                               TO CORRECT RECORD IN GIRARD
                                               ALTER EGO CASE; CALL WITH
                                               A.CURTIS RE: OPTIONS FOR
                                               CORRECTING RECORD IN GIRARD
                                               ALTER EGO CASE AND NEXT STEPS;
                                               REVIEW DRAFT LANGUAGE FOR
                                               LETTER FROM RED TREE AND REVISE
                                               SAME AND EMAIL TO A.CURTIS RE:
                                               SAME; EMAILS WITH C.BENTLEY RE:
                                               PREPARING LITIGATION
                                               WORKSTREAMS SUMMARY FOR
                                               REMAINDER OF 2024; CALL WITH
                                               A.CURTIS RE: SAME.

            10/30/24     Keenan, Eoghan P.     CALL WITH SPECIAL MASTER, WEIL      2.20   72027928   3,949.00
                                               AND EVERCORE RE: WORK STREAMS.
                                               REVISE MARKUP OF THE A&R SPA.
                                               CALL WITH POTTER ANDERSON AND
                                               WEIL RE: TRUST DOCUMENTATION
                                               AND RELATED CONSIDERATIONS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 129 of 419 PageID
                                                           #: 35881




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index    Amount


            10/30/24     Schrock, Ray C.       NUMEROUS COMMUNICATIONS WITH          2.00   72059231    4,700.00
                                               LEAD BIDDER, SPECIAL MASTER AND
                                               TEAM AND RELATED
                                               COMMUNICATIONS WITH
                                               STAKEHOLDERS RE: PROCESS AND
                                               FILINGS.

            10/30/24     Welch, Alexander      CHECKIN CALL; DISCUSS BIDDER          0.80   72057042    1,436.00
                         W.                    ISSUES.

            10/30/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL              0.70   72041403     994.00
                                               LITIGATION TEAM RE: ALTER EGO
                                               ACTIONS AND REVIEW RELATED
                                               FILINGS.

            10/30/24     Curtis, Aaron J.      CALL WITH RED TREE’S COUNSEL TO       6.40   72023975   10,208.00
                                               DISCUSS THE INTERVENTION MOTION
                                               IN THE GIRARD STREET ACTION; CALL
                                               WITH JUDGMENT CREDITORS TO
                                               DISCUSS THE GIRARD STREET
                                               ACTION; CALLS WITH J. FRIEDMANN
                                               TO DISCUSS THE GIRARD STREET
                                               ACTION AND SUMMARY OF
                                               LITIGATION WORKSTREAMS; REVIEW
                                               AND REVISE REPLY RE: THE ALTER EGO
                                               CLAIMS AND THE PROPOSED ORDER;
                                               CALL WITH CLIENT TO DISCUSS THE
                                               ALTER EGO CLAIMS, THE DEAL
                                               TERMS, AND DILIGENCE; REVIEW AND
                                               RESPOND TO EMAILS RE: THE ALTER
                                               EGO CLAIMS, THE GIRARD STREET
                                               ACTION, AND THE BUDGET; REVIEW
                                               AND ANALYZE MOTION TO DISMISS
                                               BRIEFING IN THE GIRARD STREET
                                               ACTION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 130 of 419 PageID
                                                           #: 35882




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            10/30/24     Jaeger, Rebecca       MEET AND CONFER WITH CITGO/PDVH     0.30   72041251     406.50
                                               REGARDING DOCUMENT REQUESTS.

            10/30/24     Sternlieb, Sarah      REVIEW RECENT FILINGS.              2.70   72073735    4,306.50

            10/30/24     Niles-Weed, Robert    DRAFT RESPONSE RE: ALTER EGO        0.40   72025363     690.00
                         B.                    ORDER AND SCHEDULE.

            10/30/24     Bentley, Chase A.     ATTEND WEEKLY CHECK IN CALL         6.40   72054222   10,208.00
                                               WITH SPECIAL MASTER AND
                                               EVERCORE; PHONE CALL WITH RED
                                               TREE COUNSEL RE GIRARD ACTION;
                                               ATTEND MEET AND CONFER WITH
                                               CITGO RE DISCOVERY; ATTEND WEIL
                                               RX WEEKLY WIP MEETING; PHONE
                                               CALL WITH POTTER RE TRUST
                                               DOCUMENTS; PHONE CALL WITH
                                               CREDITORS RE GIRARD ACTION;
                                               EMAILS AND PHONE CALLS RELATED
                                               TO THE FOREGOING.

            10/30/24     Rubin, Avi            ATTEND CALL WITH EVERCORE AND       1.90   72025359    2,451.00
                                               SPECIAL MASTER; ATTEND CALL
                                               WITH POTTER TO DISCUSS TRUST
                                               STRUCTURE; PROVIDE COMMENTS TO
                                               WORKSTREAM UPDATE FOR SPECIAL
                                               MASTER.

            10/30/24     Kamath, Priya         REVIEW JOINT STATUS REPORT AND      1.70   72041546    1,997.50
                                               MATERIALS CIRCULATED BY G.
                                               SANGIOVANI.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 131 of 419 PageID
                                                           #: 35883




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/30/24     Smith, Kara           REVISE AND FINALIZE LETTER          4.10   72060083   4,817.50
                                               RESPONSE RE: ALTER EGO REVISE
                                               PROPOSED ORDER; REVISE RESPONSE
                                               LETTER RE: REVISE PROPOSED ORDER
                                               TO ENJOIN ALTER EGO CLAIMANTS.

            10/30/24     Logan, Savannah L.    MEET WITH BUYER'S ANTITRUST         1.10   72037910   1,292.50
                                               COUNSEL; PROVIDE UPDATE.

            10/30/24     Evans, Emma           CORRESPONDENCE RE: ALTER EGO        2.50   72025466   2,487.50
                                               FILINGS; SUMMARIZE AND REVIEW
                                               GIRARD STREET OPPOSITION TO
                                               MOTION TO DISMISS BY PDVH.

            10/30/24     Mackinnon, Josh       ATTEND CALL WITH SPECIAL            1.40   72042925   1,393.00
                                               MASTER AND EVERCORE; ATTEND
                                               CALL WITH POTTER ANDERSON;
                                               SCHEDULED FOLLOW UP POTTER
                                               ANDERSON CALL.

            10/30/24     Serviss, Jess         ATTEND CHECK-IN WITH SPECIAL        0.50   72025134    497.50
                                               MASTER, EVERCORE AND WEIL
                                               TEAMS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 132 of 419 PageID
                                                           #: 35884




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            10/30/24     SanGiovanni, Giana    EMAIL LITIGATION TEAM RE: GIRARD    2.80   72030507   2,786.00
                                               STREET'S OPPOSITION TO PDVH'S
                                               MOTION TO DISMISS AND REVIEW
                                               AND ANALYZE OPPOSITION; EMAIL
                                               LITIGATION TEAM RE: WRIT OF
                                               MANDAMUS AND REVIEW AND
                                               ANALYZE WRIT; REVIEW, ANALYZE,
                                               AND REVISE RESEARCH MEMO RE:
                                               SPECIAL MASTER'S RESPONSE TO
                                               POSITION STATEMENTS, AND
                                               CIRCULATE TO A. CURTIS; REVIEW,
                                               ANALYZE, AND SUMMARIZE
                                               CONOCOPHILLIPS' RESPONSE TO
                                               DEFENDANTS' MOTION FOR
                                               EXTENSION OF TIME, DEFENDANTS'
                                               REPLY, AND COURT'S ORDER IN
                                               EMAILS TO LITIGATION TEAM;
                                               CORRESPOND WITH S. STERNLIEB RE:
                                               BACKGROUND ON ALTER-EGO
                                               ACTIONS; REVIEW, ANALYZE, AND
                                               REVISE DRAFT SPECIAL MASTER'S
                                               RESPONSE TO POSITION
                                               STATEMENTS; REVIEW, ANALYZE,
                                               AND SUMMARIZE LETTER FILED IN
                                               2020S LITIGATION TO LITIGATION
                                               TEAM.

            10/30/24     Koivistoinen, Tanja   REVIEW DELAWARE TRUST ACT;          6.40   72057821   9,408.00
                                               REVIEW PRECEDENTS OF TRUST
                                               AGREEMENTS; REVISE THE TRUST
                                               AGREEMENT DRAFT; ATTEND CALL
                                               WITH POTTER ANDERSON TEAM RE:
                                               THE TRUST AGREEMENT AND
                                               PREPARE FOR SAME; ATTEND
                                               WEEKLY CHECKIN CALL WITH WEIL
                                               AND EVERCORE TEAMS; REVIEW AND
                                               COMMENT ON A&R SPA.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 133 of 419 PageID
                                                           #: 35885




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            10/30/24     Roberts, Ian          ATTEND WEIL/EVERCORE/SPECIAL         3.00   72069647   3,870.00
                                               MASTER CHECK-IN CALL;
                                               CORRESPOND WITH M. BURRUS RE
                                               WORK-IN-PROCESS LIST; UPDATE
                                               SAME AND CIRCULATE TO TEAM;
                                               CORRESPOND WITH M. BURRUS RE
                                               AUGUST INVOICE; ATTEND
                                               WORK-IN-PROCESS MEETING; DRAFT
                                               QUICK REFERENCE CHART FOR
                                               SPECIAL MASTER.

            10/30/24     Burrus, Maigreade     ATTEND WIP; PREPARE AUGUST FEE       4.00   72066426   5,680.00
                         B.                    REPORT; PREPARE WORKSTREAM
                                               UPDATE FOR THE SPECIAL MASTER.

            10/30/24     Clarke, Andrew        ATTEND WIP MEETING; PREPARE          1.60   72073240   2,168.00
                                               TALKING POINTS FOR FORTHCOMING
                                               STATUS CONFERENCE; ATTEND
                                               WEEKLY CALL WITH SPECIAL
                                               MASTER, EVERCORE, AND WEIL
                                               TEAMS; REVIEW DOCKET UPDATES.

            10/31/24     Friedmann, Jared R.   SPECIAL                              2.20   72057766   3,949.00
                                               MASTER/CRYSTALLEX/CONOCO
                                               WEEKLY CALL; REVIEW DRAFT
                                               LITIGATION BUDGET FOR REMAINDER
                                               OF 2024; EMAILS AND CALL WITH
                                               A.CURTIS RE: SAME; EMAILS WITH
                                               C.BENTLEY RE: SAME; REVIEW REVISE
                                               DRAFT LANGUAGE FOR POTENTIAL
                                               LETTER FROM SPECIAL MASTER TO
                                               RED TREE IN CONNECTION WITH
                                               GIRARD ALTER EGO CASE; EMAILS
                                               WITH B.PINCUS RE: SAME; EMAILS
                                               WITH TEAM RE: NEXT STEPS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 134 of 419 PageID
                                                           #: 35886




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            10/31/24     Keenan, Eoghan P.     REVISE TRUST DOCUMENTATION AND       2.30   72038063   4,128.50
                                               ISSUES LIST; CALL WITH SALE
                                               PROCESS PARTIES AND WEIL RE:
                                               ELLIOTT BID, RELATED
                                               CONSIDERATIONS AND TIMING.

            10/31/24     Schrock, Ray C.       COMM WITH LEAD BIDDER,               2.10   72058020   4,935.00
                                               STAKEHOLDERS AND SPECIAL
                                               MASTER RE NEXT STEPS AND
                                               POTENTIAL MODIFICATION OF BID.

            10/31/24     Shefa, Yonatan        STATUS CALL WITH WEIL,               3.50   72042120   4,970.00
                                               CRYSTALLEX, AND CONOCO TEAMS;
                                               REVIEW ALTER EGO STATUS UPDATE
                                               AND CORRESPONDENCE WITH R.
                                               JAEGER, G. SANGIOVANNI, E. EVANS,
                                               A. CURTIS, AND S. STERNLIEB RE:
                                               SAME; REVIEW AND ANALYZE CASE
                                               FILINGS.

            10/31/24     Curtis, Aaron J.      PREPARE SUMMARY OF LITIGATION        2.20   72036396   3,509.00
                                               WORKSTREAMS; REVIEW AND
                                               RESPOND TO EMAILS RE: LETTER TO
                                               RED TREE RE: THE MOTION TO
                                               INTERVENE IN THE GIRARD STREET
                                               CASE.

            10/31/24     Jaeger, Rebecca       REVISE CHART SUMMARIZING             0.20   72041181    271.00
                                               ONGOING UPDATES TO DIFFERENT
                                               WORKSTREAMS.

            10/31/24     Sternlieb, Sarah      REVIEW RECENT FILINGS. CATCH UP      2.90   72073895   4,625.50
                                               WITH A. CURTIS.

            10/31/24     Niles-Weed, Robert    DRAFT RESPONSE RE: ALTER EGO         0.30   72038506    517.50
                         B.                    ORDER AND SCHEDULE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 135 of 419 PageID
                                                           #: 35887




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            10/31/24     Bentley, Chase A.     ATTEND PHONE CALL WITH SPPS RE       3.10   72055523   4,944.50
                                               ONGOING WORKSTREAMS; REVIEW
                                               AND REVISE STATUS SUMMARY FOR
                                               SPECIAL MASTER; EMAILS RE FEE
                                               REPORT; EMAILS RE REPUBLIC
                                               MOTION; REVIEW AND REVISE LETTER
                                               RE GIRARD ACTION; EMAILS WITH
                                               WEIL LIT RE SAME.

            10/31/24     Rubin, Avi            ATTEND CALL WITH GIBSON AND          1.20   72037537   1,548.00
                                               WLRK; REVIEW UPDATES TO WIP
                                               LIST; CORRESPONDENCE WITH AKIN
                                               REGARDING DISCLOSURE SCHEDULES;
                                               CORRESPONDENCE WITH WEIL
                                               ANTITRUST TEAM.

            10/31/24     Smith, Kara           PULL ALTER EGO FILINGS AND SEND      0.30   72073190    352.50
                                               TO R. NILES-WEED; REVIEW RESEARCH
                                               FOR S. SANGIOVANNI FOR ALTER EGO
                                               RESPONSE.

            10/31/24     Evans, Emma           CORRESPONDENCE RE: ALTER EGO         0.70   72038904    696.50
                                               CASES; SUMMARIZE ALTER EGO
                                               CASES FOR QUICK REFERENCE SHEET.

            10/31/24     Mackinnon, Josh       UPDATE WIP LIST.                     0.20   72042960    199.00
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25                           Page 136 of 419 PageID
                                                             #: 35888




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                           ITEMIZED SERVICES
            Date         Tkpr                    Narrative                                              Hours         Index          Amount

            10/31/24     SanGiovanni, Giana      REVIEW, ANALYZE, AND UPDATE                               1.90   72037607           1,890.50
                                                 CHART FOR CLIENT ON STATUS OF
                                                 ALTER-EGO CASES; REVIEW EMAILS
                                                 FROM LITIGATION AND RX TEAMS RE:
                                                 CHART OF WORK STREAMS AND
                                                 UPCOMING DEADLINES FOR CLIENT,
                                                 AND ALTER-EGO ACTIONS; REVIEW,
                                                 ANALYZE, AND UPDATE WIP TASK
                                                 LIST; RESEARCH AND REVIEW CASE
                                                 LAW FOR SPECIAL MASTER'S
                                                 RESPONSE TO POSITION STATEMENTS.

            10/31/24     Roberts, Ian            UPDATE WORK-IN-PROCESS LIST;                              0.60   72069707             774.00
                                                 CORRESPOND INTERNALLY RE SAME;
                                                 CORRESPOND WITH G. SANGIOVANNI
                                                 RE BIDDER PROTECTIONS MOTION.

            10/31/24     Burrus, Maigreade       PREPARE SUMMARY OF                                        2.30   72066250           3,266.00
                         B.                      WORKSTREAMS FOR R. PINCUS;
                                                 PREPARE AUGUST FEE REPORT.

            10/31/24     Clarke, Andrew          REVIEW VARIOUS EMAILS FROM WEIL                           0.20   72069217             271.00
                                                 TEAM RE: SALE PROCESS.


                         Total Fees Due                                                               1,756.70                  $2,480,995.50




    Amount does not match total fee amount on cover page due to removal of entries for timekeepers with less than 3.0 hours billed during the month.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25             Page 137 of 419 PageID
                                                           #: 35889




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                          DISB TYPE     DISB ID#           AMOUNT

                10/01/24   Okada, Tyler                                         H060           42281627              20.00
                           COMPUTERIZED RESEARCH
                           PAYEE: FILE & SERVEXPRESS, LLC (49681-01); INVOICE#: 202409062703701; DATE: 10/1/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - SEPTEMBER, 2024; ALERT FEE


                10/18/24   Smith, Kara                                          H060           42284406               4.87
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095333490; DATE: 9/30/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK
                           SEPTEMBER 2024.


                10/18/24   SanGiovanni, Giana                                   H060           42284383              48.87
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095333490; DATE: 9/30/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK
                           SEPTEMBER 2024.


                10/18/24   Kamath, Priya                                        H060           42284387               1.80
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095333490; DATE: 9/30/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK
                           SEPTEMBER 2024.


                10/18/24   Cruz, Luis                                           H060           42284421               2.34
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095333490; DATE: 9/30/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK
                           SEPTEMBER 2024.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25             Page 138 of 419 PageID
                                                           #: 35890




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                          DISB TYPE     DISB ID#           AMOUNT

                10/18/24   Barahona, Philip                                     H060           42284148               66.17
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095333490; DATE: 9/30/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK
                           SEPTEMBER 2024.


                SUBTOTAL DISB TYPE H060:                                                                          $144.05

                10/17/24   Friedmann, Jared R.                                  H071           42270637               28.86
                           AIR COURIER/EXPRESS MAIL
                           PAYEE: FEDEX (10793-03); INVOICE#: 864129947; DATE: 10/4/2024 - FEDEX INVOICE: 864129947
                           INVOICE DATE:241004TRACKING #: 279953845520 SHIPMENT DATE: 20240926 SENDER: JARED
                           FRIEDMANN WEIL GOTSHAL & MANGES, 767 FIFTH AVENUE, NEW YORK CITY, NY 10153
                           SHIP TO: JARED FRIEDMANN, ROSLYN, NY 11576


                SUBTOTAL DISB TYPE H071:                                                                           $28.86

                10/01/24   Rubin, Avi                                           H080           42262130               40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-193; DATE: 10/6/2024 -
                           SEAMLESS MEALS EXPENSE BY AVI RUBIN ON 2024-10-01 AT 6:28 PM


                10/01/24   Koivistoinen, Tanja                                  H080           42262115               40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-193; DATE: 10/6/2024 -
                           SEAMLESS MEALS EXPENSE BY TANJA KOIVISTOINEN ON 2024-10-01 AT 6:43 PM


                10/02/24   Rubin, Avi                                           H080           42262199               35.77
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-193; DATE: 10/6/2024 -
                           SEAMLESS MEALS BY AVI RUBIN ON 2024-10-02 AT 6:35 PM
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25            Page 139 of 419 PageID
                                                           #: 35891




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                         DISB TYPE     DISB ID#      AMOUNT

                10/03/24   Koivistoinen, Tanja                                 H080           42262258            40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-193; DATE: 10/6/2024 -
                           SEAMLESS MEALS EXPENSE BY TANJA KOIVISTOINEN ON 2024-10-03 AT 7:10 PM


                10/03/24   Curtis, Aaron J.                                    H080           42262231            40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-193; DATE: 10/6/2024 -
                           SEAMLESS MEALS EXPENSE BY AARON CURTIS ON 2024-10-03 AT 7:22 PM


                10/07/24   Fernandez, Ricardo                                  H080           42257269            40.00
                           MEALS - LEGAL O/T
                           INVOICE#: CREX6961562810071316; DATE: 10/7/2024 - ATTORNEY WORKING MEAL, SEP 24, 2024


                10/07/24   Fernandez, Ricardo                                  H080           42257258            37.95
                           MEALS - LEGAL O/T
                           INVOICE#: CREX6961495310071316; DATE: 10/7/2024 - WORKING MEAL - SEP 23, 2024


                10/07/24   Kamath, Priya                                       H080           42271105            40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-194; DATE: 10/13/2024 -
                           SEAMLESS MEALS EXPENSE BY PRIYA KAMATH ON 2024-10-07 AT 7:30 PM


                10/12/24   Roberts, Ian                                        H080           42271073            40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-194; DATE: 10/13/2024 -
                           SEAMLESS MEALS EXPENSE BY IAN ROBERTS ON 2024-10-12 AT 8:05 PM


                10/14/24   Mackinnon, Josh                                     H080           42280731            40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-195; DATE: 10/20/2024 -
                           SEAMLESS MEALS EXPENSE BY JOSHUA MACKINNON ON 2024-10-14 AT 6:35 PM
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25           Page 140 of 419 PageID
                                                           #: 35892




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                        DISB TYPE    DISB ID#        AMOUNT

                10/14/24   Rubin, Avi                                         H080          42280857              40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-195; DATE: 10/20/2024 -
                           SEAMLESS MEALS EXPENSE BY AVI RUBIN ON 2024-10-14 AT 7:25 PM


                10/17/24   Rubin, Avi                                         H080          42280764              40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-195; DATE: 10/20/2024 -
                           SEAMLESS MEALS EXPENSE BY AVI RUBIN ON 2024-10-17


                10/17/24   Roberts, Ian                                       H080          42280758              40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-195; DATE: 10/20/2024 -
                           SEAMLESS MEALS EXPENSE BY IAN ROBERTS ON 2024-10-17


                10/21/24   Roberts, Ian                                       H080          42285477              40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-196; DATE: 10/27/2024 -
                           SEAMLESS MEALS EXPENSE PERIOD 10/21/24 - 10/27/24SEAMLESS MEALS FROM FRIEND OF
                           A FARMER BY IAN ROBERTS ON 2024-10-21 AT 7:50 PM


                10/22/24   Keenan, Eoghan P.                                  H080          42285466              40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-196; DATE: 10/27/2024 -
                           SEAMLESS MEALS EXPENSE BY EOGHAN KEENAN ON 2024-10-22


                10/22/24   Rubin, Avi                                         H080          42285420              40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-196; DATE: 10/27/2024 -
                           SEAMLESS MEALS EXPENSE BY AVI RUBIN ON 2024-10-22
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25               Page 141 of 419 PageID
                                                           #: 35893




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                            DISB TYPE     DISB ID#            AMOUNT

                10/23/24   Koivistoinen, Tanja                                    H080           42285499              40.00
                           MEALS - LEGAL O/T
                           PAYEE: GRUBHUB HOLDINGS, INC (48510-03); INVOICE#: WYVHL8-L1-196; DATE: 10/27/2024 -
                           SEAMLESS MEALS EXPENSE BY TANJA KOIVISTOINEN ON 2024-10-23 AT 6:56 PM


                SUBTOTAL DISB TYPE H080:                                                                             $673.72

                10/03/24   Gatling, Tara                                          H084           42255910             174.17
                           TRAVEL
                           INVOICE#: CREX6958786810031306; DATE: 10/3/2024 - LUNCH - LOCAL, OCT 01, 2024 - R.
                           SCHROCK, D. LENDER, J. FRIEDMANN, A. WELCH, R. NILES-WEED, C. BENTLEY AND CLIENT
                           (7 PEOPLE)


                10/04/24   Schrock, Ray C.                                        H084           42258383             525.00
                           TRAVEL
                           INVOICE#: CREX6961392210042102; DATE: 10/4/2024 - DINNER, SEP 30, 2024 - R. PINCUS, R.
                           SCHROCK, D. LENDER, J. FRIEDMANN, C. BENTLEY, R. NILES-WEED, A. WELCH


                10/04/24   Schrock, Ray C.                                        H084           42258381              39.60
                           TRAVEL
                           INVOICE#: CREX6961392210042102; DATE: 10/4/2024 - TRAVEL MEAL, OCT 01, 2024


                10/04/24   Welch, Alexander W.                                    H084           42258478              26.40
                           TRAVEL
                           INVOICE#: CREX6963070710042102; DATE: 10/4/2024 - TRAVEL MEAL, SEP 30, 2024 - HEARING


                10/04/24   Welch, Alexander W.                                    H084           42258475             146.55
                           TRAVEL
                           INVOICE#: CREX6963070710042102; DATE: 10/4/2024 - DINNER, OCT 01, 2024 - A. WELCH, C.
                           BENTLEY (2 PEOPLE)
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25              Page 142 of 419 PageID
                                                           #: 35894




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                           DISB TYPE     DISB ID#        AMOUNT

                10/04/24   Welch, Alexander W.                                   H084           42258481            140.00
                           TRAVEL
                           INVOICE#: CREX6963070710042102; DATE: 10/4/2024 - BREAKFAST, SEP 30, 2024 - A. WELCH, R.
                           SCHROCK, J. FRIEDMANN, C. BENTLEY (4 PEOPLE)


                10/09/24   Friedmann, Jared R.                                   H084           42260379              35.00
                           TRAVEL
                           INVOICE#: CREX6973387610091312; DATE: 10/9/2024 - BREAKFAST, OCT 01, 2024


                10/10/24   Lender, David J.                                      H084           42260979              35.00
                           TRAVEL
                           INVOICE#: CREX6975341710101305; DATE: 10/10/2024 - BREAKFAST, OCT 01, 2024


                10/10/24   Lender, David J.                                      H084           42260981              35.00
                           TRAVEL
                           INVOICE#: CREX6975341710101305; DATE: 10/10/2024 - LUNCH, SEP 30, 2024 - D. LENDER, R.
                           SCHROCK, J. FRIEDMANN, R. NILES-WEED (4 PEOPLE)


                SUBTOTAL DISB TYPE H084:                                                                        $1,156.72

                10/14/24   Bentley, Chase A.                                     H093           42264182            146.33
                           DEPT. MEETINGS - MEALS - LEGAL
                           PAYEE: SODEXO, INC & AFFILIATES - CLEARING ACCOUNT (21192-05); INVOICE#:
                           20241014.CATERING; DATE: 10/14/2024 - SODEXO CATERING MEALS W/E
                           10/11/2024CONFERENCE MEAL OCT/09/2024 BENTLEY, CHASE 11:30 #PEOPLE: 8 MEAL CODE
                           BE3 INV# 193049
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25            Page 143 of 419 PageID
                                                           #: 35895




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                         DISB TYPE    DISB ID#        AMOUNT

                10/14/24   Bentley, Chase A.                                   H093          42264118          146.33
                           DEPT. MEETINGS - MEALS - LEGAL
                           PAYEE: SODEXO, INC & AFFILIATES - CLEARING ACCOUNT (21192-05); INVOICE#:
                           20241014.CATERING; DATE: 10/14/2024 - SODEXO CATERING MEALS W/E
                           10/11/2024CONFERENCE MEAL OCT/09/2024 BENTLEY, CHASE 11:30 #PEOPLE: 8 MEAL CODE
                           BE3 INV# 193052


                10/14/24   Bentley, Chase A.                                   H093          42264120          400.00
                           DEPT. MEETINGS - MEALS - LEGAL
                           PAYEE: SODEXO, INC & AFFILIATES - CLEARING ACCOUNT (21192-05); INVOICE#:
                           20241014.CATERING; DATE: 10/14/2024 - SODEXO CATERING MEALS W/E
                           10/11/2024CONFERENCE MEAL OCT/09/2024 BENTLEY, CHASE 12:00 #PEOPLE: 20 MEAL CODE
                           SN11 INV# 193048


                10/14/24   Bentley, Chase A.                                   H093          42264124          146.33
                           DEPT. MEETINGS - MEALS - LEGAL
                           PAYEE: SODEXO, INC & AFFILIATES - CLEARING ACCOUNT (21192-05); INVOICE#:
                           20241014.CATERING; DATE: 10/14/2024 - SODEXO CATERING MEALS W/E
                           10/11/2024CONFERENCE MEAL OCT/09/2024 BENTLEY, CHASE 11:30 #PEOPLE: 8 MEAL CODE
                           BE3 INV# 193051


                SUBTOTAL DISB TYPE H093:                                                                      $838.99

                12/10/24   Bentley, Chase A.                                   H103          42327941          584.50
                           COURT REPORTING
                           PAYEE: VERITEXT, LLC - NORTHEAST REGION (25140-22); INVOICE#: 7679438; DATE: 08/30/2024
                           - TRANSCRIPT SERVICES AND HEARING


                SUBTOTAL DISB TYPE H103:                                                                      $584.50
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25            Page 144 of 419 PageID
                                                             #: 35896




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                           DISB TYPE        DISB ID#      AMOUNT

                10/03/24   Niles-Weed, Robert B.                                 H160              42255810         13.65
                           TRAVEL
                           INVOICE#: CREX6960679310031306; DATE: 10/3/2024 - TAXI - OUSIDE CITY, OCT 01, 2024


                10/03/24   Niles-Weed, Robert B.                                 H160              42255809         69.53
                           TRAVEL
                           INVOICE#: CREX6960679310031306; DATE: 10/3/2024 - LOCAL TAXI, OCT 01, 2024


                10/03/24   Niles-Weed, Robert B.                                 H160              42255811        500.00
                           TRAVEL
                           INVOICE#: CREX6960679310031306; DATE: 10/3/2024 - HOTEL ROOM AND TAX, OCT 01, 2024,
                           CHECK IN 09/30/2024, CHECK OUT 10/01/2024 (1 NIGHT)


                10/03/24   Niles-Weed, Robert B.                                 H160              42255807        304.20
                           TRAVEL
                           INVOICE#: CREX6960679310031306; DATE: 10/3/2024 - RAIL, 0884052371, OCT 01, 2024 - FROM/TO:
                           NY/DC


                10/03/24   Niles-Weed, Robert B.                                 H160              42255813         45.00
                           TRAVEL
                           INVOICE#: CREX6960679310031306; DATE: 10/3/2024 - AGENCY FEES, TICKET:0884052371, SEP 30,
                           2024


                10/03/24   Niles-Weed, Robert B.                                 H160              42255812         45.00
                           TRAVEL
                           INVOICE#: CREX6960679310031306; DATE: 10/3/2024 - AGENCY FEES, TICKET:0167096149676, SEP
                           30, 2024


                10/04/24   Welch, Alexander W.                                   H160              42258480         44.88
                           TRAVEL
                           INVOICE#: CREX6963070710042102; DATE: 10/4/2024 - TAXI, OCT 01, 2024
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25              Page 145 of 419 PageID
                                                           #: 35897




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                           DISB TYPE        DISB ID#    AMOUNT

                10/04/24   Welch, Alexander W.                                   H160              42258476        47.64
                           TRAVEL
                           INVOICE#: CREX6963070710042102; DATE: 10/4/2024 - TAXI, SEP 30, 2024


                10/04/24   Welch, Alexander W.                                   H160              42258483       500.00
                           TRAVEL
                           INVOICE#: CREX6963070710042102; DATE: 10/4/2024 - HOTEL ROOM AND TAX, OCT 01, 2024 -
                           CHECK IN 09/30/2024, CHECK OUT 10/01/2024 (1 NIGHT)


                10/04/24   Welch, Alexander W.                                   H160              42258479        25.14
                           TRAVEL
                           INVOICE#: CREX6963070710042102; DATE: 10/4/2024 - TAXI, OCT 01, 2024


                10/04/24   Schrock, Ray C.                                       H160              42258382       500.00
                           TRAVEL
                           INVOICE#: CREX6961392210042102; DATE: 10/4/2024 - HOTEL ROOM AND TAX, OCT 01, 2024 -
                           CHECK IN 09/30/2024, CHECK OUT 10/01/2024 (1 NIGHT)


                10/07/24   Bentley, Chase A.                                     H160              42258894        41.12
                           TRAVEL
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100111; DATE: 10/1/2024 - TAXI
                           CHARGES FOR 2024-10-01 INVOICE #100111 STATEMENT# EF20DC14382 CHASE A BENTLEY
                           G067 RIDE DATE: 2024-09-30 FROM: 50 MASSACHUSETTS AVE NE, WASHINGTON, DC TO:
                           2001 M ST NW, WASHINGTON, DC RIDE TIME: 14:23


                10/09/24   Friedmann, Jared R.                                   H160              42260381        12.50
                           TRAVEL
                           INVOICE#: CREX6973387610091312; DATE: 10/9/2024 - PARKING, SEP 30, 2024 - OVERNIGHT
                           PARKING IN NY DURING TRAVEL
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25              Page 146 of 419 PageID
                                                           #: 35898




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                           DISB TYPE      DISB ID#        AMOUNT

                10/09/24   Friedmann, Jared R.                                   H160            42260377           338.00
                           TRAVEL
                           INVOICE#: CREX6973387610091312; DATE: 10/9/2024 - RAIL, TICKET:2670678104223, SEP 30, 2024 -
                           FROM/TO: NYC/DC


                10/09/24   Friedmann, Jared R.                                   H160            42260383           500.00
                           TRAVEL
                           INVOICE#: CREX6973387610091312; DATE: 10/9/2024 - HOTEL ROOM AND TAX, OCT 01, 2024 -
                           CHECK IN 09/30/2024, CHECK OUT 10/01/2024 (1 NIGHT)


                10/09/24   Friedmann, Jared R.                                   H160            42260382            21.10
                           TRAVEL
                           INVOICE#: CREX6973387610091312; DATE: 10/9/2024 - TAXI - OCT 01, 2024 - CAR FROM
                           COURTHOUSE TO TRAIN STATION


                10/09/24   Friedmann, Jared R.                                   H160            42260380           273.00
                           TRAVEL
                           INVOICE#: CREX6973387610091312; DATE: 10/9/2024 - RAIL, TICKET:2740920256244, OCT 01, 2024 -
                           FROM/TO: DC/NY


                10/09/24   Friedmann, Jared R.                                   H160            42260378            25.00
                           TRAVEL
                           INVOICE#: CREX6973387610091312; DATE: 10/9/2024 - TAXI - SEP 30, 2024 - CAR FROM TRAIN
                           STATION TO WEIL OFFICE


                10/10/24   Lender, David J.                                      H160            42260983            45.00
                           TRAVEL
                           INVOICE#: CREX6975341710101305; DATE: 10/10/2024 - AGENCY FEES, TICKET:8900879909738,
                           SEP 24, 2024
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25             Page 147 of 419 PageID
                                                             #: 35899




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                            DISB TYPE     DISB ID#        AMOUNT

                10/10/24   Lender, David J.                                       H160           42260980               56.29
                           TRAVEL
                           INVOICE#: CREX6975341710101305; DATE: 10/10/2024 - AIRPORT TAXI, OCT 01, 2024 - UBER TO
                           AIRPORT IN DC FOR CITGO HEARING.


                10/10/24   Lender, David J.                                       H160           42260978           304.20
                           TRAVEL
                           INVOICE#: CREX6975341710101305; DATE: 10/10/2024 - RAIL, TICKET:0884042471, SEP 24, 2024 -
                           FROM/TO: NY/DC


                10/10/24   Lender, David J.                                       H160           42260977               45.00
                           TRAVEL
                           INVOICE#: CREX6975341710101305; DATE: 10/10/2024 - AGENCY FEES, TICKET:8900879017796,
                           SEP 24, 2024


                10/10/24   Lender, David J.                                       H160           42260982           500.00
                           TRAVEL
                           INVOICE#: CREX6975341710101305; DATE: 10/10/2024 - HOTEL ROOM AND TAX, SEP 30, 2024 -
                           CHECK IN 09/30/2024, CHECK OUT 10/01/2024 (1 NIGHT)


                SUBTOTAL DISB TYPE H160:                                                                          $4,256.25

                10/03/24   Niles-Weed, Robert B.                                  H161           42255808           291.96
                           TRAVEL
                           INVOICE#: CREX6960679310031306; DATE: 10/3/2024 - AIRFARE, DOMESTIC ECONOMY,
                           TICKET:0167096149676, START DATE 09/30/2024 END DATE 10/01/2024 FROM/TO: NY/DC - SEP
                           30, 2024
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25           Page 148 of 419 PageID
                                                           #: 35900




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                        DISB TYPE    DISB ID#        AMOUNT

                10/04/24   Schrock, Ray C.                                    H161          42258384            282.23
                           TRAVEL
                           INVOICE#: CREX6961392210042102; DATE: 10/4/2024 - AIRFARE, ECONOMY,
                           TICKET:0062272745651, START DATE 10/01/2024 END DATE 10/01/2024 FROM/TO: DCA/LGA -
                           OCT 01, 2024


                10/04/24   Schrock, Ray C.                                    H161          42258385            262.48
                           TRAVEL
                           INVOICE#: CREX6961392210042102; DATE: 10/4/2024 - AIRFARE, ECONOMY,
                           TICKET:0012179673122, START DATE 09/30/2024 END DATE 10/01/2024 FROM/TO: LGA/DCA -
                           SEP 30, 2024


                10/04/24   Welch, Alexander W.                                H161          42258477            217.12
                           TRAVEL
                           INVOICE#: CREX6963070710042102; DATE: 10/4/2024 - AIRFARE, ECONOMY,
                           TICKET:0062272246930, START DATE 10/01/2024 END DATE 10/01/2024 FROM/TO:
                           WASHINGTON, DC/LGA - OCT 01, 2024


                10/04/24   Welch, Alexander W.                                H161          42258482            173.67
                           TRAVEL
                           INVOICE#: CREX6963070710042102; DATE: 10/4/2024 - AIRFARE, ECONOMY,
                           TICKET:0062271762070, START DATE 09/30/2024 END DATE 09/30/2024 FROM/TO:
                           NYC-LGA/WASHINGTON-REAGAN - SEP 30, 2024


                SUBTOTAL DISB TYPE H161:                                                                    $1,227.46

                10/07/24   Keenan, Eoghan P.                                  H163          42259084             44.60
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100111; DATE: 10/1/2024 - TAXI
                           CHARGES FOR 2024-10-01 INVOICE #100111 STATEMENT# EF20DC14321 EOGHAN P KEENAN
                           5284 RIDE DATE: 2024-09-25 FROM: 767 5TH AVE, NEW YORK, NY TO: NEW YORK, NY RIDE
                           TIME: 02:58
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25           Page 149 of 419 PageID
                                                           #: 35901




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                        DISB TYPE    DISB ID#        AMOUNT

                10/07/24   Bentley, Chase A.                                  H163          42259005            212.35
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100111; DATE: 10/1/2024 - TAXI
                           CHARGES FOR 2024-10-01 INVOICE #100111 STATEMENT# EF20DC14112 CHASE A BENTLEY
                           G067 RIDE DATE: 2024-09-09 FROM: 767 5TH AVE, NEW YORK, NY TO: NEW CANAAN, CT
                           RIDE TIME: 21:14


                10/07/24   Bentley, Chase A.                                  H163          42259115            313.91
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100111; DATE: 10/1/2024 - TAXI
                           CHARGES FOR 2024-10-01 INVOICE #100111 STATEMENT# EF20DC14376 CHASE A BENTLEY
                           G067 RIDE DATE: 2024-09-27 FROM: 767 5TH AVE, NEW YORK, NY TO: NEW CANAAN, CT RIDE
                           TIME: 04:41


                10/07/24   Keenan, Eoghan P.                                  H163          42259097             41.75
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100111; DATE: 10/1/2024 - TAXI
                           CHARGES FOR 2024-10-01 INVOICE #100111 STATEMENT# EF20DC14301 EOGHAN P KEENAN
                           5284 RIDE DATE: 2024-09-23 FROM: 767 5TH AVE, NEW YORK, NY TO: NEW YORK, NY RIDE
                           TIME: 22:10


                10/07/24   Bentley, Chase A.                                  H163          42259101            268.04
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100111; DATE: 10/1/2024 - TAXI
                           CHARGES FOR 2024-10-01 INVOICE #100111 STATEMENT# EF20DC14058 CHASE A BENTLEY
                           G067 RIDE DATE: 2024-09-04 FROM: 311 E 60TH ST, NEW YORK CITY, NY TO: NEW CANAAN,
                           CT RIDE TIME: 19:09
        Case 1:17-mc-00151-LPS                    Document 1584-1 Filed 03/04/25           Page 150 of 419 PageID
                                                            #: 35902




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                         DISB TYPE     DISB ID#           AMOUNT

                10/07/24   Keenan, Eoghan P.                                   H163           42258949             53.20
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100111; DATE: 10/1/2024 - TAXI
                           CHARGES FOR 2024-10-01 INVOICE #100111 STATEMENT# EF20DC14043 EOGHAN P KEENAN
                           5284 RIDE DATE: 2024-09-03 FROM: 767 5TH AVE, NEW YORK, NY TO: 180 E END AVE, NEW
                           YORK, NY RIDE TIME: 20:13


                10/07/24   Burrus, Maigreade B.                                H163           42259165             40.17
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100111; DATE: 10/1/2024 - TAXI
                           CHARGES FOR 2024-10-01 INVOICE #100111 STATEMENT# EF20DC14374 MAGGIE BURRUS I493
                           RIDE DATE: 2024-09-27 FROM: 767 5TH AVE, NEW YORK, NY TO: NEW YORK, NY RIDE TIME:
                           04:04


                10/07/24   Bentley, Chase A.                                   H163           42259079            258.25
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100111; DATE: 10/1/2024 - TAXI
                           CHARGES FOR 2024-10-01 INVOICE #100111 STATEMENT# EF20DC14349 CHASE A BENTLEY
                           G067 RIDE DATE: 2024-09-25 FROM: 767 5TH AVE, NEW YORK, NY TO: NEW CANAAN, CT RIDE
                           TIME: 23:53


                10/07/24   Keenan, Eoghan P.                                   H163           42258877             45.63
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100111; DATE: 10/1/2024 - TAXI
                           CHARGES FOR 2024-10-01 INVOICE #100111 STATEMENT# EF20DC14347 EOGHAN P KEENAN
                           5284 RIDE DATE: 2024-09-25


                10/10/24   Roberts, Ian                                        H163           42261003             23.29
                           TRANSPORTATION - LEGAL/OVERTIME
                           INVOICE#: CREX6976165010101305; DATE: 10/10/2024 - OVERTIME TAXI/CAR, SEP 12, 2024
        Case 1:17-mc-00151-LPS                    Document 1584-1 Filed 03/04/25           Page 151 of 419 PageID
                                                            #: 35903




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                         DISB TYPE    DISB ID#        AMOUNT

                10/11/24   Welch, Alexander W.                                 H163          42263176             277.68
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: XYZ (37976-01); INVOICE#: 1744496; DATE: 10/9/2024 - TAXI CHARGES FOR 2024-10-09
                           INVOICE #17444964092716563 ALEXANDER W WELCH D246 RIDE DATE: 2024-09-27 FROM: 767
                           5 AVE, MANHATTAN, NY TO: DARIEN, CT RIDE TIME: 02:22


                10/11/24   Welch, Alexander W.                                 H163          42263214             254.05
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: XYZ (37976-01); INVOICE#: 1744345; DATE: 10/2/2024 - TAXI CHARGES FOR 2024-10-02
                           INVOICE #17443454092515380 ALEXANDER W WELCH D246 RIDE DATE: 2024-09-25 FROM: 767
                           5 AVE, MANHATTAN, NY TO: NORWALK, CT RIDE TIME: 19:03


                10/11/24   Burrus, Maigreade B.                                H163          42263181              60.32
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: XYZ (37976-01); INVOICE#: 1744345; DATE: 10/2/2024 - TAXI CHARGES FOR 2024-10-02
                           INVOICE #17443454092515591 MAGGIE BURRUS I493 RIDE DATE: 2024-09-25 FROM: 767 5 AVE,
                           MANHATTAN, NY TO: MANHATTAN, NY RIDE TIME: 21:48


                10/17/24   Mackinnon, Josh                                     H163          42270799              56.38
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: MACKINNON, JOSHUA (H494); INVOICE#: CREX6992310510171302; DATE: 10/17/2024 -
                           UBER HOME AFTER HOURS- OVERTIME TAXI/CAR, OCT 14, 2024 - UBER HOME AFTER HOURS


                10/22/24   Roberts, Ian                                        H163          42274451              35.97
                           TRANSPORTATION - LEGAL/OVERTIME
                           INVOICE#: CREX6998805010221302; DATE: 10/22/2024 - OVERTIME TAXI/CAR, OCT 17, 2024


                SUBTOTAL DISB TYPE H163:                                                                        $1,985.59
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25             Page 152 of 419 PageID
                                                           #: 35904




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                          DISB TYPE     DISB ID#        AMOUNT

                10/11/24   Grogan, Teresa M.                                    H164           42263269              107.78
                           TRANSPORTATION - SUPPORT/OVERTIME
                           PAYEE: XYZ (37976-01); INVOICE#: 1744345; DATE: 10/2/2024 - TAXI CHARGES FOR 2024-10-02
                           INVOICE #17443454092616467 TERESA M GROGAN 7626 RIDE DATE: 2024-09-26 FROM: 767 5
                           AVE, MANHATTAN, NY TO: QUEENS, NY RIDE TIME: 21:45


                SUBTOTAL DISB TYPE H164:                                                                         $107.78

                10/11/24   Welch, Alexander W.                                  H169           42263093              119.24
                           AIRPORT TRANSPORTATION
                           PAYEE: XYZ (37976-01); INVOICE#: 1744497; DATE: 10/9/2024 - TAXI CHARGES FOR 2024-10-09
                           INVOICE #17444974093017631 ALEXANDER W WELCH D246 RIDE DATE: 2024-09-30 FROM: 767
                           5 AVE, MANHATTAN, NY TO: LAGUARDIA AIRPORT, FLUSHING, NY RIDE TIME: 14:08


                10/11/24   Schrock, Ray C.                                      H169           42263161              316.94
                           AIRPORT TRANSPORTATION
                           PAYEE: XYZ (37976-01); INVOICE#: 1744497; DATE: 10/9/2024 - TAXI CHARGES FOR 2024-10-09
                           INVOICE #17444974100118661 RAY C SCHROCK B572 RIDE DATE: 2024-10-01 FROM:
                           LAGUARDIA AIRPORT, FLUSHING, NY TO: RYE, NY RIDE TIME: 20:00


                10/11/24   Schrock, Ray C.                                      H169           42263230              275.33
                           AIRPORT TRANSPORTATION
                           PAYEE: XYZ (37976-01); INVOICE#: 1744345; DATE: 10/2/2024 - TAXI CHARGES FOR 2024-10-02
                           INVOICE #17443454092716865 RAY C SCHROCK B572 RIDE DATE: 2024-09-30 FROM: RYE, NY
                           TO: LAGUARDIA AIRPORT, FLUSHING, NY RIDE TIME: 05:27


                SUBTOTAL DISB TYPE H169:                                                                         $711.51

                10/07/24   WGM, Firm                                            S010           42263386                9.50
                           DUPLICATING
                           19 COLOR PHOTOCOPY(S) MADE BETWEEN 10/07/2024 AND 10/07/2024
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 153 of 419 PageID
                                                           #: 35905




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                SUBTOTAL DISB TYPE S010:                                                                  $9.50

                10/01/24   WGM, Firm                                         S011          42254888     5,026.00
                           DUPLICATING
                           10052 COLOR PRINT(S) MADE BETWEEN 09/25/2024 AND 10/01/2024


                10/07/24   Wash, DC                                          S011          42259814         3.00
                           DUPLICATING
                           6 COLOR PRINT(S) MADE BETWEEN 10/07/2024 AND 10/07/2024


                10/07/24   WGM, Firm                                         S011          42259813      590.00
                           DUPLICATING
                           1180 COLOR PRINT(S) MADE BETWEEN 10/07/2024 AND 10/07/2024


                10/15/24   WGM, Firm                                         S011          42268629       17.50
                           DUPLICATING
                           35 COLOR PRINT(S) MADE BETWEEN 10/09/2024 AND 10/15/2024


                10/22/24   WGM, Firm                                         S011          42276070       78.50
                           DUPLICATING
                           157 COLOR PRINT(S) MADE BETWEEN 10/17/2024 AND 10/22/2024


                10/29/24   FLA, Office                                       S011          42282479       15.50
                           DUPLICATING
                           31 COLOR PRINT(S) MADE BETWEEN 10/29/2024 AND 10/29/2024


                SUBTOTAL DISB TYPE S011:                                                               $5,730.50

                10/07/24   WGM, Firm                                         S017          42263422       33.60
                           DUPLICATING
                           224 PHOTOCOPY(S) MADE BETWEEN 10/07/2024 AND 10/07/2024
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 154 of 419 PageID
                                                           #: 35906




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                SUBTOTAL DISB TYPE S017:                                                                 $33.60

                10/07/24   Mackinnon, Josh                                   S019          42259677      12.00
                           3 RING BINDER 1" TO 3"
                           4 _US SPIRAL BINDING ON 10/07/2024 5:45PM


                10/09/24   Roberts, Ian                                      S019          42268477      75.00
                           3 RING BINDER 1" TO 3"
                           25 _US SPIRAL BINDING ON 10/09/2024 7:31AM


                10/10/24   Roberts, Ian                                      S019          42268476        3.00
                           3 RING BINDER 1" TO 3"
                           1 _US SPIRAL BINDING ON 10/10/2024 2:43PM


                10/20/24   Portnov, Boris                                    S019          42275917        3.00
                           3 RING BINDER 1" TO 3"
                           1 _US SPIRAL BINDING ON 10/20/2024 9:40PM


                SUBTOTAL DISB TYPE S019:                                                                 $93.00

                10/15/24   Gehnrich, Charles                                 S061          42266229      34.05
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 09/19/2024 TRANSACTIONS: 5


                10/15/24   Smith, Kara                                       S061          42271914      64.36
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/17/2024 ACCOUNT 424YN6CXS


                10/15/24   Kamath, Priya                                     S061          42266791      24.31
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 09/17/2024 TRANSACTIONS: 4
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25        Page 155 of 419 PageID
                                                             #: 35907




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                10/15/24   Smith, Kara                                       S061          42271457      360.68
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/25/2024 ACCOUNT 424YN6CXS


                10/15/24   Niles-Weed, Robert B.                             S061          42266605      184.83
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - NILES-WEED,ROBERT 09/12/2024 TRANSACTIONS: 14


                10/15/24   SanGiovanni, Giana                                S061          42264849      303.20
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 09/19/2024 TRANSACTIONS: 39


                10/15/24   Chan, Herbert                                     S061          42266795        8.14
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - CHAN,HERBERT 09/03/2024 TRANSACTIONS: 17


                10/15/24   SanGiovanni, Giana                                S061          42264891      226.36
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 09/17/2024 TRANSACTIONS: 27


                10/15/24   Smith, Kara                                       S061          42271841       57.68
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/10/2024 ACCOUNT 424YN6CXS


                10/15/24   Curtis, Aaron J.                                  S061          42266262       48.61
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - CURTIS,AARON 09/07/2024 TRANSACTIONS: 2


                10/15/24   Gehnrich, Charles                                 S061          42265966       34.05
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 09/18/2024 TRANSACTIONS: 3
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 156 of 419 PageID
                                                           #: 35908




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                10/15/24   Kamath, Priya                                     S061          42266692      204.32
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 09/10/2024 TRANSACTIONS: 17


                10/15/24   Jaeger, Rebecca                                   S061          42265678       34.05
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - JAEGER,REBECCA 09/01/2024 TRANSACTIONS: 4


                10/15/24   Clarke, Andrew                                    S061          42265974      136.22
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - CLARKE,ANDREW 09/13/2024 TRANSACTIONS: 8


                10/15/24   Gehnrich, Charles                                 S061          42265620       24.31
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 09/24/2024 TRANSACTIONS: 20


                10/15/24   Gehnrich, Charles                                 S061          42266943       34.05
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 09/30/2024 TRANSACTIONS: 36


                10/15/24   Clarke, Andrew                                    S061          42266016      351.40
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - CLARKE,ANDREW 09/16/2024 TRANSACTIONS: 21


                10/15/24   SanGiovanni, Giana                                S061          42264830      373.13
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 09/20/2024 TRANSACTIONS: 53


                10/15/24   Jaeger, Rebecca                                   S061          42266519      116.72
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - JAEGER,REBECCA 09/16/2024 TRANSACTIONS: 10
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 157 of 419 PageID
                                                           #: 35909




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                10/15/24   SanGiovanni, Giana                                S061          42264851      116.58
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 09/22/2024 TRANSACTIONS: 20


                10/15/24   Jaeger, Rebecca                                   S061          42267266      116.72
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - JAEGER,REBECCA 09/10/2024 TRANSACTIONS: 34


                10/15/24   SanGiovanni, Giana                                S061          42272250      552.14
                           COMPUTERIZED RESEARCH
                           MI LEXIS - SANGIOVANNI, GIANA 09/22/2024 ACCOUNT 424YN6CXS


                10/15/24   Jaeger, Rebecca                                   S061          42265859      131.28
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - JAEGER,REBECCA 09/19/2024 TRANSACTIONS: 5


                10/15/24   Gehnrich, Charles                                 S061          42267140       34.05
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 09/20/2024 TRANSACTIONS: 4


                10/15/24   Curtis, Aaron J.                                  S061          42265749       68.11
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - CURTIS,AARON 09/27/2024 TRANSACTIONS: 6


                10/15/24   McCray, Crystal                                   S061          42266828      129.55
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - MCCRAY,CRYSTAL 09/23/2024 TRANSACTIONS: 5


                10/15/24   Chan, Herbert                                     S061          42266631        8.14
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - CHAN,HERBERT 09/23/2024 TRANSACTIONS: 18
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25        Page 158 of 419 PageID
                                                             #: 35910




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                10/15/24   SanGiovanni, Giana                                S061          42264828      163.73
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 09/26/2024 TRANSACTIONS: 14


                10/15/24   Kamath, Priya                                     S061          42265359       68.11
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 09/13/2024 TRANSACTIONS: 7


                10/15/24   Niles-Weed, Robert B.                             S061          42271534      173.05
                           COMPUTERIZED RESEARCH
                           NY LEXIS - NILES-WEED, ROBERT 09/12/2024 ACCOUNT 424YN6CXS


                10/15/24   Kamath, Priya                                     S061          42266130      238.38
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 09/01/2024 TRANSACTIONS: 25


                10/15/24   SanGiovanni, Giana                                S061          42264831      128.32
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 09/07/2024 TRANSACTIONS: 11


                10/15/24   Niles-Weed, Robert B.                             S061          42266230       58.36
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - NILES-WEED,ROBERT 09/01/2024 TRANSACTIONS: 9


                10/15/24   Smith, Kara                                       S061          42271786       60.11
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/16/2024 ACCOUNT 424YN6CXS


                10/15/24   Smith, Kara                                       S061          42271634      781.48
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/26/2024 ACCOUNT 424YN6CXS
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25        Page 159 of 419 PageID
                                                             #: 35911




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                10/15/24   Kamath, Priya                                     S061          42265685       34.05
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 09/09/2024 TRANSACTIONS: 2


                10/15/24   Smith, Kara                                       S061          42271384      300.57
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/17/2024 ACCOUNT 424YN6CXS


                10/15/24   Kamath, Priya                                     S061          42265727       34.05
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 09/18/2024 TRANSACTIONS: 3


                10/15/24   Sternlieb, Sarah                                  S061          42266480      170.27
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - STERNLIEB,SARAH 09/02/2024 TRANSACTIONS: 14


                10/15/24   Niles-Weed, Robert B.                             S061          42266488      126.47
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - NILES-WEED,ROBERT 09/26/2024 TRANSACTIONS: 10


                10/15/24   Jaeger, Rebecca                                   S061          42265724       34.05
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - JAEGER,REBECCA 09/03/2024 TRANSACTIONS: 21


                10/15/24   Smith, Kara                                       S061          42271844      931.76
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/18/2024 ACCOUNT 424YN6CXS


                10/15/24   Kamath, Priya                                     S061          42266234       68.11
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 09/11/2024 TRANSACTIONS: 6
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 160 of 419 PageID
                                                           #: 35912




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                10/15/24   Jaeger, Rebecca                                   S061          42266616       34.05
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - JAEGER,REBECCA 09/25/2024 TRANSACTIONS: 6


                10/15/24   Gehnrich, Charles                                 S061          42266082      113.27
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 09/17/2024 TRANSACTIONS: 25


                10/15/24   Smith, Kara                                       S061          42271747      571.08
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/10/2024 ACCOUNT 424YN6CXS


                10/15/24   SanGiovanni, Giana                                S061          42264863      136.02
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 09/21/2024 TRANSACTIONS: 7


                10/15/24   Jaeger, Rebecca                                   S061          42265825       68.11
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - JAEGER,REBECCA 09/27/2024 TRANSACTIONS: 26


                10/15/24   SanGiovanni, Giana                                S061          42272252      211.93
                           COMPUTERIZED RESEARCH
                           MI LEXIS - SANGIOVANNI, GIANA 09/22/2024 ACCOUNT 424YN6CXS


                10/15/24   Chan, Herbert                                     S061          42267374       10.86
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - CHAN,HERBERT 09/27/2024 TRANSACTIONS: 9


                10/15/24   SanGiovanni, Giana                                S061          42264810      342.16
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 09/25/2024 TRANSACTIONS: 44
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25        Page 161 of 419 PageID
                                                             #: 35913




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                10/15/24   Smith, Kara                                       S061          42271692      661.25
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/09/2024 ACCOUNT 424YN6CXS


                10/15/24   SanGiovanni, Giana                                S061          42264834      626.42
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 09/24/2024 TRANSACTIONS: 82


                10/15/24   Smith, Kara                                       S061          42271698      120.23
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/05/2024 ACCOUNT 424YN6CXS


                10/15/24   Niles-Weed, Robert B.                             S061          42265670       34.05
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - NILES-WEED,ROBERT 09/27/2024 TRANSACTIONS: 2


                10/15/24   Smith, Kara                                       S061          42271434       57.68
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/17/2024 ACCOUNT 424YN6CXS


                10/15/24   Jaeger, Rebecca                                   S061          42266655      233.44
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - JAEGER,REBECCA 09/11/2024 TRANSACTIONS: 36


                10/15/24   Chan, Herbert                                     S061          42266136      102.66
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - CHAN,HERBERT 09/26/2024 TRANSACTIONS: 52


                10/15/24   Niles-Weed, Robert B.                             S061          42266712      257.75
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - NILES-WEED,ROBERT 09/10/2024 TRANSACTIONS: 19
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 162 of 419 PageID
                                                           #: 35914




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                10/15/24   Gehnrich, Charles                                 S061          42267092       79.21
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 09/25/2024 TRANSACTIONS: 11


                10/15/24   Clarke, Andrew                                    S061          42267167       24.31
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - CLARKE,ANDREW 09/19/2024 TRANSACTIONS: 2


                10/15/24   Smith, Kara                                       S061          42271621      961.82
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/19/2024 ACCOUNT 424YN6CXS


                10/15/24   SanGiovanni, Giana                                S061          42264820      136.11
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 09/18/2024 TRANSACTIONS: 14


                10/15/24   Smith, Kara                                       S061          42266662       48.61
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - PANCHAM,BRENDA 09/10/2024 TRANSACTIONS: 2


                10/15/24   Jaeger, Rebecca                                   S061          42265711      241.09
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - JAEGER,REBECCA 09/09/2024 TRANSACTIONS: 71


                10/15/24   Smith, Kara                                       S061          42271800      240.45
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 09/24/2024 ACCOUNT 424YN6CXS


                10/16/24   Agbi, Theo                                        S061          42274089       19.47
                           COMPUTERIZED RESEARCH
                           BLAW USAGE REPORT - SEPTEMBER 2024; AGBI, THEO; 1 LAW SEARCH
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25        Page 163 of 419 PageID
                                                             #: 35915




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                10/18/24   McCray, Crystal                                   S061          42275235       64.80
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024


                10/18/24   Rosales, Vanessa                                  S061          42274948        0.10
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024


                10/18/24   Chan, Herbert                                     S061          42275234        0.40
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024


                10/18/24   Gehnrich, Charles                                 S061          42275032      111.60
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024


                10/18/24   Curtis, Aaron J.                                  S061          42275185        9.10
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024


                10/18/24   SanGiovanni, Giana                                S061          42274954       70.00
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024


                10/18/24   Okada, Tyler                                      S061          42275014      435.80
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024


                10/18/24   Niles-Weed, Robert B.                             S061          42275018       29.50
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024
        Case 1:17-mc-00151-LPS                    Document 1584-1 Filed 03/04/25         Page 164 of 419 PageID
                                                            #: 35916




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                10/18/24   Okada, Tyler                                      S061          42275005       67.50
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024


                10/18/24   Burrus, Maigreade B.                              S061          42275287         1.10
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024


                10/18/24   Smith, Kara                                       S061          42275095         5.60
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024


                10/18/24   Evans, Emma                                       S061          42275228       26.70
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - SEPTEMBER 2024


                10/22/24   Mackinnon, Josh                                   S061          42284050       13.07
                           COMPUTERIZED RESEARCH
                           INTELLIGIZE USAGE REPORT - SEPTEMBER 2024


                SUBTOTAL DISB TYPE S061:                                                              $13,315.21

                10/16/24   Logan, Savannah L.                                S064          42272617       85.00
                           COMPUTERIZED RESEARCH
                           NEWSWIRE SERVICE - SEPTEMBER 2024 FOR CITGO / BANKRUPTCY SALE


                10/16/24   Bentley, Chase A.                                 S064          42272586       85.00
                           COMPUTERIZED RESEARCH
                           NEWSWIRE SERVICE - SEPTEMBER 2024 FOR CITGO NEWS ALERT (CUSTOM)


                SUBTOTAL DISB TYPE S064:                                                                $170.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25              Page 165 of 419 PageID
                                                           #: 35917




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024013227


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                           DISB TYPE    DISB ID#    AMOUNT

                10/01/24   WGM, Firm                                             S117          42254824      336.60
                           DUPLICATING
                           2244 PRINT(S) MADE BETWEEN 09/25/2024 AND 10/01/2024


                10/07/24   WGM, Firm                                             S117          42260061       24.45
                           DUPLICATING
                           163 PRINT(S) MADE BETWEEN 10/03/2024 AND 10/07/2024


                10/08/24   Wash, DC                                              S117          42260062         2.70
                           DUPLICATING
                           18 PRINT(S) MADE BETWEEN 10/02/2024 AND 10/08/2024


                10/09/24   Wash, DC                                              S117          42268883         4.50
                           DUPLICATING
                           30 PRINT(S) MADE BETWEEN 10/09/2024 AND 10/09/2024


                10/15/24   WGM, Firm                                             S117          42268882     1,096.50
                           DUPLICATING
                           7310 PRINT(S) MADE BETWEEN 10/09/2024 AND 10/15/2024


                10/22/24   WGM, Firm                                             S117          42276342       54.45
                           DUPLICATING
                           363 PRINT(S) MADE BETWEEN 10/17/2024 AND 10/22/2024


                10/28/24   WGM, Firm                                             S117          42282771       18.90
                           DUPLICATING
                           126 PRINT(S) MADE BETWEEN 10/28/2024 AND 10/28/2024


                SUBTOTAL DISB TYPE S117:                                                                   $1,538.10


                           TOTAL DISBURSEMENTS                                                            $32,605.34
Case 1:17-mc-00151-LPS   Document 1584-1 Filed 03/04/25   Page 166 of 419 PageID
                                   #: 35918
      Case 1:17-mc-00151-LPS          Document 1584-1 Filed 03/04/25             Page 167 of 419 PageID
                                                #: 35919


Potter Anderson & Corroon LLP
1313 North Market Street
P.O. Box 951
Wilmington, DE 19899-0951
302 984 6000
www.potteranderson.com

Federal ID # XX-XXXXXXX


                                                   February 12, 2025
                                                   Bill Number 312891
Pincus, Robert B.                                  File Number (PINCRO-51819) / 21202.00001
rbpincus@gmail.com


         For legal services rendered as more fully set forth in the attached statement.

                                  Legal Services                    $27,940.50
                                  Bill Total                        $27,940.50




                                                                                                          MFD
       Case 1:17-mc-00151-LPS             Document 1584-1 Filed 03/04/25            Page 168 of 419 PageID
                                                    #: 35920



Potter Anderson & Corroon LLP
1313 North Market Street
P.O. Box 951
Wilmington, DE 19899-0951
302 984 6000
www.potteranderson.com

Federal ID # XX-XXXXXXX



                                                            February 12, 2025
                                                            Bill Number 312891
Pincus, Robert B.                                           File Number (PINCRO-51819 ) / 21202.00001
rbpincus@gmail.com


         RE: Legal Advice to Special Master in U.S. District Court for District of Delaware


         Through October 31, 2024


Date              Atty      Description                                                         Hours       Value

10/01/24          BAPA      Analysis/Strategy                                                 0.20 Hrs    $168.00
                            Correspondence re status hearing
10/01/24          MTS       Pleadings                                                         0.50 Hrs    $762.50
                            Review of filings and emails
10/01/24          MCD       Analysis/Strategy                                                 8.50 Hrs   $3,825.00
                            Travel to DC; attend hearing; review motion for PI;
10/02/24          MCD       Analysis/Strategy                                                 2.30 Hrs   $1,035.00
                            Review oral order re hearing and additional filings; email
                            correspondence re dates and redacted filings.
10/02/24          MTS       Pleadings                                                         0.50 Hrs    $762.50
                            Review of filings and emails
10/03/24          MCD       Other Written Motions and Submissions                             2.70 Hrs   $1,215.00
                            Correspondence re motion to redact; prep and file re
                            same
10/03/24          MTS       Pleadings                                                         0.50 Hrs    $762.50
                            Review filings and emails
10/03/24          BAPA      Other Written Motions and Submissions                             1.00 Hrs    $840.00
                            Review, revise motion to file under seal, related
                            correspondence
10/04/24          BAPA      Analysis/Strategy                                                 0.20 Hrs    $168.00
                            Correspondence re service list
10/04/24          NMTA      Analysis/Strategy                                                 4.00 Hrs   $1,200.00
                            Review dockets and create chart of parties, update
                            service list
10/04/24          MCD       Analysis/Strategy                                                 0.00 Hrs      $0.00
                            Correspondence re list of notice email; Review and
                            compile re same
10/07/24          BAPA      Analysis/Strategy                                                 0.30 Hrs    $252.00
                            Correspondence re docketing transcript and distribution


                                                                                                               MFD
       Case 1:17-mc-00151-LPS         Document 1584-1 Filed 03/04/25             Page 169 of 419 PageID
                                                #: 35921
        Pincus, Robert B.
        Re Legal Advice to Special Master in U.S. D

Date           Atty     Description                                                      Hours          Value

                        list
10/07/24       TEE      Document/File Management                                       1.50 Hrs     $187.50
                        Update docket
10/08/24       BAPA     Other Written Motions and Submissions                          0.50 Hrs     $420.00
                        Review, file letter re deadline extension on alter ego
                        issue
10/08/24       NMTA     Analysis/Strategy                                              0.20 Hrs         $60.00
                        Communications with Court re having the October 1,
                        2024 hearing transcript put on the docket
10/08/24       MCD      Analysis/Strategy                                              0.70 Hrs     $315.00
                        Review letter re extension and proposed order;
                        correspondence re filings; review contact information
10/08/24       MTS      Pleadings                                                      0.50 Hrs     $762.50
                        Review emails and filings
10/09/24       MTS      Pleadings                                                      0.50 Hrs     $762.50
                        Review of emails and attachments
10/09/24       NMTA     Analysis/Strategy                                              0.50 Hrs     $150.00
                        Review Oral Order re trial continuance
10/11/24       MCD      Analysis/Strategy                                              0.50 Hrs     $225.00
                        Review monthly status report and exhibits;
                        correspondence re same; prep and file
10/11/24       MTS      Pleadings                                                      0.50 Hrs     $762.50
                        Review of filings and emails
10/11/24       BAPA     Other Written Motions and Submissions                          1.20 Hrs   $1,008.00
                        Review, revise and coordinate filing of July fee report
10/14/24       MCD      Analysis/Strategy                                              0.90 Hrs     $405.00
                        Attend meet and confer re joint status report
10/14/24       BAPA     Court Mandated Conferences                                     1.00 Hrs     $840.00
                        Attend meet and confer re sales process issues
10/16/24       NMTA     Other Written Motions and Submissions                          0.30 Hrs         $90.00
                        Prepare, electronically file notice of withdrawal of A.
                        Schneider
10/16/24       MCD      Analysis/Strategy                                              0.90 Hrs     $405.00
                        Review withdrawal notice; attend meet and confer re
                        Preliminary injunction
10/17/24       BAPA     Analysis/Strategy                                              0.40 Hrs     $336.00
                        Correspondence re hearing transcript
10/18/24       MCD      Analysis/Strategy                                              3.60 Hrs   $1,620.00
                        Email correspondence re revised proposed order and
                        joint status report; Review and file re same.
10/18/24       BAPA     Other Written Motions and Submissions                          2.00 Hrs   $1,680.00
                        Review, revise and coordinate filing of joint status report
                        and injunction motion, related correspondence
10/18/24       NMTA     Other Written Motions and Submissions                          0.70 Hrs     $210.00
                        Review status report, check case citations, make edits,
                        related correspondence
10/21/24       NMTA     Analysis/Strategy                                              0.10 Hrs         $30.00
                        Research and review Court order and deadlines
10/22/24       NMTA     Analysis/Strategy                                              0.90 Hrs     $270.00


                                                                                                  MFD
       Case 1:17-mc-00151-LPS         Document 1584-1 Filed 03/04/25         Page 170 of 419 PageID
                                                #: 35922
        Pincus, Robert B.
        Re Legal Advice to Special Master in U.S. D

Date           Atty     Description                                                  Hours            Value

                        Read and review emails, review recently filed documents
                        and pleadings, update service list
10/23/24       LFM      Other Case Assessment, Development and                     0.50 Hrs         $162.50
                        Administration
                        Review recent filings, court docket for determination of
                        status of upcoming deadlines, related communications
10/25/24       MTS      Pleadings                                                  0.50 Hrs         $762.50
                        Review of filings and emails
10/28/24       MTS      Pleadings                                                  0.60 Hrs         $915.00
                        Review of filings and emails
10/28/24       MCD      Analysis/Strategy                                          0.20 Hrs          $90.00
                        Review email correspondence re trust structure
10/28/24       MPM      Analysis and Advice                                        0.30 Hrs         $252.00
                        Review documents and correspondence from Weil;
                        conference with PAC team re: trust documents.
10/28/24       BAPA     Analysis/Strategy                                          0.30 Hrs         $252.00
                        Correspondence re trust structure question
10/29/24       MCD      Analysis/Strategy                                          0.10 Hrs          $45.00
                        Correspondence re trust structure
10/29/24       NMTA     Analysis/Strategy                                          0.50 Hrs         $150.00
                        Update service list
10/30/24       MCD      Analysis/Strategy                                          0.90 Hrs         $405.00
                        Correspondence re trust structure; attend meeting re
                        same
10/30/24       MTS      Pleadings                                                  0.30 Hrs         $457.50
                        Review of filings and emails
10/30/24       MTS      Pleadings                                                  0.50 Hrs         $762.50
                        Zoom Conference with Counsel re Trust issues
10/30/24       MPM      Analysis and Advice                                        2.10 Hrs    $1,764.00
                        Review documents and correspondence from Weil;
                        review trust documents; prepare for and participate in
                        teleconference with Weil re: trust structure and
                        documents.
10/30/24       BAPA     Analysis/Strategy                                          0.20 Hrs         $168.00
                        Discussion re trust structure call
10/31/24       MCD      Analysis/Strategy                                          0.50 Hrs         $225.00
                        Correspondence re response and objections to final
                        recommendation

                                                                           Total              $27,940.50


        LEGAL SERVICES SUMMARY

        Michael P. Maxwell                                           2.40 Hrs           $2,016.00
        Bindu A. Palapura                                            7.30 Hrs           $6,132.00
        Myron T. Steele                                              4.90 Hrs           $7,472.50
        Malisa C. Dang                                               0.00 Hrs               $0.00
        Malisa C. Dang                                              21.80 Hrs           $9,810.00


                                                                                               MFD
Case 1:17-mc-00151-LPS           Document 1584-1 Filed 03/04/25    Page 171 of 419 PageID
                                           #: 35923
 Pincus, Robert B.
 Re Legal Advice to Special Master in U.S. D

 LEGAL SERVICES SUMMARY

 Laura M. Fernandes                                         0.50 Hrs           $162.50
 Nicole M. Tarantino                                        7.20 Hrs         $2,160.00
 Taylor E. Ehret                                            1.50 Hrs           $187.50
                                                           45.60 Hrs        $27,940.50




           Total Due This Bill                                               $27,940.50

                                                  GRAND TOTAL DUE            $27,940.50


                                                  Credit Balance              $4,468.81




                                                                                    MFD
Case 1:17-mc-00151-LPS           Document 1584-1 Filed 03/04/25                 Page 172 of 419 PageID
                                           #: 35924




 CRYSTALLEX INTL CORP V. BOLIVARIAN
   REPUBLIC OF VENEZUELA
 C/O ROBERT B. PINCUS,
 SPECIAL MASTER OF U.S. DISTRICT COURT
 EMAIL INVOICE TO: BOB PINCUS -
 RBPINCUS@GMAIL.COM

 Invoice No.    111437
 Date           11/18/2024
 Client No.     15264

 _______________________________________________________________________________________

 CRYSTALLEX INTL CORP C/O SPECIAL MASTER

 FOR PROFESSIONAL SERVICES RENDERED THROUGH
  OCTOBER 31, 2024:                                                                            $ 4,372.50


                                                                     TOTAL INVOICE             $   4,372.50




 We appreciate the opportunity to be of service to you. If you have any questions or concerns regarding this
 invoice, please call our Billing Manager at Ext. 5134 immediately. If your payment is returned due to
 insufficient funds, we will assess a $25 charge.

 A late fee of 1½% per four-week period will be applied to the unpaid balance after 28 days.

      Santora CPA Group, 220 Continental Drive, Suite 112, Newark, DE 19713 (302) 737-6200
Case 1:17-mc-00151-LPS          Document 1584-1 Filed 03/04/25            Page 173 of 419 PageID
                                          #: 35925




 CRYSTALLEX INTL CORP V. BOLIVARIAN REPUBLIC OF VENEZUELA
 C/O ROBERT B. PINCUS
 SPECIAL MASTER OF U.S. DISTRICT COURT
 EMAIL INVOICE TO: BOB PINCUS -
 RBPINCUS@GMAIL.COM
                                                  Amount Remitted $_________________
 Invoice No. 111437
 Date        11/18/2024
 Client No.  15264

   Please return this stub with your payment to ensure proper credit to your account...thank you.


 Fees for Professional Services Rendered through October 31, 2024:                Invoice No. 111437

   DATE           SERVICE                               STAFF           HOURS            AMOUNT

 10/04/2024     Administrative Services                   Mattson          2.00     $      360.00
                 Post payments from 9/30 to 10/4, send
                 revised invoice to Gaia, wire request
                 email to Bob, review past due AJC's.
 10/07/2024     Administrative Services                   Smith            0.25            162.50
                 Recap September reporting, approve
                 invoice.
 10/08/2024     Administrative Services                   Smith            0.25            162.50
                 Status check on monthly reports, amounts
                 due to service providers, receivables.
 10/12/2024     Administrative Services                   Smith            0.25            162.50
                 Email from John Miraglia (ReedSmith)
                 regarding timing of payment from Siemens,
                 follow-up email to Bob Pincus & Weil team.
 10/13/2024     Administrative Services                   Mattson          0.25              45.00
                 Emails regarding Esther no longer with
                 Weil and update records.
 10/13/2024     Administrative Services                   Smith            0.50            325.00
                 Emails with Bob P. on Siemens payment
                 matter, follow-up email to John Miraglia
                 at ReedSmith.
 10/15/2024     Administrative Services                   Mattson          1.50            270.00
                 Payment posting; wire requests sent;
                 follow up on past due invoices.
 10/15/2024     Administrative Services                   Smith            0.50            325.00
                 Review emails among Andrea, Chase,
                 and Bob P. regarding invoices and
                 balances, request AR and AP reports for
                 SP/AJCs and vendors, YTD financials.
 10/17/2024     Administrative Services                   Smith            0.25            162.50
                 Emails with Maggie @ Weil regarding
                 SCG invoices for August and September,
                 send, Esther status, etc.
Case 1:17-mc-00151-LPS           Document 1584-1 Filed 03/04/25                Page 174 of 419 PageID
                                           #: 35926




 CRYSTALLEX INTL CORP V. BOLIVARIAN REPUBLIC OF VENEZUELA
 ~Invoice No. 111437                                                                         Page 2


 Fees for Professional Services Rendered through October 31, 2024:

   DATE            SERVICE                                 STAFF              HOURS              AMOUNT

 10/20/2024     Administrative Services                      Smith               1.00              650.00
                 Check on July special master report schedule
                 and status, plan for work, coordinate with
                 Andrea and reporting updates.
 10/21/2024     Administrative Services                      Smith               0.75              487.50
                 Emails with Andrea regarding July invoices,
                 Weil adjustment for 7/23, reports from QBO,
                 other monitoring.
 10/22/2024     Administrative Services                      Mattson             1.00              180.00
                 Phone call with Chase regarding past due
                 amount and research past due invoices.
 10/29/2024     Administrative Services                      Mattson             5.00              900.00
                 Record payments in QB; phone call with
                 Chase at Weil regarding past due amount;
                 pull financial reports; start on July invoices.
 10/30/2024     Administrative Services                      Mattson             1.00              180.00
                 Finish sending July invoices; respond to
                 emails regarding July invoices.

                                                         CURRENT AMOUNT DUE              $        4,372.50




 SUMMARY OF PROFESSIONAL SERVICES:

 NAME                                     HOURS                    RATE                          TOTAL
 Robert S. Smith                           3.75                   $650.00                      $ 2,437.50
 Andrea E. Mattson                        10.75                   $180.00                        1,935.00

 TOTAL                                    14.50                                                $ 4,372.50




 To pay online by EFT or credit card, please visit our secure payment portal on our website
 (www.santoracpagroup.com) - please click "Pay My Bill" at the top right of the home page.

 We appreciate the opportunity to be of service to you. If you have any questions or concerns regarding
 this invoice, please call our Billing Manager at Ext. 5134 immediately. If your payment is returned due to
 insufficient funds, we will assess a $25 charge.

 A late fee of 1½% per four-week period will be applied to the unpaid balance after 28 days.

      Santora CPA Group, 220 Continental Drive, Suite 112, Newark, DE 19713 (302) 737-6200
Case 1:17-mc-00151-LPS   Document 1584-1 Filed 03/04/25   Page 175 of 419 PageID
                                   #: 35927




                ANNEX BB
          Case 1:17-mc-00151-LPS           Document 1584-1 Filed 03/04/25                 Page 176 of 419 PageID
                                                     #: 35928




           NOVEMBER 2024

            PROJECT                                       TIME
            Crystallex                                     35:45

            Total                                         35:45



            DATE              PROJECT         TASK                 DESCRIPTION                             VALUE
            11/1/24           Crystallex                           Tcs emails with Weil re sale process      0:50
                                                                   Tcs w Weil, EVR, Elliot, emails, rev
            11/4/24           Crystallex                                                                     2:05
                                                                   correspondence
                                                                   Tcs and emails w Weil, EVR and
            11/5/24           Crystallex                           SPPs, review budget and various Ct        2:45
                                                                    lings
                                                                   Tcs and emails re Elliot alternative
                                                                   proposal, tcs w Weil, EVR, Elliot &
            11/6/24           Crystallex                                                                     4:25
                                                                   SPPs, tc w BB and Citgo re Elliot due
                                                                   diligence, rev var Ct lings
                                                                   Tcs w Weil, SPPs, rev Ct lings,
            11/7/24           Crystallex                                                                     1:40
                                                                   emails re same
            11/11/24          Crystallex                           Calls w Weil and EVR, rev Ct filings      0:55
                                                                   Tcs and emails w Weil and SPPs re
            11/12/24          Crystallex                                                                     1:45
                                                                   possible reorg
                                                                   Emails and tcs w Weil, call with SPPs
            11/13/24          Crystallex                           re SP and possible proposals and          2:05
                                                                   revisions and rev proposed Ct ling
            11/14/24          Crystallex                           Billing, rev filings                      0:30
                                                                   Tcs and emails re sale process,
            11/15/24          Crystallex                                                                     0:40
                                                                   litigation etc
                                                                   Tc w SPPs re Elliott proposal, tc w
            11/18/24          Crystallex                                                                     0:50
                                                                   Weil
            11/20/24          Crystallex                           Rev Order, tcs, emails                    1:10

            11/21/24          Crystallex                           Tcs re Order, next steps, tc w a SPPs     1:50
                                                                   Tcs w Weil, EVR, Conoco, Crystallex
            11/22/24          Crystallex                                                                     4:30
                                                                   re Order, next steps, process etc
                                                                   Conf call w Weil, EVR and Elliot,
            11/23/24          Crystallex                                                                     2:50
                                                                   follow up w EVR, follow up w Weil
                                                                   Call w Wachtell and Gibson, call w
            11/25/24          Crystallex                           Weil and Crystallex, rev response to      2:10
                                                                   Inclination Order
            11/26/24          Crystallex                           Rev filings, tcs and emails re same       1:45
                                                                   Rev lings, tcs w Weil and EVR to
            11/27/24          Crystallex                           discuss, next steps, emails re            2:15
                                                                   Schrock’s departure



                                                       Page 1
fi
     fi
             fi
                    fi
                         fi
Case 1:17-mc-00151-LPS    Document 1584-1 Filed 03/04/25           Page 177 of 419 PageID
                                    #: 35929




  DATE       PROJECT         TASK              DESCRIPTION                           VALUE
                                               Email re Schrock departure, respond
  11/30/24   Crystallex                                                                0:45
                                               to emails from AJCs
  Total                                                                              35:45




                                      Page 2
Case 1:17-mc-00151-LPS              Document 1584-1 Filed 03/04/25 Page 178 of 419 PageID
                                              #: 35930
 767 Fifth Avenue                                           Weil, Gotshal & Manges LLP
 New York, NY 10153
 +1 212 310 8000 tel
 +1 212 310 8007 fax




 Robert B. Pincus, Special Master
                                                                                     February 28, 2025


 Attn: Robert Pincus

                               FOR PROFESSIONAL SERVICES AND DISBURSEMENTS



                                                                            Invoice Number: 2024015169
                                                                       Client/Matter Number: 67816.0003
 FOR PROFESSIONAL SERVICES AND DISBURSEMENTS for
 the period through November 30, 2024 in connection with the
 Citgo Restmcturing and M&A Process matter.


 FEES                                                                                    $1,814,054.00
 Volunta1y 10% Write-off                                                                  -$181,405.40
 FEES DUE                                                                                $1,632,648.60

 DISBURSEMENTS                                                                              $16,134.35
 TOTAL AMOUNT DUE                                                                        $1,648,782.95
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 179 of 419 PageID
                                                           #: 35931




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169




                                                        TIMEKEEPER SUMMARY REPORT


                    TIMEKEEPER                                             RATE      HOURS       AMOUNT
                    New York


                     Partner
                    Barr, Matt                                           $2,350.00     10.40     $24,440.00
                    Schrock, Ray C.                                      $2,350.00     44.00    $103,400.00
                    Lender, David J.                                     $1,995.00     12.90     $25,735.50
                    Friedmann, Jared R.                                  $1,795.00     49.20     $88,314.00
                    Keenan, Eoghan P.                                    $1,795.00     56.20    $100,879.00
                    Welch, Alexander W.                                  $1,795.00      4.80      $8,616.00
                    Barrington, Luna N.                                  $1,750.00     11.80     $20,650.00
                    Niles-Weed, Robert B.                                $1,725.00     10.70     $18,457.50


                     Counsel
                    Bentley, Chase A.                                    $1,595.00    102.10    $162,849.50
                    Curtis, Aaron J.                                     $1,595.00     37.20     $59,334.00


                     Associate
                    Koivistoinen, Tanja                                  $1,470.00     74.70    $109,809.00
                    Sharma, Sakshi                                       $1,470.00     11.10     $16,317.00
                    Burrus, Maigreade B.                                 $1,420.00     84.90    $120,558.00
                    Shefa, Yonatan                                       $1,420.00     17.10     $24,282.00
                    Clarke, Andrew                                       $1,355.00     37.50     $50,812.50
                    Jaeger, Rebecca                                      $1,355.00     36.40     $49,322.00
                    Roberts, Ian                                         $1,290.00     23.70     $30,573.00
                    Rubin, Avi                                           $1,290.00     37.70     $48,633.00
                    Gehnrich, Charles                                    $1,175.00     25.60     $30,080.00
                    Kamath, Priya                                        $1,175.00     37.20     $43,710.00
                    Smith, Kara                                          $1,175.00     29.80     $35,015.00
                    Balido, Catherine                                      $995.00     32.90     $32,735.50
                    Evans, Emma                                            $995.00     27.00     $26,865.00
                    Mackinnon, Josh                                        $995.00     10.60     $10,547.00
                    Carpinello, Courtney                                   $830.00     75.50     $62,665.00
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25        Page 180 of 419 PageID
                                                             #: 35932




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169




                                                           TIMEKEEPER SUMMARY REPORT


                    TIMEKEEPER                                             RATE        HOURS        AMOUNT
                    Conte, Matthew                                        $830.00        29.90      $24,817.00
                    Hann, Jenna                                           $830.00        58.40      $48,472.00
                    Lane, Jack                                            $830.00        34.10      $28,303.00
                    Mittal, Disha                                         $830.00        67.90      $56,357.00
                    Siskind-Weiss, Jordan                                 $830.00        42.50      $35,275.00
                    Wasserman, Jack                                       $830.00        81.20      $67,396.00

                     Staff Attorney
                    McGovern, Kate                                        $595.00        68.10      $40,519.50
                    Ortiz, Heather L.                                     $595.00        75.00      $44,625.00
                                      Subtotal New York:                               1,358.10   $1,650,364.00
                    Miami


                     Partner
                    Bodoh, Devon                                         $2,350.00       13.50      $31,725.00
                    Dulcey, Alfonso J.                                   $1,750.00        6.40      $11,200.00


                     Counsel
                    Sternlieb, Sarah                                     $1,595.00       15.70      $25,041.50


                     Associate
                    Fernandez, Ricardo                                   $1,290.00       11.20      $14,448.00
                    Agbi, Theo                                           $1,175.00       23.60      $27,730.00
                    SanGiovanni, Giana                                     $995.00       28.90      $28,755.50
                                      Subtotal Miami:                                     99.30    $138,900.00

                    GRAND TOTAL                                                        1,457.40   $1,789,264.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 181 of 419 PageID
                                                           #: 35933




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            11/01/24     Lender, David J.      REVIEW GIRARD STREET OPPOSITION      1.10   72060181   2,194.50
                                               TO MOTION TO DISMISS; TELEPHONE
                                               CALL WITH A. CURTIS RE RED TREE;
                                               INTERPLEADER ISSUE; TELEPHONE
                                               CALL WITH ELLIOT RE RED TREE
                                               INTERVENTION.

            11/01/24     Friedmann, Jared R.   CALL WITH QUINN/AKIN TEAMS RE:       1.80   72057911   3,231.00
                                               RED TREE INTERVENTION MOTION;
                                               CALLS WITH A.CURTIS AND
                                               C.BENTLEY RE: SAME AND NEXT
                                               STEPS; CALL WITH J.ELLIS RE: SAME
                                               AND NEXT STEPS; PREPARE FOR MEET
                                               AND CONFER WITH VENEZUELAN
                                               PARTIES RE: THREATENED MOTION
                                               TO UNSEAL SPA; EMAILS WITH TEAM
                                               AND CREDITOR PARTIES RE: SAME;
                                               MEET AND CONFER RE: MOTION TO
                                               UNSEAL SPA; CALL WITH C. BENTLEY
                                               RE: SAME AND DISCUSSION WITH
                                               J.ELLIS RE: RED TREE INTERVENTION
                                               MOTION; REVIEW SUBMISSION BY THE
                                               VENEZUELAN PARTIES REGARDING
                                               THE PROPOSED INJUNCTION ORDER
                                               AND SPECIAL MASTER'S PROPOSAL
                                               FOR ADDRESSING ALTER EGO ISSUES
                                               IN DE.

            11/01/24     Keenan, Eoghan P.     CALL WITH POTTER ANDERSON AND        1.50   72041241   2,692.50
                                               WEIL TEAMS RE: TRUST
                                               CONSIDERATIONS; REVIEW TRUST
                                               DOCUMENTATION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 182 of 419 PageID
                                                           #: 35934




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/01/24     Schrock, Ray C.       COMM WITH LEAD BIDDER,               3.50   72058587   8,225.00
                                               STAKEHOLDERS AND SPECIAL
                                               MASTER RE NEXT STEPS AND
                                               POTENTIAL MODIFICATION OF BID;
                                               REVIEW MATERIALS RELATED TO
                                               SAME.

            11/01/24     Shefa, Yonatan        REVIEW DOCKET FILINGS;               0.70   72069138    994.00
                                               CORRESPONDENCE WITH WEIL
                                               RESTRUCTURING AND LITIGATION
                                               TEAMS RE: ALTER EGO ISSUES.

            11/01/24     Curtis, Aaron J.      CALL WITH ELLIOTT'S COUNSEL TO       1.70   72060347   2,711.50
                                               DISCUSS RED TREE'S INTERVENTION
                                               MOTION; CALL WITH J. FRIEDMANN
                                               TO DISCUSS RED TREE'S
                                               INTERVENTION MOTION; CALL WITH
                                               D. LENDER TO DISCUSS RED TREE'S
                                               INTERVENTION MOTION; REVIEW AND
                                               RESPOND TO EMAILS RE: RED TREE'S
                                               INTERVENTION MOTION AND THE
                                               REPLY IN SUPPORT OF THE ALTER EGO
                                               MOTION.

            11/01/24     Bodoh, Devon          REVIEW FIRPTA MATTERS AND            1.60   72054210   3,760.00
                                               CORRESPONDENCE WITH JONES DAY
                                               RE SAME.

            11/01/24     Dulcey, Alfonso J.    REVIEW / DISCUSS AKIN TAX            0.50   72061677    875.00
                                               REQUEST RE FIRPTA CERT.

            11/01/24     Sternlieb, Sarah      REVIEW RECENT FILINGS AND            4.20   72073927   6,699.00
                                               ANALYZE ALTER EGO CASES AND
                                               OTHER ISSUES.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 183 of 419 PageID
                                                           #: 35935




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/01/24     Niles-Weed, Robert    DRAFT REPLY RE: ALTER EGO PROCESS    1.70   72056706   2,932.50
                         B.                    LETTER AND PROPOSED ORDER.

            11/01/24     Bentley, Chase A.     ATTEND MEET AND CONFER RE            4.90   72054364   7,815.50
                                               REPUBLIC MOTION; PHONE CALL
                                               WITH J. FRIEDMANN RE SAME; PHONE
                                               CALL WITH RED TREE COUNSEL RE
                                               SDNY ACTION; REVIEW TRUST
                                               DOCUMENTS; PHONE CALL WITH
                                               POTTER RE TRUST DOCUMENTS;
                                               PHONE CALL WITH WEIL M&A RE
                                               SAME; REVIEW FEE REPORT; EMAILS
                                               WITH M. BURRUS RE SAME.

            11/01/24     Rubin, Avi            ATTEND INVENTORY CALL; ATTEND        1.60   72047197   2,064.00
                                               TRUST STRUCTURE CALL WITH
                                               POTTER ANDERSON;
                                               CORRESPONDENCE WITH WEIL M&A
                                               AND POTTER TEAMS.

            11/01/24     Smith, Kara           DRAFT RESPONSE LETTER TO RED         1.70   72060409   1,997.50
                                               TREE'S REQUEST FOR INFORMATION;
                                               REVIEW SIEMENS ALTER EGO LETTER.

            11/01/24     Evans, Emma           CORRESPONDENCE RE: ALTER EGO         0.10   72057713     99.50
                                               CASES.

            11/01/24     Mackinnon, Josh       ATTEND INVENTORY VALUATION           1.00   72058242    995.00
                                               CALL.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 184 of 419 PageID
                                                           #: 35936




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/01/24     SanGiovanni, Giana    REVIEW, ANALYZE, AND SUMMARIZE      2.80   72056060   2,786.00
                                               FOR CLIENT PDVH'S MOTION TO
                                               DISMISS IN GRAMERCY ALTER-EGO
                                               ACTION; REVIEW EMAILS FROM
                                               LITIGATION TEAM RE: ORDER IN
                                               GIRARD STREET ALTER-EGO ACTION
                                               AND SPECIAL MASTER'S RESPONSE ON
                                               POSITION STATEMENTS; EMAIL K.
                                               SMITH, R. NILES-WEED, AND TEAM
                                               WITH RESPECT TO SPECIAL MASTER'S
                                               RESPONSE ON POSITION
                                               STATEMENTS; REVIEW AND ANALYZE
                                               R. NILES-WEED'S COMMENTS AND
                                               EDITS TO DRAFT SPECIAL MASTER'S
                                               RESPONSE; RESEARCH CASE LAW FOR
                                               SPECIAL MASTER'S RESPONSE RE:
                                               RELIEF REQUESTED IN PROPOSED
                                               ORDER.

            11/01/24     Koivistoinen, Tanja   CALL WITH POTTER ANDERSON RE:       1.10   72056752   1,617.00
                                               DELAWARE LAW ASPECTS OF THE
                                               TRUST AGREEMENT; PREPARE FOR
                                               SAME.

            11/01/24     Roberts, Ian          CORRESPOND WITH M. BURRUS AND       0.60   72069635    774.00
                                               LIT TEAM RE OCTOBER 1 HEARING
                                               TRANSCRIPT; UPDATE
                                               WORK-IN-PROCESS LIST; CORRESPOND
                                               WITH M. BURRUS RE SAME; SEND
                                               SAME TO C. BENTLEY.

            11/01/24     Burrus, Maigreade     FINALIZE AND FILE AUGUST FEE        1.30   72066275   1,846.00
                         B.                    REPORT.

            11/01/24     Clarke, Andrew        REVIEW DAILY DOCKET UPDATES.        0.20   72066392    271.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 185 of 419 PageID
                                                           #: 35937




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/02/24     Friedmann, Jared R.   REVIEW AND ANALYZE ALTER AGO         1.20   72057635   2,154.00
                                               DEFENDANTS SUBMISSION ON
                                               PROPOSED INJUNCTION ORDER AND
                                               PROPOSED SCHEDULE FOR LITIGATING
                                               ALTER EGO ISSUES IN DE; DRAFT
                                               POTENTIAL REPLY POINTS.

            11/02/24     Keenan, Eoghan P.     CALL WITH ELLIOTT AND WEIL RE:       1.20   72058284   2,154.00
                                               POTENTIAL REVISIONS TO BID.

            11/02/24     Schrock, Ray C.       COMM WITH LEAD BIDDER,               3.20   72058321   7,520.00
                                               STAKEHOLDERS AND SPECIAL
                                               MASTER RE NEXT STEPS AND
                                               POTENTIAL MODIFICATION OF BID;
                                               REVIEW MATERIALS RELATED TO
                                               SAME.

            11/02/24     Welch, Alexander      EMAILS RE: BIDDER QUESTIONS; CALL    1.20   72056185   2,154.00
                         W.                    WITH BIDDER; DISCUSS SAME WITH R.
                                               SCHROCK.

            11/02/24     Bentley, Chase A.     EMAILS AND PHONE CALL WITH           2.50   72054399   3,987.50
                                               ELLIOTT AND ADVISORS RE
                                               TRANSACTION STRUCTURE; REVIEW
                                               CITGO LETTER; EMAILS RE SAME;
                                               REVIEW REPUBLIC MOTION.

            11/02/24     Smith, Kara           REVISE RESPONSE LETTER RE: REVISE    3.80   72060319   4,465.00
                                               ORDER ON ALTER EGO ISSUE.

            11/02/24     SanGiovanni, Giana    RESEARCH CASE LAW RE: RELIEF         1.10   72070772   1,094.50
                                               REQUESTED IN REVISE, PROPOSED
                                               ORDER FOR SPECIAL MASTER'S
                                               RESPONSE TO POSITION STATEMENTS
                                               AND SEND RESEARCH FINDINGS TO K.
                                               SMITH.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 186 of 419 PageID
                                                           #: 35938




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            11/03/24     Schrock, Ray C.       ATTEND TO COMMUNICATIONS WITH        2.50   72058341   5,875.00
                                               VZ, STAKEHOLDERS AND LEAD
                                               BIDDER RE LEAD BIDDER
                                               TRANSACTION, PROCESS AND
                                               RELATED MATTERS.

            11/03/24     Welch, Alexander      EMAILS WITH BIDDER COUNSEL.          0.30   72056263    538.50
                         W.
            11/03/24     Niles-Weed, Robert    DRAFT REPLY RE: ALTER EGO PROCESS    3.70   72056987   6,382.50
                         B.                    LETTER AND PROPOSED ORDER.

            11/03/24     Bentley, Chase A.     EMAILS RE TRANSACTION                1.30   72054305   2,073.50
                                               STRUCTURE; EMAILS RE CITGO
                                               LETTER; ANALYSIS RE SAME.

            11/03/24     SanGiovanni, Giana    RESEARCH, REVIEW, AND ANALYZE        1.60   72070847   1,592.00
                                               CASE LAW ON VEIL-PIERCING FOR
                                               SPECIAL MASTER'S RESPONSE TO
                                               POSITION STATEMENTS AND SEND
                                               RESEARCH FINDINGS IN EMAIL TO K.
                                               SMITH.

            11/04/24     Lender, David J.      TEAM CALL RE EIMER LETTER;           2.50   72072077   4,987.50
                                               LITIGATION TEAM MEETING; REVIEW
                                               GRAMERCY MOTION TO DISMISS;
                                               REVIEW REPUBLIC SPA MOTION;
                                               REVIEW SPECIAL MASTER
                                               SUBMISSION RE ALTER EGO; REVIEW
                                               CITGO LETTER; MEET WITH L.
                                               BARRINGTON RE ALTER EGO;
                                               TELEPHONE CALL WITH C. BENTLEY
                                               RE TRANSACTION UPDATE.

            11/04/24     Barrington, Luna N.   REVIEW RECENT FILINGS; REVIEW        3.80   72107279   6,650.00
                                               BACKGROUND; MEET WITH D. LENDER
                                               RE: ALTER EGO.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 187 of 419 PageID
                                                           #: 35939




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount


            11/04/24     Friedmann, Jared R.   CALL WITH C. BENTLEY RE: COURT       5.60   72108594   10,052.00
                                               SUBMISSIONS, INCLUDING UPDATE ON
                                               NEGOTIATIONS WITH ELLIOTT;
                                               EMAILS WITH TEAM RE: SAME;
                                               EMAILS RE: PROTOCOL FOR SECOND
                                               LEVEL REVIEW OF DOCUMENTS;
                                               ATTEND WIP MEETING WITH
                                               RX/M&A/LIT TEAMS; REVIEW DRAFT
                                               LETTER TO COURT RE: ALTER EGO
                                               AND DRAFT COMMENTS TO SAME;
                                               CALL WITH TEAM RE: SAME; WEEKLY
                                               LITIGATION TEAM MEETING; REVIEW
                                               REVISED DRAFT OF ALTER LETTER;
                                               EMAILS WITH TEAM RE: SAME;
                                               DRAFT/REVISE SAME; CALL WITH K.
                                               SMITH RE: SAME; CALL WITH M&A
                                               TEAM RE: RESPONDING TO CLAIMS IN
                                               EIMER LETTER RE: DUE DILIGENCE
                                               ISSUES; REVIEW AND REVISE
                                               SUMMARY OF PDVH'S MOTION TO
                                               DISMISS GRAMERCY’S FIRST
                                               AMENDED COMPLAINT IN
                                               GRAMERCY’S ALTER-EGO ACTION;
                                               REVIEW FURTHER REVISED DRAFT OF
                                               ALTER EGO LETTER TO COURT AND
                                               EMAILS WITH K. SMITH RE: EDITS TO
                                               SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 188 of 419 PageID
                                                           #: 35940




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index    Amount

            11/04/24     Keenan, Eoghan P.     PRE-CALL WITH SPECIAL MASTER,         3.70   72072511    6,641.50
                                               EVERCORE AND WEIL RE:
                                               ALTERNATIVE TRANSACTION
                                               STRUCTURE AND ENGAGEMENT WITH
                                               ELLIOTT. CALL WITH ELLIOT, SPECIAL
                                               MASTER, EVERCORE, WEIL, AKIN AND
                                               QUINN TEAMS RE: ALTERNATIVE
                                               TRANSACTION STRUCTURE. REVISE
                                               LETTER TO ELLIOTT REQUESTING
                                               CONSIDERATION OF AN
                                               ALTERNATIVE TRANSACTION
                                               STRUCTURE.

            11/04/24     Schrock, Ray C.       NUMEROUS SETTLEMENT                   6.10   72109016   14,335.00
                                               COMMUNICATIONS WITH
                                               STAKEHOLDERS AND LEAD BIDDER;
                                               ATTEND FURTHER SETTLEMENT
                                               DISCUSSIONS; REVIEW MATERIALS
                                               RE: SAME.

            11/04/24     Welch, Alexander      CALL WITH TEAM; CALL WITH             0.90   72113038    1,615.50
                         W.                    BIDDER; DISCUSS NEXT STEPS.

            11/04/24     Shefa, Yonatan        ATTEND WEIL WIP MEETING;              1.30   72084315    1,846.00
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION TEAM RE: ALTER EGO
                                               CASES; REVIEW LETTER TO ELLIOT;
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: MOTION BY REPUBLIC TO
                                               ACCESS SPA.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 189 of 419 PageID
                                                           #: 35941




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            11/04/24     Curtis, Aaron J.      CALL WITH J. FRIEDMANN, R.          2.20   72070517    3,509.00
                                               NILES-WEED, AND K. SMITH TO
                                               DISCUSS THE LETTER RE: THE
                                               INJUNCTION MOTION PROPOSED
                                               ORDER AND ALTER EGO CLAIMS;
                                               REVIEW AND ANALYZE THE BRIEFING
                                               ON THE INJUNCTION MOTION
                                               PROPOSED ORDER AND ALTER EGO
                                               CLAIMS AND THE LETTER FROM
                                               PDVH; REVIEW AND RESPOND TO
                                               EMAILS RE: THE INJUNCTION MOTION
                                               AND ALTER EGO CLAIMS.

            11/04/24     Niles-Weed, Robert    DRAFT LETTER RESPONSE RE: ALTER     1.70   72072090    2,932.50
                         B.                    EGO PROPOSED ORDER AND
                                               SCHEDULE; TEAM MEETING.

            11/04/24     Bentley, Chase A.     CALL WITH SPECIAL MASTER AND        8.80   72107363   14,036.00
                                               EVERCORE RE PREP FOR ELLIOTT
                                               CALL; ATTEND ELLIOTT CALL RE
                                               ALTERNATIVE TRANSACTION;
                                               MULTIPLE EMAILS AND CALLS
                                               REGARDING SAME; ATTEND WEIL WIP
                                               CALL; CALL WITH WEIL RX TEAM RE
                                               OUTSTANDING WORKSTREAMS;
                                               REVIEW REPUBLIC MOTION; DISCUSS
                                               SAME WITH RX TEAM; PHONE CALL
                                               WITH WEIL LIT AND M&A RE CITGO
                                               LETTER; DRAFT AND REVISE LETTER
                                               TO ELLIOTT; DISCUSS SAME WITH R.
                                               SCHROCK.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 190 of 419 PageID
                                                           #: 35942




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/04/24     Rubin, Avi            ATTEND CALL WITH SPECIAL            2.50   72074407   3,225.00
                                               MASTER AND EVERCORE; ATTEND
                                               CALL WITH ELLIOTT; ATTEND
                                               INTERNAL CHECK-IN CALL; ATTEND
                                               CALL TO DISCUSS EIMER LETTER;
                                               UPDATE DEAL CHRONOLOGY;
                                               CORRESPONDENCE WITH EVERCORE
                                               TEAM REGARDING DILIGENCE ITEMS.

            11/04/24     Gehnrich, Charles     ANALYZE CORRESPONDENCE              2.40   72078476   2,820.00
                                               REGARDING CASE UPDATES; ATTEND
                                               WIP MEETING; ATTEND LIT TEAM
                                               MEETING AND PREPARE FOR SAME;
                                               ATTEND MEETING RE: RESPONSE TO
                                               VENEZUELA PARTIES LETTER, AND
                                               PREPARE FOR SAME.

            11/04/24     Smith, Kara           REVISE RESPONSE LETTER ON REVISE    6.80   72112502   7,990.00
                                               PROPOSED ORDER TO INJUNCTION
                                               MOTION; ATTEND LITIGATION TEAM
                                               MEETING; DRAFT PROPOSED REVISED
                                               SCHEDULE FOR LETTER RESPONSE ON
                                               ALTER EGO REVISE ORDER; ATTEND
                                               WIP MEETING; REVIEW TASK LIST.

            11/04/24     Balido, Catherine     DRAFT SUMMARY OF MOTION TO          4.40   72125992   4,378.00
                                               EXPEDITE; ATTEND WIP MEETING
                                               WITH WEIL TEAMS; ATTEND
                                               RESTRUCTURING TEAM WIP MEETING;
                                               DRAFT OBJECTION TO MOTION TO
                                               EXPEDITE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 191 of 419 PageID
                                                           #: 35943




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/04/24     Evans, Emma           ATTEND WIP MEETING WITH WEIL        1.20   72074530   1,194.00
                                               TEAMS; ATTEND LITIGATION TEAM
                                               MEETING; CORRESPONDENCE RE:
                                               ALTER EGO CLAIMS, LITIGATION
                                               TEAM MEETING AGENDA.

            11/04/24     Mackinnon, Josh       INTERNAL WIP CALL.                  0.40   72073276    398.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 192 of 419 PageID
                                                           #: 35944




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/04/24     SanGiovanni, Giana    RESEARCH, REVIEW, AND ANALYZE        4.00   72071545   3,980.00
                                               CASE LAW ON VEIL-PIERCING FOR
                                               SPECIAL MASTER'S RESPONSE TO
                                               POSITION STATEMENTS AND SEND
                                               RESEARCH FINDINGS TO K. SMITH;
                                               REVIEW AND UPDATE LITIGATION
                                               TEAM TASK LIST WITH WORK
                                               STREAMS RELATED TO SALE PROCESS
                                               AND CORRESPOND WITH K. SMITH
                                               AND E. EVANS RE: STATUS OF WORK
                                               STREAMS; ATTEND WIP CALL WITH
                                               WEIL TEAMS; ATTEND WEEKLY
                                               LITIGATION TEAM MEETING; REVIEW,
                                               ANALYZE, AND REVISE SUMMARY OF
                                               RECENT FILING IN ALTER-EGO ACTION
                                               BASED ON FEEDBACK FROM
                                               LITIGATION TEAM AND SEND TO
                                               CLIENT; EMAIL LITIGATION TEAM
                                               NOTES FROM WIP CALL AND
                                               LITIGATION TEAM MEETING; EMAIL
                                               K. SMITH AND PARALEGAL TEAM RE:
                                               CITE-CHECKING SPECIAL MASTER'S
                                               RESPONSE TO POSITION
                                               STATEMENTS; REVIEW EMAILS FROM
                                               RX RE: REPUBLIC'S MOTION TO
                                               ACCESS SPA AND MOTION TO
                                               EXPEDITE CONSIDERATION OF SPA
                                               ACCESS MOTION, AND FROM
                                               LITIGATION TEAM RE: SPECIAL
                                               MASTER'S RESPONSE TO POSITION
                                               STATEMENTS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 193 of 419 PageID
                                                           #: 35945




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/04/24     Roberts, Ian          CORRESPOND WITH M. BURRUS RE         1.80   72118975   2,322.00
                                               FILINGS; UPDATE WORK-IN-PROCESS
                                               LIST; CORRESPOND WITH C. BENTLEY
                                               AND C. BALIDO RE SAME; ATTEND
                                               WEIL TEAMS WORK-IN-PROCESS
                                               MEETING; ATTEND RESTRUCTURING
                                               WORK-IN-PROCESS MEETING.

            11/04/24     Burrus, Maigreade     REVIEW MOTION TO EXPEDITE AND        6.00   72116952   8,520.00
                         B.                    MOTION TO ACCESS SPA; CONFER
                                               WITH C. BALIDO AND A. CLARKE RE:
                                               MOTION TO EXPEDITE AND MOTION
                                               TO ACCESS SPA; ATTEND WEIL RX
                                               WIP; ATTEND WEIL TEAMS WIP.

            11/04/24     Clarke, Andrew        REVIEW MOTION TO ACCESS SPA          5.80   72076541   7,859.00
                                               FILED BY THE REPUBLIC OF
                                               VENEZUELA AND ACCOMPYING
                                               OPENING BRIEF; ATTEND WEIL WIP
                                               MEETING; ATTEND RX WIP MEETING;
                                               DRAFT RESPONSE TO MOTION TO
                                               EXPEDITE FILED BY THE REPUBLIC OF
                                               VENEZUELA; EMAILS WITH C. BALIDO
                                               RE: SAME; DRAFT EMAIL SUMMARY
                                               OF THE REPUBLIC'S FILINGS TO
                                               SPECIAL MASTER; EMAILS WITH C.
                                               BENTLEY RE: LETTER TO ELLIOT.

            11/05/24     Lender, David J.      REVISE SPECIAL MASTER LETTER;        0.40   72078601    798.00
                                               EVERCORE TELEPHONE CALL.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 194 of 419 PageID
                                                           #: 35946




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/05/24     Friedmann, Jared R.   EMAILS WITH TEAM RE: DOCUMENT        3.40   72108963   6,103.00
                                               REVIEW PROTOCOL AND PREPARING
                                               FOR MEETING WITH TEAM RE: SAME;
                                               MEET WITH A.CURTIS RE: SAME;
                                               WEIL/EVERCORE WEEKLY CHECK-IN
                                               MEETING; REVIEW REVISE DRAFT OF
                                               ALTER EGO LETTER TO COURT AND
                                               EMAILS WITH TEAM RE: COMMENTS
                                               TO SAME; EMAILS WITH TEAM RE:
                                               SECOND LEVEL DOCUMENT REVIEW;
                                               PARTICIPATE IN MEETING REGARDING
                                               SECOND LEVEL DOCUMENT REVIEW
                                               AND PRIVILEGE ISSUES; EMAILS WITH
                                               TEAM RE: PRIVILEGE LOG AND NEED
                                               FOR CONFIDENTIALITY AGREEMENT;
                                               REVIEW FURTHER REVISED DRAFT
                                               ALTER EGO LETTER TO COURT;
                                               EMAILS WITH TEAM RE: FURTHER
                                               EDITS TO SAME AND CIRCULATING
                                               TO PARTIES IN INTEREST.

            11/05/24     Keenan, Eoghan P.     ATTEND MEETING WITH SPECIAL          3.50   72078333   6,282.50
                                               MASTER, EVERCORE AND WEIL RE:
                                               TRANSACTION STATUS AND NEXT
                                               STEPS; REVIEW PLAN B TERM SHEET
                                               FROM AKIN; REVIEW DRAFT
                                               RESPONSE TO MOTION FOR
                                               EXPEDITED HEARING ON SPA
                                               DISCLOSURE; REVIEW DRAFT STATUS
                                               REPORT LETTER.

            11/05/24     Schrock, Ray C.       TEND TO VARIOUS MATTERS              3.20   72108754   7,520.00
                                               RELATED TO TRANSACTION; DISCUSS
                                               TRANSACTION WITH TEAM; ATTEND
                                               SPECIAL MASTER AND EVERCORE
                                               CALL; REVIEW DOCUMENTS RELATED
                                               TO TRANSACTION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 195 of 419 PageID
                                                           #: 35947




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount


            11/05/24     Welch, Alexander      CALL RE: BID STRUCTURE; DISCUSS       0.80   72112508   1,436.00
                         W.                    SAME.

            11/05/24     Shefa, Yonatan        CALL WITH WEIL LITIGATION TEAM        2.00   72084468   2,840.00
                                               RE: REVIEW OF DOCUMENTS FOR
                                               PRODUCTION; EMAIL
                                               CORRESPONDENCE WITH WEIL TEAMS
                                               RE: PROPOSED ORDER RESPONSE,
                                               STATUS REPORT, AND MOTION TO
                                               EXPEDITE; CORRESPONDENCE WITH E.
                                               EVANS, A. CURTIS, AND J. FRIEDMANN
                                               RE: DOCUMENT REVIEW.

            11/05/24     Curtis, Aaron J.      MEET WITH WEIL TEAM TO DISCUSS        4.50   72077674   7,177.50
                                               DOCUMENT REVIEW; MEET WITH J.
                                               FRIEDMANN TO DISCUSS ALTER EGO
                                               LETTER AND DOCUMENT REVIEW;
                                               CALL WITH CLIENT TO DISCUSS THE
                                               ALTER EGO CLAIMS AND DEAL
                                               STRUCTURE; REVIEW DOCUMENT
                                               REVIEW PROTOCOL; REVIEW AND
                                               COMMENT ON ALTER EGO LETTER;
                                               REVIEW AND ANALYZE ALTER EGO
                                               FILINGS; REVIEW AND RESPOND TO
                                               EMAILS RE: ALTER EGO LETTER AND
                                               DOCUMENT REVIEW.

            11/05/24     Bodoh, Devon          REVIEW PROPOSED ALTERNATIVE           3.80   72113481   8,930.00
                                               TRANSACTION FOR TAX ISSUES;
                                               FOLLOW UP WITH WEIL RX TEAM
                                               REGARDING SAME.

            11/05/24     Jaeger, Rebecca       REVISE DOCUMENT REVIEW                1.10   72102855   1,490.50
                                               PROTOCOL; DRAFT AND SEND EMAILS
                                               REGARDING SECOND ROUND REVIEW
                                               OF DOCUMENTS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 196 of 419 PageID
                                                           #: 35948




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount


            11/05/24     Sternlieb, Sarah      REVIEW DOCUMENTS.                    0.50   72120948     797.50

            11/05/24     Niles-Weed, Robert    DRAFT REPLY RE: ALTER EGO PROCESS    0.40   72079667     690.00
                         B.                    LETTER AND PROPOSED ORDER.

            11/05/24     Bentley, Chase A.     REVIEW AND REVISE OBJECTION TO       6.80   72107496   10,846.00
                                               REPUBLIC MOTION TO EXPEDITE;
                                               DISCUSS SAME WITH WEIL RX TEAM;
                                               PHONE CALL WITH SPECIAL MASTER
                                               AND EVERCORE RE ALTERNATIVE
                                               TRANSACTION; REVIEW AND REVISE
                                               ALTER EGO RESPONSE LETTER; PHONE
                                               CALLS WITH J. FRIEDMANN RE SAME;
                                               COORDINATE CALL WITH SPPS RE
                                               DILIGENCE; EMAILS WITH EVERCORE
                                               RE ALTER EGO; REVIEW ALTERNATIVE
                                               TRANSACTION TERM SHEET; DISCUSS
                                               SAME WITH WEIL AND EVERCORE.

            11/05/24     Rubin, Avi            CALL WITH EVERCORE AND SPECIAL       0.90   72083354    1,161.00
                                               MASTER; REVIEW ALTERNATIVE
                                               TRANSACTION TERM SHEET.

            11/05/24     Gehnrich, Charles     REVIEW ALTER EGO LETTER TO           1.00   72092045    1,175.00
                                               COURT; CONDUCT RESEARCH RE:
                                               MOTIONS TO EXPEDITE STANDARD.

            11/05/24     Kamath, Priya         REVIEW SUMMARY OF GIRARD             0.30   72117527     352.50
                                               STREET'S OPPOSITION TO PDVH'S
                                               MOTION TO DISMISS ALTER EGO
                                               CLAIM FROM E. EVANS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 197 of 419 PageID
                                                           #: 35949




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/05/24     Smith, Kara           RESEARCH FOR SALE                   7.60   72112700   8,930.00
                                               RECOMMENDATION; REVISE
                                               RESPONSE LETTER ON REVISE
                                               PROPOSED ORDER TO INJUNCTION
                                               MOTION; REVISE AND INSERT R.
                                               SCHROCK COMMENTS TO RESPONSE
                                               LETTER TO REVISED PROPOSED ORDER
                                               ON INJUNCTION MOTION;
                                               COORDINATE WITH LIT TEAM TO
                                               ANSWER QUESTIONS FROM RX TEAM;
                                               REVISE AND FINALIZE RESPONSE
                                               LETTER ON REVISED PROPOSED ORDER
                                               FOR INJUNCTION MOTION.

            11/05/24     Balido, Catherine     REVISE OBJECTION TO REPUBLIC'S      2.60   72126035   2,587.00
                                               MOTION TO EXPEDITE.

            11/05/24     Carpinello,           MEET WITH E. EVANS TO DISCUSS       1.80   72076627   1,494.00
                         Courtney              DOCUMENT REVIEW; REVIEW
                                               MATERIALS RE: SAME.

            11/05/24     Evans, Emma           CORRESPONDENCE WITH WEIL TEAM       3.40   72083042   3,383.00
                                               RE: SECOND LEVEL DOCUMENT
                                               REVIEW AND RESPONSES AND
                                               OBJECTIONS TO REQUESTS FOR
                                               PRODUCTION; SECOND LEVEL
                                               DOCUMENT REVIEW KICK OFF
                                               MEETING WITH REVIEW TEAM.

            11/05/24     Mackinnon, Josh       ATTEND SPECIAL MASTER CHECK-IN.     0.20   72080939    199.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 198 of 419 PageID
                                                           #: 35950




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/05/24     SanGiovanni, Giana    REVIEW EMAILS BETWEEN                0.70   72084967    696.50
                                               LITIGATION TEAM, CLIENT, RX TEAM,
                                               EVERCORE, AND/OR OTHERS RE:
                                               DRAFT SPECIAL MASTER'S RESPONSE
                                               TO POSITION STATEMENTS AND
                                               RESPONSE TO REPUBLIC'S MOTION TO
                                               EXPEDITE; CORRESPOND WITH K.
                                               SMITH RE: SPECIAL MASTER'S
                                               RESPONSE TO POSITION STATEMENTS
                                               AND RESEARCH ALTER-EGO DOCKETS.

            11/05/24     Koivistoinen, Tanja   REVIEW NEXT STEPS IN RELATION TO     0.20   72104842    294.00
                                               THE ALTERNATIVE TRANSACTION.

            11/05/24     Roberts, Ian          REVISE NOVEMBER 6 STATUS REPORT;     1.40   72119012   1,806.00
                                               CORRESPOND WITH C. BENTLEY AND
                                               M. BURRUS RE SAME; FINALIZE
                                               DRAFT OF SAME AND SEND TO M.
                                               BURRUS.

            11/05/24     Hann, Jenna           REVIEW DOCUMENT REVIEW               1.20   72076727    996.00
                                               PROTOCOL; MEET WITH DOCUMENT
                                               REVIEW TEAM RE: BACKGROUND
                                               INFORMATION ON THE MATTER AND
                                               THE UPCOMING DOCUMENT REVIEW
                                               PROCESS.

            11/05/24     Lane, Jack            ATTEND DOCUMENT REVIEW INTRO         1.90   72076441   1,577.00
                                               MEETING WITH E. EVANS, A. CURTIS,
                                               AND J. FRIEDMANN; REVIEW
                                               DOCUMENT REVIEW PROTOCOLS AND
                                               REQUESTS FOR PRODUCTION; REVIEW
                                               DOCUMENT REVIEW PROTOCOL.

            11/05/24     Mittal, Disha         MEET WITH WEIL TEAM TO               2.00   72080741   1,660.00
                                               COORDINATE DOCUMENT REVIEW.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 199 of 419 PageID
                                                           #: 35951




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            11/05/24     Siskind-Weiss,        MEET WITH E. EVANS TO DISCUSS        1.50   72076631   1,245.00
                         Jordan                DOC REVIEW; REVIEW BACKGROUND
                                               DOCUMENTS ON CASE IN ADVANCE
                                               OF MEETING WITH E. EVANS.

            11/05/24     Wasserman, Jack       MEET WEIL TEAM TO COORDINATE         2.00   72076438   1,660.00
                                               DOCUMENT REVIEW; REVIEW
                                               DOCUMENT REVIEW PROTOCOL, TAKE
                                               AND CONSOLIDATE NOTES; REVIEW
                                               CITGO DOCUMENT REVIEW
                                               PROTOCOL.

            11/05/24     Burrus, Maigreade     PREPARE ALTERNATIVE                  3.00   72117003   4,260.00
                         B.                    TRANSACTION STATUS REPORT;
                                               CONFER WITH C. BENTLEY AND I.
                                               ROBERTS RE: STATUS REPORT;
                                               CONFER WITH SPECIAL MASTER AND
                                               EVERCORE RE: STATUS REPORT.

            11/05/24     Clarke, Andrew        REVIEW RESEARCH FOR DRAFT            5.60   72077002   7,588.00
                                               RESPONSE TO MOTION TO EXPEDITE;
                                               MULTIPLE EMAILS WITH C. BENTLEY
                                               AND C. BALIDO RE: SAME; EMAILS
                                               WITH K. SMITH RE: SAME; REVIEW
                                               AND REVISE RESPONSE TO MOTION TO
                                               EXPEDITE; PREPARE SCRIPT FOR
                                               STATUS CONFERENCE; EMAILS WITH
                                               C. BALIDO RE: SAME; REVIEW DRAFT
                                               STATUS REPORT; EMAIL TO M.
                                               BURRUS RE: SAME; EMAIL SPECIAL
                                               MASTER RE: RESPONSE TO REPUBLIC'S
                                               MOTION TO EXPEDITE; EMAIL R.
                                               SCHROCK, A. WELCH, E. KEENAN, AND
                                               WEIL LITIGATION TEAM RE: SAME.

            11/06/24     Lender, David J.      REVISE ALTER EGO LETTER.             0.20   72086660    399.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 200 of 419 PageID
                                                           #: 35952




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            11/06/24     McGovern, Kate        REVIEW SECOND LEVEL REVIEW          2.80   72088807   1,666.00
                                               PROTOCOL; CONDUCT SECOND LEVEL
                                               REVIEW DOCUMENTS FOR
                                               PRODUCTION.

            11/06/24     Barrington, Luna N.   REVIEW STATUS REPORT AND OTHER      4.50   72107407   7,875.00
                                               EMAIL CORRESPONDENCE.

            11/06/24     Friedmann, Jared R.   EMAILS WITH TEAM RE: DRAFT          3.20   72109032   5,744.00
                                               ALTER EGO LETTER TO COURT;
                                               REVIEW DRAFT RESPONSE TO VZ
                                               PARTIES' MOTION TO EXPEDITE
                                               MOTION TO REVIEW; EMAILS WITH
                                               TEAM RE: SAME; CALL WITH
                                               A.CURTIS RE: SAME; CALL WITH
                                               COUNSEL FOR ELLIOTT RE: SAME;
                                               REVIEW AND REVISE DRAFT LETTER;
                                               MEET WITH A.CURTIS TO DRAFT
                                               REVISE REPLY LETTER; EMAILS WITH
                                               TEAM RE: SAME; REVIEW DRAFT
                                               TERM SHEET FROM ELLIOTT; MEET
                                               WITH A.CURTIS RE: PROPOSED EDITS
                                               TO SAME; EMAILS WITH TEAM RE:
                                               SAME; NUMEROUS EMAILS WITH
                                               COUNSEL FOR CONOCOPHILLIPS AND
                                               CRYSTALLEX RE: SAME; FINALIZE
                                               DRAFT COURT SUBMISSIONS; EMAILS
                                               RE: CIRCULATING TO PARTIES IN
                                               INTEREST, INCLUDING RED TREE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 201 of 419 PageID
                                                           #: 35953




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index    Amount

            11/06/24     Keenan, Eoghan P.     REVIEW AMBER ENERGY TERM SHEET        5.80   72088878   10,411.00
                                               FOR PLAN B STRUCTURE; CALL WITH
                                               SPECIAL MASTER, EVERCORE AND
                                               WEIL RE: TERM SHEET; CALL WITH
                                               AKIN, QUINN AND WEIL TEAMS RE:
                                               TERM SHEET ISSUES; CALL WITH
                                               WEIL, SPECIAL MASTER, WLRK,
                                               GIBSON, CITGO AND JONES DAY
                                               TEAMS RE: TERM SHEET AND COURT
                                               FILINGS; PREPARE MARKUP OF THE
                                               TERM SHEET; REVIEW DRAFT COURT
                                               FILINGS.

            11/06/24     Schrock, Ray C.       TEND TO VARIOUS MATTERS               3.00   72108686    7,050.00
                                               RELATED TO TRANSACTION; PHONE
                                               CALLS WITH WEIL, EVERCORE AND
                                               SPECIAL MASTER RE: ALTERNATIVE
                                               TRANSACTION; REVIEW TERM SHEET;
                                               DISCUSS SAME.

            11/06/24     Welch, Alexander      CALL WITH EVERCORE/SPECIAL            0.50   72112133     897.50
                         W.                    MASTER; DISCUSS SAME.

            11/06/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL TEAM,        1.50   72103938    2,130.00
                                               EVERCORE, AND SALE PROCESS
                                               PARTIES RE: REVISE ORDER, RESPONSE
                                               LETTER, AND MOTION TO EXPEDITE;
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION TEAM RE: DOCUMENT
                                               REVIEW.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 202 of 419 PageID
                                                           #: 35954




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/06/24     Curtis, Aaron J.      CALL WITH K. SMITH TO DISCUSS THE    4.50   72085487   7,177.50
                                               ALTER EGO LETTER; CALL WITH
                                               ELLIOTT'S COUNSEL TO DISCUSS THE
                                               TERM SHEET AND ALTER EGO LETTER;
                                               REVISE ALTER EGO LETTER; REVIEW
                                               AND COMMENT ON THE TERM SHEET
                                               FOR THE ALTERNATE TRANSACTION;
                                               REVIEW AND RESPOND TO EMAILS RE:
                                               THE ALTER EGO LETTER AND THE
                                               ALTERNATE TRANSACTION.

            11/06/24     Jaeger, Rebecca       REVIEW EMAILS REGARDING              0.40   72102917    542.00
                                               DOCUMENT REVIEW AND DRAFT AND
                                               SEND EMAILS REGARDING REVIEW
                                               PROTOCOL; CONFER WITH E. EVANS
                                               REGARDING DOCUMENT REVIEW.

            11/06/24     Dulcey, Alfonso J.    REVIEW UPDATED TERM SHEET.           0.40   72096268    700.00

            11/06/24     Sternlieb, Sarah      REVIEW DRAFTS FOR FILING.            0.80   72120906   1,276.00

            11/06/24     Niles-Weed, Robert    DRAFT REPLY RE: ALTER EGO PROCESS    0.70   72087509   1,207.50
                         B.                    LETTER AND PROPOSED ORDER.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 203 of 419 PageID
                                                           #: 35955




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            11/06/24     Bentley, Chase A.     ATTEND CALL WITH SPPS RE             6.50   72107559   10,367.50
                                               DILIGENCE PROCESS; EMAILS AND
                                               CALLS WITH SPECIAL MASTER,
                                               EVERCORE AND WEIL TEAMS RE
                                               ALTERNATIVE TRANSACTION TERM
                                               SHEET; PHONE CALL WITH QUINN
                                               AND AKIN RE TERM SHEET; REVIEW
                                               AND REVISE SAME; PHONE CALL
                                               WITH SPECIAL MASTER RE FEE
                                               REPORTS; MULTIPLE PHONE CALLS RE
                                               TERM SHEET; DRAFT AND REVISE
                                               STATUS REPORT RE TERM SHEET;
                                               REVIEW REVISE ALTER EGO RESPONSE
                                               LETTER.

            11/06/24     Rubin, Avi            CALLS WITH WEIL M&A TO DISCUSS       6.00   72087772    7,740.00
                                               PLAN B TERM SHEET; ATTEND CALL
                                               WITH EVERCORE AND SPECIAL
                                               MASTER; REVISE AND INCORPORATE
                                               WEIL M&A, WEIL RX AND WEIL LIT
                                               COMMENTS TO PLAN B TERM SHEET;
                                               CORRESPONDENCE WITH WEIL M&A
                                               REGARDING TERMINATION FEE
                                               EVENTS; CORRESPONDENCE WITH
                                               WEIL RX REGARDING PLAN B TERM
                                               SHEET; CALL WITH AKIN; CALL WITH
                                               GIBSON, WLRK, JD AND EIMER TEAMS.

            11/06/24     Kamath, Priya         REVIEW DRAFT LETTER TO RED TREE      0.40   72110251     470.00
                                               RE REQUEST FOR INFORMATION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 204 of 419 PageID
                                                           #: 35956




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/06/24     Smith, Kara           FINALIZE AND FILE RESPONSE LETTER    6.10   72112626   7,167.50
                                               IN RESPONSE TO REVISE PROPOSED
                                               ORDER ON THE INJUNCTION MOTION;
                                               REVISE LETTER RE REVISE PROPOSED
                                               ORDER ON INJUNCTION MOTION;
                                               REVISE LETTER RE ALTER EGO REVISE
                                               PROPOSED ORDER AND FINALIZE
                                               SAME.

            11/06/24     Balido, Catherine     CORRESPOND WITH POTTER RE:           0.40   72126000    398.00
                                               RESPONSE TO MOTION TO EXPEDITE;
                                               REVISE RESPONSE TO MOTION TO
                                               EXPEDITE.

            11/06/24     Carpinello,           REVIEW DOCUMENTS FOR PRIVILEGE;      4.50   72099782   3,735.00
                         Courtney              MEET WITH KLD AND DOC REVIEW
                                               TEAM RE: DOCUMENT REVIEW.

            11/06/24     Evans, Emma           CORRESPONDENCE WITH WEIL TEAM        3.60   72092340   3,582.00
                                               RE: DOCUMENT REVIEW; MEET WITH
                                               KLD AND WEIL REVIEWERS RE:
                                               DOCUMENT REVIEW; CALL WITH R.
                                               JAEGER RE: DOCUMENT REVIEW FOR
                                               OUTGOING PRODUCTION;
                                               CORRESPONDENCE RE: ALTER EGO
                                               AND JOINT STATUS FILINGS; SECOND
                                               LEVEL DOCUMENT REVIEW OUTGOING
                                               PRODUCTION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 205 of 419 PageID
                                                           #: 35957




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/06/24     SanGiovanni, Giana    EMAIL K. SMITH, H. CHAN, AND         3.00   72091817   2,985.00
                                               LOCAL COUNSEL RE: ARRANGING FOR
                                               FILING OF SPECIAL MASTER'S
                                               RESPONSE TO POSITION
                                               STATEMENTS; REVIEW AND REVISE
                                               DRAFT SPECIAL MASTER'S RESPONSE
                                               TO POSITION STATEMENTS AND
                                               PREPARE FOR FILING; CORRESPOND
                                               WITH K. SMITH RE: PREPARING
                                               SPECIAL MASTER'S RESPONSE TO
                                               POSITION STATEMENTS FOR FILING;
                                               REVIEW EMAILS FROM WEIL TEAMS
                                               AND OTHER PARTIES RE: CASE
                                               MATTERS.

            11/06/24     Koivistoinen, Tanja   REVIEW AND REVISE THE TERM SHEET     3.80   72104809   5,586.00
                                               FOR ALTERNATIVE TRANSACTION;
                                               ATTEND CALL WITH EVERCORE, THE
                                               SPECIAL MASTER AND WEIL TEAMS;
                                               REVIEW CORRESPONDENCE RE:
                                               FILINGS AND SCOPE OF DISCLOSURES;
                                               EMAIL CORRESPONDENCE WITH
                                               JONES DAY AND EIMER TEAMS RE:
                                               THE TERM SHEET FOR ALTERNATIVE
                                               STRUCTURE.

            11/06/24     Roberts, Ian          REVIEW MARK-UP OF STATUS             2.50   72111662   3,225.00
                                               REPORT; REVISE SAME; CORRESPOND
                                               WITH C. BENTLEY AND M. BURRUS RE
                                               SAME; FINALIZE SAME AND
                                               COORDINATE FILING ALONG WITH
                                               TERM SHEET; CORRESPOND WITH
                                               SPECIAL MASTER AND EVERCORE RE
                                               TODAY'S FILINGS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 206 of 419 PageID
                                                           #: 35958




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/06/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          6.40   72084769   5,312.00
                                               AND EMAIL WITH ASSOCIATE TEAM
                                               ABOUT POTENTIALLY PRIVILEGED
                                               DOCUMENTS; ATTEND MEETING
                                               WITH KLD DISCOVERY TEAM TO
                                               LEARN HOW TO NAVIGATE
                                               RELATIVITY; ATTEND FOLLOW UP
                                               MEETING WITH ASSOCIATE TEAM
                                               AFTERWARDS TO DISCUSS 2L
                                               DOCUMENT REVIEW PLAN AND
                                               INITIAL QUESTIONS; REVIEW
                                               DOCUMENT REVIEW PROTOCOL
                                               DOCUMENT TO PREPARE FOR
                                               RELATIVITY TRAINING AND
                                               DOCUMENT REVIEW TEAM MEETING;
                                               CONDUCT 2L DOCUMENT REVIEW.

            11/06/24     Lane, Jack            CONDUCT SECOND LEVEL DOCUMENT       4.70   72084656   3,901.00
                                               REVIEW; MEET WITH KLD TEAM AND
                                               ASSOCIATE TEAM REGARDING
                                               SECOND LEVEL DOCUMENT REVIEW.

            11/06/24     Mittal, Disha         MEET WITH KLD TEAM AND WEIL         7.60   72084874   6,308.00
                                               TEAM RE DOC REVIEW; CONDUCT
                                               SECOND-LEVEL DOCUMENT REVIEW
                                               FOR OUTGOING PRODUCTION.

            11/06/24     Siskind-Weiss,        REVIEW DOCUMENT REVIEW              2.80   72084348   2,324.00
                         Jordan                PROTOCOL; MAKE RELATIVITY
                                               ACCOUNT IN PREPARATION FOR
                                               DOCUMENT REVIEW; CONDUCT
                                               DOCUMENT REVIEW.

            11/06/24     Siskind-Weiss,        ATTEND TRAINING MEETING; ATTEND     1.40   72084352   1,162.00
                         Jordan                FOLLOW-UP MEETING WITH
                                               DOCUMENT REVIEW TEAM.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 207 of 419 PageID
                                                           #: 35959




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            11/06/24     Wasserman, Jack       MEET RE: CITGO DOC REVIEW;           5.40   72086735   4,482.00
                                               ATTEND FOLLOW-UP MEETING WITH
                                               DOCUMENT REVIEW TEAM;
                                               COMPLETE SECOND LEVEL CITGO
                                               DOCUMENT REVIEW; DISCUSS CITGO
                                               DOCUMENT REVIEW WITH TEAM.

            11/06/24     Burrus, Maigreade     REVIEW ALTERNATIVE STRUCTURE         3.50   72116801   4,970.00
                         B.                    TERM SHEET; PREPARE STATUS
                                               REPORT; MULTIPLE CORRESPONDENCE
                                               RE: SAME; REVIEW ALTER EGO
                                               LETTER; CONFER WITH C. BENTLEY
                                               AND I. ROBERTS MULTIPLE TIMES RE:
                                               STATUS REPORT.

            11/06/24     Clarke, Andrew        EMAIL WEIL LITIGATION TEAM RE:       1.80   72090121   2,439.00
                                               SPECIAL MASTER'S RESPONSE TO
                                               MOTION TO EXPEDITE; CONFER WITH
                                               K. SMITH RE: SAME; EMAIL C.
                                               BENTLEY RE: SAME; EMAILS WITH C.
                                               BALIDO RE: SAME; REVIEW AND
                                               REVISE RESPONSE TO MOTION TO
                                               EXPEDITE; EMAILS WITH M. DANG RE:
                                               FILING OF MOTION TO EXPEDITE;
                                               REVIEW MULTIPLE EMAILS FROM
                                               WEIL TEAM RE: STATUS REPORT AND
                                               ALTER-EGO FILINGS; REVIEW TERM
                                               SHEET RECEIVED FROM AMBER
                                               ENERGY RE: ALTERNATIVE
                                               TRANSACTION.

            11/07/24     Lender, David J.      REVIEW FILINGS AND EMAILS RE         1.60   72094648   3,192.00
                                               SAME; TELEPHONE CALL WITH C.
                                               BENTLEY RE TRANSACTION;
                                               TELEPHONE CALL WITH JUDGMENT
                                               CREDITORS, TEAM.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 208 of 419 PageID
                                                           #: 35960




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount


            11/07/24     Ortiz, Heather L.     CONDUCT SECOND LEVEL REVIEW OF      8.00   72100648    4,760.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/07/24     McGovern, Kate        CONDUCT SECOND LEVEL REVIEW         8.30   72097156    4,938.50
                                               DOCUMENTS FOR PRODUCTION.

            11/07/24     Friedmann, Jared R.   REVIEW ARTICLE RE: ALTER EGO        1.50   72108834    2,692.50
                                               LETTER AND EMAILS WITH TEAM RE:
                                               SAME; SPECIAL MASTER/WEIL/EVR
                                               CALL RE: WATERFALL; WEEKLY CALL
                                               WITH COUNSEL FOR CRYSTALLEX
                                               AND CONOCO; MEET WITH A.CURTIS
                                               RE: SAME AND NEXT STEPS.

            11/07/24     Keenan, Eoghan P.     REVIEW UPDATED WATERFALL FROM       3.20   72096900    5,744.00
                                               EVERCORE. CALL WITH SPECIAL
                                               MASTER, EVERCORE AND WEIL RE:
                                               WATERFALL AND ALTERNATIVE
                                               STRUCTURE. CALL WITH SALE
                                               PROCESS PARTIES, WEIL, EVERCORE
                                               AND SPECIAL MASTER RE:
                                               ALTERNATIVE STRUCTURE FROM
                                               ELLIOTT AND WATERFALL.

            11/07/24     Schrock, Ray C.       TEND TO VARIOUS MATTERS             4.80   72108679   11,280.00
                                               RELATED TO TRANSACTION; CALL
                                               WITH SPPS; CALLS WITH SPECIAL
                                               MASTER AND EVERCORE; REVIEW
                                               TRANSACTION DOCS; CALL WITH
                                               BIDDER COUNSEL; DISCUSS
                                               TRANSACTION WITH TEAM.

            11/07/24     Welch, Alexander      CALL WITH KE; DISCUSS SAME.         0.40   72112019     718.00
                         W.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 209 of 419 PageID
                                                           #: 35961




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/07/24     Curtis, Aaron J.      CALL WITH CRYSTALLEX AND            1.60   72093689   2,552.00
                                               CONOCO TO DISCUSS THE DEAL
                                               TERMS; CALL WITH CLIENT AND
                                               EVERCORE TO DISCUSS THE DEAL
                                               TERMS AND WATERFALL; REVIEW
                                               AND RESPOND TO EMAILS RE:
                                               DOCUMENT REVIEW AND THE DEAL
                                               TERMS.

            11/07/24     Sternlieb, Sarah      REVIEW FINAL LETTER AND OTHER       0.40   72120836    638.00
                                               LETTERS.

            11/07/24     Bentley, Chase A.     EMAILS AND CALLS WITH SPECIAL       4.40   72107453   7,018.00
                                               MASTER AND EVERCORE RE
                                               ALTERNATIVE TRANSACTION TERMS;
                                               COORDINATE CALL RE SAME; REVIEW
                                               RUSORO LETTER; REVIEW MATERIALS
                                               RELATED TO ALTERNATIVE
                                               TRANSACTION; ATTEND WEEKLY
                                               PHONE CALL WITH CRYSTALLEX AND
                                               CONOCO; CALL WITH D. LENDER RE:
                                               TRANSACTION.

            11/07/24     Rubin, Avi            ATTEND CALL WITH EVERCORE AND       2.10   72097422   2,709.00
                                               SPECIAL MASTER; ATTEND CALL
                                               WITH WLRK AND GIBSON;
                                               COORDINATE WIP ITEMS.

            11/07/24     Gehnrich, Charles     REVIEW ALTER EGO CASE DOCKETS;      0.20   72108065    235.00
                                               ANALYZE VENEZUELA PARTIES' REPLY
                                               FOR MOTION TO EXPEDITE.

            11/07/24     Balido, Catherine     CORRESPOND WITH LITIGATION AND      0.60   72126006    597.00
                                               M&A TEAMS RE: WIP UPDATES;
                                               REVISE WIP LIST.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 210 of 419 PageID
                                                           #: 35962




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/07/24     Carpinello,           REVIEW DOCUMENTS FOR PRIVILEGE,      7.20   72103231   5,976.00
                         Courtney              RESPONSIVENESS, AND
                                               CONFIDENTIALITY.

            11/07/24     Evans, Emma           CORRESPONDENCE WITH WEIL TEAM        1.90   72092374   1,890.50
                                               RE: DOCUMENT REVIEW; CALL WITH
                                               G. SANGIOVANNI RE: LITIGATION
                                               TEAM AGENDA.

            11/07/24     Mackinnon, Josh       SPPS CALL.                           1.00   72099382    995.00

            11/07/24     SanGiovanni, Giana    CORRESPOND WITH E. EVANS RE:         0.50   72101036    497.50
                                               UPDATES ON LITIGATION WORK
                                               STREAMS RELATED TO SALE
                                               PROCESS; UPDATE WIP TASK LIST;
                                               EMAIL A. CURTIS AND C. BALIDO RE:
                                               WIP TASK LIST.

            11/07/24     Koivistoinen, Tanja   CALL WITH EVERCORE AND SPECIAL       3.80   72104822   5,586.00
                                               MASTER RE: WATERFALL; CALL WITH
                                               GIBSON DUNN AND WLRK RE: THE
                                               ALTERNATIVE TRANSACTION TERM
                                               SHEET AND RELATED MATTERS;
                                               REVIEW A&R SPA AND CHANGES
                                               REQUIRED DUE TO THE UPDATED
                                               MEDIUM TERM PLAN; COORDINATE
                                               NEXT STEPS IN RELATION TO THE
                                               TRUST DOCUMENTS; UPDATE
                                               WORKSTREAMS STATUS LIST.

            11/07/24     Roberts, Ian          CORRESPOND WITH SPECIAL MASTER       0.80   72110041   1,032.00
                                               RE FILED MOTION TO EXPEDITE,
                                               STATUS REPORT, AND ALTER EGO
                                               LETTER; DISCUSS WORKSTREAMS
                                               WITH M. CONTE; CORRESPOND WITH
                                               T. OKADA RE PACER NOTIFICATIONS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 211 of 419 PageID
                                                           #: 35963




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            11/07/24     Conte, Matthew        REVIEW CASE FILINGS AND             4.80   72091972   3,984.00
                                               PLEADINGS; REVIEW CASE
                                               BACKGROUND; ATTEND CALL WITH
                                               EVERCORE AND WEIL TEAM RE
                                               PROCEEDS WATERFALL; DEBRIEF AND
                                               REVIEW CASE BACKGROUND; REVIEW
                                               CASE FILING AND PLEADINGS.

            11/07/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          5.30   72092360   4,399.00
                                               AND EMAILS WITH ASSOCIATE TEAM
                                               ABOUT PRIVILEGE QUESTIONS.

            11/07/24     Lane, Jack            CONDUCT SECOND LEVEL DOCUMENT       6.20   72094833   5,146.00
                                               REVIEW.

            11/07/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       7.50   72095234   6,225.00
                                               REVIEW.

            11/07/24     Siskind-Weiss,        MEET WITH E. EVANS TO DISCUSS       7.30   72092058   6,059.00
                         Jordan                DOC REVIEW; CONDUCT DOCUMENT
                                               REVIEW.

            11/07/24     Wasserman, Jack       CONDUCT 2L DOCUMENT REVIEW FOR      6.50   72094916   5,395.00
                                               CITGO/PINCUS; DISCUSS 2L
                                               DOCUMENT REVIEW WITH TEAM.

            11/07/24     Burrus, Maigreade     CALL WITH SPECIAL MASTER,           4.00   72117061   5,680.00
                         B.                    EVERCORE, AND WEIL RE: CLAIMS
                                               WATERFALL; CONFER WITH M.
                                               CONTE RE: VARIOUS WORKSTREAMS;
                                               CONFER WITH LITIGATION TEAM RE:
                                               DISCOVERY.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 212 of 419 PageID
                                                           #: 35964




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/07/24     Clarke, Andrew        VARIOUS EMAILS WITH WEIL TEAM       0.60   72092161    813.00
                                               RE: REPUBLIC MOTION TO ACCESS
                                               SPA; REVIEW THE REPUBLIC'S REPLY
                                               FOR MOTION TO ACCESS SPA; EMAIL
                                               CORRESPONDENCE TO SPECIAL
                                               MASTER RE: SAME; CONSIDER ISSUES
                                               RE: RESPONSE TO REPUBLIC MOTION
                                               TO ACCESS SPA; REVIEW LETTER
                                               FILED BY DLA PIPER ON BEHALF OF
                                               ADDITIONAL JUDGMENT CREDITORS.

            11/08/24     Ortiz, Heather L.     CONDUCT SECOND LEVEL REVIEW OF      8.00   72100636   4,760.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/08/24     McGovern, Kate        CONDUCT SECOND LEVEL REVIEW         8.00   72107864   4,760.00
                                               DOCUMENTS FOR PRODUCTION.

            11/08/24     Friedmann, Jared R.   REVIEW EMAIL FROM ELLIOTT'S         0.80   72108882   1,436.00
                                               COUNSEL; CALL WITH A. CURTIS RE:
                                               SAME AND CONCERN RE:
                                               STATEMENTS MADE IN ALTER EGO
                                               LETTER TO COURT; REVIEW LETTERS
                                               FILED WITH COURT ADDRESSING
                                               SPECIAL MASTER'S ALTER EGO
                                               LETTER; EMAILS WITH TEAM RE:
                                               SAME.

            11/08/24     Keenan, Eoghan P.     REVISE A&R SPA MARKUP.              1.00   72107184   1,795.00

            11/08/24     Schrock, Ray C.       TEND TO VARIOUS MATTERS             3.80   72108953   8,930.00
                                               RELATED TO TRANSACTION; REVIEW
                                               OBJECTION; REVIEW ALTER EGO
                                               MATERIALS; CALLS WITH SPECIAL
                                               MASTER; CALLS WITH SPPS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 213 of 419 PageID
                                                           #: 35965




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/08/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL             0.40   72118747    568.00
                                               LITIGATION TEAM RE: DOCUMENTS
                                               FOR PRODUCTION.

            11/08/24     Curtis, Aaron J.      CALL WITH J. FRIEDMANN TO            0.40   72100981    638.00
                                               DISCUSS THE ALTER EGO CLAIMS;
                                               REVIEW AND RESPOND TO EMAILS RE:
                                               THE ALTER EGO CLAIMS AND DEAL
                                               STRUCTURE.

            11/08/24     Bentley, Chase A.     PHONE CALL WITH WEIL RX TEAM RE      1.20   72107232   1,914.00
                                               REPUBLIC MOTION; EMAILS RE SAME;
                                               REVIEW AND REVISE OBJECTION;
                                               EMAILS AND PHONE CALLS RE SALE
                                               TRANSACTION.

            11/08/24     Rubin, Avi            CORRESPONDENCE WITH WEIL             1.10   72101076   1,419.00
                                               ANTITRUST TEAM REGARDING HSR
                                               ITEMS; CORRESPONDENCE WITH AKIN
                                               TEAM REGARDING ANCILLARY
                                               DOCUMENTS; CORRESPONDENCE
                                               WITH WEIL M&A TEAM REGARDING
                                               SIGNING ITEMS.

            11/08/24     Kamath, Priya         DRAFT RESPONSES AND OBJECTIONS       5.50   72117505   6,462.50
                                               TO VENEZUELAN PARTIES' RFPS;
                                               REVIEW PDVH'S REPLY IN SUPPORT OF
                                               MOTION TO DISMISS.

            11/08/24     Balido, Catherine     DRAFT RESPONSE TO REPUBLIC'S         3.30   72126062   3,283.50
                                               MOTION TO ACCESS SPA; MEET WITH
                                               WEIL RX TEAM RE: SPECIAL MASTER'S
                                               RESPONSE TO REPUBLIC'S MOTION TO
                                               ACCESS SPA.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 214 of 419 PageID
                                                           #: 35966




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/08/24     Carpinello,           REVIEW DOCUMENTS FOR PRIVILEGE,     6.80   72103275   5,644.00
                         Courtney              RESPONSIVENESS, AND
                                               CONFIDENTIALITY.

            11/08/24     Evans, Emma           CORRESPONDENCE RE: DOCUMENT         0.90   72100250    895.50
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/08/24     Koivistoinen, Tanja   EMAIL CORRESPONDENCE WITH           4.40   72108880   6,468.00
                                               POTTER ANDERSON AND WEIL RX
                                               TEAM RE: DELAWARE TRUST
                                               AGREEMENT; REVISE TRUST
                                               AGREEMENT DRAFT FROM THE BUYER
                                               COUNSEL.

            11/08/24     Roberts, Ian          ATTEND CALL TO DISCUSS OBJECTION    1.30   72107924   1,677.00
                                               TO MOTION TO ACCESS SPA; REVIEW
                                               RECENT FILINGS; CORRESPOND WITH
                                               A. CLARKE RE BIDDING PROCEDURES.

            11/08/24     Conte, Matthew        REVIEW DOCKET MATERIALS,            3.20   72098861   2,656.00
                                               MOTIONS AND PLEADINGS; ATTEND
                                               TEAM MEETING; REVIEW DRAFT
                                               REPLY TO MOTION TO ACCESS.

            11/08/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          3.00   72100259   2,490.00
                                               AND EMAIL WITH ASSOCIATE TEAM
                                               ABOUT PRIVILEGE QUESTIONS.

            11/08/24     Lane, Jack            CONDUCT SECOND LEVEL DOCUMENT       3.50   72102164   2,905.00
                                               REVIEW.

            11/08/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       6.00   72100229   4,980.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/08/24     Siskind-Weiss,        CONDUCT DOCUMENT REVIEW.            5.90   72099588   4,897.00
                         Jordan
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 215 of 419 PageID
                                                           #: 35967




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/08/24     Wasserman, Jack       CONDUCT 2L DOCUMENT REVIEW FOR       7.00   72108805   5,810.00
                                               CITGO/PINCUS; DISCUSS 2L DOC
                                               REVIEW STRATEGY WITH J. LANE.

            11/08/24     Burrus, Maigreade     CONFER WITH WEIL RX TEAM RE:         5.00   72116873   7,100.00
                         B.                    MOTION TO ACCESS SPA; PREPARE
                                               MOTION TO ACCESS SPA; REVIEW
                                               DRAFT RESPONSE TO MOTION TO
                                               ACCESS SPA; CONFER WITH C. BALIDO
                                               AND A. CLARKE RE: RESPONSE TO
                                               MOTION TO ACCESS SPA.

            11/08/24     Clarke, Andrew        ATTEND CALL WITH WEIL RX TEAM        4.50   72100644   6,097.50
                                               RE: RESPONSE TO REPUBLIC'S MOTION
                                               TO ACCESS SPA; DRAFT RESPONSE TO
                                               REPUBLIC MOTION TO ACCESS SPA;
                                               EMAILS WITH WEIL RX TEAM RE:
                                               SAME; REVIEW FILINGS ON DOCKET.

            11/09/24     Kamath, Priya         REVIEW LETTERS IN RESPONSE TO        0.70   72117718    822.50
                                               SPECIAL MASTER'S STATUS REPORT
                                               FROM GOLD RESERVE, VENEZUELAN
                                               PARTIES, AND RUSORO.

            11/09/24     Carpinello,           REVIEW DOCUMENTS FOR PRIVILEGE,      4.30   72103250   3,569.00
                         Courtney              RESPONSIVENESS, AND
                                               CONFIDENTIALITY.

            11/09/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW.          1.80   72101861   1,494.00

            11/10/24     Bentley, Chase A.     EMAILS WITH EVERCORE RE ELLIOTT      0.50   72107190    797.50
                                               TRANSACTION.

            11/10/24     Rubin, Avi            CORRESPONDENCE WITH WEIL M&A         0.10   72115188    129.00
                                               REGARDING DILIGENCE ITEMS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 216 of 419 PageID
                                                           #: 35968




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/10/24     Carpinello,           REVIEW DOCUMENTS FOR PRIVILEGE,     4.30   72103522   3,569.00
                         Courtney              RESPONSIVENESS, AND
                                               CONFIDENTIALITY.

            11/10/24     Koivistoinen, Tanja   REVIEW DILIGENCE REQUESTS FROM      0.90   72104748   1,323.00
                                               BUYER; REVISE THE TRUST
                                               AGREEMENT DRAFT.

            11/10/24     Roberts, Ian          CORRESPOND WITH J. MACKINNON RE     0.20   72107892    258.00
                                               FINAL PRIORITY ORDER.

            11/10/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW.         4.80   72104807   3,984.00

            11/11/24     Lender, David J.      REVIEW GOLD RESERVE SUBMISSION;     1.00   72125139   1,995.00
                                               TELEPHONE CALL WITH C. BENTLEY
                                               RE TRANSACTION; TEAM MEETING RE
                                               LITIGATION ISSUES.

            11/11/24     Ortiz, Heather L.     CONDUCT SECOND LEVEL REVIEW OF      8.00   72130135   4,760.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/11/24     McGovern, Kate        CONDUCT SECOND LEVEL REVIEW         7.90   72128254   4,700.50
                                               DOCUMENTS FOR PRODUCTION.

            11/11/24     Barrington, Luna N.   ATTEND TEAM MEETING; REVIEW         3.50   72132039   6,125.00
                                               ALTER EGO LEGAL MEMO.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 217 of 419 PageID
                                                           #: 35969




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/11/24     Friedmann, Jared R.   WEEKLY WIP CALL WITH                1.50   72161713   2,692.50
                                               RX/M&A/LIT; MEET WITH A. CURTIS
                                               REGARDING SAME AND PREPARING
                                               FOR LITIGATION TEAM MEETING;
                                               LITIGATION TEAM MEETING; EMAILS
                                               REGARDING IN-PERSON MEETING
                                               WITH ELLIOTT; REVIEW SUBPOENAS
                                               SERVED ON ELLIOTT BY EIMER;
                                               REVIEW AND REVISE DRAFT EMAIL TO
                                               ELLIOTT'S COUNSEL REGARDING
                                               COORDINATING ON
                                               RESPONSES/OBJECTIONS AND
                                               ASSERTION OF PRIVILEGE IN
                                               CONNECTION WITH DOCUMENTS
                                               REQUESTED BY EIMER.

            11/11/24     Keenan, Eoghan P.     CALL WITH WEIL RX, LITIGATION       2.80   72118543   5,026.00
                                               AND M&A TEAMS RE: ENGAGEMENT
                                               WITH ELLIOTT AND SALE PROCESS
                                               PARTIES. CALL WITH EIMER STAHL
                                               AND JONES DAY RE: ASSUMED
                                               CLAIMS AND BIDDER PROTECTIONS.
                                               CALL WITH SPECIAL MASTER,
                                               EVERCORE AND WEIL RE: ELLIOTT
                                               ENGAGEMENT.

            11/11/24     Schrock, Ray C.       VARIOUS CALLS RE: TRANSACTION       2.00   72164671   4,700.00
                                               WITH STAKEHOLDERS AND SALE
                                               PROCESS PARTIES.

            11/11/24     Welch, Alexander      ATTEND WIP MEETING; CALL WITH       0.70   72165154   1,256.50
                         W.                    EVERCORE/SPECIAL MASTER; DISCUSS
                                               SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 218 of 419 PageID
                                                           #: 35970




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/11/24     Shefa, Yonatan        WEIL WIP MEETING; WEIL LITIGATION    1.40   72128400   1,988.00
                                               TEAM STRATEGY MEETING;
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION TEAM RE: DISCOVERY
                                               ISSUES.

            11/11/24     Curtis, Aaron J.      MEET WITH THE WEIL LITIGATION        2.60   72120502   4,147.00
                                               TEAM TO DISCUSS DOCUMENT
                                               REVIEW AND DEAL TERMS; CALL
                                               WITH WEIL TEAM TO DISCUSS DEAL
                                               TERMS AND NEGOTIATIONS; REVIEW
                                               AND ANALYZE LETTERS RE: THE
                                               ALTERNATE TRANSACTION; REVIEW
                                               AND RESPOND TO EMAILS RE:
                                               DISCOVERY AND DOCUMENT REVIEW;
                                               REVIEW AND COMMENT ON
                                               DOCUMENTS IDENTIFIED IN
                                               DOCUMENT REVIEW.

            11/11/24     Dulcey, Alfonso J.    REVIEW CREDIT BID PROPOSAL;          1.40   72125891   2,450.00
                                               REVIEW TAX AUDIT ISSUES AND
                                               DISCUSS WITH WEIL TEAMS.

            11/11/24     Niles-Weed, Robert    TEAM MEETING RE: DISCOVERY, SALE     0.40   72121604    690.00
                         B.                    PROCESS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 219 of 419 PageID
                                                           #: 35971




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/11/24     Bentley, Chase A.     EMAILS WITH WEIL LIT TEAM RE        4.00   72162948   6,380.00
                                               ALTER EGO BRIEFING; PHONE CALL
                                               WITH D. LENDER RE ALTER EGO AND
                                               ALTERNATIVE TRANSACTION TERM
                                               SHEET; ATTEND WEIL WIP MEETING;
                                               PHONE CALL WITH SPECIAL MASTER
                                               AND EVERCORE RE ELLIOTT
                                               TRANSACTION; PHONE CALL WITH
                                               SPPS RE SPA; EMAILS RE OBJECTION
                                               TO REPUBLIC MOTION; EMAILS WITH
                                               EVERCORE RE DILIGENCE; REVIEW
                                               EVERCORE MATERIALS RE
                                               TRANSACTION.

            11/11/24     Rubin, Avi            ATTEND INTERNAL CHECK-IN CALL;      2.90   72125315   3,741.00
                                               ATTEND CALL WITH EVERCORE AND
                                               SPECIAL MASTER; COORDINATE
                                               DISCLOSURE SCHEDULES ITEMS;
                                               COORDINATE OUTSTANDING
                                               DILIGENCE ITEMS.

            11/11/24     Agbi, Theo            RESPOND TO QUESTION RAISED BY E.    1.50   72136885   1,762.50
                                               KEENAN AND TEAM RE: TAX
                                               INDEMNITY.

            11/11/24     Gehnrich, Charles     ANALYZE PDVH MOTION TO DISMISS      4.50   72134635   5,287.50
                                               IN GIRARD STREET ALTER EGO
                                               ACTION; PARTICIPATE IN WIP
                                               MEETING; PARTICIPATE IN WEEKLY
                                               LIT TEAM MEETING, AND PREPARE
                                               FOR SAME; DRAFT CONFIDENTIALITY
                                               AGREEMENT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 220 of 419 PageID
                                                           #: 35972




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/11/24     Kamath, Priya         REVISE RESPONSES AND OBJECTIONS     3.00   72168748   3,525.00
                                               TO CITGO AND PDVH'S REQUESTS FOR
                                               PRODUCTION; MEET WITH WEIL
                                               TEAMS TO DISCUSS WORKS IN
                                               PROGRESS; MEET WITH LITIGATION
                                               TEAM TO DISCUSS WORKS IN
                                               PROGRESS; REVIEW EMAIL FROM E.
                                               EVANS REGARDING UPDATE ON
                                               DOCUMENT COLLECTION PROCESS
                                               FOR DOCUMENTS PREPARED FOR
                                               PRODUCTION TO PDVH AND CITGO;
                                               REVIEW EMAILS BETWEEN
                                               LITIGATION TEAM REGARDING RED
                                               TREE'S EXPECTED MOTION FOR
                                               RECONSIDERATION; REVIEW WIP LIST
                                               MEETING AGENDAS; DRAFT EMAIL TO
                                               ELLIOTT RE ELLIOTT AND AMBER'S
                                               RESPONSES AND OBJECTIONS TO
                                               CITGO AND PDVH'S REQUESTS FOR
                                               PRODUCTION; SCHEDULE MEETING
                                               WITH COUNSEL TO ELLIOTT TO
                                               DISCUSS ELLIOTT AND AMBER'S
                                               RESPONSES AND OBJECTIONS TO
                                               CITGO AND PDVH'S REQUESTS FOR
                                               PRODUCTION OF DOCUMENTS.

            11/11/24     Smith, Kara           ATTEND LITIGATION TEAM MEETING;     0.80   72425013    940.00
                                               ATTEND WIP MEETING.

            11/11/24     Sharma, Sakshi        WEIL WIP CALL.                      0.40   72122022    588.00

            11/11/24     Balido, Catherine     REVISE WIP LIST; ATTEND WEIL WIP    1.40   72160869   1,393.00
                                               WITH RX, LITIGATION, AND M&A
                                               TEAMS; DISCUSS MOTION TO ACCESS
                                               SPA WITH M. BURRUS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 221 of 419 PageID
                                                           #: 35973




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/11/24     Carpinello,           REVIEW DOCUMENTS FOR PRIVILEGE,      6.30   72129959   5,229.00
                         Courtney              RESPONSIVENESS, AND
                                               CONFIDENTIALITY.

            11/11/24     Evans, Emma           PREPARE FOR LITIGATION TEAM          1.80   72140646   1,791.00
                                               MEETING; MEET WITH WEIL TEAMS
                                               RE: SALE PROCESS; LITIGATION TEAM
                                               MEETING RE: SALE PROCESS;
                                               CORRESPONDENCE RE: DOCUMENT
                                               REVIEW FOR PRODUCTION.

            11/11/24     Mackinnon, Josh       WEEKLY WEIL WIP CALL; PREPARE        1.80   72122063   1,791.00
                                               CHECKLIST OF ITEMS WE NEED FROM
                                               CITGO/JONES DAY.

            11/11/24     SanGiovanni, Giana    UPDATE TASK LIST WITH WORK           1.80   72122221   1,791.00
                                               STREAMS RELATED TO SALE
                                               PROCESS; REVIEW
                                               MOTION-TO-DISMISS BRIEF IN
                                               ALTER-EGO ACTION AND SUMMARIZE
                                               FOR CLIENT; ATTEND WEEKLY
                                               LITIGATION MEETING TO DISCUSS
                                               SALE PROCESS; EMAIL CLIENT
                                               SUMMARY OF ALTER-EGO
                                               MOTION-TO-DISMISS BRIEF; REVIEW
                                               EMAILS FROM LITIGATION AND RX
                                               TEAMS RE: DISCOVERY REQUESTS
                                               AND LETTERS TO SPECIAL MASTER.

            11/11/24     Koivistoinen, Tanja   REVIEW DILIGENCE REQUESTS FROM       2.60   72169551   3,822.00
                                               BUYER; REVIEW ESCROW AND
                                               RELATED CORRESPONDENCE WITH
                                               WEIL TAX TEAM; ATTEND WEEKLY
                                               INTERNAL STATUS CALL WITH WEIL
                                               TEAMS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 222 of 419 PageID
                                                           #: 35974




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/11/24     Fernandez, Ricardo    REVIEW AND SEND EMAILS FROM/TO      1.70   72125674   2,193.00
                                               WEIL TAX/CORPORATE TEAMS;
                                               REVIEW SPA; REVIEW AND ANSWER
                                               QUESTIONS REGARDING TAX
                                               INDEMNITY; CALLS WITH WEIL TAX
                                               AND CORPORATE TEAMS TO DISCUSS.

            11/11/24     Roberts, Ian          ATTEND WEIL RESTRUCTURING,          0.30   72132555    387.00
                                               LITIGATION, AND M&A TEAM
                                               WORK-IN-PROCESS MEETING.

            11/11/24     Conte, Matthew        REVIEW DOCKET FILINGS; REVIEW       1.50   72117585   1,245.00
                                               CORRESPONDENCE WITH ELLIOTT
                                               AND EVERCORE TEAMS; PREPARE FOR
                                               WEIL WORK-IN-PROCESS MEETING;
                                               ATTEND WIP MEETING WITH WEIL
                                               TEAM; REVIEW DRAFT OF A REPLY
                                               MOTION.

            11/11/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          4.50   72118869   3,735.00
                                               AND EMAIL WITH ASSOCIATE TEAM
                                               ABOUT PRIVILEGE QUESTIONS.

            11/11/24     Lane, Jack            CONDUCT SECOND LEVEL DOCUMENT       0.50   72121703    415.00
                                               REVIEW.

            11/11/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       1.00   72122027    830.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/11/24     Siskind-Weiss,        CONDUCT DOCUMENT REVIEW.            2.70   72118548   2,241.00
                         Jordan
            11/11/24     Wasserman, Jack       CONDUCT 2L DOCUMENT REVIEW FOR      7.50   72121487   6,225.00
                                               CITGO/PINCUS; CONFER WITH E.
                                               EVANS AND J. LANE ABOUT
                                               CITGO/PINCUS 2L DOCUMENT REVIEW.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 223 of 419 PageID
                                                           #: 35975




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/11/24     Burrus, Maigreade     ATTEND WEIL WORK-IN-PROGRESS        1.70   72169365   2,414.00
                         B.                    MEETING; REVIEW WIP AND CONFER
                                               WITH C. BALIDO RE: SAME; REVIEW
                                               ACCESS MOTION RESPONSE; REVIEW
                                               CREDITOR CORRESPONDENCE.

            11/11/24     Clarke, Andrew        DRAFT ANSWERING BRIEF TO            5.50   72119805   7,452.50
                                               REPUBLIC'S MOTION TO ACCESS SPA;
                                               ATTEND WEIL WIP MEETING; REVIEW
                                               EMAILS FROM C. BENTLEY RE:
                                               MATTER STATUS.

            11/12/24     Lender, David J.      ANALYZE ALTER EGO ISSUES; REVIEW    1.30   72129820   2,593.50
                                               GOLD RESERVE LETTER AND
                                               COMPARISON; TELEPHONE CALL
                                               WITH C. BENTLEY RE SAME; REVIEW
                                               VENEZUELA SUBMISSION; REVIEW
                                               PROPOSAL; TELEPHONE CALL WITH
                                               SCHROCK RE CLAIMS.

            11/12/24     Ortiz, Heather L.     CONDUCT SECOND LEVEL REVIEW OF      8.00   72130279   4,760.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/12/24     McGovern, Kate        CONDUCT SECOND LEVEL REVIEW         7.80   72132150   4,641.00
                                               DOCUMENTS FOR PRODUCTION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 224 of 419 PageID
                                                           #: 35976




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            11/12/24     Friedmann, Jared R.   CALL WITH WEIL AND EVERCORE;          4.20   72161158   7,539.00
                                               REVIEW ELLIOTT'S
                                               RESPONSES/OBJECTS TO DOCUMENT
                                               REQUESTS; ANALYZE DIFFERENCES IN
                                               ELLIOTT'S PROPOSALS WITH RESPECT
                                               TO TREATMENT OF ALTER EGO
                                               CLAIMS TO PREPARE FOR MEETING;
                                               CALL WITH A. CURTIS RE: SAME;
                                               MEET WITH D. LENDER RE: SAME;
                                               CALL WITH C. BENTLEY RE: SAME
                                               AND PREPARING FOR MEETING WITH
                                               ELLIOTT; MEET WITH A. CURTIS RE:
                                               SAME REVIEW DRAFT RESPONSES
                                               AND OBJECTIONS TO MOTION TO
                                               DISMISS; CALL WITH AKIN TEAM RE:
                                               COORDINATING
                                               RESPONSES/OBJECTIONS TO
                                               DOCUMENT REQUESTS AND
                                               ASSERTION OF COMMON INTEREST
                                               PRIVILEGE; CALL WITH A. CURTIS AND
                                               C. BENTLEY RE: SAME; MEET WITH
                                               TEAM RE: INITIAL COMMENTS TO
                                               DRAFT RESPONSES AND OBJECTIONS
                                               TO MOTION TO DISMISS.

            11/12/24     Schrock, Ray C.       VARIOUS CALLS RE: TRANSACTION         2.00   72164604   4,700.00
                                               WITH STAKEHOLDERS AND SALE
                                               PROCESS PARTIES; DISCUSS CLAIMS
                                               WITH D. LENDER; CALL WITH
                                               EVERCORE.

            11/12/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL              0.50   72143262    710.00
                                               LITIGATION TEAM RE: DOCUMENT
                                               REVIEW.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 225 of 419 PageID
                                                           #: 35977




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            11/12/24     Curtis, Aaron J.      CALL WITH ELLIOTT’S COUNSEL TO       2.40   72129405    3,828.00
                                               DISCUSS THE DISCOVERY REQUESTS;
                                               CALL WITH J. FRIEDMANN TO
                                               DISCUSS THE DEAL STRUCTURE; CALL
                                               WITH E. EVANS TO DISCUSS THE
                                               ALTER EGO CLAIMS; CALL WITH G.
                                               SANGIOVANI TO DISCUSS THE ALTER
                                               EGO CLAIMS; REVIEW AND RESPOND
                                               TO EMAILS RE: THE DEAL STRUCTURE
                                               AND ALTER EGO CLAIMS.

            11/12/24     Sternlieb, Sarah      ANALYZE PAPERS AND                   1.80   72162421    2,871.00
                                               COMMUNICATIONS.

            11/12/24     Niles-Weed, Robert    REVIEW RESEARCH RE: ALTER EGO        0.30   72130481     517.50
                         B.                    CLAIMS.

            11/12/24     Bentley, Chase A.     PHONE CALL WITH D. LENDER RE         8.70   72162863   13,876.50
                                               RECENT FILINGS; REVIEW AND REVISE
                                               OBJECTION TO REPUBLIC MOTION;
                                               PHONE ALL WITH EVERCORE RE
                                               ELLIOTT TRANSACTION; PHONE CALL
                                               RE VZ DISCOVERY; REVIEW AND
                                               DISCUSS EVERCORE MATERIALS RE
                                               TRANSACTION; COORDINATE
                                               MEETING WITH ELLIOTT; PHONE CALL
                                               WITH SPECIAL MASTER RE ONGOING
                                               WORKSTREAMS; PREPARE FEE
                                               REPORT; MULTIPLE PHONE CALLS
                                               AND EMAILS REGARDING
                                               TRANSACTION STATUS.

            11/12/24     Rubin, Avi            ATTEND CALL WITH EVERCORE;           1.40   72132956    1,806.00
                                               CORRESPONDENCE WITH WEIL M&A
                                               REGARDING CALL NOTES.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 226 of 419 PageID
                                                           #: 35978




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            11/12/24     Gehnrich, Charles     DRAFT PROTECTIVE ORDER RE: CITGO      2.50   72134638   2,937.50
                                               PRODUCTION.

            11/12/24     Kamath, Priya         REVISE DRAFT RESPONSES AND            3.30   72168884   3,877.50
                                               OBJECTIONS TO CITGO AND PDVH'S
                                               REQUESTS FOR PRODUCTION FOR J.
                                               FRIEDMANN AND A. CURTIS; PREPARE
                                               MATERIALS COMPARING RFPS SERVES
                                               ON ELLIOTT AND THE SPECIAL
                                               MASTER BEFORE MEETING WITH
                                               ELLIOTT'S COUNSEL; EMAIL R. JAEGER
                                               RE AGREED-TO PARAMETERS IN
                                               DOCUMENT COLLECTION PROCESS, TO
                                               BE INCLUDED AS AN EXHIBIT WITH
                                               THE SPECIAL MASTER'S RESPONSES
                                               AND OBJECTIONS TO RFPS; EMAIL
                                               LOCAL COUNSEL RE LOCAL RULES ON
                                               RESPONSES AND OBJECTIONS TO
                                               RFPS; MEET WITH J. FRIEDMANN AND
                                               A. CURTIS TO DISCUSS RESPONSES
                                               AND OBJECTIONS TO PDVH AND
                                               CITGO'S RFPS; EMAIL RE FEDERAL
                                               RULES ON RESPONSES AND
                                               OBJECTIONS TO REQUESTS FOR
                                               PRODUCTION; PREPARE MATERIALS
                                               FOR J. FRIEDMANN AND A. CURTIS IN
                                               ADVANCE OF MEETING WITH
                                               COUNSEL FOR ELLIOTT AND AMBER
                                               REGARDING RESPONSES AND
                                               OBJECTIONS TO PDVH AND CITGO'S
                                               REQUESTS FOR PRODUCTION OF
                                               DOCUMENTS.

            11/12/24     Smith, Kara           RESEARCH AND COORDINATE Y.            1.00   72164065   1,175.00
                                               BELTRAN APPEAL NEXT STEPS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 227 of 419 PageID
                                                           #: 35979




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/12/24     Sharma, Sakshi        WEIL/EVERCORE WIP CALL.              0.80   72130329   1,176.00

            11/12/24     Balido, Catherine     ATTEND WEEKLY CALL WITH              1.10   72160981   1,094.50
                                               EVERCORE; PREPARE FOR IN PERSON
                                               MEETING BETWEEN PARTIES.

            11/12/24     Carpinello,           REVIEW DOCUMENTS FOR PRIVILEGE,      5.10   72130119   4,233.00
                         Courtney              RESPONSIVENESS, AND
                                               CONFIDENTIALITY.

            11/12/24     Evans, Emma           CORRESPONDENCE RE: DOCUMENT          0.70   72143071    696.50
                                               REVIEW FOR PRODUCTION TO
                                               VENEZUELAN PARTIES;
                                               CORRESPONDENCE RE: ALTER EGO
                                               MERIT ANALYSIS.

            11/12/24     Mackinnon, Josh       ATTEND EVERCORE CHECK-IN CALL;       1.30   72133964   1,293.50
                                               SUMMARIZE NOTES FOR E. KEENAN.

            11/12/24     SanGiovanni, Giana    DISCUSS WRITE-UP ON ALTER-EGO        0.40   72136693    398.00
                                               CLAIMS WITH A. CURTIS; REVIEW
                                               AND ANALYZE EMAILS FROM RX AND
                                               LITIGATION TEAMS RE: MEMO ON
                                               ALTER-EGO CLAIMS, ANSWERING
                                               BRIEF TO THE REPUBLIC’S MOTION TO
                                               ACCESS TO THE SPA, AND BID
                                               STRUCTURE.

            11/12/24     Koivistoinen, Tanja   ATTEND WEEKLY CALL WITH              1.80   72169553   2,646.00
                                               EVERCORE; DRAFT UPDATE /
                                               SUMMARY OF THE CALL; REVIEW
                                               DECK FROM EVERCORE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 228 of 419 PageID
                                                           #: 35980




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            11/12/24     Roberts, Ian          ATTEND WEIL/EVERCORE WEEKLY           1.50   72170769   1,935.00
                                               CHECK-IN CALL; CORRESPOND WITH
                                               T. OKADA RE DOCKET; REVIEW
                                               RECENT FILINGS.

            11/12/24     Conte, Matthew        REVIEW CORRESPONDENCE RE: BID         0.50   72128039    415.00
                                               PROPOSALS; COORDINATE WITH C.
                                               BALIDO RE: CONFERENCE; REVIEW
                                               NEW DOCKET FILLINGS.

            11/12/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW.           2.00   72129465   1,660.00

            11/12/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT         6.00   72128120   4,980.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/12/24     Siskind-Weiss,        CONDUCT DOCUMENT REVIEW.              2.70   72128190   2,241.00
                         Jordan
            11/12/24     Wasserman, Jack       CONDUCT 2L DOCUMENT REVIEW;           4.80   72130052   3,984.00
                                               CONFER WITH E. EVANS AND J. LANE
                                               ABOUT 2L DOCUMENT REVIEW.

            11/12/24     Burrus, Maigreade     ATTEND WEIL AND EVERCORE              2.90   72169148   4,118.00
                         B.                    WEEKLY CALL; PREPARE SEPTEMBER
                                               FEE REPORT; ATTEND WIP MEETING;
                                               PREPARE FOR IN-PERSON MEETINGS
                                               RE: BIDS; CONFER WITH E. EVANS RE:
                                               DISCOVERY.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 229 of 419 PageID
                                                           #: 35981




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/12/24     Clarke, Andrew        EMAILS WITH C. BENTLEY RE:           1.40   72128233   1,897.00
                                               ANSWERING BRIEF TO REPUBLIC'S
                                               MOTION TO ACCESS SPA; ATTEND
                                               WEEKLY CALL WITH EVERCORE AND
                                               WEIL TEAMS; EMAILS WITH WEIL RX
                                               TEAM RE: MEETING WITH ELLIOT;
                                               REVIEW ORAL ORDER RE: REPUBLIC'S
                                               MOTION TO EXPEDITE; EMAILS WITH
                                               C. BENTLEY RE: SAME; REVIEW
                                               VARIOUS EMAILS FROM WEIL AND
                                               EVERCORE TEAMS; REVIEW DOCKET
                                               UPDATES.

            11/12/24     Clarke, Andrew        EMAILS WITH C. BENTLEY RE: SPA       1.80   72128699   2,439.00
                                               ACCESS MOTION; DRAFT ANSWERING
                                               BRIEF TO SPA ACCESS MOTION.

            11/13/24     Lender, David J.      REVIEW OPPOSITION BRIEF TO SPA       0.10   72138068    199.50
                                               MOTION.

            11/13/24     Ortiz, Heather L.     CONDUCT SECOND LEVEL REVIEW OF       8.00   72142243   4,760.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/13/24     McGovern, Kate        CALL RE PRIVILEGE REVIEW; CONDUCT    1.80   72137633   1,071.00
                                               SECOND LEVEL REVIEW DOCUMENTS
                                               FOR PRIVILEGE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 230 of 419 PageID
                                                           #: 35982




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/13/24     Friedmann, Jared R.   REVIEW AND REVISE OPPOSITION TO      2.10   72161292   3,769.50
                                               REPUBLIC'S MOTION FOR
                                               UNREDACTED SPA; MEET WITH
                                               A.CURTIS RE: SAME; REVIEW REVISED
                                               DRAFTS OF SAME; REVIEW REVISED
                                               DRAFT RESPONSES/OBJECTIONS TO
                                               DISCOVERY REQUESTS AND A.CURTIS
                                               COMMENTS TO SAME; EMAILS WITH
                                               TEAM RE: SAME.

            11/13/24     Keenan, Eoghan P.     MEET WITH SPECIAL MASTER,            2.30   72142961   4,128.50
                                               CRYSTALLEX, CONOCO, EVERCORE
                                               AND OUTSIDE LEGAL COUNSEL RE:
                                               ELLIOTT BID AND ALTERNATIVES.
                                               REVISE A&R SPA. REVIEW EVERCORE
                                               PRESENTATION.

            11/13/24     Schrock, Ray C.       ATTEND TO VARIOUS CALLS RE:          2.50   72164798   5,875.00
                                               TRANSACTION WITH STAKEHOLDERS
                                               AND SALE PROCESS PARTIES; REVIEW
                                               FILINGS; DISCUSS SAME WITH TEAM;
                                               CALLS WITH SPECIAL MASTER.

            11/13/24     Shefa, Yonatan        CALL WITH WEIL LITIGATION TEAM       4.10   72153171   5,822.00
                                               RE: DOCUMENT REVIEW; PHONE AND
                                               EMAIL CORRESPONDENCE WITH C.
                                               GEHNRICH AND A. CURTIS RE:
                                               CONFIDENTIALITY AGREEMENT;
                                               CORRESPONDENCE FROM C. BENTLEY
                                               RE: CASE UPDATES; EMAIL
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION TEAM RE: REVIEW AND
                                               PRODUCTION OF DOCUMENTS IN
                                               CONNECTION WITH DISCOVERY;
                                               REVIEW AND REVISE DRAFT
                                               CONFIDENTIALITY AGREEMENT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 231 of 419 PageID
                                                           #: 35983




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            11/13/24     Curtis, Aaron J.      REVIEW AND ANALYZE THE               4.80   72136214   7,656.00
                                               REPUBLIC’S MOTION FOR ACCESS TO
                                               THE UNREDACTED SPA; REVIEW AND
                                               COMMENT ON THE RESPONSE TO THE
                                               REPUBLIC’S MOTION FOR ACCESS TO
                                               THE UNREDACTED SPA; REVIEW AND
                                               RESPOND TO EMAILS RE: THE MOTION
                                               FOR ACCESS TO THE UNREDACTED
                                               SPA, THE MERITS OF THE ALTER EGO
                                               CLAIMS, AND DOCUMENT REVIEW;
                                               CALL WITH Y. SHEFA TO DISCUSS THE
                                               CONFIDENTIALITY AGREEMENT;
                                               REVIEW AND ANALYZE MEMO RE:
                                               THE MERITS OF THE ALTER EGO
                                               CLAIMS; REVIEW AND COMMENT ON
                                               THE RESPONSES AND OBJECTIONS TO
                                               THE RFPS.

            11/13/24     Dulcey, Alfonso J.    REVIEW UPDATED PROPOSAL.             0.40   72142121    700.00

            11/13/24     Bentley, Chase A.     REVIEW AND REVISE OBJECTION TO       3.10   72162881   4,944.50
                                               REPUBLIC MOTION; DISCUSS SAME
                                               WITH A. CLARKE; REVIEW FEE
                                               REPORT; CALL WITH SPECIAL
                                               MASTER AND EVERCORE REGARDING
                                               ONGOING WORKSTREAMS; PHONE
                                               CALL WITH SPPS RE TRANSACTION
                                               STATUS; REVIEW EVERCORE
                                               MATERIALS.

            11/13/24     Rubin, Avi            ATTEND CALL WITH WLRK AND            1.20   72138620   1,548.00
                                               GIBSON; CORRESPONDENCE WITH
                                               WEIL LITIGATION TEAM REGARDING
                                               TRANSACTION ITEMS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 232 of 419 PageID
                                                           #: 35984




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/13/24     Gehnrich, Charles     DRAFT PROTECTIVE ORDER RE: CITGO    6.30   72151579   7,402.50
                                               PRODUCTION AND CIRCULATING TO
                                               THE TEAM; DOCUMENT REVIEW
                                               QUALITY CHECK; REVISE PROTECTIVE
                                               ORDER FROM Y. SHEFA.

            11/13/24     Kamath, Priya         REVISE DRAFT RESPONSES AND          3.60   72138700   4,230.00
                                               OBJECTIONS TO CITGO AND PDVH'S
                                               REQUESTS FOR PRODUCTION AND
                                               EXHIBIT A TO DRAFT RESPONSES,
                                               BASED ON CALL WITH COUNSEL TO
                                               ELLIOTT AND DISCUSSIONS WITH J.
                                               FRIEDMANN AND A. CURTIS.

            11/13/24     Smith, Kara           REVIEW DOC REVIEW PROTOCOL.         0.40   72531118    470.00

            11/13/24     Balido, Catherine     REVIEW INVOICE AND DRAFT            3.00   72160741   2,985.00
                                               NARRATIVES FOR INCLUSION IN
                                               SEPTEMBER FEE REPORT;
                                               COORDINATE WITH PARALEGALS TO
                                               ADD STATUS CONFERENCE TO
                                               CALENDARS.

            11/13/24     Carpinello,           MEET WITH E. EVANS AND CITGO        4.50   72153711   3,735.00
                         Courtney              TEAM TO DISCUSS THE NEW ISSUE
                                               CATEGORIES FOR PRIVILEGED
                                               DOCUMENTS; REVIEW PRIVILEGED
                                               DOCUMENTS AND CATEGORIZE THEM
                                               BY ISSUE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 233 of 419 PageID
                                                           #: 35985




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/13/24     Evans, Emma           CORRESPONDENCE RE: PRIVILEGE        2.60   72143031   2,587.00
                                               REVIEW CODING PANE AND
                                               DOCUMENT PRODUCTION TO
                                               VENEZUELAN PARTIES; PREPARE FOR
                                               MEETING WITH DOCUMENT
                                               REVIEWERS; MEET WITH DOCUMENT
                                               REVIEWERS RE: PRIVILEGE CODING;
                                               CALL WITH C. GEHNRICH RE:
                                               CONFIDENTIALITY AGREEMENT.

            11/13/24     SanGiovanni, Giana    REVIEW AND ANALYZE MEMO ON          2.00   72136851   1,990.00
                                               ALTER-EGO CLAIMS AND
                                               PLEADINGS/BRIEFING IN ALTER-EGO
                                               ACTIONS, AND DRAFT WRITE-UP ON
                                               ALTER-EGO CLAIMS; CORRESPOND
                                               WITH LITIGATION TEAM RE: REVIEW
                                               OF DOCUMENTS RELATED TO
                                               CITGO/PDVH DOCUMENT REQUESTS;
                                               REVIEW EMAIL FROM K. SMITH RE:
                                               OPPOSITION TO REPUBLIC'S MOTION
                                               TO ENFORCE ACCESS TO SPA.

            11/13/24     Koivistoinen, Tanja   ATTEND CALL WITH CRYSTALLEX         2.00   72169286   2,940.00
                                               AND CONOCO RE: OVERALL STATUS;
                                               EMAIL CORRESPONDENCE WITH
                                               DELAWARE COUNSEL RE: TRUST
                                               DOCUMENTS REVIEW.

            11/13/24     Roberts, Ian          ATTEND WORK-IN-PROCESS MEETING;     0.60   72170730    774.00
                                               REVIEW FILINGS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 234 of 419 PageID
                                                           #: 35986




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/13/24     Conte, Matthew        REVIEW CORRESPONDENCE RE:           3.80   72133516   3,154.00
                                               CONFERENCE; REVIEW DRAFTS AND
                                               COMMENTS TO DRAFT OF
                                               OPPOSITION BRIEF; CONDUCT
                                               RESEARCH AND CORRESPOND WITH
                                               WEIL RX AND LITIGATION TEAMS RE:
                                               SAME; DISCUSS CASE STATUS WITH
                                               WEIL RX TEAM.

            11/13/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          4.70   72134449   3,901.00
                                               AND EMAIL ABOUT PRIVILEGE
                                               QUESTIONS WITH ASSOCIATE TEAM;
                                               MEET WITH ASSOCIATE TEAM TO
                                               DISCUSS PLAN FOR 2L DOCUMENT
                                               REVIEW OF DOCUMENTS THAT WERE
                                               MARKED AS PRIVILEGED WITHHOLD
                                               BY 1L REVIEWERS.

            11/13/24     Lane, Jack            ATTEND MEETING REGARDING            0.50   72134773    415.00
                                               SECOND LEVEL PRIVILEGE REVIEW.

            11/13/24     Mittal, Disha         ATTEND MEETING WITH WEIL TEAM       1.50   72134728   1,245.00
                                               RE: DOCUMENT REVIEW; CONDUCT
                                               SECOND LEVEL DOCUMENT REVIEW.

            11/13/24     Siskind-Weiss,        REVIEW DOCUMENT; REVIEW EMAIL       1.80   72134136   1,494.00
                         Jordan                FROM E. EVANS ON NEXT STEPS FOR
                                               DOCUMENT REVIEW PROCESS; CITGO
                                               MEETING ON PRIVILEGE CALLS;
                                               CONTINUE DOC REVIEW OF
                                               DOCUMENTS PREVIOUSLY MARKED
                                               PRIVILEGED, WITHHOLD, IN
                                               ACCORDANCE WITH E. EVANS'S
                                               INSTRUCTIONS FOR TAGGING IN
                                               RELATIVITY.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 235 of 419 PageID
                                                           #: 35987




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            11/13/24     Wasserman, Jack       CONDUCT 2L DOCUMENT REVIEW;           5.60   72136879   4,648.00
                                               CALL WITH E. EVANS DISCUSSING
                                               PRIVILEGED DOCUMENTS FOR 2L
                                               PRIVILEGE DOCUMENT REVIEW;
                                               PREP/ANNOTATE NOTES FOR 2L
                                               PRIVILEGE REVIEW; CONDUCT 2L
                                               PRIVILEGE REVIEW FOR WITHHOLD
                                               DOCS.

            11/13/24     Burrus, Maigreade     REVIEW AND REVISE DRAFT               2.00   72169291   2,840.00
                         B.                    SEPTEMBER FEE REPORT AND CONFER
                                               WITH C. BALIDO RE: SAME; CONFER
                                               WITH C. GEHNRICH RE: PROTECTIVE
                                               ORDER; CONFER WITH E. EVANS RE:
                                               DISCOVERY; REVIEW ORDER SETTING
                                               SALE HEARING.

            11/13/24     Clarke, Andrew        REVIEW EMAIL CORRESPONDENCE           6.40   72134438   8,672.00
                                               FROM C. BENTLEY RE: ELLIOT
                                               DISCUSSIONS; DRAFT BRIEF IN
                                               OPPOSITION TO REPUBLIC'S MOTION
                                               TO ACCESS SPA; VARIOUS EMAILS
                                               WITH A. CURTIS, C. BENTLEY, AND R.
                                               SCHROCK RE: SAME; REVIEW DOCKET
                                               UPDATES.

            11/14/24     Ortiz, Heather L.     CONDUCT SECOND LEVEL REVIEW OF        8.00   72324547   4,760.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/14/24     McGovern, Kate        CONDUCT SECOND LEVEL REVIEW           8.00   72147838   4,760.00
                                               DOCUMENTS FOR PRIVILEGE; MEETING
                                               RE PRIVILEGE CALLS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 236 of 419 PageID
                                                           #: 35988




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/14/24     Friedmann, Jared R.   ATTEND TEAM MEETING RE:             2.80   72161661   5,026.00
                                               PRIVILEGE ISSUES FOR DOCUMENT
                                               REVIEW AND NEXT STEPS; DRAFT
                                               AND REVISE RESPONSES AND
                                               OBJECTIONS TO DOCUMENT
                                               REQUESTS; EMAILS WITH TEAM RE:
                                               CITGO LITIGATION.

            11/14/24     Keenan, Eoghan P.     REVIEW POTTER ANDERSON MARKUP       1.30   72146032   2,333.50
                                               OF THE TRUST AGREEMENT; EMAILS
                                               WITH EVERCORE AND WEIL RE:
                                               DISCLOSURE MATERIALS FOR
                                               ELLIOTT.

            11/14/24     Schrock, Ray C.       ATTEND TO VARIOUS CALLS RE:         3.90   72164483   9,165.00
                                               TRANSACTION WITH STAKEHOLDERS
                                               AND SALE PROCESS PARTIES; REVIEW
                                               RESPONSE TO SPA MOTION; DISCUSS
                                               SAME WITH TEAM; CALLS WITH
                                               SPECIAL MASTER; REVIEW EVERCORE
                                               DECK.

            11/14/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL            0.30   72153561    426.00
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: MOTION FOR ACCESS TO
                                               SPA AND DOCUMENT DISCOVERY.

            11/14/24     Curtis, Aaron J.      MEET WITH WEIL LITIGATION TEAM      1.50   72144509   2,392.50
                                               TO DISCUSS DOCUMENT REVIEW;
                                               REVIEW AND RESPOND TO EMAILS RE:
                                               CITGO LITIGATION AND DOCUMENT
                                               REVIEW.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 237 of 419 PageID
                                                           #: 35989




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/14/24     Jaeger, Rebecca       DRAFT AND SEND EMAILS IN            4.10   72160220   5,555.50
                                               RESPONSE TO DOCUMENT REVIEWERS'
                                               QUESTIONS REGARDING
                                               RESPONSIVENESS AND PRIVILEGE.
                                               REVIEW AND ANALYZE DOCUMENTS
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO DOCUMENT REQUESTS; CONFER
                                               WITH TEAM REGARDING DOCUMENT
                                               REVIEW; CONFER WITH E. EVANS
                                               REGARDING DOCUMENT REVIEW.

            11/14/24     Bentley, Chase A.     REVIEW AND REVISE OBJECTION TO      2.30   72162989   3,668.50
                                               REPUBLIC SPA ACCESS MOTION;
                                               EMAILS AND PHONE CALLS RE SAME;
                                               EMAILS RE FEE REPORT; REVIEW
                                               DILIGENCE MATERIALS; EMAILS RE
                                               SAME.

            11/14/24     Gehnrich, Charles     CORRESPONDENCE RE: PROTECTIVE       1.20   72161163   1,410.00
                                               AGREEMENT FOR DISCOVERY
                                               PRODUCTION; CONDUCT DOCUMENT
                                               REVIEW.

            11/14/24     Kamath, Priya         REVISE DRAFT RESPONSES AND          4.60   72138625   5,405.00
                                               OBJECTIONS TO CITGO AND PDVH'S
                                               RFPS BASED ON EDITS FROM A.
                                               CURTIS; REVISE DRAFT RESPONSES
                                               AND OBJECTIONS TO CITGO AND
                                               PDVH'S REQUESTS FOR PRODUCTION
                                               BASED ON COMMENTS FROM J.
                                               FRIEDMANN.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 238 of 419 PageID
                                                           #: 35990




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/14/24     Balido, Catherine     REVIEW INVOICE AND DRAFT            0.80   72160648    796.00
                                               NARRATIVES FOR INCLUSION IN
                                               SEPTEMBER FEE REPORT; REVISE
                                               SPECIAL MASTER'S OPPOSITION TO
                                               THE REPUBLIC'S ACCESS MOTION.

            11/14/24     Carpinello,           MEET WITH E. EVANS AND CITGO        4.10   72153684   3,403.00
                         Courtney              TEAM TO DISCUSS HOW TO MAKE
                                               DECISIONS ON CLOSE PRIVILEGE
                                               CALLS; REVIEW PRIVILEGED
                                               DOCUMENTS AND TAG BY ISSUE.

            11/14/24     Evans, Emma           MEET WITH DOCUMENT REVIEW           3.10   72144918   3,084.50
                                               TEAM RE: PRIVLEDGED DOCUMENTS;
                                               MEET WITH R. JAEGER RE: DOCUMENT
                                               REVIEW; CORRESPONDENCE RE:
                                               DOCUMENT REVIEW;
                                               CORRESPONDENCE RE: CITGO
                                               LITIGATION.

            11/14/24     Koivistoinen, Tanja   REVIEW DELAWARE COUNSEL             4.00   72169293   5,880.00
                                               COMMENTS ON THE TRUST
                                               AGREEMENT; EMAIL DELAWARE
                                               COUNSEL RE: THE TRUST AGREEMENT;
                                               REVISE TRUST AGREEMENT.

            11/14/24     Conte, Matthew        REVIEW AND REVISE REPLY TO          1.70   72142822   1,411.00
                                               MOTION TO ENFORCE ACCESS.

            11/14/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          5.10   72143184   4,233.00
                                               AND EMAIL WITH ASSOCIATE TEAM
                                               ABOUT PRIVILEGE QUESTIONS; MEET
                                               WITH ASSOCIATE TEAM, J.
                                               FRIEDMANN, AND A. CURTIS TO
                                               DISCUSS 2L PRIVILEGE DOCUMENT
                                               REVIEW PROCESS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 239 of 419 PageID
                                                           #: 35991




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            11/14/24     Lane, Jack            CONDUCT SECOND LEVEL PRIVILEGE      3.70   72145063   3,071.00
                                               DOCUMENT REVIEW; MEET WITH
                                               TEAM REGARDING DOCUMENT
                                               REVIEW.

            11/14/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       5.30   72143481   4,399.00
                                               REVIEW; MEET WITH WEIL TEAM
                                               REGARDING DOCUMENT REVIEW.

            11/14/24     Siskind-Weiss,        CONDUCT DOCUMENT REVIEW TO          3.60   72142975   2,988.00
                         Jordan                CATEGORIZE PRIVILEGED DOCUMENTS
                                               WITH ISSUE TAGS; MEET WITH TEAM
                                               TO DISCUSS DOCUMENT REVIEW
                                               PROCESS AND GO OVER PRIVILEGE
                                               CALLS; CONTINUE TO CONDUCT
                                               DOCUMENT REVIEW.

            11/14/24     Wasserman, Jack       CONDUCT 2L PRIVILEGE REVIEW FOR     7.20   72144848   5,976.00
                                               WITHHOLD DOCS; ATTEND GROUP
                                               MEETING RE: 2L PRIVILEGE REVIEW
                                               FOR WITHHELD DOCS.

            11/14/24     Burrus, Maigreade     PREPARE INVOICES FOR SEPTEMBER      2.40   72169449   3,408.00
                         B.                    FEE REPORT; REVIEW AND REVISE
                                               DRAFT OF SEPTEMBER FEE REPORT;
                                               CONFER WITH SPECIAL MASTER RE:
                                               SEPTEMBER FEE REPORT; CONFER
                                               WITH SANTORA RE: SEPTEMBER FEE
                                               REPORT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 240 of 419 PageID
                                                           #: 35992




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/14/24     Clarke, Andrew        EMAILS WITH M. DANG RE: FILING OF    0.50   72167431    677.50
                                               SPECIAL MASTER'S ANSWERING BRIEF
                                               TO REPUBLIC MOTION TO ACCESS
                                               SPA; REVIEW AND REVISE
                                               ANSWERING BRIEF FOR PURPOSES OF
                                               FILING; EMAILS WITH C. BENTLEY
                                               AND C. BALIDO RE: FILING;
                                               TELEPHONE CALL WITH C. BALIDO RE:
                                               FILING.

            11/15/24     Lender, David J.      REVIEW CITGO LITIGATION ISSUE;       0.70   72162522   1,396.50
                                               TELEPHONE CALL WITH EIMER RE
                                               ALTER EGO.

            11/15/24     Ortiz, Heather L.     CONDUCT SECOND LEVEL REVIEW OF       5.00   72324557   2,975.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/15/24     McGovern, Kate        CONDUCT SECOND LEVEL REVIEW          7.80   72163521   4,641.00
                                               DOCUMENTS FOR PRIVILEGE.

            11/15/24     Friedmann, Jared R.   REVIEW AND REVISE DRAFT OF           0.80   72161146   1,436.00
                                               RESPONSES AND OBJECTIONS TO
                                               DISCOVERY REQUESTS; EMAILS WITH
                                               TEAM RE: SAME AND
                                               CONFIDENTIALITY AGREEMENT;
                                               REVIEW AND REVISE EMAIL TO
                                               COUNSEL FOR CITGO/PDVH.

            11/15/24     Schrock, Ray C.       ATTEND VARIOUS CALLS RE:             3.50   72164880   8,225.00
                                               TRANSACTION WITH STAKEHOLDERS
                                               AND SALE PROCESS PARTIES; CALL
                                               WITH BIDDER COUNSEL; DISCUSS
                                               WITH TEAM; CALLS WITH SPECIAL
                                               MASTER; REVIEW SPA RESPONSE
                                               FILING.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 241 of 419 PageID
                                                           #: 35993




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            11/15/24     Curtis, Aaron J.      REVIEW AND RESPOND TO EMAILS RE:    0.70   72150529   1,116.50
                                               DOCUMENT REVIEW AND THE
                                               RESPONSES TO THE DISCOVERY
                                               REQUESTS.

            11/15/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        6.00   72160338   8,130.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO DOCUMENT REQUESTS AND CODE
                                               DOCUMENTS AS APPROPRIATE.
                                               DRAFT ANSWERS TO QUESTIONS
                                               FROM DOCUMENT REVIEWERS
                                               REGARDING PRIVILEGE AND
                                               RESPONSIVENESS; REVIEW AND
                                               ANALYZE RESPONSES AND
                                               OBJECTIONS TO DISCOVERY
                                               REQUESTS; CONFER WITH P. KAMATH
                                               REGARDING DISCOVERY REQUESTS.

            11/15/24     Bentley, Chase A.     PHONE CALL WITH N. EIMER RE         1.90   72159355   3,030.50
                                               DILIGENCE; PHONE CALL WITH QUINN
                                               RE PROCESS UPDATE; REVIEW FEE
                                               REPORT; COORDINATE FILING OF
                                               SAME; REVIEW REPUBLIC RESPONSE
                                               RE SPA ACCESS MOTION.

            11/15/24     Agbi, Theo            REVIEW TRUST AGREEMENT AND          3.50   72163867   4,112.50
                                               RESPOND TO CERTAIN QUESTIONS
                                               FROM CORPORATE REGARDING THE
                                               ADMINISTRATION OF THE TRUST
                                               AND ITS CHARACTERIZATION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 242 of 419 PageID
                                                           #: 35994




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/15/24     Kamath, Priya         REVISE DRAFT RESPONSES AND           5.30   72147734   6,227.50
                                               OBJECTIONS TO REQUESTS FOR
                                               PRODUCTION FROM PDHV AND CITGO
                                               TO REFLECT COMMENTS FROM J.
                                               FRIEDMANN AND R. JAEGER; CALL
                                               WITH R. JAEGER TO DISCUSS
                                               REVISIONS TO RESPONSES AND
                                               OBJECTIONS TO REQUESTS FOR
                                               PRODUCTION FROM CITGO AND PDVH;
                                               FINALIZE DRAFT RESPONSES AND
                                               OBJECTIONS TO CITGO AND PDVH'S
                                               FIRST SET OF REQUESTS FOR
                                               PRODUCTION FOR J. FRIEDMANN;
                                               REVIEW SPECIAL MASTER'S STATUS
                                               REPORT FILED WITH THE COURT;
                                               REVIEW VENEZUELA'S REPLY BRIEF IN
                                               SUPPORT OF ITS MOTION TO ACCESS
                                               THE SPA.

            11/15/24     Sharma, Sakshi        CALL WITH M&A RE: TRUST INTEREST     0.30   72164289    441.00
                                               TRANSFERABILITY.

            11/15/24     Balido, Catherine     REVIEW INVOICE AND DRAFT             2.90   72161131   2,885.50
                                               NARRATIVES FOR SEPTEMBER FEE
                                               REPORT; DRAFT NARRATIVES FOR
                                               OCTOBER FEE REPORT.

            11/15/24     Carpinello,           REVIEW PRIVILEGED DOCUMENTS          3.40   72153651   2,822.00
                         Courtney              AND CODE THEM WITH AN ISSUE
                                               TAG.

            11/15/24     Evans, Emma           CORRESPONDENCE WITH WEIL TEAM        1.20   72162660   1,194.00
                                               RE: DOCUMENT REVIEW FOR
                                               PRODUCTION TO VENEZUELAN
                                               PARTIES; CORRESPONDENCE WITH A.
                                               CURTIS RE: ALTER EGO MERITS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 243 of 419 PageID
                                                           #: 35995




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            11/15/24     Koivistoinen, Tanja   REVIEW DELAWARE COUNSEL             6.40   72161011   9,408.00
                                               COMMENTS TO THE TRUST
                                               AGREEMENT; REVISE TRUST
                                               AGREEMENT; ATTEND CALL WITH
                                               THE DELAWARE COUNSEL RE: THE
                                               TRUST AGREEMENT; ATTEND CALLS
                                               WITH WEIL TAX TEAM RE: THE TRUST
                                               AGREEMENT.

            11/15/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          3.00   72150332   2,490.00
                                               AND EMAIL WITH ASSOCIATE TEAM
                                               ABOUT PRIVILEGE QUESTIONS.

            11/15/24     Lane, Jack            CONDUCT SECOND LEVEL PRIVILEGE      0.50   72152314    415.00
                                               DOCUMENT REVIEW.

            11/15/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       6.80   72153412   5,644.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/15/24     Siskind-Weiss,        CONDUCT DOCUMENT REVIEW FOR         3.10   72149538   2,573.00
                         Jordan                WITHHELD DOCUMENTS.

            11/15/24     Wasserman, Jack       CONDUCT 2L PRIVILEGE REVIEW FOR     6.00   72151663   4,980.00
                                               WITHHOLD DOCS.

            11/15/24     Burrus, Maigreade     CONFERS WITH C. BALIDO RE:          4.70   72169380   6,674.00
                         B.                    SEPTEMBER FEE REPORT; REVIEW AND
                                               REVISE SEPTEMBER FEE REPORT;
                                               CONFERS WITH C. BENTLEY RE:
                                               SEPTEMBER FEE REPORT; CONFER
                                               WITH ADVISORS RE: OCTOBER
                                               REPORT; PREPARE CLIENT UPDATE
                                               AND CONFER WITH M. CONTE RE:
                                               SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 244 of 419 PageID
                                                           #: 35996




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/15/24     Clarke, Andrew        REVIEW DOCKET UPDATES; REVIEW       0.50   72164633    677.50
                                               REPLY FROM THE REPUBLIC RE: SPA
                                               ACCESS MOTION; EMAILS WITH C.
                                               BENTLEY RE: SAME; EMAIL
                                               CORRESPONDENCE TO SPECIAL
                                               MASTER RE: SAME.

            11/16/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL            0.30   72170286    426.00
                                               LITIGATION TEAMS RE: DOCUMENT
                                               DISCOVERY.

            11/16/24     Carpinello,           REVIEW PRIVILEGE DOCUMENTS AND      6.20   72153710   5,146.00
                         Courtney              CODE THEM WITH ISSUE TAG.

            11/16/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW.         1.80   72153474   1,494.00

            11/16/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       1.00   72153969    830.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/16/24     Wasserman, Jack       CONDUCT 2L PRIVILEGE REVIEW FOR     1.00   72160970    830.00
                                               WITHHOLD DOCS.

            11/17/24     Shefa, Yonatan        REVIEW DOCUMENTS FOR                0.70   72178142    994.00
                                               PRODUCTION.

            11/17/24     Curtis, Aaron J.      REVIEW AND COMMENT ON               0.80   72170181   1,276.00
                                               CONFIDENTIALITY AGREEMENT.

            11/17/24     Carpinello,           REVIEW PRIVILEGED DOCUMENTS         5.20   72160479   4,316.00
                         Courtney              AND CODE THEM WITH ISSUE TAGS.

            11/17/24     SanGiovanni, Giana    REVIEW AND REVISE WRITE-UP ON       1.10   72172102   1,094.50
                                               ALTER-EGO ACTIONS BASED ON
                                               FEEDBACK FROM A. CURTIS.

            11/17/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW.         1.50   72153981   1,245.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 245 of 419 PageID
                                                           #: 35997




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            11/18/24     Ortiz, Heather L.     CONDUCT SECOND LEVEL REVIEW OF       5.00   72324628   2,975.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/18/24     McGovern, Kate        CONDUCT SECOND LEVEL REVIEW OF       4.10   72176009   2,439.50
                                               DOCUMENTS FOR PRIVILEGE.

            11/18/24     Friedmann, Jared R.   WEEKLY COORDINATION CALL WITH        2.40   72233121   4,308.00
                                               WEIL TEAMS; LITIGATION TEAM
                                               MEETING; WEEKLY CALL WITH
                                               CRYSTALLEX AND CONOCOPHILLIPS;
                                               REVIEW AND REVISE DRAFT
                                               CONFIDENTIALITY AGREEMENT;
                                               MEET WITH A. CURTIS RE: SAME;
                                               EMAIL TO TEAM RE:
                                               EDITS/COMMENTS TO SAME.

            11/18/24     Keenan, Eoghan P.     WEEKLY CALL WITH WEIL TEAMS RE:      2.20   72172877   3,949.00
                                               WORK STREAMS, ENGAGEMENT WITH
                                               ELLIOTT AND SALE PROCESS PARTIES.
                                               CALL WITH CRYSTALLEX, CONOCO,
                                               SPECIAL MASTER AND OUTSIDE
                                               COUNSEL RE: DISCUSSIONS WITH
                                               ELLIOTT ABOUT REVISIONS TO BID
                                               STRUCTURE AND IMPACT TO
                                               ILLUSTRATIVE WATERFALL.

            11/18/24     Shefa, Yonatan        WEIL WIP MEETING; WEIL LITIGATION    1.70   72178126   2,414.00
                                               TEAM STRATEGY MEETING; REVIEW
                                               DOCKET UPDATES; REVIEW
                                               CONFIDENTIALITY AGREEMENT;
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION TEAM RE: DOCUMENT
                                               DISCOVERY; REVIEW DOCUMENTS FOR
                                               PRODUCTION AS PART OF DOCUMENT
                                               DISCOVERY.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 246 of 419 PageID
                                                           #: 35998




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            11/18/24     Curtis, Aaron J.      REVIEW AND COMMENT ON                1.00   72188406   1,595.00
                                               CONFIDENTIALITY AGREEMENT;
                                               REVIEW AND RESPOND TO EMAILS RE:
                                               CONFIDENTIALITY AGREEMENT;
                                               DISCUSS THE CONFIDENTIALITY
                                               AGREEMENT WITH J. FRIEDMANN.

            11/18/24     Bodoh, Devon          REVIEW TRUST AGREEMENT FOR TAX       2.20   72185864   5,170.00
                                               MATTERS; CONDUCT RESEARCH
                                               REGARDING TREATMENT OF TRUST
                                               FOR TAX.

            11/18/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS         5.90   72228405   7,994.50
                                               FOR PRIVILEGE AND RESPONSIVENESS;
                                               DRAFT AND SEND ANSWERS TO
                                               QUESTIONS REGARDING DOCUMENT
                                               CODING; CONFER WITH M&A,
                                               RESTRUCTURING, AND OTHER WEIL
                                               TEAMS REGARDING ONGOING
                                               WORKSTREAMS AND PROJECTS;
                                               REVIEW AND ANALYZE MOTIONS TO
                                               DISMISS FILED IN DECLARATORY
                                               JUDGMENT CASE; DRAFT SUMMARY
                                               OF CASE; CONFER WITH LITIGATION
                                               TEAM REGARDING ONGOING
                                               WORKSTREAMS AND PROJECTS;
                                               CONFER WITH E. EVANS REGARDING
                                               DOCUMENT REVIEW PROCEDURES.

            11/18/24     Sternlieb, Sarah      TEAM MEETING AND                     0.80   72225123   1,276.00
                                               COMMUNICATIONS.

            11/18/24     Niles-Weed, Robert    ATTEND MEETING RE: DISCOVERY.        0.20   72175329    345.00
                         B.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 247 of 419 PageID
                                                           #: 35999




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/18/24     Bentley, Chase A.     REVIEW REPUBLIC REPLY; EMAILS RE     2.10   72245297   3,349.50
                                               TRUST DOCUMENTS; ATTEND WEIL
                                               WIP MEETING; PHONE CALL WITH
                                               SPPS RE PROCESS; DEBRIEF RE SAME;
                                               MULTIPLE EMAILS AND PHONE CALLS
                                               WITH WEIL AND SPECIAL MASTER.

            11/18/24     Rubin, Avi            ATTEND INTERNAL CHECK-IN CALL;       1.10   72175539   1,419.00
                                               ATTEND CALL WITH WLRK AND
                                               GIBSON; CORRESPONDENCE WITH
                                               WEIL M&A REGARDING SIGNING
                                               ITEMS.

            11/18/24     Gehnrich, Charles     PARTICIPATE IN WEEKLY WIP            2.00   72179622   2,350.00
                                               MEETING; REVISE CONFIDENTIALITY
                                               AGREEMENT; PARTICIPATE IN
                                               WEEKLY LITIGATION TEAM MEETING.

            11/18/24     Kamath, Priya         COMPLETE SECOND-LEVEL REVIEW OF      2.30   72163063   2,702.50
                                               DOCUMENTS COLLECTED FOR
                                               PRODUCTION TO CITGO AND PDVH;
                                               MEET WITH RESTRUCTURING AND
                                               M&A TEAMS TO DISCUSS WORKS IN
                                               PROGRESS; LITIGATION TEAM
                                               MEETING TO DISCUSS WORKS IN
                                               PROGRESS; REVIEW DRAFT
                                               CONFIDENTIALITY AGREEMENT FROM
                                               C. GEHNRICH; REVIEW TASK TRACKER
                                               FOR TEAM MEETING.

            11/18/24     Smith, Kara           ATTEND WIP MEETING.                  0.30   72531795    352.50

            11/18/24     Sharma, Sakshi        WEIL UPDATE CALL.                    0.30   72172671    441.00

            11/18/24     Balido, Catherine     REVIEW AND DRAFT NARRATIVES          2.50   72228931   2,487.50
                                               FOR OCTOBER FEE REPORT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 248 of 419 PageID
                                                           #: 36000




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            11/18/24     Carpinello,           REVIEW DOCUMENTS FOR PRIVILEGE      2.60   72190139   2,158.00
                         Courtney              AND CATEGORIZE THEM BY ISSUE.

            11/18/24     Evans, Emma           WEIL LITIGATION TEAM MEETING;       2.30   72179577   2,288.50
                                               REVIEW AND REVISE AGENDA FOR
                                               WEIL TEAM MEETING; MEETING WITH
                                               WEIL TEAMS; CORRESPONDENCE RE:
                                               DOCUMENT REVIEW FOR ONGOING
                                               PRODUCTION; CALL WITH KLD RE:
                                               OUTGOING PRODUCTION; MEET WITH
                                               R. JAEGER RE: DOCUMENT REVIEW
                                               FOR OUTGOING PRODUCTION.

            11/18/24     SanGiovanni, Giana    PREPARE FOR WEEKLY LITIGATION       1.20   72172017   1,194.00
                                               TEAM MEETING TO DISCUSS WORK
                                               STREAMS AND CORRESPOND WITH A.
                                               CURTIS AND E. EVANS; PREPARE FOR
                                               AND ATTEND WIP CALL WITH WEIL
                                               TEAMS TO DISCUSS UPDATES AND
                                               WORK STREAMS RELATED TO SALE
                                               PROCESS; REVIEW AND ANALYZE
                                               EMAILS FROM LITIGATION TEAM RE:
                                               MOTION TO DISMISS BRIEFING IN
                                               ALTER-EGO ACTION AND FROM RX
                                               TEAM RE: UPDATES RELATED TO
                                               SALE PROCESS; ATTEND WEEKLY
                                               LITIGATION MEETING TO DISCUSS
                                               REVIEW AND ANALYSIS OF
                                               DOCUMENTS FOR PRODUCTION TO
                                               CIGTO/PDVH AND UPDATES TO WORK
                                               STREAMS RELATED TO SALE
                                               PROCESS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 249 of 419 PageID
                                                           #: 36001




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            11/18/24     Koivistoinen, Tanja   REVISE TRUST AGREEMENT; ATTEND     10.40   72209792   15,288.00
                                               CALL WITH POTTER ANDERSON RE:
                                               THE TRUST AGREEMENT; REVIEW
                                               PRECEDENTS; EMAIL WEIL TEAMS RE:
                                               TRUST AGREEMENT; ATTEND
                                               INTERNAL CALL WITH WEIL TEAMS
                                               RE: STATUS.

            11/18/24     Fernandez, Ricardo    REVIEW EMAILS FROM WEIL             0.20   72176468     258.00
                                               CORPORATE AND EVERCORE TEAMS.

            11/18/24     Roberts, Ian          ATTEND WORK-IN-PROCESS MEETING      0.20   72235068     258.00
                                               WITH WEIL TEAMS.

            11/18/24     Conte, Matthew        ATTEND WORK-IN-PROCESS MEETING      0.20   72169169     166.00
                                               WITH WEIL TEAMS.

            11/18/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          1.50   72170691    1,245.00
                                               AND EMAIL WITH ASSOCIATE TEAM
                                               ABOUT PRIVILEGE QUESTIONS.

            11/18/24     Lane, Jack            CONDUCT SECOND LEVEL PRIVILEGE      3.30   72172564    2,739.00
                                               DOCUMENT REVIEW.

            11/18/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       7.00   72176826    5,810.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/18/24     Siskind-Weiss,        REVIEW EMAILS FROM CITGO DOC        5.10   72169998    4,233.00
                         Jordan                REVIEW GROUP ON QUESTIONS
                                               REGARDING HOW TO TAG
                                               DOCUMENTS; CONDUCT DOCUMENT
                                               REVIEW.

            11/18/24     Wasserman, Jack       CONDUCT 2L PRIVILEGE REVIEW FOR     6.60   72172269    5,478.00
                                               WITHHELD DOCUMENTS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 250 of 419 PageID
                                                           #: 36002




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/18/24     Burrus, Maigreade     PREPARE OCTOBER FEE REPORT;         0.70   72231696    994.00
                         B.                    ATTEND WEIL WORK-IN-PROGRESS
                                               MEETING.

            11/18/24     Clarke, Andrew        REVIEW DOCKET UPDATES, REVIEW       0.40   72168946    542.00
                                               EMAIL CORRESPONDENCE FROM WEIL
                                               TEAMS; ATTEND WEIL WIP MEETING.

            11/19/24     Ortiz, Heather L.     CONDUCT SECOND LEVEL REVIEW OF      5.00   72324613   2,975.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/19/24     McGovern, Kate        CONDUCT SECOND LEVEL REVIEW         7.00   72178933   4,165.00
                                               DOCUMENTS FOR PRIVILEGE; CALL RE
                                               DOCUMENT REVIEW.

            11/19/24     Friedmann, Jared R.   WEEKLY CALL WITH EVERCORE;          0.70   72233106   1,256.50
                                               REVIEW REVISED DRAFT OF
                                               PROTECTIVE
                                               ORDER/CONFIDENTIALITY
                                               AGREEMENT; EMAILS WITH TEAM RE:
                                               SAME.

            11/19/24     Keenan, Eoghan P.     MEET WITH WEIL AND EVERCORE RE:     2.00   72184986   3,590.00
                                               WATERFALL AND WORK STREAMS;
                                               REVIEW COMMENTS TO TRUST
                                               AGREEMENT; REVISE A&R SPA
                                               MARKUP.

            11/19/24     Barr, Matt            CORRESPONDENCE, ALL HANDS CALL,     2.00   72268718   4,700.00
                                               REVIEW NEXT STEPS, MEETING WITH
                                               TEAM.

            11/19/24     Shefa, Yonatan        REVIEW DOCKET ENTRIES.              0.10   72187502    142.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 251 of 419 PageID
                                                           #: 36003




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/19/24     Curtis, Aaron J.      CALL WITH EVERCORE TO DISCUSS       0.60   72188372    957.00
                                               THE DEAL STRUCTURE; REVIEW AND
                                               COMMENT ON CONFIDENTIALITY
                                               AGREEMENT; REVIEW AND RESPOND
                                               TO EMAILS RE: CONFIDENTIALITY
                                               AGREEMENT AND TRUST
                                               AGREEMENT.

            11/19/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        5.20   72228047   7,046.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO DOCUMENT REQUESTS; RESPOND
                                               TO QUESTIONS FROM DOCUMENT
                                               REVIEW TEAM; MEET AND CONFER
                                               WITH DOCUMENT REVIEW TEAM
                                               REGARDING QUESTIONS RELATED TO
                                               DOCUMENT REVIEW.

            11/19/24     Dulcey, Alfonso J.    REVIEW REVISE TRUST AGREEMENT       2.20   72180508   3,850.00
                                               AND PRECEDENTS.

            11/19/24     Bentley, Chase A.     EMAILS RE WATERFALL; DISCUSS        0.50   72245166    797.50
                                               SAME WITH EVERCORE.

            11/19/24     Rubin, Avi            ATTEND CALL WITH EVERCORE;          0.80   72183688   1,032.00
                                               REVISE AND INCORPORATE WEIL
                                               M&A COMMENTS TO SPA.

            11/19/24     Agbi, Theo            REVIEW TRUST AGREEMENT              7.60   72183592   8,930.00
                                               COMMENTS AND RESEARCH
                                               GRANTOR TRUST CREATION
                                               INCLUDING THE RELEVANT TAX
                                               FILINGS ASSOCIATED WITH THE
                                               GRANTOR.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 252 of 419 PageID
                                                           #: 36004




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/19/24     Gehnrich, Charles     CORRESPONDENCE REGARDING            0.70   72198724    822.50
                                               CONFIDENTIALITY AGREEMENT
                                               DRAFT.

            11/19/24     Kamath, Priya         REVISE DRAFT MEMO ON LITIGATION     3.00   72208365   3,525.00
                                               RECEIVERSHIPS FROM G.
                                               SANGIOVANNI.

            11/19/24     Sharma, Sakshi        WEIL/EVERCORE UPDATE CALL.          0.20   72185287    294.00

            11/19/24     Balido, Catherine     REVIEW AND DRAFT NARRATIVES         0.70   72228913    696.50
                                               FOR OCTOBER FEE REPORT; ATTEND
                                               WEEKLY EVERCORE/WEIL CALL.

            11/19/24     Carpinello,           MEET WITH R. JAEGER AND TEAM TO     3.60   72223921   2,988.00
                         Courtney              CHECK IN ON DOCUMENT REVIEW
                                               AND ASK QUESTIONS; REVIEW
                                               DOCUMENTS FOR PRIVILEGE AND
                                               CATEGORIZE BY ISSUE.

            11/19/24     Evans, Emma           ATTEND MEETING WITH REVIEWERS       0.90   72179494    895.50
                                               RE: DOCUMENT REVIEW FOR
                                               OUTGOING PRODUCTION;
                                               CORRESPONDENCE RE: DOCUMENT
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/19/24     SanGiovanni, Giana    EMAIL LITIGATION TEAM RE: MOTION    0.10   72187383     99.50
                                               TO DISMISS BRIEFING IN GRAMERCY
                                               ALTER-EGO ACTION.

            11/19/24     Koivistoinen, Tanja   ATTEND WEEKLY CALL WITH             2.90   72223181   4,263.00
                                               EVERCORE ON STATUS; REVIEW NEW
                                               TRUST AGREEMENT PRECEDENTS
                                               PROVIDED BY POTTER ANDERSON;
                                               REVISE TRUST AGREEMENT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 253 of 419 PageID
                                                           #: 36005




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/19/24     Fernandez, Ricardo    REVIEW EMAILS FROM/TO WEIL          3.30   72185454   4,257.00
                                               TAX/CORPORATE TEAMS; REVIEW
                                               COMMENTS TO TRUST AGREEMENT;
                                               DRAFT TAX COMMENTS TO TRUST
                                               AGREEMENT; CALL WITH WEIL TAX
                                               TO DISCUSS.

            11/19/24     Roberts, Ian          ATTEND WEIL/EVERCORE WEEKLY         0.30   72234838    387.00
                                               CHECK-IN CALL.

            11/19/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          1.50   72179013   1,245.00
                                               AND EMAIL WITH ASSOCIATE TEAM
                                               ABOUT PRIVILEGE QUESTIONS; MEET
                                               WITH ASSOCIATE TEAM TO DISCUSS
                                               2L DOCUMENT REVIEW OF
                                               DOCUMENTS MARKED PRIVILEGED
                                               WITHHOLD DURING THE 1L REVIEW.

            11/19/24     Lane, Jack            CONDUCT SECOND LEVEL PRIVILEGE      4.10   72180091   3,403.00
                                               DOCUMENT REVIEW; MEET WITH
                                               ASSOCIATE TEAM REGARDING
                                               SECOND LEVEL DOCUMENT REVIEW.

            11/19/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       6.00   72178282   4,980.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/19/24     Siskind-Weiss,        ATTEND DOC REVIEW TEAM              3.90   72178082   3,237.00
                         Jordan                MEETING; CONDUCT DOCUMENT
                                               REVIEW.

            11/19/24     Wasserman, Jack       CONDUCT 2L DOC REVIEW FOR           7.00   72179566   5,810.00
                                               PRIVILEGE WITHHELD DOCS; REVIEW
                                               PRIVILEGE GUIDANCE BASED ON R.
                                               JAEGAR CORRESPONDENCES; MEET
                                               WITH DOCUMENT REVIEW TEAM RE:
                                               DOCUMENT REVIEW PROCESS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 254 of 419 PageID
                                                           #: 36006




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            11/19/24     Burrus, Maigreade     REVIEW ORDER SETTING DEADLINE       0.10   72231766    142.00
                         B.                    FOR OBJECTIONS TO SEPTEMBER FEE
                                               REPORT.

            11/20/24     Lender, David J.      REVIEW ALTER EGO OPPOSITION         0.40   72189174    798.00
                                               BRIEF; REVIEW ORDER.

            11/20/24     McGovern, Kate        CONDUCT SECOND LEVEL REVIEW         4.60   72185230   2,737.00
                                               DOCUMENTS FOR PRIVILEGE.

            11/20/24     Friedmann, Jared R.   REVIEW JUDGE STARK’S RULING ON      1.00   72233425   1,795.00
                                               REPUBLIC’S MOTION TO UNSEAL SPA
                                               AND INCLINATIONS ON LITIGATION
                                               AND SALE PROCESS, INCLUDING
                                               ALTER EGO ISSUES; CALL WITH B.
                                               PINCUS AND EVERCORE RE: SAME;
                                               MEET WITH A. CURTIS RE: SAME AND
                                               NEXT STEPS; EMAILS WITH
                                               LITIGATION TEAM RE: SAME.

            11/20/24     Keenan, Eoghan P.     REVIEW UPDATED WATERFALL FROM       2.50   72189532   4,487.50
                                               EVERCORE; MEET WITH WEIL AND
                                               EVERCORE TEAMS RE: UPDATES TO
                                               WATERFALL AND COURT DECISION;
                                               REVIEW COURT ORDER; REVIEW
                                               COMMENTS TO TRUST AGREEMENT.

            11/20/24     Barr, Matt            ALL HANDS CALL, REVIEW ISSUES       1.00   72268558   2,350.00
                                               AND NEXT STEPS.

            11/20/24     Shefa, Yonatan        REVIEW JUDGE STARK'S ORDER;         0.40   72210445    568.00
                                               CORRESPONDENCE WITH WEIL TEAMS
                                               RE: ALTER EGO ACTIONS AND
                                               WATERFALL ANALYSIS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 255 of 419 PageID
                                                           #: 36007




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/20/24     Curtis, Aaron J.      CALL WITH EVERCORE AND WEIL         1.30   72188344   2,073.50
                                               TEAMS TO DISCUSS THE DEAL
                                               STRUCTURE; DISCUSS THE JUDGE’S
                                               INCLINATIONS ON THE INJUNCTION
                                               MOTION WITH J. FRIEDMANN;
                                               REVIEW AND RESPOND TO EMAILS RE:
                                               THE JUDGE’S INCLINATIONS RE: THE
                                               INJUNCTION MOTION, THE ALTER EGO
                                               CASES, AND DISCOVERY.

            11/20/24     Jaeger, Rebecca       ANALYZE AND REVIEW DOCUMENT         3.20   72228277   4,336.00
                                               REVIEWERS' QUESTIONS AND DRAFT
                                               AND SEND RESPONSES; DRAFT
                                               SUMMARY OF MOTIONS TO DISMISS
                                               FILED IN DECLARATORY ACTION IN
                                               DELAWARE; REVIEW AND ANALYZE
                                               JUDGE STARK'S INCLINATIONS.

            11/20/24     Sternlieb, Sarah      REVIEW COURT ORDER AND              1.80   72225483   2,871.00
                                               COMMUNICATIONS RE SAME.

            11/20/24     Bentley, Chase A.     ATTEND WEEKLY CALL WITH SPECIAL     1.50   72245190   2,392.50
                                               MASTER AND EVERCORE; EMAILS RE
                                               WATERFALL; REVIEW ORDER.

            11/20/24     Rubin, Avi            ATTEND CALL WITH SPECIAL            1.20   72191105   1,548.00
                                               MASTER AND EVERCORE; REVIEW
                                               EVERCORE WATERFALL
                                               SPREADSHEET; REVIEW COURT
                                               ORDER.

            11/20/24     Agbi, Theo            ADD COMMENTS TO TRUST               7.50   72202599   8,812.50
                                               AGREEMENT; RESEARCH TRUST
                                               PRECEDENTS AND TAX TREATMENT
                                               OF GRANTORS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 256 of 419 PageID
                                                           #: 36008




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/20/24     Gehnrich, Charles     REVIEW INTERNAL CORRESPONDENCE      0.70   72201645    822.50
                                               AND THE COURT'S ORDER AND
                                               INCLINATIONS.

            11/20/24     Kamath, Priya         REVIEW SUMMARY FROM R. JAEGER       0.50   72208298    587.50
                                               ON PDVH'S MOTION TO DISMISS;
                                               REVIEW SUMMARY FROM G.
                                               SANGIOVANI OF GRAMERCY'S
                                               OPPOSITION TO PDVH'S MOTION TO
                                               DISMISS; REVIEW E. EVANS'S
                                               SUMMARY OF JUDGE STARK'S ORDER
                                               AND INCLINATIONS.

            11/20/24     Sharma, Sakshi        WEIL/EVERCORE UPDATE CALL;          1.90   72189801   2,793.00
                                               REVISE TRUST AGREEMENT.

            11/20/24     Carpinello,           REVIEW DOCUMENTS FOR PRIVILEGE      1.10   72224014    913.00
                         Courtney              AND CATEGORIZE BY ISSUE.

            11/20/24     Evans, Emma           REVIEW AND ANALYZE COURT'S          1.00   72193146    995.00
                                               ORDERS AND INCLINATIONS;
                                               CORRESPONDENCE RE: DOCUMENT
                                               REVIEW FOR OUTGOING PRODUCTION;
                                               CORRESPONDENCE RE: ALTER EGO
                                               ACTIONS.

            11/20/24     SanGiovanni, Giana    REVIEW MOTION-TO-DISMISS            2.50   72209963   2,487.50
                                               BRIEFING IN ALTER-EGO ACTION AND
                                               SEND ANALYSIS TO CLIENT; REVIEW
                                               AND RESPOND TO EMAILS FROM A.
                                               CURTIS AND E. EVANS RE: ANALYSIS
                                               OF BRIEFING IN ALTER-EGO ACTION;
                                               REVIEW EMAIL FROM R. JAEGER RE:
                                               ANALYSIS OF MOTION-TO-DISMISS
                                               BRIEFING IN CONOCOPHILLIPS'
                                               DECLARATORY JUDGMENT ACTION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 257 of 419 PageID
                                                           #: 36009




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            11/20/24     Koivistoinen, Tanja   ATTEND WEEKLY CALL WITH             3.20   72187485   4,704.00
                                               EVERCORE AND WEIL TEAMS; REVISE
                                               TRUST AGREEMENT AND
                                               COORDINATE SPECIALIST
                                               COMMENTS; REVIEW COURT ORDER
                                               ON GRANTING THE ACCESS MOTION
                                               AND INCLINATIONS.

            11/20/24     Fernandez, Ricardo    REVIEW AND RESPOND TO EMAILS        3.20   72199067   4,128.00
                                               FROM/TO WEIL TAX; REVIEW
                                               INTERNAL TAX COMMENTS TO TRUST
                                               AGREEMENT; DRAFT TAX COMMENTS
                                               TO TRUST AGREEMENT; REVIEW
                                               PRECEDENT TRUST AGREEMENTS;
                                               CALLS WITH WEIL TAX TO DISCUSS.

            11/20/24     Roberts, Ian          ATTEND WEIL/EVERCORE/SPECIAL        0.40   72234802    516.00
                                               MASTER CHECK-IN CALL.

            11/20/24     Conte, Matthew        REVIEW COURT'S ORDER AND            0.50   72189659    415.00
                                               INCLINATIONS.

            11/20/24     Lane, Jack            CONDUCT SECOND LEVEL PRIVILEGE      0.60   72191051    498.00
                                               DOCUMENT REVIEW.

            11/20/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       2.00   72191024   1,660.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/20/24     Siskind-Weiss,        CONDUCT DOCUMENT REVIEW.            0.20   72207580    166.00
                         Jordan
            11/20/24     Wasserman, Jack       CONDUCT 2L PRIVILEGE REVIEW OF      4.50   72189034   3,735.00
                                               WITHHELD DOCUMENTS.

            11/20/24     Burrus, Maigreade     REVIEW NOVEMBER 20 ORDER;           0.90   72231846   1,278.00
                         B.                    CONFER WITH C. BENTLEY RE:
                                               WORKSTREAMS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 258 of 419 PageID
                                                           #: 36010




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            11/20/24     Clarke, Andrew        REVIEW ORDER OF THE COURT RE SPA    0.30   72186632    406.50
                                               ACCESS MOTION AND UPCOMING
                                               STATUS CONFERENCE.

            11/21/24     Lender, David J.      TELEPHONE CALL WITH CRYSTALLEX,     2.10   72224476   4,189.50
                                               CONOCO; SPECIAL MASTER
                                               TELEPHONE CALL; TELEPHONE CALL
                                               WITH TEAM RE ORDER.

            11/21/24     Ortiz, Heather L.     SECOND LEVEL REVIEW OF              4.00   72324478   2,380.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/21/24     Friedmann, Jared R.   CALL WITH C.BENTLEY RE:             3.10   72231254   5,564.50
                                               COORDINATING NEXT STEPS IN LIGHT
                                               OF COURT'S INCLINATION ORDER;
                                               FURTHER REVIEW/ANALYZE STARK
                                               ORDER/INCLINATIONS; TEAM CALL
                                               RE: ADDRESSING JUDGE'S RULING ON
                                               ALTER EGO AND OTHER
                                               INCLINATIONS; CALL WITH COUNSEL
                                               FOR CRYSTALLEX AND CONOCO RE:
                                               SAME AND POTENTIAL NEXT STEPS;
                                               CALL WITH TEAM AND SPECIAL
                                               MASTER RE: SAME; REVIEW LETTER
                                               FROM CITGO/PDVH RE: RESPONSES
                                               AND OBJECTIONS TO DISCOVERY AND
                                               DRAFT CONFIDENTIALITY
                                               AGREEMENT; EMAILS WITH TEAM RE:
                                               SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 259 of 419 PageID
                                                           #: 36011




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/21/24     Keenan, Eoghan P.     REVIEW UPDATED EVERCORE              3.90   72202292   7,000.50
                                               WATERFALL CALCULATIONS; CALL
                                               WITH SALE PROCESS PARTIES, WEIL
                                               AND SPECIAL MASTER RE:
                                               WATERFALL AND COURT ORDER;
                                               CALL WITH SPECIAL MASTER AND
                                               WEIL TEAM RE: COURT ORDER.

            11/21/24     Barr, Matt            REVIEW CORRESPONDENCE; MEET          2.20   72268455   5,170.00
                                               WITH TEAM; REVIEW NEXT STEPS
                                               AND OPEN ISSUES; ALL HANDS CALLS
                                               AND FOLLOW UP.

            11/21/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL             0.30   72210535    426.00
                                               TEAMS, SPECIAL MASTER, AND
                                               EVERCORE RE: JUDGE STARK'S ORDER,
                                               ALTER EGO CASES, AND DOCUMENT
                                               DISCOVERY.

            11/21/24     Curtis, Aaron J.      REVIEW AND RESPOND TO EMAILS RE:     0.20   72199586    319.00
                                               DEVELOPMENTS IN THE ALTER EGO
                                               CASES.

            11/21/24     Bodoh, Devon          REVIEW TRUST AGREEMENT               3.30   72228733   7,755.00
                                               MATTERS FOR TAX ISSUES; FOLLOW
                                               UP WITH WEIL TAX TEAM
                                               REGARDING SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 260 of 419 PageID
                                                           #: 36012




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            11/21/24     Jaeger, Rebecca       REVIEW DOCUMENT REVIEWERS'          1.90   72228415    2,574.50
                                               QUESTIONS AND RESPOND TO
                                               QUESTIONS; CONFER WITH
                                               DOCUMENT REVIEWER TEAM TO
                                               DISCUSS REDACTIONS OF PRIVILEGED
                                               DOCUMENTS; DRAFT AND SEND
                                               EMAILS REGARDING LOGISTICS FOR
                                               LITIGATION TEAM COVERAGE;
                                               REVIEW AND ANALYZE LETTER FROM
                                               CITGO/PDVH REGARDING RESPONSES
                                               TO REQUESTS FOR PRODUCTION.

            11/21/24     Dulcey, Alfonso J.    REVIEW AND DISCUSS REVISIONS TO     1.10   72202255    1,925.00
                                               TRUST AGREEMENT.

            11/21/24     Sternlieb, Sarah      COMMUNICATIONS RE ORDER;            1.10   72225682    1,754.50
                                               REVIEW ORDER AND ALTER EGO
                                               FILINGS.

            11/21/24     Niles-Weed, Robert    MEETINGS RE: STARK INDICATIVE       1.60   72202566    2,760.00
                         B.                    RULING AND SPECIAL MASTER
                                               RESPONSE.

            11/21/24     Bentley, Chase A.     MEET WITH WEIL RX TEAM TO           7.00   72245209   11,165.00
                                               DISCUSS NEXT STEPS IN PROCESS;
                                               REVIEW INCLINATIONS ORDER;
                                               ANALYZE SAME; PHONE CALL WITH
                                               WEIL LIT AND M&A TEAMS RE
                                               INCLINATIONS ORDER AND ALTER
                                               EGO; PHONE CALL WITH SPPS;
                                               DEBRIEF CALL WITH SPECIAL MASTER
                                               AND EVERCORE RE NEXT STEPS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 261 of 419 PageID
                                                           #: 36013




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/21/24     Rubin, Avi            ATTEND CALL WITH WLRK AND           3.00   72202133   3,870.00
                                               GIBSON; ATTEND CALL WITH SPECIAL
                                               MASTER AND EVERCORE;
                                               CORRESPONDENCE WITH WEIL M&A
                                               REGARDING BIDDER
                                               REPRESENTATION; DRAFT LIST OF
                                               SPA TERMINATION RIGHTS;
                                               CORRESPONDENCE WITH WEIL M&A
                                               AND RX TEAMS REGARDING
                                               TERMINATION PROVISIONS;
                                               CORRESPONDENCE AND DISCUSSION
                                               WITH WEIL M&A REGARDING SPA
                                               REDACTIONS.

            11/21/24     Agbi, Theo            WORK ON TRUST AGREEMENT; CALL       3.50   72203157   4,112.50
                                               RE: CHANGES.

            11/21/24     Gehnrich, Charles     REVIEW LETTER FROM EIMER STAHL      0.40   72210023    470.00
                                               RE: RESPONSES AND OBJECTIONS,
                                               AND CONFIDENTIALITY AGREEMENT,
                                               AND RELATED CORRESPONDENCE.

            11/21/24     Kamath, Priya         REVIEW EMAIL FROM E. EVANS          0.10   72202604    117.50
                                               SUMMARIZING LETTER FROM
                                               COUNSEL TO PDVH AND CITGO RE
                                               SPECIAL MASTER'S RESPONSES AND
                                               OBJECTIONS TO REQUESTS FOR
                                               PRODUCTION AND DRAFT
                                               CONFIDENTIALITY AGREEMENT.

            11/21/24     Sharma, Sakshi        REVISE TRUST AGREEMENT; CALL RE:    0.60   72204151    882.00
                                               DEAL.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 262 of 419 PageID
                                                           #: 36014




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/21/24     Balido, Catherine     REVIEW ORDER AND 2020S               3.10   72229015   3,084.50
                                               INFORMATION; ATTEND RX MEETING
                                               RE: STATUS OF CASE; REVIEW POTTER
                                               CHANGES TO SPP AND VENEZUELA
                                               PARTIES CONTACT INFORMATION
                                               CHART; REVIEW REQUIREMENTS FOR
                                               TRANSACTION EXPENSES.

            11/21/24     Carpinello,           MEET WITH R. JAEGER TO DISCUSS       0.30   72223976    249.00
                         Courtney              DOC REVIEW.

            11/21/24     Evans, Emma           MEET WITH DOCUMENT REVIEW            2.00   72201677   1,990.00
                                               TEAM RE: REDACTIONS;
                                               CORRESPONDENCE RE: DOCUMENT
                                               REVIEW FOR OUTGOING PRODUCTION;
                                               CORRESPONDENCE RE: ALTER EGO
                                               ACTIONS; REVIEW AND SUMMARIZE
                                               EIMER STAHL LETTER RE: RESPONSES
                                               AND OBJECTIONS TO REQUESTS FOR
                                               PRODUCTION; MEET WITH R. JAEGER
                                               RE: DOCUMENT REVIEW.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 263 of 419 PageID
                                                           #: 36015




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/21/24     SanGiovanni, Giana    REVIEW AND ANALYZE CASES ON         2.50   72228713   2,487.50
                                               FEDERAL ALTER-EGO STANDARD,
                                               INCLUDING EMAIL TO A. CURTIS AND
                                               E. EVANS WITH ANALYSIS; REVIEW
                                               CITGO/PDVH'S LETTER RE: SPECIAL
                                               MASTER'S RESPONSES & OBJECTIONS
                                               TO DISCOVERY REQUESTS AND DRAFT
                                               CONFIDENTIALITY AGREEMENT;
                                               UPDATE WIP TASK LIST WITH
                                               LITIGATION WORK STREAMS
                                               RELATED TO SALE PROCESS; EMAIL
                                               RX TEAM RE: STATUS OF LETTER
                                               RESPONSE; REVIEW AND RESPOND TO
                                               EMAILS FROM LITIGATION TEAM RE:
                                               CASE MANAGEMENT AND
                                               SCHEDULING.

            11/21/24     Koivistoinen, Tanja   REVIEW NECESSARY REDACTIONS TO      4.80   72209847   7,056.00
                                               THE SPA AND SCHEDULES FOR THE
                                               PURPOSES OF FILING; ATTEND CALL
                                               WITH CRYSTALLEX AND CONOCO RE:
                                               THE COURT'S ORDER; ATTEND CALL
                                               WITH WEIL TEAMS AND EVERCORE
                                               RE: NEXT STEPS IN RESPECT OF THE
                                               COURT'S ORDER.

            11/21/24     Fernandez, Ricardo    REVIEW AND RESPOND TO EMAILS        2.80   72204423   3,612.00
                                               FROM/TO WEIL TAX; REVIEW
                                               INTERNAL TAX COMMENTS TO TRUST
                                               AGREEMENT; DRAFT TAX COMMENTS
                                               TO TRUST AGREEMENT; REVIEW
                                               PRECEDENT TRUST AGREEMENTS;
                                               MEET WITH WEIL TAX TEAM TO
                                               DISCUSS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 264 of 419 PageID
                                                           #: 36016




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/21/24     Roberts, Ian          CORRESPOND WITH C. BENTLEY RE       1.30   72234814   1,677.00
                                               DOCKET; REVIEW SAME;
                                               CORRESPOND WITH LIBRARY RE
                                               SAME; CORRESPOND WITH T. OKADA
                                               RE CALENDARING; CORRESPOND
                                               WITH M. BURRUS AND C. BALIDO RE
                                               SERVICE.

            11/21/24     Conte, Matthew        ATTEND MEETING WITH WEIL RX         2.00   72193964   1,660.00
                                               GROUP; ANALYZE "ORDER AND
                                               INCLINATIONS" AND PREPARE
                                               ACTION ITEMS RE: SAME; EMAILS
                                               WITH C. BENTLEY RE: SAME.

            11/21/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          1.60   72201665   1,328.00
                                               AND EMAIL WITH ASSOCIATE TEAM
                                               ABOUT PRIVILEGE QUESTIONS; MEET
                                               WITH DOCUMENT REVIEW TEAM TO
                                               DISCUSS REDACTION.

            11/21/24     Lane, Jack            CONDUCT SECOND LEVEL DOCUMENT       0.30   72210426    249.00
                                               REVIEW REDACTION MEETING WITH
                                               ASSOCIATE TEAM.

            11/21/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       4.50   72202758   3,735.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/21/24     Siskind-Weiss,        ATTEND DOC REVIEW MEETING;          0.50   72207593    415.00
                         Jordan                CONDUCT PRIVILEGE REVIEW.

            11/21/24     Wasserman, Jack       ATTEND TEAM MEETING ON 2L           3.10   72201292   2,573.00
                                               PRIVILEGE REDACT DOCUMENTS;
                                               DISCUSS 2L REDACT DOCUMENTS
                                               WITH R. JAEGER AND E. EVANS;
                                               CONDUCT 2L REDACT DOC REVIEW.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 265 of 419 PageID
                                                           #: 36017




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/21/24     Burrus, Maigreade     REVIEW NOVEMBER 20 ORDER AND         4.30   72232036   6,106.00
                         B.                    PREPARE OUTLINE OF ISSUES FOR
                                               BRIEFING; ATTEND WEIL RX
                                               WORK-IN-PROGRESS MEETING;
                                               CONFER WITH CRYSTALLEX AND
                                               CONOCO RE: NOVEMBER 20 ORDER;
                                               CONFER WITH EVERCORE, SPECIAL
                                               MASTER, AND WEIL RE: NOVEMBER 20
                                               ORDER; CONFER WITH POTTER TEAM
                                               RE: NOVEMBER 20 ORDER; CONFER
                                               WITH C. BALIDO RE: EXPENSE
                                               RESEARCH.

            11/22/24     Friedmann, Jared R.   REVIEW STRAWMAN GO-FORWARD           2.80   72231613   5,026.00
                                               SALE PROCESS; CALL WITH COUNSEL
                                               FOR ELLIOTT AND NEXT STEPS IN
                                               LIGHT OF INCLINATIONS ORDER; CALL
                                               WITH TEAM RE: SAME; CALL WITH
                                               COUNSEL FOR CRYSTALLEX AND
                                               CONOCO RE: GO FORWARD SALE
                                               PROCESS AND ADDRESSING COURT'S
                                               INCLINATIONS MOTION; CALL WITH
                                               TEAM RE: RESPONDING TO
                                               PDVH/CITGO'S LETTER REGARDING
                                               RESPONSES AND OBJECTIONS TO
                                               DISCOVERY AND DRAFT
                                               CONFIDENTIALITY AGREEMENT.

            11/22/24     Keenan, Eoghan P.     CALL WITH ELLIOTT'S OUTSIDE          3.80   72207037   6,821.00
                                               COUNSEL, WEIL AND EVERCORE RE:
                                               COURT ORDER; CALL WITH
                                               CRYSTALLEX, CONOCO AND THEIR
                                               OUTSIDE COUNSEL, WEIL AND
                                               EVERCORE RE: COURT ORDER; REVIEW
                                               PROPOSED REDACTIONS TO THE SPA,
                                               SCHEDULES AND EXHIBITS; REVIEW
                                               STRAWMAN TIMELINE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 266 of 419 PageID
                                                           #: 36018




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount


            11/22/24     Barr, Matt            CALL WITH CLIENT AND TEAM AND       1.20   72268561    2,820.00
                                               FOLLOW UP FROM SAME; ALL HANDS
                                               CALL AND FOLLOW UP FROM SAME.

            11/22/24     Shefa, Yonatan        REVIEW DOCKET ENTRIES.              0.10   72210676     142.00

            11/22/24     Curtis, Aaron J.      REVIEW AND RESPOND TO EMAILS RE:    0.20   72213644     319.00
                                               THE BIDDING PROCESS.

            11/22/24     Bodoh, Devon          REVIEW TAX MATTERS WITH TRUST       2.60   72228701    6,110.00
                                               AND WITHHOLDING ISSUES; FOLLOW
                                               UP WITH TAX TEAM REGARDING
                                               SAME.

            11/22/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        1.90   72228138    2,574.50
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO REQUESTS FOR PRODUCTION AND
                                               APPLY REDACTIONS AS
                                               APPROPRIATE; CONFER WITH J.
                                               FRIEDMANN, P. KAMATH, AND C.
                                               GEHNRICH REGARDING RESPONSE TO
                                               CIGTO/PDVH'S LETTER.

            11/22/24     Dulcey, Alfonso J.    REVIEW UPDATED ILLUSTRATIVE         0.40   72225291     700.00
                                               CREDIT BID TERM SHEET AND
                                               COMMENTS.

            11/22/24     Bentley, Chase A.     REVIEW AND ANALYZE                  6.50   72245236   10,367.50
                                               INCLINATIONS ORDER; CALL WITH
                                               SPPS RE SAME; CALL WITH AMBER
                                               ENERGY RE SAME; MULTIPLE CALLS
                                               AND EMAILS WITH SPECIAL MASTER,
                                               EVERCORE AND PARTIES RE
                                               INCLINATIONS ORDER; DRAFT
                                               RESPONSE TO SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 267 of 419 PageID
                                                           #: 36019




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/22/24     Rubin, Avi            ATTEND CALLS WITH AKIN, QUINN,      2.80   72208249   3,612.00
                                               SPECIAL MASTER AND EVERCORE;
                                               CORRESPONDENCE WITH WEIL M&A
                                               REGARDING REDACTED SPA.

            11/22/24     Gehnrich, Charles     MEET WITH TEAM TO DISCUSS           0.60   72224817    705.00
                                               RESPONSE TO CITGO LETTER ON
                                               DISCOVERY PRODUCTION; RESEARCH
                                               PRIVILEGE LOGS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 268 of 419 PageID
                                                           #: 36020




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            11/22/24     Kamath, Priya         REVIEW JUDGE STARK'S ORDER AND        3.50   72208305   4,112.50
                                               INCLINATIONS; REVIEW DRAFT
                                               CONFIDENTIALITY AGREEMENT SENT
                                               FROM C. GEHNRICH TO COUNSEL FOR
                                               CITGO AND PDVH; REVIEW LETTER
                                               FROM COUNSEL TO CITGO AND PDVH
                                               RE SPECIAL MASTER'S RESPONSES
                                               AND OBJECTIONS TO REQUESTS FOR
                                               PRODUCTION AND DRAFT
                                               CONFIDENTIALITY AGREEMENT;
                                               MEET WITH J. FRIEDMANN, R. JAEGER,
                                               AND C. GEHNRICH TO DISCUSS DRAFT
                                               RESPONSE TO CITGO AND PDVH'S
                                               LETTER RE SPECIAL MASTER'S
                                               RESPONSES AND OBJECTIONS TO
                                               RFPS; DRAFT EMAILS TO SPECIAL
                                               MASTER AND EVERCORE REGARDING
                                               DRAFT RESPONSE TO PDVH AND
                                               CITGO'S 11/21/24 LETTER FOR J.
                                               FRIEDMANN; REVIEW EMAILS FROM
                                               C. BENTLEY RE NEXT-STEPS
                                               FOLLOWING JUDGE STARK'S ORDER
                                               AND INCLINATIONS FILING; REVIEW
                                               EMAILS BETWEEN THE SPECIAL
                                               MASTER, C. BENTLEY, AND EVERCORE
                                               RE SALE PROCESS UPDATES; DISCUSS
                                               ASSOCIATE COVERAGE FOR WORKS IN
                                               PROGRESS.

            11/22/24     Smith, Kara           CONDUCT RESEARCH FOR SALE             1.30   72531799   1,527.50
                                               RECOMMENDATION.

            11/22/24     Balido, Catherine     REVIEW REQUIREMENTS FOR               1.00   72228942    995.00
                                               PAYMENT OF SPECIAL MASTER AND
                                               HIS ADVISORS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 269 of 419 PageID
                                                           #: 36021




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/22/24     Evans, Emma           CORRESPONDENCE RE: DOCUMENT         0.30   72208511    298.50
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/22/24     Koivistoinen, Tanja   ATTEND CALL WITH AKIN GUMP          3.10   72209685   4,557.00
                                               (COUNSEL TO AMBER ENERGY) RE:
                                               JUDGE STARK'S ORDER; ATTEND CALL
                                               WITH THE COUNSEL OF CRYSTALLEX
                                               AND CONOCO RE: JUDGE STARK'S
                                               ORDER; REDACT SPA WITH AMBER
                                               ENERGY AND SCHEDULES FOR THE
                                               PURPOSES OF FILING; EMAIL
                                               CORRESPONDENCE RE: SAME WITH
                                               WEIL RX AND LIT TEAMS.

            11/22/24     Roberts, Ian          CORRESPOND WITH M. BURRUS AND       2.10   72234655   2,709.00
                                               C. BALIDO RE SERVICE; DRAFT AND
                                               REVISE CHART FOR SAME;
                                               CORRESPOND WITH T. OKADA RE
                                               DOCKET.

            11/22/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          3.90   72206223   3,237.00
                                               (PRIVILEGE REDACTIONS) AND EMAIL
                                               WITH ASSOCIATE TEAM ABOUT
                                               PRIVILEGE QUESTIONS.

            11/22/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       2.00   72210252   1,660.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/22/24     Wasserman, Jack       CONDUCT 2L PRIVILEGE DOCUMENT       1.70   72225116   1,411.00
                                               REVIEW.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 270 of 419 PageID
                                                           #: 36022




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/22/24     Burrus, Maigreade     CONFER WITH CRYSTALLEX AND           4.50   72231807   6,390.00
                         B.                    CONOCO TEAMS RE: NOVEMBER 20
                                               ORDER; CONFER WITH ELLIOTT TEAM
                                               RE: NOVEMBER 20 ORDER; CONFER
                                               WITH POTTER TEAM RE: SERVICE OF
                                               UNREDACTED FILINGS; REVIEW WIP
                                               TASK LIST AND CONFER WITH C.
                                               BALIDO RE: SAME; MULTIPLE
                                               CORRESPONDENCE WITH WEIL TEAM
                                               RE: NOVEMBER 20 ORDER AND SALE
                                               PROCESS.

            11/22/24     Clarke, Andrew        REVIEW VARIOUS CORRESPONDENCE        0.30   72207030    406.50
                                               FROM WEIL TEAM RE: SALE PROCESS.

            11/23/24     Friedmann, Jared R.   CALL WITH ELLIOTT TEAM/ADVISORS      1.60   72228221   2,872.00
                                               RE: NEXT STEPS IN CONNECTION WITH
                                               JUDGE'S INCLINATIONS; TEAM CALL;
                                               EMAILS WITH TEAM RE: DRAFT BRIEF
                                               IN RESPONSE TO COURT'S
                                               INCLINATIONS.

            11/23/24     Keenan, Eoghan P.     CALL WITH ELLIOT, SPECIAL MASTER,    3.50   72209045   6,282.50
                                               EVERCORE AND OUTSIDE COUNSEL RE:
                                               STATUS OF DISCUSSIONS WITH SALE
                                               PROCESS PARTIES AND RESPONSE TO
                                               COURT ORDER; CALL WITH WEIL RX
                                               RE: SPECIAL MASTER RESPONSE TO
                                               COURT ORDER; REVIEW EVERCORE
                                               DECK.

            11/23/24     Bentley, Chase A.     PHONE CALL WITH ELLIOTT RE SALE      2.50   72213876   3,987.50
                                               PROCESS; DEBRIEF CALL WITH
                                               SPECIAL MASTER AND EVERCORE RE
                                               SAME; REVIEW AND REVISE BRIEF.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 271 of 419 PageID
                                                           #: 36023




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            11/23/24     Rubin, Avi            CALL WITH WEIL M&A TO DISCUSS         4.40   72209202   5,676.00
                                               TRANSACTION STATUS; PREPARE
                                               AUCTION DRAFT SPA OUTLINE;
                                               CORRESPONDENCE WITH WEIL M&A.

            11/23/24     Kamath, Priya         DRAFT RESPONSE LETTER TO CITGO        1.10   72208094   1,292.50
                                               PARTIES RE SPECIAL MASTER'S
                                               RESPONSES AND OBJECTIONS TO
                                               CITGO PARTIES' REQUESTS FOR
                                               PRODUCTION OF DOCUMENTS AND
                                               SEND TO R. JAEGER AND C. GEHNRICH.

            11/23/24     Sharma, Sakshi        REVIEW AND REVISE DECK;               3.20   72225033   4,704.00
                                               CORRESPONDENCE RE: SAME.

            11/23/24     Balido, Catherine     DRAFT OPENING BRIEF IN RESPONSE       0.50   72228997    497.50
                                               TO COURT'S NOVEMBER 20
                                               INCLINATIONS.

            11/23/24     Koivistoinen, Tanja   ATTEND INTERNAL CALL WITH WEIL        3.20   72209698   4,704.00
                                               M&A TEAM; REVIEW AND COMMENT
                                               ON EVERCORE SLIDES; DRAFT
                                               OUTLINE OF POSSIBLE NEW BID
                                               AUCTION SPA.

            11/23/24     Roberts, Ian          CORRESPOND WITH M. BURRUS RE          0.80   72225442   1,032.00
                                               SPECIAL MASTER RESPONSE TO
                                               COURT'S NOVEMBER 20TH ORDER AND
                                               INCLINATIONS; DRAFT CHART FOR
                                               SAME.

            11/23/24     Conte, Matthew        CONDUCT RESEARCH AND                  2.20   72208621   1,826.00
                                               SUMMARIZE FINDINGS FOR SPECIAL
                                               MASTER RESPONSE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 272 of 419 PageID
                                                           #: 36024




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index    Amount

            11/23/24     Burrus, Maigreade     CALL WITH ELLIOTT TEAM RE:           10.00   72230576   14,200.00
                         B.                    NOVEMBER 20 ORDER; CONFER WITH
                                               WEIL TEAM AND SPECIAL MASTER
                                               RE: OPENING BRIEF IN RESPONSE TO
                                               NOVEMBER 20 ORDER; CONFER WITH
                                               LITIGATION TEAM RE: OPENING BRIEF
                                               IN RESPONSE TO NOVEMBER 20
                                               ORDER; CONFER WITH POTTER TEAM
                                               RE: REDACTIONS TO PRIOR BRIEFINGS;
                                               PREPARE OPENING BRIEF IN RESPONSE
                                               TO NOVEMBER 20 ORDER.

            11/24/24     Friedmann, Jared R.   CALL WITH COUNSEL FOR                 0.90   72228288    1,615.50
                                               CONOCOPHILLIPS RE: NEXT STEPS IN
                                               LIGHT OF JUDGE'S INCLINATIONS.

            11/24/24     Keenan, Eoghan P.     CALL WITH SPECIAL MASTER,             2.00   72225136    3,590.00
                                               CONOCOPHILIPS, WLRK, WEIL AND
                                               EVERCORE RE: COURT ORDER AND
                                               ENGAGEMENT WITH ELLIOTT; REVIEW
                                               EVERCORE DECK.

            11/24/24     Barr, Matt            REVIEW CORRESPONDENCE; ALL            1.00   72268619    2,350.00
                                               HANDS CALL; CALL WITH TEAM AND
                                               REVIEW ISSUES.

            11/24/24     Shefa, Yonatan        CORRESPONDENCE FROM EVERCORE          0.10   72243765     142.00
                                               RE: SALE PROCESS.

            11/24/24     Bentley, Chase A.     PHONE CALL WITH CONOCO RE SALE        3.00   72213902    4,785.00
                                               PROCESS; DEBRIEF CALL WITH
                                               SPECIAL MASTER AND EVERCORE RE
                                               SAME; REVIEW AND REVISE BRIEF.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 273 of 419 PageID
                                                           #: 36025




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/24/24     Rubin, Avi            CORRESPONDENCE WITH WEIL M&A         1.10   72226467   1,419.00
                                               REGARDING BID DRAFT SPA; REVISE
                                               AND INCORPORATE WEIL M&A
                                               COMMENTS TO SPA DISCUSSION
                                               POINTS OUTLINE.

            11/24/24     Sharma, Sakshi        CORRESPONDENCE RE: DECK.             0.50   72224985    735.00

            11/24/24     Balido, Catherine     REVISE WIP LIST.                     0.50   72228963    497.50

            11/24/24     Koivistoinen, Tanja   DRAFT OUTLINE OF POSSIBLE NEW        4.20   72224020   6,174.00
                                               BID AUCTION SPA AND REVIEW
                                               ORIGINAL BID SPA; REVIEW REVISED
                                               DECK FROM EVERCORE; REVIEW
                                               REDACTIONS OF THE SPA AND
                                               SCHEDULES FOR THE PURPOSES OF
                                               FILING THE SPA AS PER THE COURT'S
                                               ORDER.

            11/24/24     Burrus, Maigreade     CONFER WITH CONOCO TEAM RE:          1.10   72230620   1,562.00
                         B.                    NOVEMBER 20 ORDER AND SALE
                                               PROCESS; CONFER WITH POTTER
                                               TEAM RE: REDACTIONS TO PRIOR
                                               BRIEFING.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 274 of 419 PageID
                                                           #: 36026




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            11/25/24     Friedmann, Jared R.   CALL WITH WEIL TEAMS TO               4.20   72260558   7,539.00
                                               COORDINATE ON NEXT STEPS
                                               INCLUDING ALTERNATIVE SALES
                                               PROCESS AND PREPARING
                                               SUBMISSION IN RESPONSE TO
                                               COURT’S INCLINATIONS ORDER; CALL
                                               WITH S.STERNLIEB RE: DRAFT ALTER
                                               EGO SECTION OF BRIEF ADDRESSING
                                               COURT’S INCLINATIONS; REVIEW AND
                                               REVISE DRAFT OF SAME; CALL WITH
                                               A.CURTIS RE: SAME AND FURTHER
                                               REVISIONS; REVIEW AND REVISE
                                               FURTHER REVISED ALTER EGO
                                               SECTION AND EMAILS WITH TEAM
                                               RE: SAME; REVIEW SUMMARY OF
                                               DOCUMENT REVIEW STATUS;
                                               WEEKLY LITIGATION TEAM MEETING;
                                               CALL WITH COUNSEL FOR
                                               CRYSTALLEX RE: BRIEFING IN COURT'S
                                               INCLINATIONS; REVIEW AND REVISE
                                               EMAILS TO B.PINCUS AND EVERCORE
                                               RE: DISCOVERY ISSUES RAISED IN
                                               EIMER LETTER; REVIEW RESPONSES
                                               TO SAME; REVIEW AND REVISE BRIEF
                                               ADDRESSING COURT'S INCLINATIONS.

            11/25/24     Keenan, Eoghan P.     MEET WITH WEIL TEAMS RE:              3.90   72241807   7,000.50
                                               RESPONSE TO COURT ORDER; REVIEW
                                               PROPOSED REDACTIONS TO SPA AND
                                               DISCLOSURE SCHEDULES; MEET WITH
                                               CRYSTALLEX AND GIBSON RE:
                                               RESPONSE TO COURT ORDER AND
                                               DISCUSSIONS WITH ELLIOTT; REVIEW
                                               DRAFT SPECIAL MASTER OPENING
                                               POSITION IN RESPONSE TO COURT'S
                                               INCLINATIONS ORDER.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 275 of 419 PageID
                                                           #: 36027




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            11/25/24     Barr, Matt            REVIEW CORRESPONDENCE; CALL          1.50   72268520   3,525.00
                                               WITH QE; CALL WITH TEAM; REVIEW
                                               ISSUES AND NEXT STEPS; CALL WITH
                                               CLIENT AND FOLLOW UP FROM SAME.

            11/25/24     Shefa, Yonatan        WEIL WIP MEETING; WEIL LITIGATION    0.90   72250878   1,278.00
                                               TEAM STRATEGY MEETING;
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION TEAM AND EVERCORE RE:
                                               DISCOVERY ISSUES.

            11/25/24     Curtis, Aaron J.      CALL WITH WEIL TEAM TO DISCUSS       2.70   72237154   4,306.50
                                               THE BRIEFING ON THE JUDGE’S
                                               INCLINATIONS AND THE BIDDING
                                               PROCESS; CALL WITH WEIL
                                               LITIGATION TEAM TO DISCUSS THE
                                               BRIEFING RE THE JUDGE’S
                                               INCLINATIONS, DISCOVERY, AND THE
                                               BIDDING PROCESS; REVIEW ALTER
                                               EGO BRIEFING; REVIEW AND RESPOND
                                               TO EMAILS RE THE BIDDING PROCESS
                                               AND JUDGE’S INCLINATIONS; REVISE
                                               INSERT RE: THE ALTER EGO CLAIMS
                                               FOR THE BRIEFING ON THE JUDGE’S
                                               INCLINATIONS.

            11/25/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS         2.70   72263012   3,658.50
                                               FOR PRIVILEGE AND APPLY
                                               REDACTIONS AS APPROPRIATE AND
                                               DRAFT AND SEND ANSWERS TO
                                               DOCUMENT REVIEWERS' QUESTIONS;
                                               CONFER WITH WEIL TEAMS
                                               REGARDING ONGOING
                                               WORKSTREAMS AND PROJECTS;
                                               REVISE RESPONSE LETTER TO PDVH
                                               AND CITGO REGARDING DISCOVERY.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 276 of 419 PageID
                                                           #: 36028




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount


            11/25/24     Sternlieb, Sarah      COMMUNICATIONS AND MEETINGS          3.00   72234058    4,785.00
                                               WITH WEIL TEAM RE ORDER; DRAFT
                                               LANGUAGE FOR RESPONSE.

            11/25/24     Bentley, Chase A.     PHONE CALL WITH M. BARR AND         10.50   72263735   16,747.50
                                               CONOCO RE NEXT STEPS; ATTEND
                                               WEIL WIP; PHONE CALL WITH
                                               SPECIAL MASTER, EVERCORE, AND
                                               CRYSTALLEX RE NEXT STEPS; REVIEW
                                               UNREDACTED SPA AND SEND
                                               COMMENTS TO WEIL M&A; REVIEW
                                               AND REVISE OPENING BRIEF RE
                                               INCLINATIONS ORDER; MULTIPLE
                                               EMAILS AND CALLS RE SAME; REVISE
                                               SAME TO REFLECT COMMENTS;
                                               DISCUSS WITH M. BARR.

            11/25/24     Rubin, Avi            CALLS WITH WEIL M&A TO DISCUSS       2.00   72240413    2,580.00
                                               SPA REDACTIONS AND INCLINATIONS
                                               BRIEF ITEMS; ATTEND INTERNAL
                                               CHECK-IN CALL; CORRESPONDENCE
                                               WITH WEIL M&A REGARDING SPA
                                               REDACTIONS ITEMS AND BID
                                               PROCEDURES QUESTIONS; RESPOND
                                               TO WEIL RX QUESTIONS RELATING TO
                                               INCLINATIONS BRIEF.

            11/25/24     Gehnrich, Charles     DRAFT LETTER IN RESPONSE TO CITGO    2.80   72250326    3,290.00
                                               PARTIES, AND RELATED
                                               CORRESPONDENCE; PARTICIPATE IN
                                               LITIGATION TEAM MEETING.

            11/25/24     Sharma, Sakshi        WIP CALL WITH WEIL TEAMS;            2.10   72246359    3,087.00
                                               CORRESPONDENCE RE: DECK.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 277 of 419 PageID
                                                           #: 36029




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/25/24     Balido, Catherine     ATTEND WIP WITH WEIL TEAMS;         2.40   72268551   2,388.00
                                               REVIEW SALE PROCEDURE ORDER
                                               AND REQUIREMENTS OF BIDDERS.

            11/25/24     Mackinnon, Josh       ATTEND WIP CALL; SHARE              2.40   72241512   2,388.00
                                               DOCUMENTS VIA CLOUD SHARE;
                                               REVIEW MATERIALS RE: DEPOSIT;
                                               RESEARCH QUESTIONS REGARDING
                                               BIDDERS AND ALTER EGO
                                               CONDITIONS.

            11/25/24     SanGiovanni, Giana    REVIEW, AND UPDATE LITIGATION       2.00   72243452   1,990.00
                                               TASK LIST WITH UPDATES TO
                                               LITIGATION WORK STREAMS;
                                               ATTEND WIP CALL WITH WEIL
                                               TEAMS; ATTEND WEEKLY CALL WITH
                                               LITIGATION TEAM TO DISCUSS WORK
                                               STREAMS; EMAIL A. CURTIS RE:
                                               STATUS OF RESEARCH WORK
                                               STREAMS RELATED TO SALE
                                               PROCESS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 278 of 419 PageID
                                                           #: 36030




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/25/24     Koivistoinen, Tanja   REVIEW WEIL RX TEAM COMMENTS         5.20   72259110   7,644.00
                                               ON THE SPA REDACTIONS; REVISE SPA
                                               REDACTIONS; EMAILS TO JONES DAY /
                                               EIMER AND AKIN TEAMS RE: THE
                                               PROPOSALS ON REDACTIONS; EMAILS
                                               TO WACHTELL, GIBSON DUNN AND
                                               CURTIS TEAMS RE: THE PROPOSED
                                               REDACTIONS; REVIEW AKIN'S
                                               PROPOSAL ON SPA REDACTIONS;
                                               EMAIL CORRESPONDENCE WITH AKIN,
                                               WEIL RX AND WEIL AT TEAM RE:
                                               AKIN'S PROPOSED REDACTIONS;
                                               ATTEND WIP CALL WITH WEIL
                                               TEAMS; REVIEW SPECIAL MASTER'S
                                               DRAFT RESPONSE LETTER TO THE
                                               COURT'S INCLINATIONS.

            11/25/24     Roberts, Ian          CORRESPOND WITH C. BENTLEY RE        1.40   72267322   1,806.00
                                               DOCKET AND WEEKLY CALLS;
                                               ATTEND WORK-IN-PROCESS CALL;
                                               CORRESPOND WITH M. BURRUS RE
                                               UNREDACTED STOCK PURCHASE
                                               AGREEMENT; REVIEW AND REVISE
                                               RESPONSE TO COURT'S INCLINATIONS
                                               ORDER; CORRESPOND WITH M. CONTE
                                               RE SAME.

            11/25/24     Conte, Matthew        ATTEND WORK-IN-PROCESS MEETING       3.60   72234568   2,988.00
                                               WITH TEAMS; REVIEW SALE PROCESS
                                               ORDER AND BIDDING PROCEDURES RE:
                                               BID RESTRICTIONS; COMMUNICATE
                                               WITH C. BALIDO RE: SAME; REVIEW
                                               AND REVISE SPECIAL MASTER'S
                                               RESPONSE TO NOV. 20 ORDER.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 279 of 419 PageID
                                                           #: 36031




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/25/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          2.70   72234119   2,241.00
                                               (REDACTING DOCUMENTS MARKED
                                               PRIVILEGED REDACT DURING 1L
                                               REVIEW) AND EMAIL WITH
                                               ASSOCIATE TEAM ABOUT PRIVILEGE
                                               QUESTIONS.

            11/25/24     Lane, Jack            CONDUCT SECOND LEVEL PRIVILEGE      2.00   72240222   1,660.00
                                               DOCUMENT REVIEW.

            11/25/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT       1.00   72234310    830.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/25/24     Wasserman, Jack       CONDUCT 2L PRIVILEGE DOCUMENT       3.70   72240665   3,071.00
                                               REVIEW.

            11/25/24     Burrus, Maigreade     ATTEND WEIL WIP MEETING;            5.30   72279350   7,526.00
                         B.                    PREPARE OPENING STATEMENT IN
                                               RESPONSE TO NOVEMBER 20 ORDER.

            11/26/24     Ortiz, Heather L.     CONDUCT SECOND LEVEL REVIEW OF      4.00   72324577   2,380.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/26/24     Friedmann, Jared R.   CALL WITH C.BENTLEY RE:             1.60   72260547   2,872.00
                                               COMMENTS TO BRIEF ADDRESSING
                                               COURT'S INCLINATIONS; WEEKLY
                                               CALL WITH WEIL AND EVERCORE
                                               TEAM; REVIEW AND REVISE DRAFT OF
                                               SAME; CALL WITH C.BENTLEY RE:
                                               SAME; EMAILS WITH TEAM RE:
                                               FURTHER EDITS TO SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 280 of 419 PageID
                                                           #: 36032




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/26/24     Keenan, Eoghan P.     REVISE DRAFT SPECIAL MASTER         3.70   72246314   6,641.50
                                               RESPONSE TO COURT INCLINATIONS
                                               ORDER; CALL WITH EVERCORE AND
                                               WEIL RE: RESPONSE TO COURT
                                               INCLINATIONS ORDER AND LIMITED
                                               REDACTIONS TO SPA AND
                                               DISCLOSURE SCHEDULES; CALLS RE:
                                               CITGO AND ELLIOTT PROPOSED
                                               REDACTIONS TO SPA AND
                                               DISCLOSURE SCHEDULES FOR
                                               CONFIDENTIAL MATTERS.

            11/26/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL            0.20   72259920    284.00
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: INCLINATIONS BRIEF.

            11/26/24     Curtis, Aaron J.      CALL WITH EVERCORE TO DISCUSS       2.50   72255656   3,987.50
                                               THE BIDDING PROCESS; REVIEW AND
                                               COMMENT ON THE BRIEFING RE THE
                                               COURT’S INCLINATIONS ON THE
                                               ALTER EGO MOTION AND BIDDING
                                               PROCESS; REVIEW AND ANALYZE THE
                                               PARTIES FILINGS RE THE COURT’S
                                               INCLINATIONS.

            11/26/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS        4.00   72263062   5,420.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               TO DOCUMENT REQUESTS AS PART
                                               OF QUALITY CONTROL REVIEW AND
                                               ANSWER DOCUMENT REVIWERS'
                                               QUESTIONS ABOUT SAME.

            11/26/24     Sternlieb, Sarah      REVIEW AND REVISE FILING.           1.30   72265000   2,073.50
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 281 of 419 PageID
                                                           #: 36033




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            11/26/24     Bentley, Chase A.     REVIEW AND REVISE BRIEF RE          7.80   72263718   12,441.00
                                               INCLINATIONS ORDER; MULTIPLE
                                               CALLS AND EMAILS RE SAME;
                                               DISCUSS NEXT STEPS WITH M. BARR;
                                               PHONE CALL WITH EVERCORE RE
                                               NEXT STEPS; ATTEND WEIL RX WIP
                                               MEETING; DISCUSS INCLINATIONS
                                               ORDER WITH VARIOUS PARTIES.

            11/26/24     Rubin, Avi            REVIEW AND PROVIDE COMMENTS TO      1.20   72245896    1,548.00
                                               DRAFT INCLINATIONS BRIEF;
                                               CORRESPONDENCE WITH WEIL M&A
                                               REGARDING BRIEF ITEMS.

            11/26/24     Balido, Catherine     UPDATE WIP LIST; ATTEND WEIL        0.70   72268604     696.50
                                               RESTRUCTURING WIP MEETING;
                                               ATTEND WEIL/EVERCORE WEEKLY
                                               MEETING.

            11/26/24     Mackinnon, Josh       REDACT TRANSACTION DOCUMENTS;       2.50   72246170    2,487.50
                                               COMPARE VARIOUS VERSIONS OF
                                               REDACTIONS; APPLY NEW
                                               REDACTIONS; CORRESPOND WITH
                                               TEAM AND POTTER ANDERSON
                                               REGARDING REDACTIONS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 282 of 419 PageID
                                                           #: 36034




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/26/24     Koivistoinen, Tanja   REVIEW AND COMMENT ON THE            6.70   72259076   9,849.00
                                               DRAFT RESPONSE OF SPECIAL
                                               MASTER TO THE COURT'S
                                               INCLINATIONS; REVIEW JONES DAY'S
                                               AND EIMER'S PROPOSALS ON SPA
                                               REDACTIONS; EMAIL
                                               CORRESPONDENCE WITH JONES DAY,
                                               EIMER AND AKIN TEAMS RE:
                                               REDACTIONS; REVISE SPA
                                               REDACTIONS AND PREPARE FILING;
                                               EMAIL EXCHANGE AND CALLS WITH
                                               POTTER ANDERSON TEAM RE: SAME.

            11/26/24     Roberts, Ian          REVIEW AND REVISE SPECIAL            4.20   72265360   5,418.00
                                               MASTER'S RESPONSE TO COURT'S
                                               NOVEMBER 20TH ORDER AND
                                               INCLINATIONS; CORRESPOND WITH
                                               M. BURRUS AND M. CONTE RE SAME;
                                               CORRESPOND WITH C. BALIDO RE
                                               WORK-IN-PROCESS MEETING;
                                               CORRESPOND WITH M. BURRUS RE
                                               SPECIAL MASTER RESPONSE; CALL
                                               WITH M. CONTE RE SAME; ATTEND
                                               WORK-IN-PROCESS MEETING; REVIEW
                                               AND COMPILE FILED PLEADINGS WITH
                                               RESPECT TO THE COURT'S
                                               INCLINATIONS ORDER; CORRESPOND
                                               WITH M. BURRUS RE SAME.

            11/26/24     Conte, Matthew        PREPARE NOTICE OF FILING;            3.80   72244710   3,154.00
                                               COMMUNICATE WITH M. BURRUS RE:
                                               SAME; REVISE SPECIAL MASTER'S
                                               RESPONSE TO ORDER; COMMUNICATE
                                               WITH M. BURRUS AND I. ROBERTS RE:
                                               SAME; REVIEW DOCKET UPDATES
                                               AND FILINGS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 283 of 419 PageID
                                                           #: 36035




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount


            11/26/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW           1.70   72243504    1,411.00
                                               (DOCUMENTS LABELED PRIVILEGE
                                               REDACT DURING 1L REVIEW) AND
                                               EMAIL ASSOCIATE TEAM WITH
                                               PRIVILEGE QUESTIONS.

            11/26/24     Lane, Jack            CONDUCT SECOND LEVEL PRIVILEGE       1.60   72248945    1,328.00
                                               DOCUMENT REVIEW.

            11/26/24     Mittal, Disha         CONDUCT SECOND LEVEL DOCUMENT        0.70   72258426     581.00
                                               REVIEW FOR OUTGOING PRODUCTION.

            11/26/24     Burrus, Maigreade     ATTEND WEIL RX WIP MEETING;          9.00   72279513   12,780.00
                         B.                    PREPARE NOTICE OF FILING SPA;
                                               PREPARE OPENING STATEMENT IN
                                               RESPONSE TO NOVEMBER 20 ORDER;
                                               CONFER WITH SPECIAL MASTER RE:
                                               OPENING STATEMENTS; CONFER
                                               WITH T. KOVISTOINEN (X2) RE: SPA;
                                               CONFER WITH J. FRIEDMANN RE:
                                               AMENDMENTS TO OPENING
                                               STATEMENT IN RESPONSE TO
                                               NOVEMBER 20 ORDER; COORDINATE
                                               WITH POTTER ANDERSON RE: FILING
                                               OF SPA AND OPENING STATEMENT.

            11/26/24     Clarke, Andrew        REVIEW VARIOUS EMAILS FROM WEIL      0.70   72247290     948.50
                                               TEAM RE: BRIEFING; ATTEND RX WIP
                                               MEETING; REVIEW DOCKET UPDATES.

            11/27/24     Lender, David J.      REVIEW RECENT SUBMISSIONS;           1.50   72264981    2,992.50
                                               SPECIAL MASTER TELEPHONE CALL
                                               RE TRANSACTION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 284 of 419 PageID
                                                           #: 36036




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount

            11/27/24     Ortiz, Heather L.     CONDUCT SECOND LEVEL REVIEW OF        4.00   72324636   2,380.00
                                               DOCUMENTS FOR RESPONSIVENESS,
                                               PRIVILEGE AND CONFIDENTIALITY.

            11/27/24     Friedmann, Jared R.   REVIEW AND ANALYZE PARTIES'           2.00   72260544   3,590.00
                                               BRIEFINGS IN RESPONSE TO COURT'S
                                               INCLINATIONS ORDER; CALL WITH
                                               TEAM, EVERCORE AND SPECIAL
                                               MASTER RE: RESPONDING TO SAME
                                               AND NEXT STEPS.

            11/27/24     Keenan, Eoghan P.     CALL WITH SPECIAL MASTER,             2.40   72257234   4,308.00
                                               EVERCORE AND WEIL RE: REVISIONS
                                               TO SPA TERMS, TIMELINE FOR
                                               ALTERNATIVE SALE PROCESS AND
                                               STATUS OF AMBER ENERGY
                                               TRANSACTION; REVISE SPA KEY
                                               PROVISIONS SUMMARY FOR DEAL
                                               TERMS ANALYSIS.

            11/27/24     Barr, Matt            ALL HANDS CALL; REVIEW                1.50   72268702   3,525.00
                                               DOCUMENTS; MEET WITH TEAM;
                                               ATTEND TO NEXT STEPS.

            11/27/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL              0.10   72260006    142.00
                                               LITIGATION TEAM RE: ALTER EGO
                                               ACTIONS.

            11/27/24     Curtis, Aaron J.      CALL WITH CLIENT TO DISCUSS THE       1.00   72255659   1,595.00
                                               BIDDING PROCESS AND ALTER EGO
                                               CLAIMS; REVIEW AND RESPOND TO
                                               EMAILS RE: THE ALTER EGO BRIEFING.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 285 of 419 PageID
                                                           #: 36037




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            11/27/24     Bentley, Chase A.     REVIEW AND ANALYZE BRIEFS FILED      2.70   72263843   4,306.50
                                               BY VARIOUS PARTIES RE
                                               INCLINATIONS ORDER; DISCUSS WITH
                                               TEAM; PHONE CALL WITH SPECIAL
                                               MASTER AND EVERCORE RE BRIEFS
                                               AND NEXT STEPS; EMAILS RE SERVICE
                                               OF SEALED FILINGS; EMAILS AND
                                               CALLS WITH M. BURRUS RE
                                               PREPARING SPECIAL MASTER REPLY
                                               BRIEF.

            11/27/24     Rubin, Avi            REVIEW INCLINATION BRIEF FILINGS.    0.30   72253934    387.00

            11/27/24     Gehnrich, Charles     ANALYZE PDVH REPLY IN GRAMERCY       0.30   72265035    352.50
                                               ALTER EGO CASE.

            11/27/24     Sharma, Sakshi        CALL WITH WEIL RX, M&A;              0.80   72267216   1,176.00
                                               EVERCORE; SPECIAL MASTER.

            11/27/24     Balido, Catherine     REVIEW AND SUMMARIZE 2020            1.00   72268454    995.00
                                               BONDHOLDERS' RESPONSE TO
                                               COURT'S INCLINATIONS.

            11/27/24     SanGiovanni, Giana    REVIEW AND PREPARE ANALYSIS FOR      1.60   72278614   1,592.00
                                               CLIENT OF PDVH'S REPLY IN SUPPORT
                                               OF MOTION TO DISMISS IN
                                               GRAMERCY ALTER-EGO ACTION,
                                               INCLUDING CORRESPONDENCE WITH
                                               A. CURTIS, LITIGATION TEAM, AND
                                               CLIENT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 286 of 419 PageID
                                                           #: 36038




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            11/27/24     Roberts, Ian          CORRESPOND INTERNALLY RE            2.00   72265264   2,580.00
                                               WEIL/EVERCORE/SPECIAL MASTER
                                               CALL; REVIEW AND SUMMARIZE
                                               PLEADINGS; CORRESPOND WITH C.
                                               BENTLEY AND M. BURRUS RE SAME;
                                               CORRESPOND WITH M. CONTE RE
                                               PLEADING AND REVIEW SUMMARY OF
                                               SAME.

            11/27/24     Conte, Matthew        ANALYZE AND SYNTHESIZE DOCKET       2.10   72256840   1,743.00
                                               FILINGS; COMMUNICATE WITH WEIL
                                               RX TEAM RE: SAME.

            11/27/24     Hann, Jenna           CONDUCT 2L DOCUMENT REVIEW          0.40   72249978    332.00
                                               (DOCUMENTS MARKED AS
                                               PRIVILEGED REDACT DURING 1L
                                               REVIEW).

            11/27/24     Lane, Jack            CONDUCT SECOND LEVEL PRIVILEGE      0.70   72255495    581.00
                                               DOCUMENT REVIEW.

            11/27/24     Wasserman, Jack       CONDUCT 2L PRIVILEGE DOCUMENT       1.60   72257113   1,328.00
                                               REVIEW FOR PRIVILEGE.

            11/27/24     Burrus, Maigreade     REVIEW OPENING STATEMENTS AND       7.00   72279396   9,940.00
                         B.                    SUMMARIZE SAME; CONFER WITH B.
                                               PINCUS RE: OPENING STATEMENTS;
                                               CONFER WITH POTTER ANDERSON
                                               TEAM RE: SERVICE OF FILINGS ON
                                               REPUBLIC; CONFER WITH C. BENTLEY
                                               RE: RESPONSE TO OPENING
                                               STATEMENTS.
Case 1:17-mc-00151-LPS   Document 1584-1 Filed 03/04/25   Page 287 of 419 PageID
                                   #: 36039
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25             Page 288 of 419 PageID
                                                           #: 36040




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                          DISB TYPE     DISB ID#         AMOUNT

                11/01/24   Okada, Tyler                                         H060           42310316              20.00
                           COMPUTERIZED RESEARCH
                           PAYEE: FILE & SERVEXPRESS, LLC (49681-01); INVOICE#: 202410062703701; DATE: 11/1/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - OCTOBER 2024; ALERT FEE


                11/12/24   SanGiovanni, Giana                                   H060           42315505               3.90
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095389326; DATE: 10/31/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK OCTOBER
                           2024.


                11/12/24   Gehnrich, Charles                                    H060           42315591               0.50
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095389326; DATE: 10/31/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK OCTOBER
                           2024.


                11/12/24   Shefa, Yonatan                                       H060           42315398              10.14
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095389326; DATE: 10/31/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK OCTOBER
                           2024.


                11/12/24   Barahona, Philip                                     H060           42315831              66.42
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095389326; DATE: 10/31/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK OCTOBER
                           2024.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 289 of 419 PageID
                                                           #: 36041




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE     DISB ID#       AMOUNT

                11/12/24   Lucevic, Almir                                    H060           42315504              8.24
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095389326; DATE: 10/31/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK OCTOBER
                           2024.


                11/12/24   Evans, Emma                                       H060           42315664              1.77
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095389326; DATE: 10/31/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK OCTOBER
                           2024.


                11/12/24   Smith, Kara                                       H060           42315617              3.57
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095389326; DATE: 10/31/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK OCTOBER
                           2024.


                11/12/24   Curtis, Aaron J.                                  H060           42315814              0.50
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095389326; DATE: 10/31/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK OCTOBER
                           2024.


                11/12/24   SanGiovanni, Giana                                H060           42315448           14.76
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095389326; DATE: 10/31/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK OCTOBER
                           2024.


                SUBTOTAL DISB TYPE H060:                                                                     $129.80
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25            Page 290 of 419 PageID
                                                           #: 36042




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                         DISB TYPE     DISB ID#        AMOUNT

                11/07/24   Rubin, Avi                                          H073           42291070           52.52
                           FIRM MESSENGER SERVICE
                           PAYEE: SKYLINE CREDIT SERVICES LLC (12217-02); INVOICE#: 6168938; DATE: 11/1/2024 - TAXI
                           CHARGES FOR 2024-11-01 INVOICE #6168938220941 AVI RUBIN G198 RIDE DATE: 2024-10-21
                           FROM: 767 5TH AVE, MANHATTAN, NY TO: MANHATTAN, NY RIDE TIME: 21:12


                SUBTOTAL DISB TYPE H073:                                                                         $52.52

                11/04/24   Clarke, Andrew                                      H080           42302037           40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-198; DATE: 11/10/2024 - SEAMLESS MEALS EXPENSE BY ANDREW
                           CLARKE ON 2024-11-04 AT 6:36 PM


                11/06/24   Koivistoinen, Tanja                                 H080           42302130           40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-198; DATE: 11/10/2024 - SEAMLESS MEALS EXPENSE BY TANJA
                           KOIVISTOINEN ON 2024-11-06 AT 6:59 PM


                11/07/24   Clarke, Andrew                                      H080           42302017           39.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-198; DATE: 11/10/2024 - SEAMLESS MEALS EXPENSE BY ANDREW
                           CLARKE ON 2024-11-07 AT 6:50 PM


                11/07/24   Rubin, Avi                                          H080           42302030           39.44
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-198; DATE: 11/10/2024 - SEAMLESS MEALS EXPENSE BY AVI RUBIN ON
                           2024-11-07 AT 7:15 PM


                11/07/24   Keenan, Eoghan P.                                   H080           42302117           32.94
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-198; DATE: 11/10/2024 - SEAMLESS MEALS EXPENSE BY EOGHAN
                           KEENAN ON 2024-11-07 AT 7:51 PM
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 291 of 419 PageID
                                                           #: 36043




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#       AMOUNT

                11/07/24   Kamath, Priya                                     H080          42301977           40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-198; DATE: 11/10/2024 - SEAMLESS MEALS EXPENSE BY PRIYA
                           KAMATH ON 2024-11-07 AT 6:09 PM


                11/11/24   Koivistoinen, Tanja                               H080          42311271           40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-199; DATE: 11/17/2024 - SEAMLESS MEALS EXPENSE BY TANJA
                           KOIVISTOINEN ON 2024-11-11 AT 6:50 PM


                11/12/24   Kamath, Priya                                     H080          42311264           40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-199; DATE: 11/17/2024 - SEAMLESS MEALS EXPENSE BY PRIYA
                           KAMATH ON 2024-11-12 AT 7:00 PM


                11/13/24   Clarke, Andrew                                    H080          42311198           38.47
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-199; DATE: 11/17/2024 - SEAMLESS MEALS EXPENSE BY ANDREW
                           CLARKE ON 2024-11-13 AT 6:25 PM


                11/13/24   Kamath, Priya                                     H080          42311167           40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-199; DATE: 11/17/2024 - SEAMLESS MEALS EXPENSE BY PRIYA
                           KAMATH ON 2024-11-13 AT 7:00 PM


                11/15/24   Hann, Jenna                                       H080          42311127           40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-199; DATE: 11/17/2024 - SEAMLESS MEALS EXPENSE BY JENNA HANN
                           ON 2024-11-15 AT 7:46 PM
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 292 of 419 PageID
                                                           #: 36044




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#        AMOUNT

                11/19/24   Hann, Jenna                                       H080          42324220            30.62
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-200; DATE: 11/24/2024 - SEAMLESS MEALS EXPENSE BY JENNA HANN
                           ON 2024-11-19 AT 8:15 PM


                11/19/24   Koivistoinen, Tanja                               H080          42324209            40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-200; DATE: 11/24/2024 - SEAMLESS MEALS EXPENSE BY TANJA
                           KOIVISTOINEN ON 2024-11-19 AT 7:55 PM


                11/20/24   Sharma, Sakshi                                    H080          42324097            40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-200; DATE: 11/24/2024 - SEAMLESS MEALS EXPENSE BY SAKSHI
                           SHARMA ON 2024-11-20 AT 6:35 PM


                11/21/24   Koivistoinen, Tanja                               H080          42324227            40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-200; DATE: 11/24/2024 - SEAMLESS MEALS EXPENSE BY TANJA
                           KOIVISTOINEN ON 2024-11-21 AT 7:05 PM


                11/22/24   Koivistoinen, Tanja                               H080          42324244            40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-200; DATE: 11/24/2024 - SEAMLESS MEALS EXPENSE BY TANJA
                           KOIVISTOINEN ON 2024-11-22 AT 7:20 PM


                11/25/24   Rubin, Avi                                        H080          42339674            40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-201; DATE: 12/1/2024 - SEAMLESS MEALS EXPENSE BY AVI RUBIN ON
                           2024-11-25 AT 6:26 PM


                SUBTOTAL DISB TYPE H080:                                                                   $660.47
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25             Page 293 of 419 PageID
                                                           #: 36045




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                          DISB TYPE     DISB ID#     AMOUNT

                11/13/24   Bentley, Chase A.                                    H084           42296431         13.20
                           TRAVEL
                           INVOICE#: CREX6961215611131305; DATE: 11/13/2024 - TRAVEL MEAL, SEP 30, 2024


                11/13/24   Bentley, Chase A.                                    H084           42296433         28.77
                           TRAVEL
                           INVOICE#: CREX6961215611131305; DATE: 11/13/2024 - LUNCH, SEP 30, 2024


                SUBTOTAL DISB TYPE H084:                                                                        $41.97

                11/07/24   Bentley, Chase A.                                    H160           42290708         31.68
                           TRAVEL
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100112; DATE: 11/1/2024 - TAXI
                           CHARGES FOR 2024-11-01 INVOICE #100112 STATEMENT #804C3C14397 CHASE A BENTLEY
                           G067 RIDE DATE: 2024-10-01 FROM: 2001 M ST NW, WASHINGTON, DC TO: WASHINGTON, DC
                           RIDE TIME: 12:55


                11/07/24   Bentley, Chase A.                                    H160           42290773         43.26
                           TRAVEL
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100112; DATE: 11/1/2024 - TAXI
                           CHARGES FOR 2024-11-01 INVOICE #100112 STATEMENT #804C3C14396 CHASE A BENTLEY
                           G067 RIDE DATE: 2024-10-01 FROM: 1177 22ND ST NW, WASHINGTON, DC TO: WASHINGTON,
                           DC RIDE TIME: 09:05


                11/07/24   Bentley, Chase A.                                    H160           42290750         22.23
                           TRAVEL
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100112; DATE: 11/1/2024 - TAXI
                           CHARGES FOR 2024-11-01 INVOICE #100112 STATEMENT #804C3C14398 CHASE A BENTLEY
                           G067 RIDE DATE: 2024-10-01 FROM: 717 MADISON PL NW, WASHINGTON, DC TO:
                           WASHINGTON, DC RIDE TIME: 16:51
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25              Page 294 of 419 PageID
                                                           #: 36046




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                           DISB TYPE     DISB ID#         AMOUNT

                11/11/24   Bentley, Chase A.                                     H160           42294280           340.00
                           TRAVEL
                           INVOICE#: CREX6961215611111307; DATE: 11/11/2024 - RAIL, TICKET:2730654113059, SEP 30, 2024
                           - FROM/TO: STAMFORD, CT/WASHINGTON, DC


                11/11/24   Bentley, Chase A.                                     H160           42294278           500.00
                           TRAVEL
                           INVOICE#: CREX6961215611111307; DATE: 11/11/2024 - HOTEL ROOM AND TAX, OCT 01, 2024 -
                           CHECK IN 09/30/2024, CHECK OUT 10/01/2024 (1 NIGHT)


                11/13/24   Bentley, Chase A.                                     H160           42296432            18.00
                           TRAVEL
                           INVOICE#: CREX6961215611131305; DATE: 11/13/2024 - PARKING, SEP 30, 2024


                SUBTOTAL DISB TYPE H160:                                                                          $955.17

                11/11/24   Bentley, Chase A.                                     H161           42294279           303.48
                           TRAVEL
                           INVOICE#: CREX6961215611111307; DATE: 11/11/2024 - AIRFARE, DOMESTIC ECONOMY,
                           TICKET:0012180483313, START DATE 10/01/2024 END DATE 10/01/2024 FROM/TO:
                           WASHINGTON, DCA/JFK - OCT 01, 2024


                SUBTOTAL DISB TYPE H161:                                                                          $303.48

                11/07/24   Keenan, Eoghan P.                                     H163           42290717            59.28
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100112; DATE: 11/1/2024 - TAXI
                           CHARGES FOR 2024-11-01 INVOICE #100112 STATEMENT #804C3C14612 EOGHAN P KEENAN
                           5284 RIDE DATE: 2024-10-22 FROM: 767 5TH AVE, NEW YORK, NY TO: NEW YORK, NY RIDE
                           TIME: 22:00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25             Page 295 of 419 PageID
                                                           #: 36047




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                          DISB TYPE     DISB ID#        AMOUNT

                11/07/24   Bentley, Chase A.                                    H163           42290514           153.28
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100112; DATE: 11/1/2024 - TAXI
                           CHARGES FOR 2024-11-01 INVOICE #100112 STATEMENT #804C3C14405 CHASE A BENTLEY
                           G067 RIDE DATE: 2024-10-01 FROM: TO: STAMFORD, CT RIDE TIME: 21:10


                11/11/24   Clarke, Andrew                                       H163           42294325               45.39
                           TRANSPORTATION - LEGAL/OVERTIME
                           INVOICE#: CREX7041092811111307; DATE: 11/11/2024 - LOCAL TAXI, NOV 04, 2024 - UBER HOME


                11/26/24   Gross, Nate                                          H163           42313840               52.05
                           TRANSPORTATION - LEGAL/OVERTIME
                           INVOICE#: CREX7078116611261309; DATE: 11/26/2024 - TAXI - SEP 24, 2024 - CAB FROM OFFICE
                           TO HOME.


                SUBTOTAL DISB TYPE H163:                                                                         $310.00

                11/07/24   WGM, Firm                                            S011           42295746                2.00
                           DUPLICATING
                           4 COLOR PRINT(S) MADE BETWEEN 11/06/2024 AND 11/07/2024


                11/19/24   WGM, Firm                                            S011           42307930               10.00
                           DUPLICATING
                           20 COLOR PRINT(S) MADE BETWEEN 11/13/2024 AND 11/19/2024


                11/26/24   WGM, Firm                                            S011           42316341                5.00
                           DUPLICATING
                           10 COLOR PRINT(S) MADE BETWEEN 11/26/2024 AND 11/26/2024


                SUBTOTAL DISB TYPE S011:                                                                          $17.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 296 of 419 PageID
                                                           #: 36048




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                11/07/24   Mackinnon, Josh                                   S030          42291434      110.00
                           DOCUMENT PROCESSING
                           NY DOCUMENT PROCESSING,10/22/2024,JOB# 90058,"COMPARISON BLACKLINE",2.75
                           HOUR(S),OPERATOR: DS INTAKE


                SUBTOTAL DISB TYPE S030:                                                                $110.00

                11/12/24   Mackinnon, Josh                                   S061          42295280       13.42
                           COMPUTERIZED RESEARCH
                           BLAW USAGE REPORT - OCTOBER 2024; WONG, OI-MAY; 1 LAW SEARCH


                11/13/24   Smith, Kara                                       S061          42297675      653.76
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 10/04/2024 ACCOUNT 424YN6CXS


                11/13/24   Smith, Kara                                       S061          42297904      217.92
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 10/17/2024 ACCOUNT 424YN6CXS


                11/13/24   Smith, Kara                                       S061          42297263      272.40
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 10/03/2024 ACCOUNT 424YN6CXS


                11/13/24   Smith, Kara                                       S061          42297508      435.84
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 10/15/2024 ACCOUNT 424YN6CXS


                11/13/24   Smith, Kara                                       S061          42297934      980.64
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 10/21/2024 ACCOUNT 424YN6CXS
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 297 of 419 PageID
                                                           #: 36049




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                11/13/24   Smith, Kara                                       S061          42297311       54.48
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 10/18/2024 ACCOUNT 424YN6CXS


                11/13/24   Pancham, Brenda                                   S061          42297823       54.48
                           COMPUTERIZED RESEARCH
                           NY LEXIS - PANCHAM, BRENDA 10/11/2024 ACCOUNT 424YN6CXS


                11/13/24   Kamath, Priya                                     S061          42297510      313.67
                           COMPUTERIZED RESEARCH
                           NY LEXIS - KAMATH, PRIYA 10/18/2024 ACCOUNT 424YN6CXS


                11/13/24   Smith, Kara                                       S061          42297783      261.39
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 10/21/2024 ACCOUNT 424YN6CXS


                11/13/24   Smith, Kara                                       S061          42297654      272.40
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 10/08/2024 ACCOUNT 424YN6CXS


                11/13/24   Smith, Kara                                       S061          42297274       29.17
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 10/21/2024 ACCOUNT 424YN6CXS


                11/13/24   Pancham, Brenda                                   S061          42297331      156.84
                           COMPUTERIZED RESEARCH
                           NY LEXIS - PANCHAM, BRENDA 10/11/2024 ACCOUNT 424YN6CXS


                11/13/24   SanGiovanni, Giana                                S061          42298389      350.27
                           COMPUTERIZED RESEARCH
                           MI LEXIS - SANGIOVANNI, GIANA 10/29/2024 ACCOUNT 424YN6CXS
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25        Page 298 of 419 PageID
                                                             #: 36050




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                11/13/24   Smith, Kara                                       S061          42297933      490.32
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 10/09/2024 ACCOUNT 424YN6CXS


                11/13/24   Kamath, Priya                                     S061          42297613      217.92
                           COMPUTERIZED RESEARCH
                           NY LEXIS - KAMATH, PRIYA 10/18/2024 ACCOUNT 424YN6CXS


                11/13/24   SanGiovanni, Giana                                S061          42298394      150.12
                           COMPUTERIZED RESEARCH
                           MI LEXIS - SANGIOVANNI, GIANA 10/16/2024 ACCOUNT 424YN6CXS


                11/14/24   Evans, Emma                                       S061          42301049       41.48
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - EVANS,EMMA 10/07/2024 TRANSACTIONS: 2


                11/14/24   Kamath, Priya                                     S061          42299864      225.12
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 10/10/2024 TRANSACTIONS: 26


                11/14/24   Niles-Weed, Robert B.                             S061          42300225       59.21
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - NILES-WEED,ROBERT 10/02/2024 TRANSACTIONS: 2


                11/14/24   Kamath, Priya                                     S061          42301100      639.74
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 10/18/2024 TRANSACTIONS: 32


                11/14/24   Gehnrich, Charles                                 S061          42300524      124.43
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 10/10/2024 TRANSACTIONS: 27
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 299 of 419 PageID
                                                           #: 36051




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                11/14/24   Smith, Kara                                       S061          42301152       88.81
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - SMITH,KARA 10/23/2024 TRANSACTIONS: 3


                11/14/24   Shefa, Yonatan                                    S061          42303159        5.80
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - OCTOBER 2024


                11/14/24   Vélez, Francisco J.                               S061          42301497        3.30
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - WASHINGTON OFFICE - OCTOBER 2024


                11/14/24   Gehnrich, Charles                                 S061          42300706      331.82
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 10/05/2024 TRANSACTIONS: 41


                11/14/24   Roberts, Ian                                      S061          42300426       71.08
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - ROBERTS,IAN 10/10/2024 TRANSACTIONS: 29


                11/14/24   Kamath, Priya                                     S061          42300149      242.85
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 10/08/2024 TRANSACTIONS: 11


                11/14/24   Kamath, Priya                                     S061          42299991       41.48
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 10/07/2024 TRANSACTIONS: 8


                11/14/24   SanGiovanni, Giana                                S061          42298954       25.22
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 10/30/2024 TRANSACTIONS: 1
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25        Page 300 of 419 PageID
                                                             #: 36052




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                11/14/24   Roberts, Ian                                      S061          42301305       41.48
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - ROBERTS,IAN 10/15/2024 TRANSACTIONS: 4


                11/14/24   Roberts, Ian                                      S061          42301352      124.43
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - ROBERTS,IAN 10/19/2024 TRANSACTIONS: 15


                11/14/24   Jaeger, Rebecca                                   S061          42299959      165.91
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - JAEGER,REBECCA 10/04/2024 TRANSACTIONS: 43


                11/14/24   SanGiovanni, Giana                                S061          42298911      317.95
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 10/18/2024 TRANSACTIONS: 23


                11/14/24   Roberts, Ian                                      S061          42299900       82.95
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - ROBERTS,IAN 10/11/2024 TRANSACTIONS: 27


                11/14/24   SanGiovanni, Giana                                S061          42298928      535.80
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 10/29/2024 TRANSACTIONS: 56


                11/14/24   Logan, Savannah L.                                S061          42314782      145.19
                           COMPUTERIZED RESEARCH
                           DC WESTLAW - LOGAN,SAVANNAH 10/30/2024 TRANSACTIONS: 6


                11/14/24   Niles-Weed, Robert B.                             S061          42300949      248.71
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - NILES-WEED,ROBERT 10/07/2024 TRANSACTIONS: 12
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 301 of 419 PageID
                                                           #: 36053




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                11/14/24   Kamath, Priya                                     S061          42299407      236.99
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 10/04/2024 TRANSACTIONS: 21


                11/14/24   Gehnrich, Charles                                 S061          42300968      733.81
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 10/11/2024 TRANSACTIONS: 56


                11/14/24   SanGiovanni, Giana                                S061          42298929       96.38
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 10/28/2024 TRANSACTIONS: 18


                11/14/24   Smith, Kara                                       S061          42301190      230.98
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - SMITH,KARA 10/09/2024 TRANSACTIONS: 22


                11/14/24   Evans, Emma                                       S061          42303585       12.60
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - OCTOBER 2024


                11/14/24   SanGiovanni, Giana                                S061          42298949      116.61
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 10/16/2024 TRANSACTIONS: 20


                11/14/24   Okada, Tyler                                      S061          42303429       51.20
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - OCTOBER 2024


                11/14/24   Gehnrich, Charles                                 S061          42299822      692.33
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 10/18/2024 TRANSACTIONS: 63
        Case 1:17-mc-00151-LPS                     Document 1584-1 Filed 03/04/25        Page 302 of 419 PageID
                                                             #: 36054




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                11/14/24   Evans, Emma                                       S061          42300180       41.48
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - EVANS,EMMA 10/03/2024 TRANSACTIONS: 23


                11/14/24   Okada, Tyler                                      S061          42303391      457.70
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - OCTOBER 2024


                11/14/24   Burrus, Maigreade B.                              S061          42300452      183.64
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - BURRUS,MAGGIE 10/11/2024 TRANSACTIONS: 15


                11/14/24   Niles-Weed, Robert B.                             S061          42301003      130.29
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - NILES-WEED,ROBERT 10/09/2024 TRANSACTIONS: 23


                11/14/24   Kamath, Priya                                     S061          42301255      290.34
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - KAMATH,PRIYA 10/06/2024 TRANSACTIONS: 21


                11/14/24   Niles-Weed, Robert B.                             S061          42303497        3.70
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - OCTOBER 2024


                11/14/24   Roberts, Ian                                      S061          42299668       82.95
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - ROBERTS,IAN 10/18/2024 TRANSACTIONS: 3


                11/14/24   Roberts, Ian                                      S061          42300946       82.95
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - ROBERTS,IAN 10/17/2024 TRANSACTIONS: 12
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 303 of 419 PageID
                                                           #: 36055




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                11/14/24   Curtis, Aaron J.                                  S061          42303162      17.10
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - OCTOBER 2024


                11/14/24   Gehnrich, Charles                                 S061          42300198      41.48
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 10/21/2024 TRANSACTIONS: 18


                11/14/24   Gehnrich, Charles                                 S061          42299896      82.95
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 10/07/2024 TRANSACTIONS: 21


                11/14/24   Gehnrich, Charles                                 S061          42299432      41.48
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 10/14/2024 TRANSACTIONS: 9


                11/14/24   Jaeger, Rebecca                                   S061          42300719      41.48
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - JAEGER,REBECCA 10/24/2024 TRANSACTIONS: 12


                11/14/24   Welch, Timothy C.                                 S061          42301489       3.10
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - WASHINGTON OFFICE - OCTOBER 2024


                11/14/24   Roberts, Ian                                      S061          42299454      82.95
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - ROBERTS,IAN 10/14/2024 TRANSACTIONS: 9


                11/14/24   SanGiovanni, Giana                                S061          42303428      80.10
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - OCTOBER 2024
        Case 1:17-mc-00151-LPS                    Document 1584-1 Filed 03/04/25         Page 304 of 419 PageID
                                                            #: 36056




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                11/14/24   Burrus, Maigreade B.                              S061          42301199      165.91
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - BURRUS,MAGGIE 10/10/2024 TRANSACTIONS: 5


                11/14/24   SanGiovanni, Giana                                S061          42298965       35.33
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 10/31/2024 TRANSACTIONS: 5


                11/14/24   Balido, Catherine                                 S061          42303297       97.20
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - OCTOBER 2024


                11/25/24   Koivistoinen, Tanja                               S061          42319718         4.03
                           COMPUTERIZED RESEARCH
                           INTELLIGIZE USAGE REPORT - OCTOBER 2024


                11/25/24   Mackinnon, Josh                                   S061          42319840      670.13
                           COMPUTERIZED RESEARCH
                           INTELLIGIZE USAGE REPORT - OCTOBER 2024


                SUBTOTAL DISB TYPE S061:                                                              $13,294.99

                11/15/24   Logan, Savannah L.                                S064          42305461       85.00
                           COMPUTERIZED RESEARCH
                           NEWSWIRE SERVICE - OCTOBER 2024 FOR CITGO / BANKRUPTCY SALE


                11/15/24   Bentley, Chase A.                                 S064          42305403       85.00
                           COMPUTERIZED RESEARCH
                           NEWSWIRE SERVICE - OCTOBER 2024 FOR CITGO NEWS ALERT (CUSTOM)


                SUBTOTAL DISB TYPE S064:                                                                $170.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25              Page 305 of 419 PageID
                                                           #: 36057




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2024015169


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                           DISB TYPE    DISB ID#    AMOUNT

                11/05/24   WGM, Firm                                             S117          42289761         3.00
                           DUPLICATING
                           20 PRINT(S) MADE BETWEEN 11/05/2024 AND 11/05/2024


                11/12/24   WGM, Firm                                             S117          42296056       49.05
                           DUPLICATING
                           327 PRINT(S) MADE BETWEEN 11/06/2024 AND 11/12/2024


                11/19/24   WGM, Firm                                             S117          42308206       36.90
                           DUPLICATING
                           246 PRINT(S) MADE BETWEEN 11/13/2024 AND 11/19/2024


                SUBTOTAL DISB TYPE S117:                                                                     $88.95


                           TOTAL DISBURSEMENTS                                                            $16,134.35
Case 1:17-mc-00151-LPS   Document 1584-1 Filed 03/04/25   Page 306 of 419 PageID
                                   #: 36058
Case 1:17-mc-00151-LPS   Document 1584-1 Filed 03/04/25   Page 307 of 419 PageID
                                   #: 36059
      Case 1:17-mc-00151-LPS          Document 1584-1 Filed 03/04/25             Page 308 of 419 PageID
                                                #: 36060


Potter Anderson & Corroon LLP
1313 North Market Street
P.O. Box 951
Wilmington, DE 19899-0951
302 984 6000
www.potteranderson.com

Federal ID # XX-XXXXXXX


                                                   February 12, 2025
                                                   Bill Number 312892
Pincus, Robert B.                                  File Number (PINCRO-51819) / 21202.00001
rbpincus@gmail.com


         For legal services rendered as more fully set forth in the attached statement.

                                  Legal Services                    $44,128.50
                                  Disbursements                         $53.00
                                  Bill Total                        $44,181.50




                                                                                                          MFD
       Case 1:17-mc-00151-LPS             Document 1584-1 Filed 03/04/25          Page 309 of 419 PageID
                                                    #: 36061



Potter Anderson & Corroon LLP
1313 North Market Street
P.O. Box 951
Wilmington, DE 19899-0951
302 984 6000
www.potteranderson.com

Federal ID # XX-XXXXXXX



                                                          February 12, 2025
                                                          Bill Number 312892
Pincus, Robert B.                                         File Number (PINCRO-51819 ) / 21202.00001
rbpincus@gmail.com


         RE: Legal Advice to Special Master in U.S. District Court for District of Delaware


         Through November 30, 2024


Date              Atty      Description                                                         Hours       Value

11/01/24          MTS       Pleadings                                                         0.80 Hrs   $1,220.00
                            Crystallex email and filings review
11/01/24          MTS       Pleadings                                                         0.50 Hrs    $762.50
                            Horizon zoom attendance
11/01/24          BAPA      Other Written Motions and Submissions                             0.80 Hrs    $672.00
                            Review, revise August Fee Report
11/01/24          NMTA      Other Written Motions and Submissions                             1.00 Hrs    $300.00
                            Read and review Special Master's monthly status report,
                            review exhibits, prepare for court filing and service
11/01/24          MCD       Analysis/Strategy                                                 0.00 Hrs      $0.00
                            Review August fee report; prepare and file re same
11/01/24          MTS       Pleadings                                                         0.80 Hrs   $1,220.00
                            Email and filings review re Crystallex
11/01/24          MPM       Analysis and Advice                                               3.20 Hrs   $2,688.00
                            Review documents and correspondence from Weil;
                            review trust documents; prepare for and participate in
                            teleconference with Weil re: trust structure and
                            documents.
11/04/24          MTS       Fact Investigation/Development                                    0.50 Hrs    $762.50
                            Project Horizon Zoom Conference
11/04/24          LFM       Other Written Motions and Submissions                             0.40 Hrs    $130.00
                            Review orders from court re upcoming responsive filings,
                            determination of applicable deadlines, related
                            communications
11/04/24          TEE       Document/File Management                                          1.20 Hrs    $150.00
                            Update docket
11/05/24          MTS       Pleadings                                                         0.30 Hrs    $457.50
                            Review of emails and filings
11/06/24          NMTA      Other Written Motions and Submissions                             3.40 Hrs   $1,020.00


                                                                                                               MFD
       Case 1:17-mc-00151-LPS         Document 1584-1 Filed 03/04/25            Page 310 of 419 PageID
                                                #: 36062
        Pincus, Robert B.
        Re Legal Advice to Special Master in U.S. D

Date           Atty     Description                                                     Hours          Value

                        Review dockets and update update service list, review
                        letter reply to submissions and opposition to motion for
                        expedited consideration, related communications
11/06/24       MCD      Other Written Motions and Submissions                         2.90 Hrs   $1,305.00
                        Review Response letter, status report, and opposition to
                        the motion to expedite; email correspondence re same;
                        prepare and file re same
11/06/24       BAPA     Other Written Motions and Submissions                         2.00 Hrs   $1,680.00
                        Review and coordinate filing of opposition to motion to
                        expedite and letter re reply to sales process order
11/07/24       NMTA     Analysis/Strategy                                             0.70 Hrs     $210.00
                        Review entities, create chart, send email with chart
11/07/24       MTS      Pleadings                                                     0.50 Hrs     $762.50
                        Review of filings and emails
11/08/24       BAPA     Analysis/Strategy                                             0.10 Hrs         $84.00
                        Correspondence re trust structure
11/11/24       NMTA     Analysis/Strategy                                             0.10 Hrs         $30.00
                        Review recent filings
11/12/24       MCD      Analysis/Strategy                                             0.70 Hrs     $315.00
                        Email correspondence re requests for production; pull
                        sample of responses and objections.
11/12/24       NMTA     Analysis/Strategy                                             0.10 Hrs         $30.00
                        Review court order and deadlines
11/12/24       MPM      Analysis and Advice                                           5.50 Hrs   $4,620.00
                        Review documents and correspondence re: proposed
                        stock sale; review related litigation materials; review and
                        comment on trust agreement.
11/12/24       BAPA     Analysis/Strategy                                             0.30 Hrs     $252.00
                        Correspondence re requests for production
11/12/24       ALG      Analysis and Advice                                           0.10 Hrs         $52.00
                        Conference with M. Maxwell re: structure of trust
                        agreement and related matters
11/13/24       MPM      Analysis and Advice                                           7.70 Hrs   $6,468.00
                        Review documents and correspondence re: proposed
                        stock sale; review related litigation materials; review and
                        comment on trust agreement.
11/14/24       MCD      Other Written Motions and Submissions                         2.20 Hrs     $990.00
                        Review motion and opposition to enforce access to SPA;
                        prepare and file re same.
11/14/24       NMTA     Analysis/Strategy                                             0.30 Hrs         $90.00
                        Review docket for deadlines, update service list
11/14/24       NMTA     Other Written Motions and Submissions                         0.40 Hrs     $120.00
                        Review opposition to motion to enforce, check case
                        citations, confirm exhibit
11/14/24       BAPA     Other Written Motions and Submissions                         1.40 Hrs   $1,176.00
                        Review, revise and coordinate filing of opposition brief,
                        correspondence re fees report
11/15/24       NMTA     Other Written Motions and Submissions                         0.30 Hrs         $90.00
                        Review monthly status report, check exhibits, related


                                                                                                 MFD
       Case 1:17-mc-00151-LPS         Document 1584-1 Filed 03/04/25             Page 311 of 419 PageID
                                                #: 36063
        Pincus, Robert B.
        Re Legal Advice to Special Master in U.S. D

Date           Atty     Description                                                      Hours          Value

                        communications
11/15/24       BAPA     Other Written Motions and Submissions                          0.80 Hrs     $672.00
                        Review and coordinate filing of September Fee Report
11/15/24       MCD      Analysis/Strategy                                              0.60 Hrs     $270.00
                        Review September status report and Exhibit; prep and
                        file re same.
11/15/24       MTS      Pleadings                                                      1.00 Hrs   $1,525.00
                        Review of court filings and related emails
11/15/24       MPM      Analysis and Advice                                            0.30 Hrs     $252.00
                        Review documents and correspondence re: proposed
                        stock sale; review related litigation materials;
                        teleconference with Tanja Koivistoinen.
11/18/24       MCD      Analysis/Strategy                                              0.20 Hrs         $90.00
                        Email correspondence re distribution list.
11/18/24       ALG      Analysis and Advice                                            0.10 Hrs         $52.00
                        Review and prepare correspondence re: form A&R trust
                        agreements
11/18/24       MPM      Analysis and Advice                                            1.10 Hrs     $924.00
                        Review documents and correspondence re: proposed
                        stock sale and related litigation; review related litigation
                        materials; teleconference with Tanja Koivistoinen;
                        conference with A. Frank and C. Sprance on forms of
                        trust documents.
11/19/24       ALG      Analysis and Advice                                            1.90 Hrs     $988.00
                        Conference with M. Maxwell re: status of matter and
                        trust agreement drafting; locate and redact two sample
                        trust agreements for M. Maxwell to circulate to Weil;
                        review related correspondence and matter materials
11/19/24       MTS      Pleadings                                                      1.50 Hrs   $2,287.50
                        Review of emails and filings
11/19/24       MPM      Analysis and Advice                                            0.60 Hrs     $504.00
                        Review documents and correspondence re: proposed
                        stock sale; review related litigation materials; prepare
                        precedent trust documents for circulation; conference
                        with A. Frank.
11/20/24       MCD      Analysis/Strategy                                              0.80 Hrs     $360.00
                        Review oral order re access motion; correspondence re
                        unredacted SPA.
11/20/24       NMTA     Analysis/Strategy                                              0.40 Hrs     $120.00
                        Communications re SPA, review docket and service
                        emails re same
11/20/24       BAPA     Analysis/Strategy                                              0.10 Hrs         $84.00
                        Correspondence re decision to unredact SPA
11/21/24       MCD      Analysis/Strategy                                              0.80 Hrs     $360.00
                        Correspondence with PAC and Weil Team re unredacted
                        filings.
11/21/24       NMTA     Analysis/Strategy                                              1.10 Hrs     $330.00
                        Review email from co-counsel and Court Order re SPA,
                        research and communications re same


                                                                                                  MFD
       Case 1:17-mc-00151-LPS         Document 1584-1 Filed 03/04/25           Page 312 of 419 PageID
                                                #: 36064
        Pincus, Robert B.
        Re Legal Advice to Special Master in U.S. D

Date           Atty     Description                                                    Hours          Value

11/21/24       BAPA     Analysis/Strategy                                            0.50 Hrs     $420.00
                        Review J. Stark inclinations and correspondence re SPA
                        redactions
11/22/24       TEE      Document/File Management                                     1.00 Hrs     $125.00
                        Update docket
11/22/24       NMTA     Analysis/Strategy                                            0.70 Hrs     $210.00
                        Review orders re deadlines
11/25/24       MCD      Analysis/Strategy                                            0.00 Hrs          $0.00
                        Email correspondence re list of parties for confidential
                        filings.
11/25/24       MCD      Analysis/Strategy                                            0.30 Hrs     $135.00
                        Correspondence re unsealing order; review docket
                        activity re same.
11/25/24       NMTA     Analysis/Strategy                                            0.30 Hrs         $90.00
                        Review order and search docket for sealed documents,
                        related communications
11/26/24       ALG      Analysis and Advice                                          0.50 Hrs     $260.00
                        Review draft trust agreement and comments thereto and
                        related correspondence
11/26/24       MCD      Analysis/Strategy                                            0.00 Hrs          $0.00
                        Review notice to unredact the SPA, opening brief re
                        response to oral order, and redacted exhibits;
                        Correspondence related to filings.
11/26/24       MTS      Pleadings                                                    0.50 Hrs     $762.50
                        Review of emails and filings
11/26/24       MCD      Analysis/Strategy                                            1.20 Hrs     $540.00
                        Review and revise chart re confidential parties,
11/26/24       BAPA     Other Written Motions and Submissions                        2.70 Hrs    $2,268.00
                        Review, revise and coordinate filing of special master
                        opening position on the court's inclinations unredacted
                        version of the SPA
11/26/24       LFM      Other Written Motions and Submissions                        3.50 Hrs    $1,137.50
                        Review, prepare exhibits to SPA, prepare for court filing
11/27/24       MCD      Analysis/Strategy                                            1.80 Hrs     $810.00
                        Review docket re unsealing; email correspondence re
                        serving sealed filings.
11/27/24       NMTA     Analysis/Strategy                                            0.50 Hrs     $150.00
                        Send service email of sealed filing to Republic, draft
                        notice of service re same
11/27/24       BAPA     Other Written Motions and Submissions                        0.50 Hrs     $420.00
                        Calls, correspondence re service of sealed filings on
                        Republic
11/27/24       LFM      Other Written Motions and Submissions                        1.00 Hrs     $325.00
                        Review response to November 20, 2024 order, make
                        final edits, prepare for court filing

                                                                             Total              $44,128.50




                                                                                                MFD
    Case 1:17-mc-00151-LPS             Document 1584-1 Filed 03/04/25    Page 313 of 419 PageID
                                                 #: 36065
       Pincus, Robert B.
       Re Legal Advice to Special Master in U.S. D

       LEGAL SERVICES SUMMARY

       Michael P. Maxwell                                        18.40 Hrs        $15,456.00
       Bindu A. Palapura                                          9.20 Hrs         $7,728.00
       Myron T. Steele                                            6.40 Hrs         $9,760.00
       Malisa C. Dang                                             0.00 Hrs             $0.00
       Malisa C. Dang                                            11.50 Hrs         $5,175.00
       Alyssa G. Frank                                            2.60 Hrs         $1,352.00
       Laura M. Fernandes                                         4.90 Hrs         $1,592.50
       Nicole M. Tarantino                                        9.30 Hrs         $2,790.00
       Taylor E. Ehret                                            2.20 Hrs           $275.00
                                                                 64.50 Hrs        $44,128.50




DISBURSEMENTS

Through November 30, 2024

1410          U.S. District Court                                                                50.00
1464          Pacer Electronic Filings                                                            3.00

                                                         Total Disbursements                    $53.00




                 Total Due This Bill                                               $44,181.50

                                                        GRAND TOTAL DUE            $44,181.50


                                                        Credit Balance              $4,468.81




                                                                                          MFD
Case 1:17-mc-00151-LPS           Document 1584-1 Filed 03/04/25                 Page 314 of 419 PageID
                                           #: 36066




 CRYSTALLEX INTL CORP V. BOLIVARIAN
   REPUBLIC OF VENEZUELA
 C/O ROBERT B. PINCUS,
 SPECIAL MASTER OF U.S. DISTRICT COURT
 EMAIL INVOICE TO: BOB PINCUS -
 RBPINCUS@GMAIL.COM

 Invoice No.    111505
 Date           12/05/2024
 Client No.     15264

 _______________________________________________________________________________________

 CRYSTALLEX INTL CORP C/O SPECIAL MASTER

 FOR PROFESSIONAL SERVICES RENDERED THROUGH
  NOVEMBER 30, 2024:                                                                           $ 4,354.50


                                                                     TOTAL INVOICE             $   4,354.50




 We appreciate the opportunity to be of service to you. If you have any questions or concerns regarding this
 invoice, please call our Billing Manager at Ext. 5134 immediately. If your payment is returned due to
 insufficient funds, we will assess a $25 charge.

 A late fee of 1½% per four-week period will be applied to the unpaid balance after 28 days.

      Santora CPA Group, 220 Continental Drive, Suite 112, Newark, DE 19713 (302) 737-6200
Case 1:17-mc-00151-LPS         Document 1584-1 Filed 03/04/25             Page 315 of 419 PageID
                                         #: 36067




 CRYSTALLEX INTL CORP V. BOLIVARIAN REPUBLIC OF VENEZUELA
 C/O ROBERT B. PINCUS
 SPECIAL MASTER OF U.S. DISTRICT COURT
 EMAIL INVOICE TO: BOB PINCUS -
 RBPINCUS@GMAIL.COM
                                                  Amount Remitted $_________________
 Invoice No. 111505
 Date        12/05/2024
 Client No.  15264

   Please return this stub with your payment to ensure proper credit to your account...thank you.


 Fees for Professional Services Rendered through November 30, 2024:               Invoice No. 111505

   DATE           SERVICE                              STAFF            HOURS            AMOUNT

 11/11/2024    Review of Documents                       Smith             0.75     $      487.50
                Review July invoices to SPPs and AJCs
                (previous), emails with Andrea.
 11/12/2024    Review of Documents                       Smith             1.50            975.00
                Review of various docs (10/29/24 QB
                reports, finish July invoices, August SM
                reports from Weil (received 10/31),
                reply to Andrea.
 11/14/2024    Review of Documents                       Smith             0.75            487.50
                Review draft of September 2024 SM
                report provided by Weil with annex docs
                (invoices), reply to Maggie.
 11/14/2024    Administrative Services                   Smith             0.50            325.00
                Review status of amounts due from
                SPPs/AJCs, amounts due to service
                providers, match QB to external docs.
 11/15/2024    Review of Documents                       Smith             0.75            487.50
                Review September 2024 SM report
                sent to court by Weil; review SPP/AJC
                invoices for August sent by Andrea;
                related emails.
 11/15/2024    Administrative Services                   Mattson           5.00            900.00
                August invoices to AJCs/SPPs, post
                payments from this week, make wire
                payments.
 11/15/2024    Administrative Services                   Smith             0.25            162.50
                September fee report, reply to Maggie
                at Weil, check invoice status.
 11/18/2024    Administrative Services                   Smith             0.50            325.00
                October invoice matter and related
                follow up.
Case 1:17-mc-00151-LPS           Document 1584-1 Filed 03/04/25                Page 316 of 419 PageID
                                           #: 36068




 CRYSTALLEX INTL CORP V. BOLIVARIAN REPUBLIC OF VENEZUELA
 ~Invoice No. 111505                                                                         Page 2


 Fees for Professional Services Rendered through November 30, 2024:

   DATE            SERVICE                                STAFF               HOURS              AMOUNT

 11/19/2024     Administrative Services                 Smith                    0.25              162.50
                 Emails regarding September fee report
                 approval request, review updates on status,
                 review oral order.
                                                                Total For Services                4,312.50

 Reimbursable Expenses - QBO Intuit fees
  for October 12 to November 12                                         $   21.00
  and November 12 to December 12                                            21.00

                                                  Total For Reimbursable Expenses                     42.00

                                                        CURRENT AMOUNT DUE               $        4,354.50




 SUMMARY OF PROFESSIONAL SERVICES:

   NAME                                  HOURS                   RATE                            TOTAL
 Robert S. Smith                          5.25                  $650.00                        $ 3,412.50
 Andrea E. Mattson                        5.00                  $180.00                            900.00

 TOTAL                                    10.25                                                $ 4,312.50




 To pay online by EFT or credit card, please visit our secure payment portal on our website
 (www.santoracpagroup.com) - please click "Pay My Bill" at the top right of the home page.

 We appreciate the opportunity to be of service to you. If you have any questions or concerns regarding
 this invoice, please call our Billing Manager at Ext. 5134 immediately. If your payment is returned due to
 insufficient funds, we will assess a $25 charge.

 A late fee of 1½% per four-week period will be applied to the unpaid balance after 28 days.

      Santora CPA Group, 220 Continental Drive, Suite 112, Newark, DE 19713 (302) 737-6200
Case 1:17-mc-00151-LPS   Document 1584-1 Filed 03/04/25   Page 317 of 419 PageID
                                   #: 36069




               ANNEX CC
           Case 1:17-mc-00151-LPS           Document 1584-1 Filed 03/04/25                Page 318 of 419 PageID
                                                      #: 36070




            DECEMBER 2024

             PROJECT                                       TIME
             Crystallex                                     51:45

             Total                                         51:45



             DATE              PROJECT         TASK                 DESCRIPTION                               VALUE
                                                                    Tcs and emails re sale process,
             12/2/24           Crystallex                           September SM report, response to            1:50
                                                                    Ct opinion
                                                                    Rev lings re Inclinations, tcs w Weil,
             12/3/24           Crystallex                                                                       2:40
                                                                    Wachtell and Gibson, emails
                                                                    Tcs and emails with Weil, rev letter re
             12/4/24           Crystallex                           discovery, discuss inclination lings        3:20
                                                                    and next steps
                                                                    Tc w SPPs re next steps, Tcs ad
             12/5/24           Crystallex                                                                       1:45
                                                                    emails w/ Weil
                                                                    Tcs and email w/ Weil re net steps,
             12/6/24           Crystallex                           data room and related matters, rev          3:20
                                                                    and discuss SM response
                                                                    Rev Ct lings, emails re data room
             12/7/24           Crystallex                                                                       1:30
                                                                    timing and related matters
                                                                    Tcs w Weil re sale process, rev alter
             12/9/24           Crystallex                                                                       1:50
                                                                    ego lings, various emails and tcs
                                                                    Rev Ct ling, Tcs and emails with
             12/10/24          Crystallex                           Weil re ling, sale process, Elliot and      1:30
                                                                    other matters
                                                                    Call w Weil and EVR re hearing and
             12/11/24          Crystallex                           follow up re Judges Order re                2:30
                                                                    injunction and inclinations, emails
                                                                    Calls, emails, meet w Weil, calls w
             12/12/24          Crystallex                           SPPs re prep for hearing, rev form          4:25
                                                                    SPA
             12/13/24          Crystallex                           Prep for and attend hearing                 8:20
                                                                    Tcs and emails w Weil and EVR re
             12/16/24          Crystallex                           status report, sales process, time          1:50
                                                                    line and related matters
                                                                    Rev proposed status report and
             12/17/24          Crystallex                                                                       1:35
                                                                    Judge’s Order, discuss w/ Weil
                                                                    Rev and revise proposed status
                                                                    report,Tcs w Weil and EVR re same,
             12/18/24          Crystallex                           time line, sales process, rev letter to     4:20
                                                                    Ct re fees, emails w Weil, EVR re
                                                                    data room,bidders
                                                                    Tcs and emails re status report, sale
             12/19/24          Crystallex                                                                       1:40
                                                                    process etc



                                                        Page 1
fi
 fi
      fi
      fi
      fi
                          fi
          Case 1:17-mc-00151-LPS    Document 1584-1 Filed 03/04/25             Page 319 of 419 PageID
                                              #: 36071




            DATE       PROJECT         TASK              DESCRIPTION                               VALUE
                                                         Rev draft status report, emails re
            12/20/24   Crystallex                        same and nancing sources, data              1:50
                                                         room, etc
                                                         Rev and comment on proposed Ct
            12/23/24   Crystallex                         ling re Inclinations, various emails w     3:35
                                                         Weil, rev SPPs and AJCs comments
            12/24/24   Crystallex                        Rev filings, emails                         1:00

            12/30/24   Crystallex                        Rev opinion, emails                         1:25
                                                         Rev NDAs, emails, rev Ct Order re
            12/31/24   Crystallex                                                                    1:30
                                                         fees
            Total                                                                                  51:45




                                                Page 2
fi
     fi
Case 1:17-mc-00151-LPS              Document 1584-1 Filed 03/04/25 Page 320 of 419 PageID
                                              #: 36072
 767 Fifth Avenue                                           Weil, Gotshal & Manges LLP
 New York, NY 10153
 +1 212 310 8000 tel
 +1 212 310 8007 fax




 Robert B. Pincus, Special Master
                                                                                     February 28, 2025


 Attn: Robert Pincus

                               FOR PROFESSIONAL SERVICES AND DISBURSEMENTS



                                                                            Invoice Number: 2025000594
                                                                       Client/Matter Number: 67816.0003
 FOR PROFESSIONAL SERVICES AND DISBURSEMENTS for
 the period through December 31, 2024 in connection with the
 Citgo Restructuring and M&A Process matter.


 FEES                                                                                    $1,306,957.00
 Volunta1y 10% Write-off                                                                  -$130,695.70
 FEES DUE                                                                                $1,176,261.30

 DISBURSEMENTS                                                                              $11,501.21
 TOTAL AMOUNT DUE                                                                        $1,187,762.51
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 321 of 419 PageID
                                                           #: 36073




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594




                                                        TIMEKEEPER SUMMARY REPORT


                    TIMEKEEPER                                             RATE      HOURS       AMOUNT
                    New York


                     Partner
                    Barr, Matt                                           $2,350.00     46.40    $109,040.00
                    Lender, David J.                                     $1,995.00     16.50     $32,917.50
                    Friedmann, Jared R.                                  $1,795.00     60.30    $108,238.50
                    Keenan, Eoghan P.                                    $1,795.00     55.90    $100,340.50


                     Counsel
                    Bentley, Chase A.                                    $1,595.00    126.40    $201,608.00
                    Curtis, Aaron J.                                     $1,595.00     36.10     $57,579.50


                     Associate
                    Koivistoinen, Tanja                                  $1,470.00     49.80     $73,206.00
                    Burrus, Maigreade B.                                 $1,420.00    108.20    $153,644.00
                    Shefa, Yonatan                                       $1,420.00     11.80     $16,756.00
                    Clarke, Andrew                                       $1,355.00      5.90      $7,994.50
                    Jaeger, Rebecca                                      $1,355.00     22.50     $30,487.50
                    Roberts, Ian                                         $1,290.00     36.20     $46,698.00
                    Rubin, Avi                                           $1,290.00     55.20     $71,208.00
                    Gehnrich, Charles                                    $1,175.00     39.70     $46,647.50
                    Kamath, Priya                                        $1,175.00      6.90      $8,107.50
                    Balido, Catherine                                      $995.00     27.80     $27,661.00
                    Evans, Emma                                            $995.00     13.10     $13,034.50
                    Mackinnon, Josh                                        $995.00     55.60     $55,322.00
                    Conte, Matthew                                         $830.00     59.70     $49,551.00
                                   Subtotal New York:                                 834.00   $1,210,041.50
                    Washington DC


                     Partner
                    Sanford, Kristin                                     $1,725.00      6.00     $10,350.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 322 of 419 PageID
                                                           #: 36074




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594




                                                        TIMEKEEPER SUMMARY REPORT


                    TIMEKEEPER                                             RATE      HOURS       AMOUNT


                     Associate
                    Logan, Savannah L.                                   $1,175.00     13.70     $16,097.50
                                   Subtotal Washington DC:                             19.70     $26,447.50
                    Miami


                     Partner
                    Dulcey, Alfonso J.                                   $1,750.00      4.00      $7,000.00


                     Counsel
                    Sternlieb, Sarah                                     $1,595.00      7.20     $11,484.00


                     Associate
                    Fernandez, Ricardo                                   $1,290.00     12.50     $16,125.00
                    Agbi, Theo                                           $1,175.00      6.60      $7,755.00
                    SanGiovanni, Giana                                     $995.00     16.00     $15,920.00
                                   Subtotal Miami:                                     46.30     $58,284.00

                    GRAND TOTAL                                                       900.00   $1,294,773.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 323 of 419 PageID
                                                           #: 36075




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount


            12/01/24     Lender, David J.      REVIEW SPECIAL MASTER                 0.10   72266046    199.50
                                               CORRESPONDENCE.

            12/01/24     Keenan, Eoghan P.     REVISE SUMMARY OF KEY TERMS OF        1.10   72260471   1,974.50
                                               SPA FOR EVALUATION.

            12/01/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS          1.20   72262946   1,626.00
                                               FOR PRIVILEGE AND RESPONSIVENESS;
                                               REVIEW AND CHANGE CODING AS
                                               NECESSARY.

            12/01/24     Rubin, Avi            REVIEW UPDATES TO BID DRAFT SPA       0.10   72267153    129.00
                                               DISCUSSION OUTLINE.

            12/01/24     Burrus, Maigreade     REVIEW C. BENTLEY COMMENTS TO         5.20   72279370   7,384.00
                         B.                    RESPONSE OUTLINE RE: NOVEMBER 20
                                               ORDER; PREPARE RESPONSE RE:
                                               NOVEMBER 20 ORDER.

            12/02/24     Friedmann, Jared R.   WEEKLY CALL WITH RX AND M&A           1.10   72367680   1,974.50
                                               TEAM; LITIGATION TEAM MEETING
                                               TO COORDINATE ON OPEN ISSUES;
                                               REVIEW REVISED LETTER TO EIMER RE:
                                               RESPONSES AND OBJECTIONS TO
                                               DISCOVERY DEMANDS AND DRAFT
                                               CONFIDENTIALITY ORDER.

            12/02/24     Barr, Matt            MEET WITH TEAM; CALL WITH QE;         1.50   72363296   3,525.00
                                               MEET WITH TEAM; REVIEW LETTER
                                               AND NEXT STEPS.

            12/02/24     Shefa, Yonatan        CORRESPONDENCE FROM WEIL              0.10   72321595    142.00
                                               LITIGATION TEAM RE: ALTER EGO
                                               CASES.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 324 of 419 PageID
                                                           #: 36076




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            12/02/24     Curtis, Aaron J.      CALL WITH WEIL TEAM TO DISCUSS       1.30   72292823    2,073.50
                                               THE BRIEFING ON THE SALE PROCESS;
                                               REVIEW AND RESPOND TO EMAILS RE:
                                               THE LETTER TO THE VENEZUELA
                                               PARTIES; MEET WITH WEIL
                                               LITIGATION TEAM TO DISCUSS
                                               DOCUMENT REVIEW, THE BRIEFING ON
                                               THE JUDGE’S INCLINATIONS, AND THE
                                               LETTER TO THE VENEZUELA PARTIES.

            12/02/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS         1.50   72360288    2,032.50
                                               IN QUALITY CONTROL REVIEW;
                                               DRAFT AND SEND EMAILS
                                               REGARDING DOCUMENT REVIEW
                                               PROGRESS; ATTEND WIP MEETING TO
                                               DISCUSS ONGOING WORKSTREAMS
                                               AND PROJECTS.

            12/02/24     Sternlieb, Sarah      ATTEND TEAM MEETING; REVIEW          1.00   72360315    1,595.00
                                               AND ANALYZE FILINGS.

            12/02/24     Bentley, Chase A.     REVIEW AND REVISE INCLINATIONS       9.90   72365776   15,790.50
                                               REPLY BRIEF; MULTIPLE EMAILS AND
                                               PHONE CALLS WITH WEIL, EVERCORE
                                               AND SPECIAL MASTER RE SAME;
                                               REVIEW SPA ISSUES LIST FOR NEXT
                                               STEPS IN PROCESS; EMAILS WITH
                                               WEIL M&A RE SAME; COORDINATE
                                               DATA ROOM; ATTEND WEIL WIP
                                               CALL; REVIEW INCLINATIONS BRIEFS
                                               FILED BY OTHER PARTIES; DISCUSS
                                               SAME WITH WEIL TEAM.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 325 of 419 PageID
                                                           #: 36077




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/02/24     Rubin, Avi            ATTEND INTERNAL CHECK-IN CALL;      1.20   72315011   1,548.00
                                               UPDATE SPA DISCUSSION OUTLINE;
                                               REVIEW AND COORDINATE NDA
                                               TRACKER; CALL WITH EVERCORE TO
                                               DISCUSS DATA ROOM ITEMS.

            12/02/24     Gehnrich, Charles     PARTICIPATE IN WIP MEETING;         1.60   72337877   1,880.00
                                               PARTICIPATE IN WEEKLY LITIGATION
                                               TEAM MEETING; REVISE RESPONSE
                                               LETTER TO CITGO, AND INTERNAL
                                               CORRESPONDENCE.

            12/02/24     Balido, Catherine     ATTEND WEIL WIP WITH                0.20   72360414    199.00
                                               RESTRUCTURING, LITIGATION, AND
                                               M&A TEAMS.

            12/02/24     Evans, Emma           ATTEND MEETING WITH LITIGATION,     1.60   72323739   1,592.00
                                               RESTRUCTURING AND M&A TEAM RE:
                                               SALE DEVELOPMENTS;
                                               CORRESPONDENCE WITH WEIL TEAM
                                               RE: SALE PROCESS; CORRESPONDENCE
                                               RE: DOCUMENT PRODUCTION FOR
                                               VENEZUELAN PARTIES; PREPARE
                                               AGENDA FOR LITIGATION TEAM
                                               MEETING; ATTEND LITIGATION TEAM
                                               MEETING RE: SALE PROCESS
                                               DEVELOPMENTS; REVISE AND
                                               PREPARE RESPONSE LETTER TO
                                               VENEZUELAN COUNSEL.

            12/02/24     Mackinnon, Josh       PULL LIST OF EXECUTED NDAS AND      1.80   72304800   1,791.00
                                               FILL OUT ADDITIONAL
                                               INFORMATION, INCLUDING
                                               EXECUTION DATE AND TERM, FOR
                                               NDAS AND CTAS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 326 of 419 PageID
                                                           #: 36078




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/02/24     SanGiovanni, Giana    REVIEW AND REVISE LITIGATION        0.60   72329568    597.00
                                               TASK LIST AND RELATED EMAIL
                                               CORRESPONDENCE WITH A. CURTIS
                                               AND R. JAEGER; ATTEND CITGO WIP
                                               CALL WITH LITIGATION, M&A, AND
                                               RX TEAMS; ATTEND WEEKLY CALL
                                               WITH LITIGATION TEAM.

            12/02/24     Koivistoinen, Tanja   ATTEND WEIL STATUS CALL; REVIEW     3.30   72352687   4,851.00
                                               REVISED OUTLINE ON THE CONTENTS
                                               OF THE REVISE BID MARKUP; REVIEW
                                               STATUS OF VDR AND ATTEND CALL
                                               WITH EVERCORE; REVIEW FORM NDAS
                                               AND CTAS; UPDATE NDA AND CTA
                                               STATUS LIST.

            12/02/24     Roberts, Ian          CORRESPOND WITH C. BENTLEY RE       1.00   72294485   1,290.00
                                               RED TREE RESPONSE TO COURT'S
                                               INCLINATIONS ORDER; REVIEW
                                               OCTOBER 1 HEARING TRANSCRIPT;
                                               SEND RELEVANT PORTIONS AND
                                               CITATIONS FROM SAME TO C.
                                               BENTLEY.

            12/02/24     Conte, Matthew        ATTEND WORK-IN-PROCESS MEETING      0.10   72293768     83.00
                                               WITH WEIL RX/M&A/LIT TEAMS.

            12/03/24     Lender, David J.      REVISE SPECIAL MASTER LETTER.       0.30   72326137    598.50
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 327 of 419 PageID
                                                           #: 36079




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/03/24     Friedmann, Jared R.   REVIEW DRAFT RESPONSE BRIEF IN       3.60   72355432   6,462.00
                                               CONNECTION WITH COURT’S
                                               INCLINATIONS AND PARTIES’ INITIAL
                                               BRIEFING ADDRESSING SAME; EMAILS
                                               WITH TEAM RE: SAME; REVIEW AND
                                               REVISE DRAFT RESPONSE BRIEF;
                                               EMAILS WITH A.CURTIS AND
                                               C.BENTLEY RE: SAME; WEEKLY
                                               COORDINATION CALL WITH WEIL
                                               AND EVERCORE; FURTHER REVISE
                                               DRAFT LETTER TO EIMER RE:
                                               OBJECTIONS TO DISCOVERY AND
                                               CONFIDENTIALITY AGREEMENT;
                                               REVIEW RESPONSE BRIEFS SUBMITTED
                                               BY PARTIES-IN-INTEREST; EMAILS
                                               WITH C.BENTLEY RE: RESPONDING TO
                                               PDVH/CITGO LETTER; FURTHER
                                               ANALYZE SAME AND DRAFT REPLY
                                               POINTS; EMAILS WITH LITIGATION
                                               TEAM RE: SAME.

            12/03/24     Keenan, Eoghan P.     CALL WITH WEIL RX AND EVERCORE       1.10   72324797   1,974.50
                                               TEAMS RE: RESPONSE TO COURT
                                               INCLINATIONS ORDER; MEET WITH
                                               WEIL M&A TEAM RE: REVISIONS TO
                                               SPA BID DRAFT.

            12/03/24     Barr, Matt            REVIEW CORRESPONDENCE;               2.00   72363112   4,700.00
                                               ADVISORS CALL; REVIEW NEXT STEPS
                                               AND PLEADINGS.

            12/03/24     Shefa, Yonatan        REVIEW INCLINATION BRIEFS AND        1.30   72338236   1,846.00
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 328 of 419 PageID
                                                           #: 36080




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/03/24     Curtis, Aaron J.      REVIEW AND COMMENT ON                1.50   72322898   2,392.50
                                               RESPONSE RE THE JUDGE’S
                                               INCLINATIONS; REVIEW AND
                                               RESPOND TO EMAILS RE THE
                                               RESPONSES RE THE JUDGE’S
                                               INCLINATIONS; REVIEW VENEZUELA
                                               PARTIES’ RESPONSE RE THE JUDGE’S
                                               INCLINATIONS.

            12/03/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS         3.10   72360418   4,200.50
                                               FOR RESPONSIVENESS AND PRIVILEGE
                                               IN QUALITY CONTROL REVIEW.

            12/03/24     Bentley, Chase A.     REVIEW INCLINATIONS BRIEFS;          4.40   72365902   7,018.00
                                               REVIEW AND REVISE REPLY BRIEF;
                                               MULTIPLE EMAILS AND PHONE CALLS
                                               RE SAME; COORDINATE DATA ROOM;
                                               PHONE CALL WITH POTENTIAL
                                               BIDDER; ATTEND CHECK-IN CALL
                                               WITH EVERCORE; PHONE CALL WITH
                                               WACHTELL RE NEXT STEPS; DISCUSS
                                               SAME WITH M. BARR.

            12/03/24     Rubin, Avi            CALL WITH EVERCORE; PREPARE          6.50   72325273   8,385.00
                                               REVISE BID DRAFT SPA.

            12/03/24     Gehnrich, Charles     FINALIZE LETTER RESPONSE TO CITGO    0.40   72337836    470.00
                                               AND PDVH RE: RESPONSES AND
                                               OBJECTIONS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 329 of 419 PageID
                                                           #: 36081




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/03/24     Balido, Catherine     REVISE ANSWERING BRIEF TO            3.50   72360106   3,482.50
                                               RESPONSES TO COURT'S NOVEMBER
                                               20TH ORDER; REVIEW AND
                                               SUMMARIZE RESPONSES FROM
                                               OTHER PARTIES FOR SPECIAL
                                               MASTER; COMPILE EMAIL OF
                                               SUMMARIES FOR SPECIAL MASTER.

            12/03/24     Evans, Emma           CORRESPONDENCE WITH WEIL TEAM        0.30   72323768    298.50
                                               RE: ALTER EGO CLAIMS, RESPONSE TO
                                               SALES PROCESS PARTIES, DOCUMENT
                                               REVIEW.

            12/03/24     Mackinnon, Josh       ATTEND EVERCORE CHECK-IN;            1.70   72324938   1,691.50
                                               UPDATE NDA AND CTA TRACKER.

            12/03/24     Koivistoinen, Tanja   ATTEND STATUS CALL WITH              1.30   72352666   1,911.00
                                               EVERCORE AND THE SPECIAL
                                               MASTER; REVIEW STATUS OF THE
                                               UPDATES OF THE VDR AND RELATED
                                               EMAIL CORRESPONDENCE; DRAFT
                                               THE REVISE BID SPA.

            12/03/24     Roberts, Ian          REVISE DRAFT OF SPECIAL MASTER'S     2.70   72324280   3,483.00
                                               RESPONSE TO THE COURT'S
                                               INCLINATIONS ORDER RESPONSIVE
                                               STATEMENTS; ATTEND
                                               WEIL/EVERCORE CALL; CORRESPOND
                                               WITH M. BURRUS RE SPECIAL
                                               MASTER'S RESPONSE TO THE COURT'S
                                               INCLINATIONS ORDER RESPONSIVE
                                               STATEMENTS; FURTHER REVISE
                                               SAME; REVIEW AND SUMMARIZE
                                               CRYSTALLEX'S RESPONSE TO
                                               COMMENTS ON THE COURT'S
                                               INCLINATIONS ORDER.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 330 of 419 PageID
                                                           #: 36082




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index    Amount


            12/03/24     Conte, Matthew        SUMMARIZE AND ORGANIZE NEW            2.20   72324112    1,826.00
                                               DOCKET FILINGS; COMMUNICATE
                                               WITH M. BURRUS RE: SAME.

            12/03/24     Burrus, Maigreade     PREPARE RESPONSE IN SUPPORT OF        8.90   72368051   12,638.00
                         B.                    SPECIAL MASTER'S OPENING
                                               STATEMENT TO NOVEMBER 20 ORDER;
                                               REVIEW RESPONSES TO OPENING
                                               STATEMENTS AND PREPARE UPDATE
                                               FOR SPECIAL MASTER RE: SAME.

            12/04/24     Lender, David J.      TELEPHONE CALL WITH CURTIS RE         0.80   72332224    1,596.00
                                               CITGO SUBMISSION; TEAM
                                               TELEPHONE CALL RE REPLY.

            12/04/24     Friedmann, Jared R.   FURTHER REVIEW/ANALYZE REPLY          2.10   72355423    3,769.50
                                               BRIEFS; CALL WITH LIT TEAM RE:
                                               ADDRESSING EIMER BRIEF; CALL
                                               WITH SPECIAL MASTER, EVERCORE
                                               AND TEAM RE: STRATEGY AND NEXT
                                               STEPS; CALL WITH E. EVANS RE:
                                               DRAFTING CHART/EXHIBIT FOR REPLY
                                               BRIEF SHOWING DIFFERENT PARTIES'
                                               POSITIONS; MEET WITH A. CURTIS RE:
                                               SAME; CALL RE: STRATEGY FOR
                                               DRAFTING REPLY BRIEF AND DIVISION
                                               OF LABOR; CALL WITH D. LENDER RE:
                                               SAME; MEET WITH A. CURTIS RE:
                                               SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 331 of 419 PageID
                                                           #: 36083




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/04/24     Keenan, Eoghan P.     MEET WITH SPECIAL MASTER,           2.20   72332192   3,949.00
                                               EVERCORE AND WEIL RE: COURT
                                               BRIEFING, SALE PROCESS
                                               CONSIDERATIONS AND STRATEGY;
                                               MEET WITH WEIL M&A TEAM RE:
                                               REVISE BID DRAFT OF THE SPA;
                                               REVIEW SPA MATERIAL TERMS AND
                                               CONSIDERATIONS.

            12/04/24     Barr, Matt            ALL HANDS CALL; REVIEW              1.00   72363121   2,350.00
                                               PLEADINGS; MEETINGS WITH TEAM.

            12/04/24     Shefa, Yonatan        PREPARE ANALYSIS OF SALE HEARING    1.50   72352767   2,130.00
                                               BRIEFS AND CORRESPONDENCE WITH
                                               WEIL LITIGATION TEAM RE: SAME.

            12/04/24     Curtis, Aaron J.      REVIEW AND ANALYZE CITGO AND        2.50   72331598   3,987.50
                                               PDVH’S RESPONSE RE THE JUDGE’S
                                               INCLINATIONS; CALLS WITH WEIL
                                               TEAM TO DISCUSS THE REPLY RE THE
                                               JUDGE’S INCLINATIONS; REVIEW AND
                                               RESPOND TO EMAILS RE SAME;
                                               DRAFT SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 332 of 419 PageID
                                                           #: 36084




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/04/24     Jaeger, Rebecca       REVIEW AND ANALYZE FILINGS IN        3.80   72360477   5,149.00
                                               RESPONSE TO COURT INCLINATIONS;
                                               DRAFT CHART ANALYZING ISSUES IN
                                               FILING; CONFER WITH E. EVANS
                                               REGARDING CHART OF PARTIES'
                                               POSITIONS; CONFER WITH LITIGATION
                                               TEAM REGARDING RESPONSE TO
                                               COURT'S INCLINATIONS; REVIEW AND
                                               ANALYZE DOCUMENTS AS PART OF
                                               QUALITY CONTROL REVIEW; CONFER
                                               WITH ASSOCIATE TEAM REGARDING
                                               PARTY POSITION CHART; CONFER
                                               WITH RESTRUCTURING TEAM
                                               REGARDING RESPONSE TO COURT'S
                                               INCLINATIONS.

            12/04/24     Sternlieb, Sarah      REVIEW CITGO REPLY BRIEF AND         2.20   72361099   3,509.00
                                               EMAILS RE: SAME.

            12/04/24     Bentley, Chase A.     PHONE CALL WITH WEIL LIT TEAM RE     4.60   72366036   7,337.00
                                               VZ PARTIES BRIEF RE INCLINATIONS;
                                               REVIEW INCLINATIONS BRIEFS AND
                                               MATERIALS RELATED TO SAME;
                                               PHONE CALL WITH SPECIAL MASTER
                                               AND EVERCORE RE ONGOING
                                               WORKSTREAMS; MULTIPLE CALLS
                                               WITH POTENTIAL BIDDERS RE NEXT
                                               STEPS; COORDINATE DATA ROOM.

            12/04/24     Rubin, Avi            ATTEND CALL WITH SPECIAL             1.40   72333224   1,806.00
                                               MASTER AND EVERCORE; MEET WITH
                                               WEIL M&A TO DISCUSS REVISE BID
                                               DRAFT SPA.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 333 of 419 PageID
                                                           #: 36085




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/04/24     Gehnrich, Charles     MEET WITH TEAM TO DISCUSS            3.30   72340329   3,877.50
                                               VENEZUELA PARTIES OPPOSITION TO
                                               SPECIAL MASTER
                                               RECOMMENDATION; ANALYZE BRIEF;
                                               MEET WITH RESTRUCTURING TEAM
                                               TO DISCUSS SAME; CORRESPONDENCE
                                               WITH SPECIAL MASTER AND CITGO
                                               COUNSEL ON RESPONSE TO EIMER RE:
                                               R&OS; MEET WITH TEAM TO DISCUSS
                                               CHART SUMMARIZING RESPONSES TO
                                               SPECIAL MASTER'S PLAN; ANALYZE
                                               BRIEFING AND FILL IN SUMMARY
                                               CHART INFO.

            12/04/24     Evans, Emma           CORRESPONDENCE RE: REPLY TO SALE     3.30   72340287   3,283.50
                                               PROCESS PARTIES; LITIGATION TEAM
                                               MEETING RE: REPLY TO SALE PROCESS
                                               PARTIES; RESTRUCTURING AND
                                               LITIGATION TEAM MEETING RE:
                                               SAME; CALLS WITH J FRIEDMANN RE:
                                               SUMMARY OF PARTY POSITIONS ON
                                               SALE PROCESS; ASSOCIATE TEAM
                                               MEETING RE: SAME; DRAFT
                                               SUMMARY OF PARTY POSITIONS ON
                                               SALE PROCESS; CORRESPONDENCE
                                               WITH ASSOCIATES RE: SAME.

            12/04/24     Mackinnon, Josh       ATTEND SPECIAL MASTER CHECK-IN;      1.40   72332778   1,393.00
                                               UPDATE DEAL CHRONOLOGY; REVIEW
                                               INCLINATIONS ORDER AND CURRENT
                                               WORKING DRAFT OF RESPONSE TO
                                               INCLINATIONS ORDER.

            12/04/24     Koivistoinen, Tanja   ATTEND STATUS CALL WITH WEIL,        5.60   72352351   8,232.00
                                               EVERCORE AND THE SPECIAL
                                               MASTER; DRAFT REVISE BID SPA.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 334 of 419 PageID
                                                           #: 36086




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index   Amount


            12/04/24     Roberts, Ian          CORRESPOND WITH M. BURRUS RE          1.50   72335404   1,935.00
                                               DECEMBER 3 PLEADINGS;
                                               CORRESPOND WITH T. OKADA RE
                                               CALENDARING; REVIEW FILED
                                               RESPONSES.

            12/04/24     Conte, Matthew        REVIEW NEW DOCKET FILINGS IN          5.30   72332137   4,399.00
                                               PREPARATION OF WEIL RX/LIT TEAM
                                               MEETING; PREPARE CHART
                                               SUMMARIZING THE POSITIONS OF
                                               PARTIES IN OPENING BRIEFS AND
                                               RESPONSES TO NOVEMBER 20 ORDER
                                               AND INCLINATIONS; COMMUNICATE
                                               WITH WEIL LIT TEAM RE: SAME.

            12/04/24     Burrus, Maigreade     CONFER WITH WEIL LITIGATION           5.40   72368100   7,668.00
                         B.                    TEAM RE: REPLY IN SUPPORT OF
                                               SPECIAL MASTER'S OPENING
                                               STATEMENT TO NOVEMBER 20 ORDER:
                                               REVIEW RESPONSES AND PREPARE
                                               OUTLINE OF REPLY.

            12/05/24     Friedmann, Jared R.   EMAILS AND CALL WITH A.CURTIS         3.10   72355493   5,564.50
                                               RE: ADDRESSING GRAMECY BRIEF FOR
                                               REPLY BRIEF ON COURT'S
                                               INCLINATIONS; REVIEW AND REVISE
                                               DRAFT SECTION OF REPLY BRIEF;
                                               REVIEW DRAFT CHART OF PARTY
                                               POSITIONS; MEET WITH TEAM RE:
                                               COMMENTS TO SAME; MEET WITH
                                               A.CURTIS RE: REPLY AND NEXT STEPS;
                                               CALL WITH WACHTELL AND GIBSON
                                               RE: REPLY AND NEXT STEPS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 335 of 419 PageID
                                                           #: 36087




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/05/24     Keenan, Eoghan P.     CALL WITH WEIL, EVERCORE, SPECIAL    0.90   72341123   1,615.50
                                               MASTER, CRYSTALLEX, CONOCO,
                                               GIBSON AND WLRK RE: COURT
                                               BRIEFING AND AUCTION PROCESS.

            12/05/24     Barr, Matt            MEET WITH TEAM; ALL HANDS CALL;      2.50   72363139   5,875.00
                                               CALL WITH WACHTELL; CALLS WITH
                                               STAKEHOLDERS ADVISORS; MEET
                                               WITH TEAM.

            12/05/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL             0.30   72354986    426.00
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: INCLINATIONS BRIEF AND
                                               COURT HEARING PREPARATION.

            12/05/24     Curtis, Aaron J.      REVIEW AND ANALYZE THE               2.50   72340325   3,987.50
                                               GRAMERCY BRIEF RE THE JUDGE’S
                                               INCLINATIONS; CALL WITH
                                               CRYSTALLEX AND CONOCO TO
                                               DISCUSS THE SALE PROCESS; DRAFT
                                               RESPONSE TO CITGO, PDVH, AND
                                               GRAMERCY’S BRIEFING ON THE
                                               JUDGE’S INCLINATIONS.

            12/05/24     Jaeger, Rebecca       DRAFT AND REVISE PARTY POSITIONS     4.40   72360293   5,962.00
                                               CHART; REVIEW AND ANALYZE
                                               DOCUMENTS FOR PRIVILEGE AND
                                               RESPONSIVENESS; CONFER WITH J.
                                               FRIEDMANN REGARDING PARTY
                                               POSITIONS CHART.

            12/05/24     Sternlieb, Sarah      REVIEW CITGO CHART AND EMAILS        1.50   72360934   2,392.50
                                               RE: SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 336 of 419 PageID
                                                           #: 36088




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/05/24     Bentley, Chase A.     REVIEW AND REVISE INCLINATIONS       5.20   72366092   8,294.00
                                               ORDER REPLY; EMAILS AND PHONE
                                               CALLS WITH M. BARR, M. BURRUS
                                               AND WEIL LIT TEAM RE SAME;
                                               EMAILS WITH SPECIAL MASTER RE
                                               COMMENTS TO SAME; REVIEW OTHER
                                               PARTIES' BRIEFS; ATTEND WEEKLY
                                               CHECK-IN CALL WITH SALE PROCESS
                                               PARTIES; PHONE CALL WITH CITGO
                                               COUNSEL RE INCLINATIONS; PHONE
                                               CALLS AND EMAILS WITH VARIOUS
                                               PARTIES RE INCLINATIONS BRIEFING.

            12/05/24     Rubin, Avi            ATTEND CALL WITH WLRK AND            4.20   72341468   5,418.00
                                               GIBSON; REVISE REVISED BID DRAFT
                                               SPA.

            12/05/24     Gehnrich, Charles     CALL TO DISCUSS PARTY POSITIONS      3.20   72351260   3,760.00
                                               SUMMARY CHART; REVISE SUMMARY
                                               CHART.

            12/05/24     Balido, Catherine     ATTEND WEIL RESTRUCTURING WIP;       3.00   72360458   2,985.00
                                               REVIEW PREVIOUSLY FILED FEE
                                               REPORTS; REVIEW SPO FOR REPLY
                                               BRIEFING; DISCUSS REPLY AND CASE
                                               LOGISTICS WITH M. BURRUS.

            12/05/24     Evans, Emma           CORRESPONDENCE WITH WEIL TEAM        0.30   72340217    298.50
                                               RE: SUMMARY OF PARTY POSITIONS
                                               ON SALE PROCESS.

            12/05/24     Mackinnon, Josh       ATTEND CALL WITH SPPS; DEFINED       3.10   72340277   3,084.50
                                               TERMS CHECK ON REVISE BID DRAFT
                                               SPA.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 337 of 419 PageID
                                                           #: 36089




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/05/24     Koivistoinen, Tanja   REVIEW AND REVISE NEW AUCTION       5.60   72351086   8,232.00
                                               DRAFT SPA; ATTEND STATUS CALL
                                               WITH WLRK AND GIBSON DUNN RE:
                                               SALES PROCESS.

            12/05/24     Roberts, Ian          ATTEND WORK-IN-PROCESS MEETING;     1.30   72339946   1,677.00
                                               CORRESPOND WITH T. OKADA RE
                                               CALENDARING.

            12/05/24     Conte, Matthew        PREPARE MATERIALS FOR WEIL RX       5.00   72340254   4,150.00
                                               WORK-IN-PROCESS MEETING; ATTEND
                                               WIP MEETING; CHECK CITED
                                               AUTHORITY OF RESPONSE BRIEF;
                                               COMMUNICATE WITH I. ROBERTS
                                               AND M. BURRUS RE: SAME; RESEARCH
                                               DOCKET IN PREPARATION OF SPECIAL
                                               MASTER'S REPLY; CORRESPOND WITH
                                               M. BURRUS RE: CHART SUMMARIZING
                                               POSITIONS OF THE PARTIES.

            12/05/24     Burrus, Maigreade     ATTEND WIP MEETING WITH             7.00   72368001   9,940.00
                         B.                    RESTRUCTURING TEAM; DRAFT REPLY
                                               IN SUPPORT OF SPECIAL MASTER'S
                                               OPENING STATEMENT TO NOVEMBER
                                               20 ORDER; ATTEND CALL WITH
                                               CONOCO AND CRYSTALLEX.

            12/06/24     Friedmann, Jared R.   REVIEW OBJECTIONS TO SPECIAL        0.50   72355437    897.50
                                               MASTER'S SEPTEMBER STATUS
                                               REPORT; EMAILS WITH TEAM RE:
                                               SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 338 of 419 PageID
                                                           #: 36090




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/06/24     Friedmann, Jared R.   REVIEW REVISED CHART                 2.40   72355449   4,308.00
                                               SUMMARIZING PARTIES' POSITIONS
                                               WITH RESPECT TO ISSUES RAISED IN
                                               COURT'S INCLINATION ORDER; CALL
                                               WITH S.STERNLIEB RE: COMMENTS TO
                                               SAME AND NEXT STEPS; EMAILS AND
                                               CALL WITH C.BENTLEY RE: SAME;
                                               CALL WITH S.STERNLIEB RE: SAME;
                                               EMAILS WITH A.CURTIS RE:
                                               REVIEWING DRAFT REPLY BRIEF
                                               ADDRESSING COURT’S INCLINATIONS;
                                               REVIEW AND REVISE DRAFT REPLY
                                               BRIEF AND EMAILS WITH TEAM RE:
                                               SAME; REVIEW REPLY BRIEFS
                                               SUBMITTED BY OTHER PARTIES.

            12/06/24     Barr, Matt            REVIEW PLEADING; MEET WITH           1.20   72363265   2,820.00
                                               TEAM; ATTEND TO NEXT STEPS.

            12/06/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL             0.30   72354943    426.00
                                               LITIGATION TEAM RE: HEARING PREP.

            12/06/24     Curtis, Aaron J.      REVIEW AND COMMENT ON THE            3.40   72359720   5,423.00
                                               DRAFT OF THE REPLY ON THE JUDGE’S
                                               INCLINATIONS; REVIEW AND
                                               RESPOND TO EMAILS RE REPLY ON
                                               THE JUDGE’S INCLINATIONS; CALLS
                                               WITH C. GEHNRICH, G. SANGIOVANI,
                                               AND J. FRIEDMANN RE RESPONSE TO
                                               THE OBJECTIONS TO THE SPECIAL
                                               MASTER’S FEES; REVIEW AND
                                               ANALYZE OBJECTIONS TO THE
                                               SPECIAL MASTER’S FEES; REVIEW
                                               AND COMMENT ON CLIENT
                                               SUMMARY OF THE OBJECTIONS TO
                                               THE SPECIAL MASTER’S FEES.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25           Page 339 of 419 PageID
                                                           #: 36091




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                               Hours      Index   Amount


            12/06/24     Jaeger, Rebecca       REVIEW AND ANALYZE DOCUMENTS             2.20   72360117   2,981.00
                                               FOR PRIVILEGE AND RESPONSIVENESS
                                               AS PART OF QUALITY CONTROL
                                               REVIEW; REVIEW AND ANALYZE
                                               PARTY POSITIONS CHART.

            12/06/24     Sternlieb, Sarah      REVISE CITGO BRIEF CHARTS AND            1.10   72360946   1,754.50
                                               EMAILS RE: SAME.

            12/06/24     Bentley, Chase A.     REVIEW AND REVISE INCLINATIONS           4.00   72364437   6,380.00
                                               REPLY BRIEF; MULTIPLE CALLS AND
                                               EMAILS WITH SPECIAL MASTER AND
                                               WEIL TEAM RE SAME; REVIEW
                                               INCLINATIONS BRIEFS FILED BY
                                               OTHER PARTIES.

            12/06/24     Rubin, Avi            REVIEW UPDATES TO REVISE BID             0.70   72351409    903.00
                                               DRAFT SPA; CALL WITH WEIL M&A
                                               TO DISCUSS SPA DEFINED TERMS;
                                               REVIEW AND PROVIDE COMMENTS TO
                                               WIP TASK LIST UPDATES.

            12/06/24     Gehnrich, Charles     REVISE SUMMARY CHARTS IN                 4.50   72358676   5,287.50
                                               ADVANCE OF HEARING, AND
                                               RELATED CORRESPONDENCE; REVIEW
                                               OBJECTIONS TO SEPTEMBER FEES AND
                                               DRAFT SUMMARY FOR SPECIAL
                                               MASTER.

            12/06/24     Balido, Catherine     REVISE WIP LIST; REVISE 12/6 REPLY TO    6.40   72360229   6,368.00
                                               COURT'S INCLINATIONS; REVIEW 10/6
                                               REPLIES ON DOCKET.

            12/06/24     Evans, Emma           CORRESPONDENCE RE: REPLY TO              0.30   72351067    298.50
                                               SALES PROCESS PARTIES AND FEE
                                               REPORT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 340 of 419 PageID
                                                           #: 36092




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount


            12/06/24     Mackinnon, Josh       CHECK DEFINED TERMS/SECTION          5.40   72360573    5,373.00
                                               REFERENCE FOR NEW BID DRAFT SPA.

            12/06/24     SanGiovanni, Giana    REVIEW, ANALYZE, AND UPDATE WIP      3.40   72381922    3,383.00
                                               TASK LIST WITH LITIGATION WORK
                                               STREAMS; REVIEW AND ANALYZE
                                               OBJECTIONS TO FEES REQUESTED IN
                                               SPECIAL MASTER'S SEPT. 30, 2024
                                               REPORT, INCLUDING RELATED
                                               CORRESPONDENCE WITH A. CURTIS, C.
                                               GEHNRICH, AND CLIENT; REVIEW AND
                                               ANALYZE RECENT FILINGS IN
                                               GRAMERCY AND G&A ALTER-EGO
                                               ACTIONS, INCLUDING RELATED
                                               CORRESPONDENCE WITH A. CURTIS.

            12/06/24     Roberts, Ian          REVIEW DRAFT OF SPECIAL MASTER'S     2.60   72369533    3,354.00
                                               OMNIBUS REPLY; CORRESPOND WITH
                                               M. BURRUS RE EDITS; REVIEW FILED
                                               RESPONSES; CORRESPOND WITH T.
                                               OKADA RE DOCKET UPDATES.

            12/06/24     Conte, Matthew        CONDUCT RESEARCH FOR REPLY           5.40   72358806    4,482.00
                                               BRIEF; REVIEW AND REVISE SAME;
                                               REVIEW AND REVISE CHART
                                               SUMMARIZING PARTIES' POSITIONS;
                                               REVIEW NEW DOCKET FILINGS.

            12/06/24     Burrus, Maigreade     PREPARE REPLY IN SUPPORT OF          8.30   72367902   11,786.00
                         B.                    OPENING STATEMENT TO NOVEMBER
                                               20 ORDER; REVIEW REPLIES; REVIEW
                                               OBJECTIONS TO SEPTEMBER FEE
                                               REPORT; CONFER WITH WEIL LIT
                                               TEAM RE: HEARING PREPARATION.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 341 of 419 PageID
                                                           #: 36093




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/07/24     Keenan, Eoghan P.     REVISE UPDATED BID DRAFT OF THE     1.00   72357756   1,795.00
                                               SPA.

            12/07/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL            0.40   72354915    568.00
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: INCLINATION BRIEFS AND
                                               FEE OBJECTIONS.

            12/07/24     Rubin, Avi            REVIEW UPDATES TO REVISED BID       0.10   72353016    129.00
                                               DRAFT SPA DEFINED TERMS.

            12/07/24     Gehnrich, Charles     CONDUCT RESEARCH RE: RECOVERY       3.00   72359689   3,525.00
                                               OF SPECIAL MASTER AND
                                               ATTORNEYS' FEES.

            12/07/24     Evans, Emma           CORRESPONDENCE RE: PREPARATION      0.80   72360730    796.00
                                               MATERIALS FOR BRIEFING RELATED
                                               TO NOVEMBER 20TH ORDER; PREPARE
                                               MATERIALS RELATED TO NOVEMBER
                                               20TH ORDER.

            12/07/24     SanGiovanni, Giana    RESEARCH, REVIEW, AND ANALYZE       0.60   72381906    597.00
                                               CASE LAW RE: OBJECTIONS TO FEES
                                               REQUESTED IN SPECIAL MASTER'S
                                               SEPT. 30, 2024 REPORT, INCLUDING
                                               RELATED CORRESPONDENCE WITH C.
                                               GEHNRICH.

            12/07/24     Conte, Matthew        COMMUNICATE WITH E. EVANS AND       1.20   72358715    996.00
                                               C. BALIDO RE: HEARING PREP;
                                               PREPARE SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 342 of 419 PageID
                                                           #: 36094




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/08/24     Friedmann, Jared R.   REVIEW AND ANALYZE OBJECTIONS        1.60   72367678   2,872.00
                                               TO SPECIAL MASTER'S SEPTEMBER
                                               STATUS REPORT; CALL WITH TEAM
                                               RE: SAME; EMAIL AND CALL WITH D.
                                               LENDER RE: PREPARING FOR 12/13
                                               COURT CONFERENCE.

            12/08/24     Keenan, Eoghan P.     REVISE UPDATED BID DRAFT OF THE      1.50   72357878   2,692.50
                                               SPA.

            12/08/24     Barr, Matt            REVIEW CORRESPONDENCE; REVIEW        1.00   72427867   2,350.00
                                               ISSUES AND NEXT STEPS.

            12/08/24     Curtis, Aaron J.      CALL WITH WEIL TEAM TO DISCUSS       3.80   72359727   6,061.00
                                               THE RESPONSE TO THE OBJECTIONS
                                               TO THE SPECIAL MASTER’S FEES;
                                               REVIEW AND REVISE SAME.

            12/08/24     Bentley, Chase A.     REVIEW FEE OBJECTIONS; PHONE         1.50   72358982   2,392.50
                                               CALL WITH WEIL LIT AND M. BARR RE
                                               RESPONSE TO SAME.

            12/08/24     Rubin, Avi            UPDATE AND INCORPORATE WEIL          0.30   72360258    387.00
                                               M&A COMMENTS TO REVISE BID
                                               DRAFT SPA.

            12/08/24     Gehnrich, Charles     MEET WITH TEAM TO DISCUSS            5.90   72383261   6,932.50
                                               RESPONSE TO SEPTEMBER FEE
                                               OBJECTIONS; DRAFT BRIEF IN
                                               RESPONSE TO OBJECTIONS TO
                                               SPECIAL MASTER'S SEPTEMBER FEE,
                                               AND RELATED CORRESPONDENCE;
                                               REVISE SAME.

            12/08/24     Balido, Catherine     ATTEND CALL WITH WEIL RX TEAM        0.50   72360434    497.50
                                               RE: 12/13 HEARING PREP.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 343 of 419 PageID
                                                           #: 36095




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            12/08/24     SanGiovanni, Giana    CORRESPONDENCE WITH A. CURTIS        0.10   72382465     99.50
                                               AND C. GEHNRICH RE: RESPONSE TO
                                               OBJECTIONS TO FEES REQUESTED IN
                                               SPECIAL MASTER'S SEPT. 30, 2024
                                               REPORT.

            12/08/24     Roberts, Ian          CALL WITH M. BURRUS RE TALKING       3.60   72375298   4,644.00
                                               POINTS; CORRESPOND INTERNALLY RE
                                               SAME; DRAFT SAME; ATTEND
                                               MEETING WITH M. BURRUS, C.
                                               BALIDO, AND M. CONTE RE SAME;
                                               REVIEW PLEADINGS AND DRAFT
                                               OUTLINE FOR TALKING POINTS.

            12/08/24     Conte, Matthew        MEET WITH WEIL RX ASSOCIATES TO      3.30   72358746   2,739.00
                                               DISCUSS DEVELOPING TALKING
                                               POINTS FOR DEC. 13 STATUS
                                               CONFERENCE; PREPARE SAME.

            12/08/24     Burrus, Maigreade     CONFER WITH I. ROBERTS, C. BALIDO    2.90   72368115   4,118.00
                         B.                    AND M. CONTE RE: TALKING POINTS
                                               FOR DECEMBER 13 HEARING; PREPARE
                                               OUTLINE OF TALKING POINTS FOR
                                               DECEMBER 13 HEARING; CONFER
                                               WITH C. BENTLEY RE: HEARING
                                               PREPARATION.

            12/09/24     Lender, David J.      PREPARE FOR HEARING; REVIEW          1.10   72371372   2,194.50
                                               COURT SUBMISSIONS; TEAM MEETING
                                               RE LITIGATION ISSUES.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 344 of 419 PageID
                                                           #: 36096




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/09/24     Friedmann, Jared R.   REVIEW AND REVISE DRAFT OF THE       1.00   72430452   1,795.00
                                               SPECIAL MASTER’S RESPONSE TO
                                               OBJECTIONS TO HIS SEPTEMBER FEES;
                                               EMAILS WITH TEAM RE: COMMENTS
                                               TO SAME; REVIEW REVISED DRAFT OF
                                               SAME.

            12/09/24     Friedmann, Jared R.   REVIEW PLEADINGS TO PREPARE FOR      1.80   72430610   3,231.00
                                               12/13 CONFERENCE, WITH FOCUS ON
                                               LITIGATION RELATED ISSUES; EMAIL
                                               E.EVANS RE: ADDITIONAL MATERIALS
                                               FOR 12/13 CONFERENCE; EMAILS WITH
                                               TEAM RE: COORDINATING LOGISTICS
                                               FOR 12/13 CONFERENCE, INCLUDING
                                               DISCUSSION OF ATTENDEES;
                                               LITIGATION TEAM MEETING RE: WIP
                                               AND NEXT STEPS, INCLUDING
                                               PREPARING FOR 12/13 CONFERENCE;
                                               MEET WITH D.LENDER RE: SAME.

            12/09/24     Keenan, Eoghan P.     REVISE BID DRAFT OF THE SPA.         4.60   72376981   8,257.00

            12/09/24     Barr, Matt            REVIEW FILINGS AND NEXT STEPS;       1.50   72427879   3,525.00
                                               ALL HANDS CALL RE: SAME AND
                                               FILINGS.

            12/09/24     Shefa, Yonatan        WEIL LITIGATION TEAM STRATEGY        4.60   72383238   6,532.00
                                               MEETING; CORRESPONDENCE WITH G.
                                               SANGIOVANNI RE: ALTER EGO CASES;
                                               REVIEW DOCKET ENTRIES; PREPARE
                                               FOR COURT HEARING AND
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION TEAM RE: SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 345 of 419 PageID
                                                           #: 36097




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/09/24     Curtis, Aaron J.      MEET WITH WEIL LITIGATION TEAM       1.20   72386349   1,914.00
                                               TO DISCUSS PREPARATION FOR THE
                                               HEARING AND DISCOVERY; MEET
                                               WITH J. FRIEDMANN TO DISCUSS THE
                                               OBJECTIONS TO THE SPECIAL
                                               MASTER’S FEES; CALL WITH C.
                                               GEHNRICH TO DISCUSS THE
                                               OBJECTIONS TO THE SPECIAL
                                               MASTER’S FEES; REVIEW AND
                                               RESPOND TO EMAILS RE: HEARING
                                               PREPARATION.

            12/09/24     Jaeger, Rebecca       REVISE CHART REGARDING PARTY         1.00   72427122   1,355.00
                                               POSITIONS BASED ON FILINGS IN
                                               RESPONSE TO COURT'S INCLINATIONS;
                                               CONFER WITH Y. SHEFA REGARDING
                                               REVISIONS TO CHART; CONFER WITH
                                               LITIGATION TEAM REGARDING
                                               ONGOING WORKSTREAMS AND
                                               PROJECTS.

            12/09/24     Sternlieb, Sarah      REVISE POSITIONS CHART.              1.00   72433062   1,595.00

            12/09/24     Bentley, Chase A.     PHONE CALL WITH SPECIAL MASTER       2.50   72371098   3,987.50
                                               RE ONGOING WORKSTREAMS; PHONE
                                               CALL WITH M. BARR RE POTENTIAL
                                               BIDDER; REVIEW SPA ISSUES LIST;
                                               EMAILS RE STATUS CONFERENCE;
                                               REVIEW OBJECTIONS TO FEE REPORT.

            12/09/24     Gehnrich, Charles     CIRCULATE BRIEF IN RESPONSE TO       1.30   72399767   1,527.50
                                               OBJECTIONS TO SPECIAL MASTER'S
                                               SEPTEMBER FEE; REVISE BRIEF IN
                                               RESPONSE TO OBJECTIONS TO
                                               SPECIAL MASTER'S SEPTEMBER FEE
                                               AND RE-CIRCULATING TO THE TEAM.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 346 of 419 PageID
                                                           #: 36098




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            12/09/24     Gehnrich, Charles     REVIEW ADDITIONAL REPLY BRIEFS       1.00   72399895   1,175.00
                                               AND UPDATE PARTY POSITION
                                               CHART RE: SALE PROCESS;
                                               CORRESPONDENCE REGARDING
                                               CURRENT WORKSTREAMS.

            12/09/24     Balido, Catherine     REVISE WIP LIST; PREPARE TALKING     2.80   72374217   2,786.00
                                               POINTS FOR DECEMBER 13 HEARING.

            12/09/24     Evans, Emma           CORRESPONDENCE RE: LITIGATION        1.50   72394035   1,492.50
                                               TEAM MEETING AGENDA,
                                               PREPARATION FOR DECEMBER 13
                                               STATUS CONFERENCE, DOCUMENT
                                               REVIEW, BRIEFING RELATED TO
                                               NOVEMBER 20 ORDER; PREPARE
                                               MATERIALS FOR DECEMBER 13
                                               STATUS CONFERENCE; PREPARE FOR
                                               LITIGATION TEAM MEETING; ATTEND
                                               LITIGATION TEAM MEETING.

            12/09/24     SanGiovanni, Giana    REVIEW AND UPDATE LITIGATION         1.10   72382548   1,094.50
                                               TASK LIST AND CORRESPONDENCE
                                               WITH A. CURTIS, R. JAEGER, AND E.
                                               EVANS RE: SAME; EMAIL A. CURTIS
                                               AND CLIENT RE: ANALYSIS OF RECENT
                                               FILINGS IN GRAMERCY AND G&A
                                               ALTER-EGO ACTIONS; ATTEND
                                               WEEKLY LITIGATION TEAM MEETING.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 347 of 419 PageID
                                                           #: 36099




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/09/24     Roberts, Ian          CORRESPOND WITH C. BENTLEY RE       6.40   72374443   8,256.00
                                               IN-PERSON MEETING; COORDINATE
                                               SAME; DRAFT TALKING POINTS;
                                               FINALIZE AND COMPILE SAME, AND
                                               SEND TO M. BURRUS FOR REVIEW;
                                               CORRESPOND WITH C. BALIDO AND
                                               M. CONTE RE SAME; FURTHER REVISE
                                               SAME.

            12/09/24     Conte, Matthew        PREPARE TALKING POINTS FOR          2.40   72374260   1,992.00
                                               STATUS CONFERENCE; REVIEW AND
                                               REVISE: SAME.

            12/09/24     Burrus, Maigreade     PREPARE TALKING POINTS AND          6.00   72430875   8,520.00
                         B.                    HEARING MATERIALS; CONFER WITH
                                               WEIL RX AND LIT TEAMS RE: SAME.

            12/10/24     Lender, David J.      PREPARE FOR HEARING AND REVIEW      1.00   72386866   1,995.00
                                               SUBMISSIONS; TEAM TELEPHONE
                                               CALL RE PREPARATION FOR HEARING.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 348 of 419 PageID
                                                           #: 36100




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/10/24     Friedmann, Jared R.   REVIEW REVISED DRAFT RESPONSE TO     3.20   72430555   5,744.00
                                               OBJECTION TO SEPTEMBER STATUS
                                               REPORT; EMAILS WITH TEAM RE:
                                               SAME; MEET WITH C.GENGRICH RE:
                                               COMMENTS TO SAME; REVIEW
                                               M.BARR EDITS TO SAME AND CALL
                                               WITH C.BENTLEY; MEET WITH
                                               A.CURTIS RE: SAME; REVIEW AND
                                               REVISE DRAFT LANGUAGE FOR
                                               RESPONSE BRIEF AND EMAILS WITH
                                               C.BENTLEY RE: SAME; EMAILS WITH
                                               B.PINCUS RE: COMMENTS TO DRAFT
                                               RESPONSE; FURTHER REVISE SAME;
                                               CALL WITH EVERCORE TEAM RE:
                                               LATEST STATUS/NEXT STEPS; CALL
                                               WITH D.LENDER, M.BARR, AND
                                               C.BENTLEY RE: PREPARING FOR 9/13
                                               CONFERENCE; FURTHER REVIEW
                                               FILINGS IN RESPONSE TO COURT’S
                                               INCLINATIONS TO PREPARE FOR
                                               SAME.

            12/10/24     Keenan, Eoghan P.     REVISE BID DRAFT OF SPA; CALL        3.50   72385332   6,282.50
                                               WITH WEIL AND EVERCORE TEAMS
                                               RE: VDR PROCESS, SPA DRAFT AND
                                               ENGAGEMENT WITH SALE PROCESS
                                               PARTIES; MEET WITH WEIL M&A
                                               TEAM RE: SPA COMMENTS; EMAILS
                                               WITH WEIL RX TEAM RE: REVISIONS
                                               TO PROPOSED BID DRAFT SPA; REVISE
                                               UPDATED SPA BID DRAFT SUMMARY.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 349 of 419 PageID
                                                           #: 36101




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/10/24     Barr, Matt            ALL HANDS CALL; MEET WITH TEAM      3.50   72427813   8,225.00
                                               RE: DOCUMENT ISSUES; REVIEW
                                               PLEADINGS; ALL HANDS CALL WITH
                                               STAKEHOLDERS; REVIEW NEXT STEPS;
                                               MEET WITH TEAM RE: SAME AND
                                               HEARING.

            12/10/24     Shefa, Yonatan        REVIEW FEE OBJECTION BRIEF;         0.40   72394247    568.00
                                               CORRESPONDENCE WITH J.
                                               FRIEDMANN AND S. STERNLIEB RE:
                                               COURT HEARING PREPARATION.

            12/10/24     Curtis, Aaron J.      REVIEW AND REVISE RESPONSE TO       1.70   72386640   2,711.50
                                               THE OBJECTIONS TO THE SPECIAL
                                               MASTER’S FEES AND EXPENSES;
                                               REVIEW AND RESPOND TO EMAILS RE:
                                               SAME.

            12/10/24     Dulcey, Alfonso J.    REVIEW AND REVISE SPA AND           2.10   72387268   3,675.00
                                               DISCUSS CHANGES WITH WEIL TAX
                                               TEAM.

            12/10/24     Sternlieb, Sarah      REVISE POSITIONS CHART AND SEND     0.20   72433135    319.00
                                               TO J. FRIEDMANN.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25        Page 350 of 419 PageID
                                                           #: 36102




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                            Hours      Index    Amount

            12/10/24     Bentley, Chase A.     REVIEW AND REVISE RESPONSE TO FEE     6.80   72419053   10,846.00
                                               OBJECTIONS; REVIEW MATERIALS
                                               RELATED TO SAME; EMAILS AND
                                               CALLS RELATED TO SAME; WEEKLY
                                               PHONE CALL WITH EVERCORE;
                                               REVIEW SPA ISSUES LIST; PHONE CALL
                                               WITH E. KEENAN RE SAME; PHONE
                                               CALLS WITH VARIOUS PARTIES
                                               REGARDING INCLINATIONS ORDER
                                               AND STATUS CONFERENCE; PREP FOR
                                               STATUS CONFERENCE WITH M. BARR
                                               AND WEIL LIT TEAM.

            12/10/24     Rubin, Avi            CALL WITH WEIL TAX TEAM               6.90   72388448    8,901.00
                                               REGARDING REVISE BID DRAFT SPA;
                                               CALLS WITH WEIL M&A REGARDING
                                               SPA DISCUSSION OUTLINE; ATTEND
                                               CALL WITH EVERCORE; REVISE
                                               REVISED BID DRAFT SPA;
                                               CORRESPONDENCE WITH WEIL TAX
                                               AND RX TEAMS REGARDING REVISE
                                               BID DRAFT SPA; CORRESPONDENCE
                                               WITH SPECIAL MASTER AND
                                               EVERCORE TEAM REGARDING REVISE
                                               BID DRAFT SPA; REVIEW AND REVISE
                                               SPA DISCUSSION POINTS OUTLINE.

            12/10/24     Agbi, Theo            REVISE EXISTING SPA.                  5.50   72391566    6,462.50

            12/10/24     Gehnrich, Charles     REVIEW ADDITIONAL FILINGS IN THE      0.20   72402901     235.00
                                               CASE, AND RELATED
                                               CORRESPONDENCE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 351 of 419 PageID
                                                           #: 36103




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/10/24     Gehnrich, Charles     REVISE BRIEF IN RESPONSE TO         4.30   72402908   5,052.50
                                               OBJECTIONS TO SPECIAL MASTER'S
                                               SEPTEMBER FEE AND PREPARING FOR
                                               FILING; DRAFT TALKING POINTS FOR
                                               HEARING RE: SPECIAL MASTER'S
                                               SEPTEMBER FEE.

            12/10/24     Balido, Catherine     CALL WITH J. MCKINNON RE:           0.60   72387597    597.00
                                               AUCTION PROCESS; ATTEND RX WIP
                                               MEETING.

            12/10/24     Evans, Emma           CORRESPONDENCE RE: PREPARATION      0.20   72394026    199.00
                                               FOR DECEMBER 13 STATUS
                                               CONFERENCE.

            12/10/24     Mackinnon, Josh       ATTEND EVERCORE AND WEIL TEAMS      3.30   72386827   3,283.50
                                               CHECK-IN; RESEARCH PURCHASE
                                               AGREEMENT PRECEDENTS.

            12/10/24     SanGiovanni, Giana    REVIEW MOTION TO INTERVENE AND      1.00   72413199    995.00
                                               SUPPORTING MEMORANDUM OF LAW
                                               SUBMITTED IN GIRARD STREET
                                               ALTER-EGO ACTION, INCLUDING
                                               RELATED CORRESPONDENCE WITH A.
                                               CURTIS AND LITIGATION TEAM.

            12/10/24     Koivistoinen, Tanja   REVISE SPA OUTLINE SUMMARY AND      2.10   72419901   3,087.00
                                               REVIEW REVISED SPA; ATTEND
                                               WEEKLY CALL WITH EVERCORE AND
                                               WEIL TEAMS; COORDINATE CALL
                                               WITH JONES DAY AND EIMER RE: VDR
                                               OPENING.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 352 of 419 PageID
                                                           #: 36104




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/10/24     Fernandez, Ricardo    REVIEW AND RESPOND TO EMAILS        7.10   72390249   9,159.00
                                               FROM/TO WEIL TAX/CORPORATE
                                               TEAMS; DRAFT TAX COMMENTS TO
                                               BID DRAFT SPA. REVIEW PRIOR SPA
                                               DRAFTS; REVIEW NWC SCHEDULE;
                                               RESEARCHED RELEVANT RULES AND
                                               REGULATIONS; CALLS WITH WEIL
                                               TAX AND CORPORATE TEAMS TO
                                               DISCUSS.

            12/10/24     Roberts, Ian          CALL WITH M. BURRUS RE TALKING      1.10   72433355   1,419.00
                                               POINTS; CORRESPOND INTERNALLY RE
                                               MEETING; ATTEND WORK-IN-PROCESS
                                               MEETING.

            12/10/24     Conte, Matthew        PREPARE FOR WORK-IN-PROCESS         2.80   72386168   2,324.00
                                               MEETING; ATTEND SAME; ORGANIZE
                                               AND DISTRIBUTE DOCUMENTS;
                                               REVIEW AND COMPARE POSITIONS OF
                                               PARTIES; CORRESPOND WITH M.
                                               BURRUS RE: SAME; REVIEW NEW
                                               DOCKET FILINGS.

            12/10/24     Burrus, Maigreade     ATTEND WEIL RX WORK-IN-PROGRESS     4.00   72431014   5,680.00
                         B.                    MEETING; PREPARE TALKING POINTS
                                               AND OTHER HEARING MATERIALS.

            12/11/24     Lender, David J.      TELEPHONE CALL WITH J.              0.30   72399024    598.50
                                               FRIEDMANN RE REPLY BRIEF.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 353 of 419 PageID
                                                           #: 36105




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/11/24     Friedmann, Jared R.   CALL WITH B.PINCUS AND EVERCORE      4.10   72415701   7,359.50
                                               TEAM RE: STATUS OF ISSUES TO BE
                                               ADDRESSED AT 12/13 CONFERENCE
                                               AND NEXT STEPS AND STRATEGY;
                                               REVIEW CHART OF POSITIONS TAKEN
                                               BY PARTIES IN RESPONSE TO
                                               J.STARK’S INCLINATIONS ORDER
                                               PREPARED BY QE TEAM; EMAILS
                                               WITH TEAM RE: COMPARING TO
                                               CHART/ANALYSIS PREPARED BY WEIL
                                               TEAM; REVIEW AND ANALYZE
                                               J.STARK AGENDA AND INCLINATIONS
                                               FOR 12/13 CONFERENCE; MEET WITH
                                               A.CURTIS RE: SAME AND PREPARING
                                               TO ADDRESS LITIGATION RELATED
                                               ISSUES; CALL WITH D.LENDER RE:
                                               SAME; DRAFT BULLET POINTS TO
                                               ADDRESS DISCOVERY ISSUE AND
                                               EMAILS WITH C.BENTLEY RE: SAME;
                                               REVIEW REPLY BRIEFS IN FURTHER
                                               SUPPORT OF OBJECTIONS TO SPECIAL
                                               MASTER'S FEES; EMAILS WITH
                                               A.CURTIS AND C.GEHNRICH RE: SAME;
                                               CALL WITH D.LENDER RE: SAME;
                                               REVIEW DRAFT OUTLINE FOR
                                               CONFERENCE ADDRESSING
                                               OBJECTIONS TO FEE ISSUE; REVISE
                                               SAME; EMAILS WITH TEAM RE: SAME
                                               AND NEXT STEPS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 354 of 419 PageID
                                                           #: 36106




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/11/24     Keenan, Eoghan P.     CALL WITH SPECIAL MASTER, WEIL       3.70   72400281   6,641.50
                                               AND EVERCORE RE: PREPARATIONS
                                               FOR COURT HEARING; REVISE
                                               SUMMARY OF KEY TERMS AND
                                               PROPOSED POSITIONS IN THE BID
                                               DRAFT SPA; CALL WITH JONES DAY,
                                               CITGO, WEIL AND EVERCORE RE:
                                               PLANS FOR REOPENING OF THE DATA
                                               ROOM.

            12/11/24     Barr, Matt            REVIEW CORRESPONDENCE; ALL           1.20   72428013   2,820.00
                                               HANDS CALL; MEET WITH TEAM RE:
                                               HEARING; REVIEW NEXT STEP ISSUES.

            12/11/24     Shefa, Yonatan        REVIEW CORRESPONDENCE FROM G.        0.70   72415040    994.00
                                               SANGIOVANNI RE: ALTER EGO
                                               ACTIONS; CORRESPONDENCE WITH
                                               WEIL LITIGATION AND
                                               RESTRUCTURING TEAMS RE:
                                               PREPARATION FOR COURT HEARING;
                                               REVIEW COURT ORDER.

            12/11/24     Curtis, Aaron J.      MEET WITH J. FRIEDMANN TO            2.60   72394732   4,147.00
                                               PREPARE FOR THE HEARING; REVIEW
                                               ORDER RE THE QUESTIONS FOR THE
                                               HEARING; REVIEW AND COMMENT ON
                                               TALKING POINTS RE THE OBJECTIONS
                                               TO THE SPECIAL MASTER’S FEES;
                                               CALL WITH CLIENT AND EVERCORE
                                               TO DISCUSS THE SALE PROCESS AND
                                               HEARING.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 355 of 419 PageID
                                                           #: 36107




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            12/11/24     Jaeger, Rebecca       RESEARCH CASE LAW REGARDING          0.60   72427106     813.00
                                               TREATMENT OF NON-CASH
                                               CONSIDERATION IN RESPONSE TO
                                               COURT'S QUESTIONS; CONFER WITH
                                               A. CURTIS AND G. SANGIOVANNI
                                               REGARDING RESEARCH IN RESPONSE
                                               TO COURT'S QUESTIONS REGARDING
                                               NON-CASH CONSIDERATION.

            12/11/24     Bentley, Chase A.     EMAILS WITH E. KEENAN RE DATA       13.00   72419180   20,735.00
                                               ROOM; PHONE CALL WITH N. EIMER
                                               AND M. BARR RE PROCESS; EMAILS RE
                                               SAME; EMAILS WITH JUDGMENT
                                               CREDITOR RE NEXT STEPS OF SALE
                                               PROCESS; ATTEND WEEKLY CALL
                                               WITH SPECIAL MASTER AND
                                               EVERCORE; PHONE CALL WITH CITGO
                                               COUNSEL RE DATAROOM; PREPARE
                                               FOR HEARING WITH M. BARR; PHONE
                                               CALLS WITH SPECIAL MASTER AND
                                               EVERCORE RE PROCESS; REVIEW
                                               STATUS CONFERENCE AGENDA AND
                                               ORDER; PREPARE RESPONSE TO SAME;
                                               PREPARE FOR HEARING.

            12/11/24     Rubin, Avi            CALL WITH WEIL RX TEAM; ATTEND       2.50   72399812    3,225.00
                                               CALL WITH SPECIAL MASTER AND
                                               EVERCORE; ATTEND CALL WITH
                                               JONES DAY AND EIMER TO DISCUSS
                                               VDR; REVIEW REVISED BID DRAFT
                                               SPA; CORRESPONDENCE WITH WEIL
                                               TAX TEAM.

            12/11/24     Agbi, Theo            REVIEW FIRPTA CERTIFICATE.           1.10   72421522    1,292.50
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 356 of 419 PageID
                                                           #: 36108




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/11/24     Gehnrich, Charles     REVISE TALKING POINTS FOR            3.30   72412963   3,877.50
                                               HEARING RE: OBJECTIONS TO SPECIAL
                                               MASTER'S SEPTEMBER FEES; REVIEW,
                                               SUMMARIZE, AND INCORPORATE
                                               INTO TALKING POINTS THE
                                               ADDITIONAL BRIEFING RE:
                                               OBJECTIONS TO SPECIAL MASTER'S
                                               SEPTEMBER FEES; CORRESPONDENCE
                                               REGARDING ADDITIONAL PREP FOR
                                               HEARING ON SEPTEMBER FEES;
                                               ANALYZE NEW FILINGS AND ORDER
                                               FROM COURT DENYING INJUNCTION
                                               MOTION.

            12/11/24     Balido, Catherine     REVIEW ORDER DENYING INJUNCTION      1.30   72401252   1,293.50
                                               OF ALTER EGO MATTERS; DISCUSS
                                               ORDER WITH M. BURRUS.

            12/11/24     Evans, Emma           REVIEW, ANALYZE AND SUMMARIZE        1.90   72394025   1,890.50
                                               QUINN PARTY POSITION CHART;
                                               PREPARE MATERIALS FOR DECEMBER
                                               13 STATUS CONFERENCE; REVIEW
                                               COURT ORDER RE: NOVEMBER 20TH
                                               ORDER BRIEFING.

            12/11/24     Mackinnon, Josh       CORRESPOND REGARDING VDR             2.40   72401199   2,388.00
                                               MEETING; ATTEND SPECIAL MASTER
                                               CHECK-IN; SUMMARIZE NOTES FROM
                                               CHECK-IN FOR E. KEENAN; ATTEND
                                               CALL WITH JONES DAY REGARDING
                                               RE-OPENING VDR.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 357 of 419 PageID
                                                           #: 36109




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/11/24     SanGiovanni, Giana    EMAIL LITIGATION TEAM RE: RECENT     1.00   72413263    995.00
                                               ACTIVITY IN GRAMERCY'S AND
                                               GIRARD STREET'S ALTER-EGO
                                               ACTIONS; REVIEW AND ANALYZE
                                               PDVSA'S REPLY IN SUPPORT OF ITS
                                               MOTION FOR JOINDER AS TO PDVH’S
                                               MOTION TO DISMISS IN GRAMERCY'S
                                               ALTER-EGO ACTION; REVIEW AND
                                               ANALYZE ORDER DENYING
                                               INJUNCTION MOTION AND PROPOSE
                                               QUESTIONS TO DISCUSS AT
                                               UPCOMING STATUS CONFERENCE RE:
                                               SALE PROCESS; DISCUSS WITH R.
                                               JAEGER AND/OR A. CURTIS OVER
                                               PHONE/EMAIL RE: RESEARCHING DE
                                               CASE LAW ON NON-CASH
                                               CONSIDERATION IN PREPARATION
                                               FOR UPCOMING STATUS CONFERENCE.

            12/11/24     Koivistoinen, Tanja   ATTEND STATUS CALL WITH              3.40   72414796   4,998.00
                                               EVERCORE AND THE SPECIAL
                                               MASTER; ATTEND AND COORDINATE
                                               CALL WITH JONES DAY AND EIMER
                                               TEAMS RE: THE OPENING OF THE VDR;
                                               REVIEW STALKING HORSE AND
                                               AUCTION PROVISIONS TO BE
                                               INCLUDED IN THE SPA; REVIEW
                                               COURT ORDER AND OPEN ISSUES
                                               RAISED.

            12/11/24     Fernandez, Ricardo    REVIEW AND RESPOND TO EMAILS         1.30   72403386   1,677.00
                                               FROM/TO WEIL TAX/CORPORATE
                                               TEAMS; REVIEW FIRPTA CERTIFICATE
                                               AND IRS NOTICE; RESEARCH FIRPTA
                                               RULES AND REQUIREMENTS FOR
                                               CERTIFICATE AND IRS NOTICE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 358 of 419 PageID
                                                           #: 36110




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            12/11/24     Conte, Matthew        CORRESPOND WITH C. BENTLEY RE:      0.50   72407339    415.00
                                               COMPARING CHART SUMMARIZING
                                               POSITIONS; REVIEW COURT'S ORDER
                                               DENYING MOTION AND SETTING
                                               FORTH QUESTIONS FOR DEC. 13
                                               STATUS CONFERENCE.

            12/11/24     Burrus, Maigreade     CONFER WITH SPECIAL MASTER RE:      4.40   72431165   6,248.00
                         B.                    HEARING PREPARATION; REVIEW SPO
                                               AND PREPARE COMMENTS TO
                                               AMENDED SPA; CONFER WITH T.
                                               KOIVISTOINEN RE: SPO AND BIDDING
                                               PROCEDURE AMENDMENTS.

            12/12/24     Lender, David J.      PREPARE FOR HEARING; TEAM           2.60   72407290   5,187.00
                                               TELEPHONE CALL WITH SPECIAL
                                               MASTER RE PREP; TELEPHONE CALL
                                               WITH CRYSTALLEX, CONOCO RE PREP.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 359 of 419 PageID
                                                           #: 36111




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            12/12/24     Friedmann, Jared R.   CALL WITH TEAM AND EVERCORE TO       7.40   72415693   13,283.00
                                               REVIEW PROPOSED RESPONSES TO
                                               COURT'S QUESTIONS/AGENDA FOR
                                               12/13 CONFERENCE; REVIEW
                                               PLEADINGS AND SUMMARY OF SAME
                                               TO PREPARE FOR 12/13 CONFERENCE;
                                               REVIEW SCHEDULE PROPOSED BY
                                               CITGO PARTIES; CALL WITH D.LENDER
                                               RE: SAME; PARTICIPATE ON CALL
                                               WITH COUNSEL FOR CRYSTALLEX
                                               AND CONOCO TO COORDINATE FOR
                                               HEARING; TRAVEL TO DE FOR COURT
                                               CONFERENCE; MEET WITH TEAM AND
                                               B.PINCUS TO PREPARE FOR HEARING;
                                               EMAILS WITH TEAM RE: SAME; MEET
                                               WITH C.GEHNRICH RE: PREPARING
                                               TALKING POINTS ADDRESSING FEE
                                               DISPUTE; CALL WITH A.CURTIS AND
                                               C.GEHNRICH RE: SAME; REVIEW
                                               DRAFT TALKING POINTS AND EMAILS
                                               WITH TEAM RE: COMMENTS TO
                                               SAME; REVIEW REVISED DRAFT.

            12/12/24     Keenan, Eoghan P.     MEET WITH WEIL, SPECIAL MASTER       4.50   72405891    8,077.50
                                               AND EVERCORE RE: COURT HEARING
                                               PREPARATION; REVIEW COURT ORDER
                                               RESPONSES; UPDATE PROPOSED
                                               APPROACH TO SPA MATERIAL
                                               TERMS.

            12/12/24     Barr, Matt            REVIEW CORRESPONDENCE; REVIEW        6.50   72427749   15,275.00
                                               ISSUES; ALL HANDS CALL; MEET
                                               WITH TEAM; REVIEW PLEADING;
                                               CALL WITH STAKEHOLDERS
                                               COUNSEL; PREPARE FOR HEARING;
                                               TRAVEL TO DELAWARE; MEET WITH
                                               TEAM RE: HEARING.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 360 of 419 PageID
                                                           #: 36112




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            12/12/24     Shefa, Yonatan        PREPARE FOR COURT HEARING AND        1.10   72410639   1,562.00
                                               CORRESPONDENCE WITH WEIL
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: SAME.

            12/12/24     Curtis, Aaron J.      CALL WITH J. FRIEDMANN AND C.        2.60   72406204   4,147.00
                                               GEHNRICH TO DISCUSS HEARING
                                               PREPARATION RE THE OBJECTIONS TO
                                               THE SPECIAL MASTER’S FEES; REVIEW
                                               AND ANALYZE RESEARCH RE
                                               DELAWARE LAW ON NON-CASH
                                               CONSIDERATION; REVIEW AND REVISE
                                               TALKING POINTS FOR HEARING RE
                                               THE OBJECTIONS TO THE SPECIAL
                                               MASTER’S FEES; REVIEW AND
                                               RESPOND TO EMAILS RE
                                               PREPARATION FOR THE HEARING ON
                                               THE SALE PROCESS.

            12/12/24     Jaeger, Rebecca       RESEARCH CASE LAW REGARDING          4.20   72427019   5,691.00
                                               TREATMENT OF NON-CASH
                                               CONSIDERATION IN RESPONSE TO
                                               COURT'S ORDER AND DRAFT
                                               SUMMARIES OF FINDINGS; CONFER
                                               WITH M. CONNORS AND G.
                                               SANGIOVANNI REGARDING
                                               TREATMENT OF NON-CASH
                                               CONSIDERATION IN DELAWARE.

            12/12/24     Dulcey, Alfonso J.    REVIEW STATUS CONFERENCE AND         0.70   72408271   1,225.00
                                               BIDDER SUMMARY DOCUMENTS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 361 of 419 PageID
                                                           #: 36113




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            12/12/24     Bentley, Chase A.     PREPARE FOR STATUS CONFERENCE;     12.00   72418808   19,140.00
                                               DRAFT ISSUES LISTS; PHONE CALL
                                               WITH CITGO RE PROPOSED TIMELINE;
                                               DISCUSS SAME WITH WEIL AND
                                               SPECIAL MASTER; EMAILS RE STATUS
                                               CONFERENCE ISSUES; TRAVEL TO
                                               WILMINGTON FOR STATUS
                                               CONFERENCE; PHONE CALL WITH
                                               CRYSTALLEX AND CONOCO RE
                                               TIMELINE.

            12/12/24     Rubin, Avi            ATTEND CALL WITH SPECIAL            2.30   72407175    2,967.00
                                               MASTER TO DISCUSS STATUS
                                               CONFERENCE; CALL WITH EVERCORE
                                               TO DISCUSS REVISE BID DRAFT SPA;
                                               CORRESPONDENCE WITH WEIL M&A
                                               REGARDING NDA ITEMS;
                                               CORRESPONDENCE WITH WEIL M&A
                                               REGARDING SPA ITEMS;
                                               CORRESPONDENCE WITH WEIL RX
                                               REGARDING COMMUNICATION
                                               TRACKER.

            12/12/24     Gehnrich, Charles     MEET WITH J. FRIEDMANN TO           3.80   72420197    4,465.00
                                               DISCUSS SEPTEMBER FEE OBJECTION
                                               TALKING POINTS, AND RELATED
                                               CORRESPONDENCE; DRAFT SCRIPT
                                               FOR HEARING RE: SEPTEMBER FEE
                                               OBJECTIONS.

            12/12/24     Balido, Catherine     PREPARE MATERIALS FOR STATUS        2.90   72426991    2,885.50
                                               CONFERENCE; REVISE CHARTS OF
                                               COURT'S INCLINATIONS AND PARTIES
                                               OPINIONS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 362 of 419 PageID
                                                           #: 36114




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/12/24     Evans, Emma           PREPARE FOR DECEMBER 13 HEARING;     0.50   72412346    497.50
                                               CORRESPONDENCE RE: DECEMBER 13
                                               HEARING.

            12/12/24     Mackinnon, Josh       COMPARE PRECEDENT NDA LIST;          0.40   72407607    398.00
                                               REVISE NDA TRACKER; SEND
                                               DOCUMENTS TO RX.

            12/12/24     SanGiovanni, Giana    CONDUCT RESEARCH AND REVIEW          6.90   72431503   6,865.50
                                               CASE LAW RE: NON-CASH
                                               CONSIDERATION IN PREPARATION
                                               FOR 12/13 STATUS CONFERENCE,
                                               INCLUDING RELATED
                                               CORRESPONDENCE ON RESEARCH
                                               FINDINGS WITH LITIGATION, RX, AND
                                               M&A TEAMS; EMAIL CLIENT
                                               ANALYSIS OF RECENT ACTIVITY IN
                                               ALTER-EGO ACTIONS; DISCUSS
                                               RESEARCH ON NON-CASH
                                               CONSIDERATION ON CALL WITH M.
                                               CONNORS AND R. JAEGER, INCLUDING
                                               FOLLOW-UP CALL TO DISCUSS
                                               RESEARCH STRATEGY WITH R.
                                               JAEGER; REVIEW AND RESPOND TO
                                               EMAILS FROM LITIGATION AND RX
                                               TEAMS RE: PREPARATION FOR
                                               UPCOMING STATUS CONFERENCE.

            12/12/24     Koivistoinen, Tanja   ATTEND CALL WITH SPECIAL             1.40   72413964   2,058.00
                                               MASTER AND EVERCORE TEAM RE:
                                               THE COURT'S ORDER DATED 12/11 AND
                                               QUESTIONS RAISED; REVIEW OPEN
                                               ITEMS STATUS LIST.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 363 of 419 PageID
                                                           #: 36115




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            12/12/24     Roberts, Ian          CALL WITH M. BURRUS AND M.           3.50   72433286    4,515.00
                                               CONTE RE ISSUES LIST FOR HEARING;
                                               UPDATE ISSUES LIST CHART; CITE
                                               CHECK SAME; CORRESPOND WITH M.
                                               CONTE RE SAME.

            12/12/24     Conte, Matthew        REVIEW AND REVISE TALKING POINTS     4.80   72407266    3,984.00
                                               FOR DEC. 13 STATUS CONFERENCE;
                                               CORRESPOND WITH C. BENTLEY, M.
                                               BURRUS, AND I. ROBERTS RE: SAME.

            12/12/24     Burrus, Maigreade     PREPARE TALKING POINTS AND           9.30   72431208   13,206.00
                         B.                    OTHER MATERIALS FOR DECEMBER 13
                                               HEARING; PREPARE MATERIALS FOR
                                               DECEMBER 13 HEARING; PREPARE
                                               EXEMPTION MOTION AND PHV
                                               MOTION FOR E. KEENAN.

            12/12/24     Clarke, Andrew        REVIEW COURT ORDER DOCKET 1493.      0.30   72403275     406.50

            12/13/24     Lender, David J.      PREPARE FOR COURT CONFERENCE;        9.20   72420324   18,354.00
                                               ATTEND COURT CONFERENCE.

            12/13/24     Friedmann, Jared R.   MEET WITH TEAM TO PREPARE FOR       12.20   72415668   21,899.00
                                               COURT CONFERENCE; ATTEND COURT
                                               CONFERENCE; MEET WITH TEAM RE:
                                               SAME AND NEXT STEPS; TRAVEL
                                               HOME FROM COURT CONFERENCE IN
                                               DE.

            12/13/24     Keenan, Eoghan P.     PREPARE FOR COURT HEARING;           9.00   72412809   16,155.00
                                               ATTEND STATUS CONFERENCE IN
                                               WILMINGTON, DE.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 364 of 419 PageID
                                                           #: 36116




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            12/13/24     Barr, Matt            PRE-HEARING MEETING; ATTEND        11.50   72428023   27,025.00
                                               HEARING, FOLLOW-UP FROM
                                               HEARING; TRAVEL BACK FROM
                                               STATUS CONFERENCE.

            12/13/24     Curtis, Aaron J.      TELEPHONICALLY ATTEND THE           4.80   72413626    7,656.00
                                               STATUS CONFERENCE ON SALE
                                               PROCESS.

            12/13/24     Bentley, Chase A.     PREPARE FOR STATUS CONFERENCE;     17.40   72418881   27,753.00
                                               MEET WITH SPECIAL MASTER AND
                                               WEIL TEAM TO PREPARE; ATTEND
                                               STATUS CONFERENCE; TRAVEL BACK
                                               FROM WILMINGTON STATUS
                                               CONFERENCE.

            12/13/24     Rubin, Avi            LISTEN TO STATUS CONFERENCE AND     6.40   72412721    8,256.00
                                               TAKE NOTES OF SAME; PREPARE
                                               CHART OF MATERIAL SPA TERMS.

            12/13/24     Balido, Catherine     LISTEN TO DECEMBER 13TH STATUS      4.60   72426942    4,577.00
                                               CONFERENCE.

            12/13/24     Koivistoinen, Tanja   ATTEND DECEMBER 13TH STATUS         4.90   72413869    7,203.00
                                               CONFERENCE.

            12/13/24     Roberts, Ian          LISTEN TO STATUS CONFERENCE AND     6.00   72433139    7,740.00
                                               TAKE NOTES OF SAME; SEND NOTES
                                               FROM SAME TO M. BURRUS.

            12/13/24     Conte, Matthew        ATTEND STATUS CONFERENCE VIA        6.10   72412829    5,063.00
                                               DIAL-IN AND COMPILE ACTION ITEMS
                                               FOR THE SPECIAL MASTER BASED ON
                                               COURT'S ORDER AND PARTIES'
                                               POSITIONS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 365 of 419 PageID
                                                           #: 36117




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index    Amount

            12/13/24     Burrus, Maigreade     FINAL PREPARATION FOR STATUS        8.90   72430880   12,638.00
                         B.                    CONFERENCE WITH WEIL TEAM;
                                               ATTEND (VIRTUALLY) STATUS
                                               CONFERENCE; CONFER WITH C.
                                               BENTLEY RE: PREPARATION OF OPEN
                                               ISSUES LIST.

            12/14/24     Balido, Catherine     DRAFT OPEN ISSUES LIST FROM         0.70   72427027     696.50
                                               DECEMBER 13TH STATUS
                                               CONFERENCE.

            12/14/24     Conte, Matthew        DRAFT OPEN ITEMS LIST FROM 12.13    1.40   72415059    1,162.00
                                               STATUS CONFERENCE; CORRESPOND
                                               WITH C. BALIDO RE: SAME.

            12/14/24     Burrus, Maigreade     PREPARE OPEN ISSUES LIST AND        2.30   72430995    3,266.00
                         B.                    CONFER WITH C. BALIDO AND M.
                                               CONTE RE: SAME.

            12/15/24     Friedmann, Jared R.   REVIEW DRAFT OF OPEN ITEMS FROM     0.60   72479199    1,077.00
                                               12/13 STATUS CONFERENCE TO
                                               SUBMIT TO COURT; EMAIL TEAM RE:
                                               COMMENTS TO SAME.

            12/15/24     Balido, Catherine     CORRESPOND WITH TEAM RE: JOINT      0.20   72427007     199.00
                                               STATUS REPORT.

            12/15/24     Koivistoinen, Tanja   REVIEW AND COMMENT ON DRAFT         1.90   72420141    2,793.00
                                               OPEN ISSUES LIST TO BE SUBMITTED
                                               TO THE COURT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 366 of 419 PageID
                                                           #: 36118




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/15/24     Roberts, Ian          CORRESPOND WITH M. BURRUS RE         2.30   72420415   2,967.00
                                               DECEMBER JOINT STATUS REPORT
                                               AND QUESTIONS TO POSE FOR COURT
                                               IN RESPONSE TO RULINGS MADE AT
                                               DECEMBER 13 HEARING; DRAFT
                                               DECEMBER JOINT STATUS REPORT.

            12/15/24     Conte, Matthew        DRAFT OPEN ISSUES LIST FROM 12.13    3.50   72421171   2,905.00
                                               STATUS CONFERENCE.

            12/16/24     Lender, David J.      TEAM MEETING RE COURT ORDER.         0.50   72435817    997.50
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 367 of 419 PageID
                                                           #: 36119




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/16/24     Friedmann, Jared R.   EMAILS WITH TEAM RE: COMMENTS       3.10   72479430   5,564.50
                                               TO DRAFT SUMMARY OF OPEN ISSUES
                                               TO BE ADDRESSED BY COURT; REVIEW
                                               COURT ORDER RE: FEE OBJECTIONS
                                               AND ADDRESSING OPEN ISSUES FOR
                                               SALE PROCESS; MEET WITH A.CURTIS
                                               RE: SAME; CALL WITH WEIL TEAMS
                                               RE: STATEMENT OF OPEN ISSUES FOR
                                               COURT AND STRATEGY FOR
                                               ADDRESSING COMPETING PROPOSALS
                                               ON OPEN ISSUES; MEET WITH
                                               LITIGATION TEAM RE: SUMMARY OF
                                               CONFERENCE AND NEXT STEPS; CALL
                                               WITH WEIL TEAM RE: ADDRESSING
                                               COURT ORDER RE: FUTURE FEES OF
                                               SPECIAL MASTER; REVIEW AND
                                               REVISE REVISED STATEMENT OF OPEN
                                               ISSUES AND CALL WITH M.BURRESS
                                               RE: SAME; REVIEW FURTHER REVISE
                                               DRAFT OF SAME AND CALL WITH
                                               M.BURUSS RE: FINAL LITIGATION
                                               COMMENTS; EMAILS WITH EVERCORE
                                               TEAM REGARDING OPEN ISSUES LIST
                                               AND SPECIAL MASTER POSITION ON
                                               OPEN ISSUES.

            12/16/24     Keenan, Eoghan P.     REVISE DRAFT RESPONSE TO COURT      4.10   72436198   7,359.50
                                               REQUEST FOR PROCESS QUESTIONS;
                                               MEET WITH WEIL TEAM RE: RESPONSE
                                               TO ISSUES RAISED DURING STATUS
                                               HEARING. REVISE MATERIAL TERMS
                                               OF SPA SUMMARY; MEET WITH WEIL
                                               TEAM RE: WORKSTREAMS AND
                                               ANTICIPATED STAFFING
                                               REQUIREMENTS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 368 of 419 PageID
                                                           #: 36120




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/16/24     Barr, Matt            REVIEW ISSUES, NEXT STEPS,           2.00   72476025   4,700.00
                                               DOCUMENT ISSUES, PLEADING ISSUES
                                               AND STRATEGY RE: SUBMISSION;
                                               MEET WITH TEAM AND FOLLOW UP
                                               FROM SAME.

            12/16/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL TEAMS       1.00   72449504   1,420.00
                                               RE: COURT HEARING FOLLOW-UP;
                                               WEIL WIP MEETING; WEIL LITIGATION
                                               TEAM UPDATE MEETING.

            12/16/24     Curtis, Aaron J.      CALL WITH THE WEIL TEAM TO           2.20   72435822   3,509.00
                                               DISCUSS THE ISSUES LIST FOR THE
                                               SALE PROCESS; MEET WITH THE WEIL
                                               LITIGATION TEAM TO DISCUSS THE
                                               SUBMISSION RE THE SPECIAL
                                               MASTER’S FEES; MEET WITH WEIL
                                               PARTNERS TO DISCUSS THE
                                               SUBMISSION RE THE SPECIAL
                                               MASTER’S FEES; REVIEW AND
                                               COMMENT ON ISSUES LIST FOR THE
                                               SALE PROCESS.

            12/16/24     Jaeger, Rebecca       ATTEND WIP MEETING TO DISCUSS        0.50   72481107    677.50
                                               ONGOING WORKSTREAMS AND
                                               PROJECTS; CONFER WITH LITIGATION
                                               TEAM REGARDING ONGOING
                                               WORKSTREAMS AND PROJECTS.

            12/16/24     Sternlieb, Sarah      ATTEND CITGO TEAM MEETING;           0.20   72433130    319.00
                                               ATTEND CITGO WIP MEETING.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 369 of 419 PageID
                                                           #: 36121




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/16/24     Bentley, Chase A.     REVIEW AND REVISE OPEN ISSUES       3.10   72480978   4,944.50
                                               LIST; EMAILS AND PHONE CALLS RE
                                               SAME; ATTEND WEIL WIP MEETING;
                                               PHONE CALL WITH EVERCORE RE
                                               NEXT STEPS; EMAILS AND PHONE
                                               CALLS RE FEE REPORT BRIEFING.

            12/16/24     Rubin, Avi            CALL WITH EVERCORE TO DISCUSS       6.40   72439098   8,256.00
                                               VDR ITEMS; CALL WITH WEIL M&A
                                               TO DISCUSS SPA ITEMS; ATTEND
                                               INTERNAL CHECK-IN CALL TO
                                               DISCUSS COURT FILINGS AND NEXT
                                               STEPS; ATTEND CALL WITH
                                               EVERCORE TO DISCUSS BIDDER
                                               COMMUNICATIONS AND OUTREACH;
                                               REVIEW AND PROVIDE COMMENTS TO
                                               FORM NDA AMENDMENT; DRAFT
                                               AND REVISE MATERIAL SPA TERMS
                                               LIST AND PROPOSED POSITIONS;
                                               INCORPORATE WEIL M&A
                                               COMMENTS TO MATERIAL SPA
                                               TERMS LIST; DRAFT NDA
                                               AMENDMENT AND
                                               ACKNOWLEDGMENT EMAIL FOR
                                               BIDDERS; COORDINATE VDR ITEMS;
                                               REVISE AND CIRCULATE BID DRAFT
                                               SPA.

            12/16/24     Gehnrich, Charles     REVIEW COURT ORDERS AND             0.80   72451489    940.00
                                               ADDITIONAL FILINGS; PARTICIPATE
                                               IN WEEKLY WIP MEETING, AND
                                               PREPARE FOR SAME; PARTICIPATE IN
                                               WEEKLY LIT TEAM MEETING, AND
                                               PREPARE FOR SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 370 of 419 PageID
                                                           #: 36122




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/16/24     Kamath, Priya         REVIEW SPECIAL MASTER'S OMNIBUS      5.10   72469078   5,992.50
                                               RESPONSE TO OPENING STATEMENTS
                                               OF INTERESTED PARTIES; REVIEW
                                               REVISED DRAFT LETTER TO CITGO
                                               AND PDVH RE SPECIAL MASTER'S
                                               RESPONSES AND OBJECTIONS TO
                                               REQUESTS FOR PRODUCTION OF
                                               DOCUMENTS FROM R. JAEGER; MEET
                                               WITH WEIL TEAMS TO DISCUSS
                                               WORKS IN PROGRESS; LITIGATION
                                               TEAM MEETING TO DISCUSS WORKS
                                               IN PROGRESS; REVIEW DRAFT
                                               RESPONSE TO THE COURT'S
                                               NOVEMBER 20, 2024 ORDER AND EDITS
                                               FROM J. FRIEDMANN; REVIEW EMAILS
                                               BETWEEN J. FRIEDMANN AND
                                               LITIGATION COUNSEL RE STRATEGY
                                               FOR RESPONDING TO JUDGE STARK'S
                                               FILED INCLINATIONS; REVIEW LETTER
                                               FROM SPECIAL MASTER PINCUS TO
                                               JUDGE STARK RE ALTER EGO
                                               CLAIMANTS; REVIEW LITIGATION
                                               TEAM TASK LIST; REVIEW EMAILS
                                               FROM C. GEHNRICH RE RESPONDING
                                               TO CITGO PARTIES' DISCOVERY
                                               LETTER; REVIEW REPLY BY PDVH IN
                                               SUPPORT OF MOTION TO DISMISS
                                               AMENDED COMPLAINT; REVIEW
                                               FINAL DRAFT OF THE SPECIAL
                                               MASTER'S RESPONSE TO THE COURT'S
                                               NOVEMBER 20, 2024 ORDER; REVIEW
                                               SPECIAL MASTER'S OPPOSITION TO
                                               CITGO PARTIES' OBJECTION TO SPO
                                               MODIFICATION; REVIEW LETTER
                                               FROM D. LENDER IN RESPONSE TO
                                               NOVEMBER 11, 2024 LETTER FROM THE
                                               REPUBLIC; REVIEW CHART FROM R.
                                               JAEGER RE SALE PROCESS PARTIES'
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 371 of 419 PageID
                                                           #: 36123




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

                                               POSITIONS; REVIEW REVISED DRAFT
                                               RESPONSE TO CITCO PARTIES' LETTER
                                               RE SPECIAL MASTER'S DISCOVERY
                                               RESPONSES AND OBJECTIONS; REVIEW
                                               EDITS FROM J. FRIEDMANN ON
                                               OMNIBUS REPLY TO OPENING
                                               STATEMENTS OF INTERESTED
                                               PARTIES; REVIEW TALKING POINTS
                                               FOR IN-PERSON HEARING FROM A.
                                               CURTIS; REVIEW RESEARCH FROM G.
                                               SANGIOVANNI RE NON-CASH
                                               CONSIDERATION IN DE LAW AND
                                               OTHER JURISDICTIONS; REVIEW
                                               SUMMARIES PREPARED BY
                                               RESTRUCTURING TEAM FOR SPECIAL
                                               MASTER FOLLOWING JUDGE STARK'S
                                               ORDER AND INCLINATIONS.

            12/16/24     Logan, Savannah L.    CONDUCT RESEARCH RE BIDDER           0.50   72445788    587.50
                                               POTENTIAL ANTITRUST RISK.

            12/16/24     Balido, Catherine     ATTEND MEETING WITH WEIL             0.60   72436299    597.00
                                               TEAMS; CORRESPOND WITH M.
                                               CONTE RE: JOINT STATUS REPORT;
                                               REVIEW OPEN ISSUES LIST;
                                               CORRESPOND WITH M. BURRUS RE:
                                               OCTOBER FEE REPORT.

            12/16/24     Evans, Emma           ATTEND MEETING WITH WEIL TEAMS       0.80   72436343    796.00
                                               RE: SALE PROCESS; LITIGATION TEAM
                                               MEETING RE: CASE DEVELOPMENT
                                               AND SALE PROCESS;
                                               CORRESPONDENCE RE: SALE PROCESS
                                               AND FILINGS AFTER JUDGE STARK
                                               ORDER.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 372 of 419 PageID
                                                           #: 36124




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/16/24     Mackinnon, Josh       DRAFT AMENDMENT TO NDA AND           1.50   72436420   1,492.50
                                               EMAIL ACKNOWLEDGMENT.

            12/16/24     SanGiovanni, Giana    REVIEW EMAILS FROM WEIL TEAMS        1.30   72435957   1,293.50
                                               RE: OPEN ISSUES LIST POST-STATUS
                                               CONFERENCE; PREPARE FOR WEEKLY
                                               LITIGATION TEAM MEETING; REVIEW
                                               AND ANALYZE ORAL ORDER OF
                                               COURT RE: SPECIAL MASTER'S
                                               SUBMISSION ON BILLING, JOINT
                                               STATUS REPORT, AND OPENING DATA
                                               ROOM; PREPARE FOR AND ATTEND
                                               CITGO WIP MEETING WITH WEIL
                                               TEAMS; ATTEND LITIGATION TEAM
                                               MEETING.

            12/16/24     Koivistoinen, Tanja   REVIEW AND REVISE NDA AND CTA        3.90   72433540   5,733.00
                                               STATUS LIST; REVIEW DURATION OF
                                               THE TERMS OF THE CTAS; DRAFT
                                               NDA AMENDMENT RE: TERM
                                               EXTENSION; DRAFT EMAIL
                                               ACKNOWLEDGMENT RE: THE
                                               CONFIDENTIALITY UNDERTAKING;
                                               REVIEW THE REVISE SPA BID MARKUP.

            12/16/24     Fernandez, Ricardo    RESEARCH RULES AND REGULATIONS       1.90   72440339   2,451.00
                                               REGARDING WITHHOLDING
                                               CERTIFICATES; DRAFT SUMMARY
                                               REGARDING REQUIREMENTS OF A
                                               VALIDLY EXECUTED WITHHOLDING
                                               CERTIFICATE AND ANALYSIS; REVIEW
                                               W-8BEN-E PROVIDED BY PDVSA;
                                               EMAIL WEIL TAX RE: SAME.

            12/16/24     Conte, Matthew        DRAFT OPEN ISSUES LIST; ATTEND       1.60   72441620   1,328.00
                                               WORK-IN-PROCESS MEETING.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 373 of 419 PageID
                                                           #: 36125




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount


            12/16/24     Burrus, Maigreade     ATTEND WEIL WORK IN PROGRESS         8.40   72483402   11,928.00
                         B.                    MEETING; PREPARE OPEN ISSUES LIST
                                               FOR JOINT REPORT; MULTIPLE
                                               COMMUNICATIONS WITH E. KEENAN
                                               AND J. FRIEDMANN RE: EDITS TO
                                               OPEN ISSUES LIST; MULTIPLE
                                               COMMUNICATIONS WITH C. BENTLEY
                                               RE: OPEN ISSUES LIST; CONFER WITH
                                               SPECIAL MASTER RE: OPEN ISSUES
                                               LIST; CONFER WITH SPPS AND AJCS
                                               RE: OPEN ISSUES LIST; CONFER WITH
                                               BONDHOLDERS RE: OPEN ISSUES LIST;
                                               REVIEW ORDER OVERRULING FEE
                                               OBJECTIONS; CONFER WITH POTTER
                                               ANDERSON TEAM RE: TRANSCRIPTS.

            12/16/24     Clarke, Andrew        REVIEW DOCKET UPDATES; REVIEW        0.90   72432268    1,219.50
                                               VARIOUS EMAIL CORRESPONDENCE
                                               FROM WEIL TEAM RE: SALE PROCESS;
                                               ATTEND WEIL WIP MEETING; REVIEW
                                               OPEN ISSUES LIST.

            12/17/24     Lender, David J.      TELEPHONE CALL WITH C. BENTLEY       0.20   72446053     399.00
                                               RE OPEN QUESTIONS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 374 of 419 PageID
                                                           #: 36126




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/17/24     Friedmann, Jared R.   CALL WITH C.BENTLEY RE: DRAFT        3.40   72479403   6,103.00
                                               PROPOSAL REGARDING FUTURE
                                               SPECIAL MASTER ADVISOR FEES;
                                               CALL AND EMAILS WITH A.CURTIS
                                               RE: SAME; PARTICIPATE ON WEEKLY
                                               CALL WITH EVERCORE AND WEIL
                                               TEAMS; REVIEW AND ANALYZE
                                               SUMMARY OF SPA TERMS THAT ARE
                                               NON-NEGOTIABLE AND WHERE
                                               ALTERNATIVE TERMS WOULD BE
                                               DISFAVORED; REVIEW TRANSCRIPT
                                               FROM 12/13 HEARING; REVIEW AND
                                               REVISE LANGUAGE FOR RESPONSE TO
                                               CITGO RE: DATA ROOM AND
                                               AVAILABILITY OF PRIOR Q&A; CALL
                                               WITH A.CURTIS RE: SAME; EMAILS
                                               WITH TEAM RE: SAME; REVIEW AND
                                               REVISE PROPOSAL TO COURT
                                               REGARDING SPECIAL MASTER’S
                                               FUTURE LEGAL FEES.

            12/17/24     Keenan, Eoghan P.     WEEKLY CHECK-IN CALL WITH            4.50   72447134   8,077.50
                                               EVERCORE AND WEIL RE: AUCTION
                                               PROCESS AND COURT FILINGS; REVISE
                                               MATERIAL TERMS SUMMARY; CALL
                                               WITH EVERCORE RE: TREATMENT OF
                                               PRIOR Q&AS AND REOPENING OF THE
                                               DATA ROOM; REVISE BID DRAFT OF
                                               THE PURCHASE AGREEMENT.

            12/17/24     Sanford, Kristin      ANALYZE NEW BIDDER'S ANTITRUST       1.60   72455606   2,760.00
                                               RISK; REVISE CLEAN TEAM
                                               ADDENDUM.

            12/17/24     Barr, Matt            CALL WITH TEAM; REVIEW NEXT          1.50   72475991   3,525.00
                                               STEPS AND DRAFT DOCUMENTS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 375 of 419 PageID
                                                           #: 36127




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            12/17/24     Shefa, Yonatan        CORRESPONDENCE WITH WEIL            0.10   72456354    142.00
                                               LITIGATION AND RESTRUCTURING
                                               TEAMS RE: COURT HEARING
                                               FOLLOW-UP.

            12/17/24     Curtis, Aaron J.      CALL WITH J. FRIEDMANN TO           3.10   72444755   4,944.50
                                               DISCUSS THE SPA MATERIAL TERMS;
                                               CALL WITH J. FRIEDMANN TO
                                               DISCUSS THE PROPOSAL FOR THE
                                               SPECIAL MASTER’S FEES; REVIEW
                                               AND RESPOND TO EMAILS RE THE
                                               SALE PROCESS AND LITIGATION
                                               TEAM; REVIEW AND COMMENT ON
                                               THE SPA MATERIAL TERMS; DRAFT
                                               AND REVISE BRIEF RE THE SPECIAL
                                               MASTER’S FEES.

            12/17/24     Dulcey, Alfonso J.    REVIEW TIMELINE; REVIEW AND         1.20   72447265   2,100.00
                                               DISCUSS WITH WEIL TAX TEAM
                                               FORM W8 RESEARCH; DISCUSS SPA
                                               TAX ITEMS.

            12/17/24     Bentley, Chase A.     REVIEW AND REVISE OPEN ISSUES       6.00   72480984   9,570.00
                                               LIST; MULTIPLE EMAILS AND PHONE
                                               CALLS WITH SPECIAL MASTER,
                                               EVERCORE, WEIL AND PARTIES
                                               REGARDING SAME; ATTEND WEEKLY
                                               WEIL/EVERCORE PHONE CALL; EMAILS
                                               AND PHONE CALLS RE BUDGET
                                               PROCEDURES; EMAILS AND PHONE
                                               CALLS RE DATA ROOM; EMAILS RE
                                               POTENTIAL FINANCING SOURCES;
                                               EMAILS RE POTENTIAL BIDDER;
                                               DRAFT REVISE TIMELINE; EMAILS
                                               WITH WEIL AND EVERCORE RE SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 376 of 419 PageID
                                                           #: 36128




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/17/24     Rubin, Avi            CALLS WITH EVERCORE AND WEIL        5.30   72446324   6,837.00
                                               M&A TO DISCUSS VDR AND
                                               DILIGENCE ITEMS; CALLS WITH WEIL
                                               M&A TO DISCUSS REVISE BID DRAFT
                                               SPA ITEMS; COORDINATE VDR ITEMS;
                                               COORDINATE AND REVISE RESPONSES
                                               TO EIMER STAHL VDR QUESTIONS;
                                               REVISE REVISED BID DRAFT SPA;
                                               CORRESPONDENCE WITH WEIL M&A,
                                               WEIL TAX, WEIL REGULATORY, WEIL
                                               RX AND EVERCORE TEAMS
                                               REGARDING REVISED BID DRAFT SPA
                                               PROVISIONS; INCORPORATE WEIL
                                               LITIGATION COMMENTS TO SPA
                                               MATERIAL TERMS LIST.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 377 of 419 PageID
                                                           #: 36129




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/17/24     Kamath, Priya         REVIEW ORDER DENYING ALTER EGO      1.80   72477470   2,115.00
                                               INJUNCTION MOTION CIRCULATED BY
                                               C. BENTLEY; REVIEW ORAL ENTER BY
                                               JUDGE STARK RE DEADLINES
                                               FOLLOWING DECEMBER 13 STATUS
                                               CONFERENCE; REVIEW REVISED BID
                                               DRAFT SPA MATERIAL TERMS;
                                               REVIEW LITIGATION TEAM'S INSERT
                                               FOR BRIEF RESPONDING TO JUDGE
                                               STARK'S INCLINATIONS ORDER;
                                               REVIEW REVISED CHART OF
                                               POSITIONS FOR VARIOUS SALE
                                               PROCESS PARTIES BY C. GEHNRICH;
                                               REVIEW SUMMARY OF OPEN ISSUES
                                               FROM C. BENTLEY AHEAD OF
                                               HEARING; REVIEW SUMMARY OF
                                               PDVSA'S REPLY IN SUPPORT OF
                                               MOTION FOR JOINDER; REVIEW
                                               SUMMARY RE MOTION TO INTERVENE
                                               FILED IN GIRARD STREET ALTER-EGO
                                               ACTION; REVIEW RESEARCH RE
                                               NON-CASH CONSIDERATION UNDER
                                               DE LAW.

            12/17/24     Logan, Savannah L.    CONDUCT RESEARCH AND PREPARE        1.80   72445713   2,115.00
                                               SUMMARY RE BIDDER POTENTIAL
                                               ANTITRUST RISK.

            12/17/24     Evans, Emma           CORRESPONDENCE RE: LITIGATION       0.10   72448965     99.50
                                               INVOLVEMENT IN SALE PROCESS.

            12/17/24     Mackinnon, Josh       REVIEW VDR FOR ELLIOTTT-SPECIFIC    1.10   72445428   1,094.50
                                               MATERIALS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 378 of 419 PageID
                                                           #: 36130




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/17/24     Koivistoinen, Tanja   ATTEND CALL WITH EVERCORE RE:        1.90   72469148   2,793.00
                                               THE STATUS OF THE VDR; ATTEND
                                               WEEKLY STATUS CALL WITH
                                               EVERCORE; REVIEW REVISED DRAFT
                                               OF OPEN ISSUES LIST TO BE
                                               SUBMITTED WITH THE COURT.

            12/17/24     Fernandez, Ricardo    REVIEW AND RESPOND TO EMAILS         2.20   72447886   2,838.00
                                               FROM/TO WEIL TAX/CORPORATE
                                               TEAMS; RESEARCH WITHHOLDING
                                               CERTIFICATE REQUIREMENTS FOR
                                               VALIDITY; DRAFT SUMMARY AND
                                               ANALYSIS OF WITHHOLDING
                                               CERTIFICATE VALIDITY
                                               REQUIREMENTS; REVIEW W-8BEN-E
                                               PROVIDED BY PDVSA; REVIEW SPA;
                                               CALLS WITH WEIL TAX RE: SAME.

            12/17/24     Roberts, Ian          CORRESPOND WITH M. BURRUS AND        1.30   72484539   1,677.00
                                               M. CONTE RE DISTRIBUTION AND
                                               HEARING TRANSCRIPT; REVISE
                                               DECEMBER STATUS REPORT AND
                                               SEND TO M. BURRUS; ATTEND
                                               WEIL/EVERCORE WEEKLY CHECK-IN
                                               CALL; REVISE DECEMBER STATUS
                                               REPORT TO REFLECT COMMENTS
                                               FROM M. BURRUS AND SEND TO C.
                                               BENTLEY.

            12/17/24     Conte, Matthew        AMEND DISTRIBUTION LIST OF           0.40   72441649    332.00
                                               PARTIES; DISCUSS NEXT STEPS WITH
                                               C. BENTLEY AND I. ROBERTS.

            12/17/24     Burrus, Maigreade     ATTEND CALL WITH EVERCORE AND        3.00   72483373   4,260.00
                         B.                    WEIL RE: SALE PROCESS; REVIEW AND
                                               REVISE JOINT STATUS REPORT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 379 of 419 PageID
                                                           #: 36131




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount


            12/17/24     Clarke, Andrew        REVIEW VARIOUS EMAIL                 2.10   72452758   2,845.50
                                               CORRESPONDENCE FROM WEIL RX
                                               TEAM; REVIEW TRANSCRIPT OF
                                               DECEMBER 13 HEARING; ATTEND
                                               WEIL RX WIP MEETING.

            12/18/24     Friedmann, Jared R.   CALL WITH TEAM, EVERCORE AND         2.40   72479246   4,308.00
                                               B.PINCUS RE: NEXT STEPS ON SALE
                                               PROCESS; REVIEW RX COMMENTS TO
                                               PROPOSAL RE: FUTURE FEES; REVIEW
                                               AND REVISE SAME; EMAILS WITH
                                               A.CURTIS RE: SAME; EMAILS WITH
                                               TEAM RE: FINALIZING SAME; CALL
                                               WITH LITIGATION TEAM RE:
                                               UPCOMING ROLE IN SALE PROCESS;
                                               REVIEW EDITS/COMMENTS FROM
                                               PARTIES IN INTEREST TO SUMMARY
                                               OF OPEN QUESTIONS FOR COURT.

            12/18/24     Keenan, Eoghan P.     CALL WITH WEIL, SPECIAL MASTER       3.60   72455526   6,462.00
                                               AND EVERCORE RE: COURT FILING ON
                                               WEIL FEES, COURT FILING ON
                                               QUESTIONS FOR JUDGE STARK AND
                                               TOPPING VERSUS AUCTION PROCESS;
                                               MEET WITH M. CRUZ AND A. RUBIN
                                               RE: BIDDER PROTECTIONS AND
                                               AUCTION PROCESS; REVISE BID DRAFT
                                               SPA.

            12/18/24     Sanford, Kristin      ANALYZE COMPETITION ISSUES RE        0.40   72455650    690.00
                                               NEW BIDDER.

            12/18/24     Barr, Matt            REVIEW PLEADING, REVIEW              1.80   72476027   4,230.00
                                               DOCUMENT ISSUES AND
                                               CORRESPONDENCE RE: SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 380 of 419 PageID
                                                           #: 36132




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/18/24     Curtis, Aaron J.      MEET WITH WEIL ASSOCIATES AND J.     1.00   72451038   1,595.00
                                               FRIEDMANN TO DISCUSS THE SALE
                                               PROCESS; REVISE PROPOSAL RE: THE
                                               SPECIAL MASTER’S FEES.

            12/18/24     Bentley, Chase A.     REVIEW AND REVISE OPEN ISSUES        5.70   72480930   9,091.50
                                               LIST; MULTIPLE EMAILS AND PHONE
                                               CALLS WITH SPECIAL MASTER,
                                               EVERCORE, WEIL AND PARTIES
                                               REGARDING SAME; ATTEND WEEKLY
                                               CALL WITH SPECIAL MASTER;
                                               ATTEND WEIL RX WIP MEETING;
                                               MULTIPLE CALLS WITH SPECIAL
                                               MASTER RE OPEN ISSUES LIST;
                                               DISCUSS SAME WITH SALE PROCESS
                                               PARTIES; EMAILS WITH SPECIAL
                                               MASTER RE REVISE TIMELINE; REVIEW
                                               AND REVISE BRIEF RE SPECIAL
                                               MASTER EXPENSES AND COORDINATE
                                               SAME WITH M. BARR AND WEIL LIT.

            12/18/24     Rubin, Avi            ATTEND CALL WITH SPECIAL             1.90   72452717   2,451.00
                                               MASTER AND EVERCORE TEAMS;
                                               CALL WITH WEIL M&A TEAM TO
                                               DISCUSS STALKING HORSE / AUCTION
                                               SPA PROVISIONS; CORRESPONDENCE
                                               WITH WEIL M&A REGARDING NDA
                                               ITEMS; REVIEW SPA BIDDER
                                               PROTECTION PROVISIONS.

            12/18/24     Gehnrich, Charles     REVIEW SPECIAL MASTER'S              1.10   72456503   1,292.50
                                               PROPOSAL REGARDING FUTURE
                                               WORKSTREAMS; MEET WITH
                                               LITIGATION TEAM RE: NEXT STEPS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 381 of 419 PageID
                                                           #: 36133




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/18/24     Logan, Savannah L.    ANALYZE AND PROVIDE COMMENTS        1.50   72454522   1,762.50
                                               RE BIDDER POTENTIAL ANTITRUST
                                               RISK.

            12/18/24     Balido, Catherine     ATTEND WEIL RX WIP MEETING.         0.50   72481797    497.50

            12/18/24     Evans, Emma           LITIGATION TEAM MEETING RE: SALE    0.50   72451836    497.50
                                               PROCESS; CORRESPONDENCE RE:
                                               SALES PROCESS AND STRUCTURE.

            12/18/24     Mackinnon, Josh       REVIEW VDR UPLOADS; UPDATE NDA      1.50   72452227   1,492.50
                                               AND CTA TRACKER.

            12/18/24     Roberts, Ian          ATTEND WORK-IN-PROCESS MEETING;     1.90   72484453   2,451.00
                                               SEND NOTES FROM SAME TO M.
                                               BURRUS; REVIEW TRANSCRIPT FROM
                                               DECEMBER HEARING; CORRESPOND
                                               WITH M. BURRUS AND M. CONTE RE
                                               RELEVANT PROVISIONS; CORRESPOND
                                               WITH M. BURRUS RE TYPOGRAPHICAL
                                               ERRORS IN TRANSCRIPT;
                                               CORRESPOND WITH M. BURRUS RE
                                               COMMENTS TO JOINT STATUS
                                               REPORT.

            12/18/24     Conte, Matthew        ATTEND WORK-IN-PROCESS MEETING;     3.40   72449658   2,822.00
                                               RESEARCH 12.13 STATUS CONFERENCE
                                               TRANSCRIPT; DRAFT STATUS
                                               REPORT.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 382 of 419 PageID
                                                           #: 36134




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/18/24     Burrus, Maigreade     PREPARE JOINT STATUS REPORT;        6.80   72483388   9,656.00
                         B.                    REVIEW PARTIES' COMMENTS TO
                                               JOINT STATUS REPORT AND REVISE
                                               SAME; ATTEND CALL WITH SPECIAL
                                               MASTER, EVERCORE, AND WEIL RE:
                                               SALE PROCESS; MULTIPLE
                                               COMMUNICATIONS WITH M. CONTE
                                               RE: AMENDMENTS TO JOINT STATUS
                                               REPORT; CONFER WITH SANTORA
                                               TEAM RE: INVOICING AND FEE
                                               REPORTS; ATTEND WEIL RX WORK IN
                                               PROGRESS MEETING.

            12/18/24     Clarke, Andrew        ATTEND RX WIP MEETING; REVIEW       1.00   72452804   1,355.00
                                               VARIOUS EMAILS FROM WEIL RX
                                               TEAM; REVIEW EMAILS FROM
                                               COUNSEL TO SALE PROCESS PARTIES;
                                               REVIEW DOCKET UPDATES.

            12/19/24     Friedmann, Jared R.   REVIEW INTERESTED PARTIES’          0.80   72479107   1,436.00
                                               SUBMISSIONS/ADDITIONS TO LIST OF
                                               OPEN ISSUES FOR COURT FOLLOWING
                                               12/13 CONFERENCE; EMAILS WITH
                                               TEAM, EVERCORE AND SPECIAL
                                               MASTER RE: OPENING DATA ROOM
                                               FOR INDEPENDENT FINANCING
                                               SOURCES.

            12/19/24     Keenan, Eoghan P.     MEET WITH A. RUBIN RE: SPA          1.50   72461616   2,692.50
                                               REVISIONS TO REFLECT BIDDER
                                               PROTECTIONS; REVIEW UPDATED BID
                                               DRAFT SPA.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 383 of 419 PageID
                                                           #: 36135




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            12/19/24     Sanford, Kristin      ANALYZE BIDDER'S CLEAN TEAM          1.30   72466160    2,242.50
                                               REQUESTS; CONFERENCE CALL WITH
                                               EVERCORE AND BIDDER RE SAME;
                                               CORRESPOND WITH CITGO'S
                                               ANTITRUST COUNSEL RE SAME.

            12/19/24     Barr, Matt            REVIEW FILINGS DRAFTS,               1.00   72475931    2,350.00
                                               CORRESPONDENCE AND CALL WITH
                                               TEAM.

            12/19/24     Curtis, Aaron J.      REVIEW AND RESPOND TO EMAILS RE      0.10   72459893     159.50
                                               THE SUBMISSION RE OPEN ISSUES.

            12/19/24     Bentley, Chase A.     REVIEW AND REVISE OPEN ISSUES       13.10   72480974   20,894.50
                                               STATUS REPORT; SEVERAL PHONE
                                               CALLS AND ONGOING EMAILS WITH
                                               PARTIES REGARDING
                                               RECONCILIATION OF COMMENTS TO
                                               SAME; REVIEW COMMENTS TO
                                               STATUS REPORT; REVIEW
                                               CORRESPONDENCE FROM POTENTIAL
                                               BIDDER; DISCUSS SAME WITH
                                               SPECIAL MASTER AND EVERCORE;
                                               EMAILS RE DATA ROOM; EMAIL WITH
                                               CITGO COUNSEL RE REVISE TIMELINE;
                                               PHONE CALL WITH REPUBLIC
                                               COUNSEL REGARDING BIDDING
                                               PROCEDURES.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 384 of 419 PageID
                                                           #: 36136




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/19/24     Rubin, Avi            CALL WITH EVERCORE TO DISCUSS        2.20   72460564   2,838.00
                                               NDAS; CALL WITH WEIL M&A TO
                                               DISCUSS SPA; COORDINATE VDR
                                               ITEMS; INCORPORATE WEIL M&A
                                               COMMENTS TO SPA NON-SOLICIT
                                               AND TERMINATION FEE PROVISIONS;
                                               CORRESPONDENCE WITH WEIL M&A
                                               AND EVERCORE TEAMS REGARDING
                                               LAZARD DOCUMENTATION.

            12/19/24     Logan, Savannah L.    CONDUCT RESEARCH AND ANALYZE         2.30   72460490   2,702.50
                                               BIDDER POTENTIAL ANTITRUST RISK;
                                               CORRESPONDENCE RE BIDDER CTA;
                                               MEET WITH BIDDER RE CTA.

            12/19/24     Evans, Emma           CORRESPONDENCE RE: SALE PROCESS      0.10   72460013     99.50
                                               STANDING ISSUES.

            12/19/24     Conte, Matthew        DRAFT JOINT STATUS REPORT;           0.30   72475379    249.00
                                               CORRESPOND WITH C. BENTLEY AND
                                               M. BURRUS RE: SAME.

            12/20/24     Friedmann, Jared R.   REVIEW COMBINED LIST OF OPEN         1.80   72479176   3,231.00
                                               ISSUES FOLLOWING 12/13 CONFERENCE
                                               WITH OTHER PARTIES’ POSITIONS;
                                               EMAILS WITH C.BENTLEY RE:
                                               COMMENTS TO SAME; DRAFT
                                               LANGUAGE FOR DISCOVERY
                                               QUESTION AND CALL WITH A.CURTIS
                                               RE: SAME AND NEXT STEPS; REVIEW
                                               BRIEFS FILED IN RESPONSE TO
                                               SPECIAL MASTER’S PROPOSAL FOR
                                               MANAGING FUTURE ADVISOR FEES;
                                               EMAILS WITH TEAM AND B.PINCUS
                                               RE: SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 385 of 419 PageID
                                                           #: 36137




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/20/24     Keenan, Eoghan P.     REVIEW DRAFT RESPONSE TO COURT      4.30   72468033   7,718.50
                                               ORDER; EMAILS WITH WEIL RX TEAM
                                               RE: COMMENTS TO RESPONSE TO
                                               COURT ORDER; REVISE BID DRAFT OF
                                               SPA AND MATERIAL TERMS.

            12/20/24     Sanford, Kristin      REVIEW AND COMMENT ON DRAFT         0.60   72480214   1,035.00
                                               CLEAN TEAM ADDENDUM.

            12/20/24     Barr, Matt            CORRESPONDENCE CALL WITH TEAM;      1.30   72475744   3,055.00
                                               REVIEW DOCUMENT ISSUES AND
                                               NEXT STEPS.

            12/20/24     Curtis, Aaron J.      REVIEW AND ANALYZE THE              0.60   72473498    957.00
                                               SUBMISSIONS RE THE SPECIAL
                                               MASTER’S FEES; CALL WITH J.
                                               FRIEDMANN TO DISCUSS THE
                                               SUBMISSION RE OUTSTANDING
                                               ISSUES; REVIEW AND RESPOND TO
                                               EMAILS RE SAME.

            12/20/24     Bentley, Chase A.     REVIEW AND REVISE OPEN ISSUES       5.80   72480927   9,251.00
                                               STATUS REPORT; SEVERAL PHONE
                                               CALLS AND ONGOING EMAILS WITH
                                               VARIOUS PARTIES REGARDING SAME;
                                               REVIEW COMMENTS TO SAME FROM
                                               PARTIES; EMAILS RE REVISE
                                               TIMELINE; PHONE CALLS WITH
                                               SPECIAL MASTER RE OUTSTANDING
                                               ISSUES; PHONE CALL WITH CITGO
                                               COUNSEL RE DATA ROOM.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 386 of 419 PageID
                                                           #: 36138




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/20/24     Rubin, Avi            ATTEND DILIGENCE PLAN CALL WITH     1.10   72467315   1,419.00
                                               CITGO AND EVERCORE; COORDINATE
                                               SILVER POINT NDA ITEMS;
                                               CORRESPONDENCE WITH WEIL M&A,
                                               SPECIAL MASTER AND LAZARD
                                               TEAM REGARDING LAZARD CONSENT
                                               ITEMS.

            12/20/24     Logan, Savannah L.    CORRESPONDENCE RE BIDDER CTA;       1.40   72467265   1,645.00
                                               DRAFT LANGUAGE RE ALTERNATIVE
                                               CT PROCESS.

            12/20/24     Evans, Emma           CORRESPONDENCE RE: SALE PROCESS     0.20   72474058    199.00
                                               OUTSTANDING ISSUES.

            12/20/24     Mackinnon, Josh       TURN NDA RECEIVED FROM              4.00   72467661   3,980.00
                                               POTENTIAL FINANCING SOURCE FOR
                                               BIDDER.

            12/20/24     Roberts, Ian          CORRESPOND WITH M. BURRUS RE        0.10   72484410    129.00
                                               RESPONSES TO COURT'S ORAL ORDER
                                               RE FUTURE BILLING.

            12/20/24     Conte, Matthew        DRAFT JOINT STATUS REPORT.          4.00   72475228   3,320.00

            12/20/24     Burrus, Maigreade     PREPARE JOINT STATUS REPORT;        6.20   72483301   8,804.00
                         B.                    CONFER WITH SPECIAL MASTER RE:
                                               JOINT STATUS REPORT; CONFER WITH
                                               PARTIES RE: JOINT STATUS REPORT;
                                               REVIEW BRIEFING RELATED TO
                                               SPECIAL MASTER FEES.

            12/21/24     Rubin, Avi            REVIEW AND PROVIDE COMMENTS TO      0.60   72468056    774.00
                                               NDA MARKUP.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 387 of 419 PageID
                                                           #: 36139




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/21/24     Mackinnon, Josh       REVISE FINANCING SOURCE NDA;        3.50   72468084   3,482.50
                                               RESPOND TO QUESTIONS REGARDING
                                               NDA.

            12/21/24     Koivistoinen, Tanja   REVIEW AND COMMENT ON NDA.          1.40   72469126   2,058.00

            12/21/24     Conte, Matthew        REVIEW AND REVISE JOINT STATUS      1.10   72475518    913.00
                                               REPORT.

            12/22/24     Friedmann, Jared R.   REVIEW EMAIL FROM N.EIMER ABOUT     0.20   72507830    359.00
                                               ALLEGED MISCHARACTERIZATIONS
                                               OF POSITIONS FOR STATUS REPORT
                                               TO COURT; EMAILS WITH TEAM RE:
                                               SAME.

            12/22/24     Sanford, Kristin      REVIEW AND COMMENT ON CLEAN         0.70   72477207   1,207.50
                                               TEAM ADDENDUM;
                                               CORRESPONDENCE WITH CITGO'S
                                               ANTITRUST COUNSEL RE SAME.

            12/22/24     Barr, Matt            REVIEW ISSUES AND DRAFT             1.60   72475762   3,760.00
                                               DOCUMENT; CORRESPOND WITH
                                               STAKEHOLDERS; CORRESPOND WITH
                                               TEAM.

            12/22/24     Bentley, Chase A.     REVIEW AND REVISE OPEN ISSUES       1.20   72506202   1,914.00
                                               STATUS REPORT; REVIEW COMMENTS
                                               TO SAME; EMAILS RE SAME.

            12/22/24     Rubin, Avi            CORRESPONDENCE WITH WEIL M&A        0.10   72477725    129.00
                                               REGARDING SILVER POINT NDA.

            12/22/24     Gehnrich, Charles     REVIEW AND ANALYZE RESPONSES        0.20   72484699    235.00
                                               TO SPECIAL MASTER'S PROPOSAL
                                               REGARDING FUTURE BILLINGS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 388 of 419 PageID
                                                           #: 36140




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index   Amount

            12/22/24     Logan, Savannah L.    REVIEW AND PROVIDE COMMENT TO        1.00   72479581   1,175.00
                                               BIDDER CTA MARKUP;
                                               CORRESPONDENCE RE BIDDER CTA
                                               MARKUPS.

            12/22/24     Mackinnon, Josh       REVISE NDA; DRAFT EMAIL TO RX        2.60   72475115   2,587.00
                                               REGARDING NDA STICKING POINTS.

            12/22/24     Koivistoinen, Tanja   REVIEW AND COMMENT ON NDA;           1.30   72469246   1,911.00
                                               REVIEW AND EMAIL RX TEAM RE:
                                               POINTS TO DISCUSS NDA.

            12/22/24     Conte, Matthew        CORRESPOND WITH C. BENTLEY RE:       0.10   72475292     83.00
                                               JOINT STATUS REPORT.

            12/23/24     Lender, David J.      TELEPHONE CALL WITH C. BENTLEY       0.20   72486632    399.00
                                               RE BIDDING.

            12/23/24     Friedmann, Jared R.   REVIEW AS-FILED JOINT STATUS         0.80   72507800   1,436.00
                                               REPORT; REVIEW SEPARATE LETTER
                                               FILED BY PDVH AND CITGO SET FORTH
                                               POSITIONS REGARDING THE OPEN
                                               ISSUES SET FORTH IN THE JOINT
                                               STATUS REPORT.

            12/23/24     Keenan, Eoghan P.     EMAILS WITH WEIL TEAM RE:            0.50   72490993    897.50
                                               RESPONSE TO VZ PARTIES ON COURT
                                               FILING.

            12/23/24     Sanford, Kristin      REVIEW AND COMMENT ON CLEAN          0.70   72492887   1,207.50
                                               TEAM ADDENDUM;
                                               CORRESPONDENCE WITH CITGO'S
                                               ANTITRUST COUNSEL RE SAME.

            12/23/24     Curtis, Aaron J.      REVIEW AND RESPOND TO EMAILS RE      0.20   72486152    319.00
                                               THE OPEN ISSUES LIST.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 389 of 419 PageID
                                                           #: 36141




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount


            12/23/24     Bentley, Chase A.     REVIEW AND REVISE STATUS REPORT;    5.80   72506209   9,251.00
                                               REVIEW COMMENTS TO SAME;
                                               MULTIPLE EMAILS AND PHONE CALLS
                                               WITH SPECIAL MASTER, EVERCORE,
                                               WEIL AND SEVERAL PARTIES
                                               REGARDING SAME; COORDINATE
                                               FILING OF REPORT; CALL WITH D.
                                               LENDER RE: BIDDING.

            12/23/24     Rubin, Avi            COORDINATE NDA ITEMS;               0.80   72490076   1,032.00
                                               CORRESPONDENCE WITH WEIL M&A
                                               AND RX TEAMS REGARDING NDA
                                               AND VDR ITEMS.

            12/23/24     Logan, Savannah L.    PROVIDE COMMENT RE BIDDERS'         2.10   72487267   2,467.50
                                               CTAS; CORRESPONDENCE RE BIDDER'
                                               CTAS.

            12/23/24     Evans, Emma           CORRESPONDENCE RE: SALE PROCESS     0.20   72490920    199.00
                                               OUTSTANDING ISSUES.

            12/23/24     Mackinnon, Josh       REVISE NDA; CORRESPONDENCE          1.80   72486471   1,791.00
                                               REGARDING NDAS; PREPARE
                                               EXECUTION VERSION NDA.

            12/23/24     Roberts, Ian          CORRESPOND WITH C. BENTLEY RE       0.30   72509279    387.00
                                               CALENDAR; CORRESPOND WITH M.
                                               BURRUS RE JOINT STATUS REPORT
                                               FORMATTING.

            12/23/24     Conte, Matthew        FINALIZE JOINT STATUS REPORT.       2.70   72495126   2,241.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25       Page 390 of 419 PageID
                                                           #: 36142




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                           Hours      Index    Amount

            12/23/24     Burrus, Maigreade     REVIEW COMMENTS TO JOINT             7.70   72483395   10,934.00
                         B.                    STATUS REPORT AND INCORPORATE
                                               SAME; MULTIPLE COMMUNICATIONS
                                               WITH C. BENTLEY AND M. CONTE RE:
                                               JOINT STATUS REPORT; CONFER WITH
                                               PARTIES RE: JOINT STATUS REPORT
                                               AND PREPARE FOR FILING.

            12/23/24     Clarke, Andrew        REVIEW EMAIL FROM WLRK RE: JOINT     0.50   72483878     677.50
                                               STATUS REPORT; EMAILS WITH C.
                                               BENTLEY RE: SAME; REVIEW VARIOUS
                                               EMAILS FROM PARTIES RE: JOINT
                                               STATUS REPORT; REVIEW DOCKET
                                               UPDATES.

            12/24/24     Bentley, Chase A.     REVIEW VENEZUELA FILING; EMAILS      0.60   72506150     957.00
                                               RE SAME.

            12/24/24     Logan, Savannah L.    CORRESPONDENCE RE BIDDER CTA         0.40   72493090     470.00
                                               MARKUP.

            12/24/24     Mackinnon, Josh       UPDATE NDA AND CTA TRACKER.          0.20   72492167     199.00

            12/24/24     Conte, Matthew        REVIEW DOCKET FILINGS RE: JOINT      0.70   72495132     581.00
                                               STATUS REPORT.

            12/24/24     Burrus, Maigreade     REVIEW VENEZUELA PARTIES'            0.50   72506456     710.00
                         B.                    POSITIONS RE: JOINT STATUS REPORT
                                               AND CONFER WITH SPECIAL MASTER
                                               RE: SAME.

            12/26/24     Friedmann, Jared R.   REVIEW CONOCOPHILLIPS                0.50   72507652     897.50
                                               STATEMENT OF AMICUS CURIAE IN
                                               GIRARD STREET LITIGATION; EMAILS
                                               WITH B.PINCUS RE: SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 391 of 419 PageID
                                                           #: 36143




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/26/24     Evans, Emma           CORRESPONDENCE RE: SALE PROCESS     0.50   72494233    497.50
                                               OUTSTANDING ISSUES; REVIEW AND
                                               SUMMARIZE FILING IN GIRARD
                                               STREET ALTER EGO CASE.

            12/26/24     Burrus, Maigreade     CONFER WITH EVERCORE RE:            0.10   72506443    142.00
                         B.                    DATASITE BILLING.

            12/26/24     Clarke, Andrew        REVIEW DOCKET UPDATES.              0.10   72493897    135.50

            12/27/24     Sanford, Kristin      REVIEW AND COMMENT ON DRAFT         0.50   72498473    862.50
                                               CLEAN TEAM AGREEMENTS.

            12/27/24     Bentley, Chase A.     REVIEW BIDDER NDA; EMAILS WITH      0.40   72506307    638.00
                                               WEIL M&A TEAM RE SAME.

            12/27/24     Gehnrich, Charles     REVIEW CONOCOPHILLIPS FILING IN     0.10   72499163    117.50
                                               GIRARD STREET ALTER EGO CASE
                                               AND RELATED CORRESPONDENCE.

            12/27/24     Logan, Savannah L.    CORRESPONDENCE RE BIDDERS' CTA      1.20   72510104   1,410.00
                                               MARKUPS; MARKUP BIDDER CTA.

            12/27/24     Mackinnon, Josh       REVIEW BIDDER COMMENTS TO NDA       5.60   72498128   5,572.00
                                               AND REVISE SAME; INCORPORATE
                                               COMMENTS TO MARKUP; REVIEW
                                               CONOCO AMICUS BRIEF; PREPARE
                                               EXECUTION VERSION CTA; DRAFT
                                               EMAIL TO RX REGARDING OUR NDA
                                               STICKING POINTS.

            12/27/24     Burrus, Maigreade     REVIEW BIDDER NDA.                  0.30   72506369    426.00
                         B.
            12/28/24     Bentley, Chase A.     EMAILS RE BIDDER NDA.               0.20   72506401    319.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 392 of 419 PageID
                                                           #: 36144




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/28/24     Logan, Savannah L.    CORRESPONDENCE RE BIDDER CTA        0.40   72507933    470.00
                                               MARKUP; REVIEW AND PROVIDE
                                               COMMENTS ON BIDDER CTA
                                               MARKUP.

            12/28/24     Mackinnon, Josh       CORRESPOND WITH EVERCORE            5.80   72504159   5,771.00
                                               REGARDING FINANCING SOURCE NDA;
                                               REVIEW PRELIMINARY MARKUP OF
                                               OTHER FINANCING SOURCE NDA.

            12/28/24     Koivistoinen, Tanja   REVIEW AND REVISE NDA; DRAFT        1.30   72499003   1,911.00
                                               EMAIL TO EVERCORE RE: SAME.

            12/29/24     Mackinnon, Josh       REVISE FINANCING SOURCE NDA;        0.70   72504110    696.50
                                               CORRESPOND REGARDING NDA.

            12/29/24     Koivistoinen, Tanja   REVISE NDA.                         0.90   72499370   1,323.00

            12/30/24     Friedmann, Jared R.   REVIEW COURT ORDER ON ALTER EGO     1.40   72513438   2,513.00
                                               INJUNCTION MOTION; TEAM CALL
                                               WITH M&A AND RX RE: SAME AND
                                               UPCOMING ISSUES AND STRATEGY;
                                               EMAIL B.PINCUS RE: SUMMARY OF
                                               SAME.

            12/30/24     Keenan, Eoghan P.     MEET WITH WEIL RX, LITIGATION       1.50   72510232   2,692.50
                                               AND M&A TEAMS RE: WORK
                                               STREAMS, COURT ORDER DENYING
                                               THE INJUNCTION AND ENGAGEMENT
                                               WITH BIDDERS; REVIEW COMMENTS
                                               TO MATERIAL TERMS SUMMARY.

            12/30/24     Barr, Matt            REVIEW ORDERS AND NEXT STEPS;       2.80   72531157   6,580.00
                                               ALL HANDS CALL AND FOLLOW UP
                                               FROM SAME.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 393 of 419 PageID
                                                           #: 36145




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/30/24     Curtis, Aaron J.      REVIEW AND RESPOND TO EMAILS RE     0.80   72516506   1,276.00
                                               THE DECISION ON THE INJUNCTION
                                               MOTION; REVIEW AND COMMENT ON
                                               CLIENT SUMMARY OF THE DECISION
                                               ON THE INJUNCTION MOTION; REVIEW
                                               AND ANALYZE THE DECISION ON THE
                                               INJUNCTION MOTION.

            12/30/24     Bentley, Chase A.     ATTEND WEIL WIP CALL; REVIEW SPA    2.10   72526207   3,349.50
                                               TERMS LIST; EMAIL WITH WEIL M&A
                                               TEAM RE SAME; REVIEW ORDER RE
                                               ALTER EGO INJUCTION; EMAIL WITH
                                               WEIL LIT TEAM RE SAME.

            12/30/24     Rubin, Avi            ATTEND INTERNAL CHECK IN CALL;      2.60   72511084   3,354.00
                                               REVIEW AMBER NDA PROVISIONS;
                                               CORRESPONDENCE WITH WEIL M&A
                                               AND WEIL RX TEAMS REGARDING
                                               AMBER NDA PROVISIONS;
                                               INCORPORATE WEIL M&A AND WEIL
                                               RX COMMENTS TO SPA MATERIAL
                                               TERMS LIST; REVISE SPA MATERIAL
                                               TERMS LIST.

            12/30/24     Gehnrich, Charles     ANALYZE AND PREPARE SUMMARY         1.70   72515014   1,997.50
                                               OF ORDER DENYING SPECIAL
                                               MASTER'S MOTION TO ENJOIN ALTER
                                               EGO ACTIONS.

            12/30/24     Mackinnon, Josh       REVIEW NDA MARKUPS AND REVISE       3.80   72511969   3,781.00
                                               SAME; CORRESPONDED REGARDING
                                               NDAS.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 394 of 419 PageID
                                                           #: 36146




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/30/24     Koivistoinen, Tanja   ATTEND WEEKLY STATUS CALL WITH      5.40   72512846   7,938.00
                                               WEIL TEAMS; REVIEW RX TEAM
                                               COMMENT ON SPA MATERIAL TERMS
                                               SUMMARY AND REVISE SAME;
                                               REVIEW AND REVISE NDA AND
                                               REVIEW APPROACH TAKEN IN NDAS
                                               EXECUTED PREVIOUSLY; DRAFT
                                               EMAIL TO SPECIAL MASTER RE: NDA.

            12/30/24     Roberts, Ian          ATTEND WEIL WORK-IN-PROCESS         0.60   72509125    774.00
                                               MEETING WITH WEIL TEAMS.

            12/30/24     Conte, Matthew        REVIEW OPINION DENYING MOTION       0.90   72510903    747.00
                                               TO ENJOIN D.I. 1515; ATTEND
                                               WORK-IN-PROCESS MEETING WITH
                                               WEIL TEAMS.

            12/30/24     Burrus, Maigreade     REVIEW ALTER EGO OPINION; ATTEND    1.60   72541287   2,272.00
                         B.                    WORK IN PROGRESS MEETING WITH
                                               WEIL TEAMS; CONFER WITH E.
                                               KEENAN RE: MATERIAL TERMS.

            12/30/24     Clarke, Andrew        REVIEW DOCKET UPDATES; REVIEW       0.90   72508576   1,219.50
                                               EMAILS FROM WEIL TEAM RE: SALE
                                               PROCESS; ATTEND WEIL WIP
                                               MEETING.

            12/31/24     Lender, David J.      REVIEW COURT ORDER.                 0.20   72515572    399.00
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25      Page 395 of 419 PageID
                                                           #: 36147




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                        ITEMIZED SERVICES
            Date         Tkpr                  Narrative                          Hours      Index   Amount

            12/31/24     Friedmann, Jared R.   EMAILS WITH TEAM RE: ISSUES WITH    1.20   72521421   2,154.00
                                               PRIOR Q&A IN DATA ROOM; WEEKLY
                                               CALL WITH WEIL AND EVERCORE RE:
                                               SAME, STATUS AND NEXT STEPS AND
                                               STRATEGY; REVIEW DRAFT EMAIL TO
                                               AMBER ENERGY RE: Q&A/DATAROOM
                                               ISSUE; REVIEW COURT ORDER ON
                                               PROCEDURES REGARDING SPECIAL
                                               MASTER'S FUTURE BILLINGS FOR
                                               LEGAL ADVISORS AND EMAILS WITH
                                               TEAM RE: SAME; REVIEW COURT'S
                                               MEMORANDUM REGARDING SALE
                                               PROCESS AND LITIGATION.

            12/31/24     Keenan, Eoghan P.     REVISE SUMMARY OF MATERIAL SPA      2.80   72514878   5,026.00
                                               TERMS; MEET WITH WEIL TEAMS
                                               AND EVERCORE RE: STATUS OF
                                               ENGAGEMENT WITH BIDDERS AND
                                               COORDINATION OF ACCESS TO VDR;
                                               REVIEW MARKUPS OF NDAS.

            12/31/24     Sanford, Kristin      REVIEW AND COMMENT ON DRAFT         0.20   72516512    345.00
                                               CLEAN TEAM ADDENDUM.

            12/31/24     Barr, Matt            REVIEW ORDERS AND                   1.00   72531167   2,350.00
                                               CORRESPONDENCE.

            12/31/24     Curtis, Aaron J.      REVIEW AND ANALYZE DECISION ON      0.20   72516456    319.00
                                               THE SALE PROCESS.

            12/31/24     Bentley, Chase A.     PHONE CALL WITH EVERCORE RE         1.10   72526220   1,754.50
                                               PROCESS NEXT STEPS; REVIEW NDAS;
                                               EMAIL WITH WEIL M&A RE SAME;
                                               EMAILS WITH WEIL, EVERCORE AND
                                               SPECIAL MASTER RE DATA ROOM
                                               Q&A.
        Case 1:17-mc-00151-LPS                      Document 1584-1 Filed 03/04/25                           Page 396 of 419 PageID
                                                              #: 36148




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                           ITEMIZED SERVICES
             Date         Tkpr                   Narrative                                               Hours        Index           Amount


             12/31/24     Rubin, Avi             ATTEND CALL WITH EVERCORE AND                             1.60   72513140            2,064.00
                                                 WEIL TEAMS; CORRESPONDENCE
                                                 WITH WEIL RX TEAM REGARDING
                                                 AMBER CONFIDENTIALITY
                                                 PROVISIONS; REVISE SPA MATERIAL
                                                 TERMS LIST.

             12/31/24     Logan, Savannah L.     CORRESPONDENCE RE BIDDER CTA                              1.10   72513191            1,292.50
                                                 MARKUP; MARKUP BIDDER CTA.

             12/31/24     Mackinnon, Josh        REVIEW NDAS; REVISE NDAS;                                 4.00   72516200            3,980.00
                                                 CORRESPOND REGARDING NDAS.

             12/31/24     Koivistoinen, Tanja    ATTEND WEEKLY CALL WITH                                   4.20   72512848            6,174.00
                                                 EVERCORE; REVIEW AND REVISE SPA
                                                 MATERIAL TERMS SUMMARY;
                                                 REVIEW AND REVISE NDAS; EMAIL
                                                 CORRESPONDENCE RE: NDAS WITH
                                                 WEIL TEAMS; REVIEW SCHEDULE 1 TO
                                                 THE NDA.

             12/31/24     Conte, Matthew         REVIEW MEMORANDUM ORDER                                   0.50   72516477              415.00
                                                 REGARDING SALE PROCESS AND
                                                 LITIGATION D.I. 1517.

             12/31/24     Burrus, Maigreade      CONFER WITH EVERCORE AND WEIL                             1.00   72541270            1,420.00
                          B.                     TEAMS RE: CASE UPDATES; REVIEW
                                                 ORDERS ENTERED BY THE COURT.

             12/31/24     Clarke, Andrew         REVIEW COURT ORDER DATED                                  0.10   72512272              135.50
                                                 DECEMBER 31, 2024.


                          Total Fees Due                                                                900.00                  $1,294,773.00




  Amount does not match total fee amount on cover page due to removal of entries for timekeepers with less than 3.0 hours billed during the month.
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25             Page 397 of 419 PageID
                                                           #: 36149




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                          DISB TYPE     DISB ID#         AMOUNT

                12/02/24   Okada, Tyler                                         H060           42336531              20.00
                           COMPUTERIZED RESEARCH
                           PAYEE: FILE & SERVEXPRESS, LLC (49681-01); INVOICE#: 202411062703701; DATE: 12/2/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - NOVEMBER 2024; ALERT FEE


                12/17/24   SanGiovanni, Giana                                   H060           42344588                9.20
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095440971; DATE: 11/30/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK
                           NOVEMBER 2024.


                12/17/24   SanGiovanni, Giana                                   H060           42344532                0.70
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095440971; DATE: 11/30/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK
                           NOVEMBER 2024.


                12/17/24   Barahona, Philip                                     H060           42344406              51.97
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095440971; DATE: 11/30/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK
                           NOVEMBER 2024.


                12/17/24   Lucevic, Almir                                       H060           42344546                9.20
                           COMPUTERIZED RESEARCH
                           PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3095440971; DATE: 11/30/2024 -
                           COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK
                           NOVEMBER 2024.


                SUBTOTAL DISB TYPE H060:                                                                             $91.07
        Case 1:17-mc-00151-LPS                    Document 1584-1 Filed 03/04/25         Page 398 of 419 PageID
                                                            #: 36150




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#      AMOUNT

                12/04/24   Burrus, Maigreade B.                              H080          42338359           34.93
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-202; DATE: 12/8/2024 - SEAMLESS MEALS EXPENSE BY MAIGREADE
                           BURRUS ON 2024-12-04 AT 7:27 PM


                12/04/24   Koivistoinen, Tanja                               H080          42338541           40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-202; DATE: 12/8/2024 - SEAMLESS MEALS EXPENSE BY TANJA
                           KOIVISTOINEN ON 2024-12-04 AT 7:00 PM


                12/06/24   Roberts, Ian                                      H080          42338527           40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-202; DATE: 12/8/2024 - SEAMLESS MEALS EXPENSE BY IAN ROBERTS
                           ON 2024-12-06 AT 6:50 PM


                12/06/24   Burrus, Maigreade B.                              H080          42338427           37.50
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-202; DATE: 12/8/2024 - SEAMLESS MEALS EXPENSE BY MAIGREADE
                           BURRUS ON 2024-12-06 AT 7:49 PM


                12/10/24   Roberts, Ian                                      H080          42345804           38.92
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-203; DATE: 12/15/2024 - SEAMLESS MEALS EXPENSE BY IAN ROBERTS
                           ON 2024-12-10 AT 7:05 PM


                12/10/24   Keenan, Eoghan P.                                 H080          42345757           26.83
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-203; DATE: 12/15/2024 - SEAMLESS MEALS EXPENSE BY EOGHAN
                           KEENAN ON 2024-12-10 AT 7:44 PM
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25            Page 399 of 419 PageID
                                                           #: 36151




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                         DISB TYPE    DISB ID#        AMOUNT

                12/10/24   Shefa, Yonatan                                      H080          42345898              38.05
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-203; DATE: 12/15/2024 - SEAMLESS MEALS EXPENSE BY YONATAN
                           SHEFA ON 2024-12-10 AT 7:04 PM


                12/11/24   Koivistoinen, Tanja                                 H080          42345910              40.00
                           MEALS - LEGAL O/T
                           INVOICE#: WYVHL8-L1-203; DATE: 12/15/2024 - SEAMLESS MEALS EXPENSE BY TANJA
                           KOIVISTOINEN ON 2024-12-11 AT 6:40 PM


                SUBTOTAL DISB TYPE H080:                                                                      $296.23

                12/19/24   Bentley, Chase A.                                   H103          42345484         2,002.32
                           COURT REPORTING
                           PAYEE: VERITEXT, LLC - NORTHEAST REGION (25140-22); INVOICE#: 7771251; DATE: 10/10/2024
                           - TRANSCRIPT SERVICES, LOGISTICS, PROCESSING AND DELIVERY


                SUBTOTAL DISB TYPE H103:                                                                     $2,002.32

                12/17/24   Bentley, Chase A.                                   H160          42341670          701.00
                           TRAVEL
                           INVOICE#: CREX7124322212171303; DATE: 12/17/2024 - WILMINGTON, DE- RAIL,
                           TICKET:3440730088379, DEC 12, 2024 - FROM/TO: STAMFORD, CT/WILMINGTON,
                           DE/STAMFORD, CT


                12/17/24   Bentley, Chase A.                                   H160          42341669          185.90
                           TRAVEL
                           INVOICE#: CREX7124322212171303; DATE: 12/17/2024 - HOTEL ROOM AND TAX, DEC 12, 2024 -
                           CHECK IN 12/12/2024, CHECK OUT 12/13/2024 (1 NIGHT)
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25              Page 400 of 419 PageID
                                                           #: 36152




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                           DISB TYPE     DISB ID#         AMOUNT

                12/18/24   Keenan, Eoghan P.                                     H160           42343082           711.00
                           TRAVEL
                           INVOICE#: CREX7116548512181302; DATE: 12/18/2024 - RAIL, TICKET:3470666044682, DEC 12, 2024
                           - 12/12-12/13/24. - FROM/TO: NYP-WIL-NYP


                12/18/24   Keenan, Eoghan P.                                     H160           42343083           185.90
                           TRAVEL
                           INVOICE#: CREX7116548512181302; DATE: 12/18/2024 - HOTEL ROOM AND TAX, DEC 12, 2024 -
                           CHECK IN 12/12/2024, CHECK OUT 12/13/2024 (1 NIGHT)


                12/18/24   Lender, David J.                                      H160           42342984            45.00
                           TRAVEL
                           INVOICE#: CREX7127334012181302; DATE: 12/18/2024 - AGENCY FEES, TICKET:8900883532731,
                           DEC 12, 2024 - AGENCY FEE FOR AMTRAK FROM DC TO DELAWARE FOR CITGO STATUS
                           CONFERENCE.


                12/18/24   Lender, David J.                                      H160           42342981            27.30
                           TRAVEL
                           INVOICE#: CREX7127334012181302; DATE: 12/18/2024 - TAXI - DEC 12, 2024 - UBER FROM
                           AMTRAK TO HOTEL IN DELAWARE


                12/18/24   Lender, David J.                                      H160           42342982            45.00
                           TRAVEL
                           INVOICE#: CREX7127334012181302; DATE: 12/18/2024 - AGENCY FEES, TICKET:8900898362851,
                           DEC 12, 2024 - AGENCY FEE FOR CHANGED AMTRAK FROM DE TO NYP FOR CITGO STATUS
                           CONFERENCE.


                12/18/24   Lender, David J.                                      H160           42342985           193.15
                           TRAVEL
                           INVOICE#: CREX7127334012181302; DATE: 12/18/2024 - HOTEL ROOM AND TAX, DEC 12, 2024 -
                           CHECK IN 12/12/2024, CHECK OUT 12/13/2024 (1 NIGHT)
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25              Page 401 of 419 PageID
                                                           #: 36153




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                           DISB TYPE     DISB ID#         AMOUNT

                12/18/24   Lender, David J.                                      H160           42342983            45.00
                           TRAVEL
                           INVOICE#: CREX7127334012181302; DATE: 12/18/2024 - AGENCY FEES, TICKET:8900898362863,
                           DEC 13, 2024 - AGENCY FEE FOR CHANGED AMTRAK FROM DE TO NYP FOR CITGO STATUS
                           CONFERENCE.


                12/18/24   Lender, David J.                                      H160           42342980           189.90
                           TRAVEL
                           INVOICE#: CREX7127334012181302; DATE: 12/18/2024 - RAIL, TICKET:0884089917, DEC 12, 2024 -
                           FROM/TO: DC/DE


                12/19/24   Friedmann, Jared R.                                   H160           42344934           185.90
                           TRAVEL
                           INVOICE#: CREX7131149312191307; DATE: 12/19/2024 - HOTEL ROOM AND TAX, DEC 13, 2024 -
                           CHECK IN 12/12/2024, CHECK OUT 12/13/2024 (1 NIGHT)


                12/19/24   Friedmann, Jared R.                                   H160           42344933            18.32
                           TRAVEL
                           INVOICE#: CREX7131149312191307; DATE: 12/19/2024 - LOCAL TAXI, DEC 13, 2024 - ATTEND
                           COURT CONFERENCE


                12/19/24   Friedmann, Jared R.                                   H160           42344936            12.50
                           TRAVEL
                           INVOICE#: CREX7131149312191307; DATE: 12/19/2024 - LOCAL PARKING, DEC 13, 2024 - ATTEND
                           COURT CONFERENCE


                12/19/24   Friedmann, Jared R.                                   H160           42344932           496.00
                           TRAVEL
                           INVOICE#: CREX7131149312191307; DATE: 12/19/2024 - RAIL, TICKET:3480672085637, DEC 13, 2024
                           - 2 ONE-WAY TICKETS FOR J. FRIEDMANN AND D. LENDER - FROM/TO: DE/NY
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25              Page 402 of 419 PageID
                                                           #: 36154




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                           DISB TYPE     DISB ID#        AMOUNT

                12/19/24   Friedmann, Jared R.                                   H160           42344935           392.00
                           TRAVEL
                           INVOICE#: CREX7131149312191307; DATE: 12/19/2024 - RAIL, TICKET:3430677024271, DEC 12, 2024
                           - FROM/TO: NY/DE


                12/23/24   Barr, Matt                                            H160           42354723             45.00
                           TRAVEL
                           INVOICE#: CREX7119107212231306; DATE: 12/23/2024 - AGENCY FEES, TICKET:3440884119517,
                           DEC 12, 2024 - AGENCY FEE - TRAIN FROM NEWARK, PENN STATION TO WILMINGTON, DE.


                12/23/24   Barr, Matt                                            H160           42354725           366.00
                           TRAVEL
                           INVOICE#: CREX7119107212231306; DATE: 12/23/2024 - RAIL, TICKET:3480722100154, DEC 13, 2024
                           - FROM/TO: WILMINGTON / NEWARK PENN


                12/23/24   Barr, Matt                                            H160           42354729             45.00
                           TRAVEL
                           INVOICE#: CREX7119107212231306; DATE: 12/23/2024 - AGENCY FEES, TICKET:3470884016256,
                           DEC 13, 2024 - AGENCY FEE ON UNUSED RETURN TICKET - TRIP TO WILMINGTON


                12/23/24   Barr, Matt                                            H160           42354728           220.50
                           TRAVEL
                           INVOICE#: CREX7119107212231306; DATE: 12/23/2024 - RAIL, TICKET:3440884119517, DEC 12, 2024
                           - FROM/TO: NEWARK PENN / WILMINGTON


                12/23/24   Barr, Matt                                            H160           42354675             20.00
                           TRAVEL
                           INVOICE#: CREX7133311612231306; DATE: 12/23/2024 - OUSIDE CITY, DEC 12, 2024 - CAR FROM
                           WILMINGTON TRAIN STATION TO HOTEL.
        Case 1:17-mc-00151-LPS                    Document 1584-1 Filed 03/04/25            Page 403 of 419 PageID
                                                            #: 36155




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                          DISB TYPE     DISB ID#        AMOUNT

                12/23/24   Barr, Matt                                           H160           42354727           185.90
                           TRAVEL
                           INVOICE#: CREX7119107212231306; DATE: 12/23/2024 - HOTEL ROOM AND TAX, DEC 13, 2024 -
                           CHECK IN 12/12/2024, CHECK OUT 12/13/2024 (1 NIGHT)


                SUBTOTAL DISB TYPE H160:                                                                       $4,316.27

                12/04/24   Bentley, Chase A.                                    H163           42321878           286.18
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100113; DATE: 12/1/2024 - TAXI
                           CHARGES FOR 2024-12-01 INVOICE #100113 STATEMENT #FCBD0814765 CHASE A BENTLEY
                           G067 RIDE DATE: 2024-11-06 FROM: MADISON AVE & E 55TH ST, NEW YORK, NY TO: NEW
                           CANAAN, CT RIDE TIME: 19:33


                12/04/24   Keenan, Eoghan P.                                    H163           42321834               50.28
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: UBER TECHNOLOGIES, INC (47404-01); INVOICE#: 100113; DATE: 12/1/2024 - TAXI
                           CHARGES FOR 2024-12-01 INVOICE #100113 STATEMENT #FCBD0814771 EOGHAN P KEENAN
                           5284 RIDE DATE: 2024-11-06


                12/10/24   Conte, Matthew                                       H163           42327229               57.35
                           TRANSPORTATION - LEGAL/OVERTIME
                           INVOICE#: CREX7104587012101304; DATE: 12/10/2024 - LOCAL TAXI, DEC 03, 2024 - FROM WEIL
                           TO HOME


                12/13/24   Burrus, Maigreade B.                                 H163           42338662               60.32
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: XYZ (37976-01); INVOICE#: 1746050; DATE: 12/11/2024 - TAXI CHARGES FOR 2024-12-11
                           INVOICE #17460504120322454 MAGGIE BURRUS I493 RIDE DATE: 2024-12-03 FROM: 767 5 AVE,
                           MANHATTAN, NY TO: MANHATTAN, NY RIDE TIME: 21:54
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25             Page 404 of 419 PageID
                                                           #: 36156




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                          DISB TYPE     DISB ID#        AMOUNT

                12/19/24   Barr, Matt                                           H163           42345235              204.41
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: BIG APPLE CAR SERVICES, LLC (58223-01); INVOICE#: 35102; DATE: 12/13/2024 - TAXI
                           CHARGES FOR 2024-12-13 INVOICE #35102809940 MATT BARR C295 RIDE DATE: 2024-12-12
                           FROM: 767 5TH AVE, NEW YORK, NY TO: SHORT HILLS, NJ RIDE TIME: 09:40


                12/20/24   Shefa, Yonatan                                       H163           42347287              165.17
                           TRANSPORTATION - LEGAL/OVERTIME
                           PAYEE: XYZ (37976-01); INVOICE#: 1746234; DATE: 12/18/2024 - TAXI CHARGES FOR 2024-12-18
                           INVOICE #17462344120926747 YONATAN SHEFA E657 RIDE DATE: 2024-12-09 FROM: 767 5 AVE,
                           MANHATTAN, NY TO: TEANECK, NJ RIDE TIME: 20:16


                SUBTOTAL DISB TYPE H163:                                                                         $823.71

                12/23/24   Barr, Matt                                           H165           42354726              115.00
                           TRANSPORTATION - LOCAL MEETING
                           INVOICE#: CREX7119107212231306; DATE: 12/23/2024 - LOCAL TAXI, DEC 12, 2024 - CAR FROM
                           HOME TO NEWARK, PENN STATION.


                12/23/24   Barr, Matt                                           H165           42354724              115.00
                           TRANSPORTATION - LOCAL MEETING
                           INVOICE#: CREX7119107212231306; DATE: 12/23/2024 - LOCAL TAXI, DEC 13, 2024 - CAR FROM
                           NEWARK, PENN TO HOME


                SUBTOTAL DISB TYPE H165:                                                                         $230.00

                12/03/24   WGM, Firm                                            S011           42321300                3.50
                           DUPLICATING
                           7 COLOR PRINT(S) MADE BETWEEN 11/27/2024 AND 12/03/2024
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 405 of 419 PageID
                                                           #: 36157




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                12/10/24   WGM, Firm                                         S011          42329469      109.00
                           DUPLICATING
                           218 COLOR PRINT(S) MADE BETWEEN 12/05/2024 AND 12/10/2024


                12/17/24   WGM, Firm                                         S011          42342166       11.50
                           DUPLICATING
                           23 COLOR PRINT(S) MADE BETWEEN 12/11/2024 AND 12/17/2024


                12/18/24   WGM, Firm                                         S011          42348871        2.00
                           DUPLICATING
                           4 COLOR PRINT(S) MADE BETWEEN 12/18/2024 AND 12/18/2024


                SUBTOTAL DISB TYPE S011:                                                                $126.00

                12/04/24   Koivistoinen, Tanja                               S030          42322146      170.00
                           DOCUMENT PROCESSING
                           NY DOCUMENT PROCESSING,11/22/2024,JOB# 90769,"AUTHORS REVISIONS",4.25
                           HOUR(S),OPERATOR: DS INTAKE


                SUBTOTAL DISB TYPE S030:                                                                $170.00

                12/09/24   Gehnrich, Charles                                 S061          42332138       36.18
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 11/05/2024 TRANSACTIONS: 13


                12/09/24   Clarke, Andrew                                    S061          42333389       47.71
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - CLARKE,ANDREW 11/05/2024 TRANSACTIONS: 3
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 406 of 419 PageID
                                                           #: 36158




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                12/09/24   Conte, Matthew                                    S061          42332321      539.14
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - CONTE,MATTHEW 11/13/2024 TRANSACTIONS: 36


                12/09/24   SanGiovanni, Giana                                S061          42326837       81.06
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 11/02/2024 TRANSACTIONS: 29


                12/09/24   SanGiovanni, Giana                                S061          42326824       81.06
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 11/04/2024 TRANSACTIONS: 32


                12/09/24   Gehnrich, Charles                                 S061          42333137       36.18
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 11/22/2024 TRANSACTIONS: 5


                12/09/24   Gehnrich, Charles                                 S061          42333710       72.36
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - GEHNRICH,CHARLES 11/25/2024 TRANSACTIONS: 5


                12/09/24   Balido, Catherine                                 S061          42332777       47.71
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - BALIDO,CATHERINE 11/05/2024 TRANSACTIONS: 11


                12/09/24   SanGiovanni, Giana                                S061          42326853      318.18
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 11/01/2024 TRANSACTIONS: 20


                12/09/24   Balido, Catherine                                 S061          42333455      144.71
                           COMPUTERIZED RESEARCH
                           NY WESTLAW - BALIDO,CATHERINE 11/22/2024 TRANSACTIONS: 26
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 407 of 419 PageID
                                                           #: 36159




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                12/09/24   SanGiovanni, Giana                                S061          42326836      277.81
                           COMPUTERIZED RESEARCH
                           MIAMI WESTLAW - SANGIOVANNI,GIANA 11/03/2024 TRANSACTIONS: 40


                12/11/24   SanGiovanni, Giana                                S061          42335007       45.77
                           COMPUTERIZED RESEARCH
                           MI LEXIS - SANGIOVANNI, GIANA 11/03/2024 ACCOUNT 424YN6CXS


                12/11/24   Conte, Matthew                                    S061          42334263       99.66
                           COMPUTERIZED RESEARCH
                           NY LEXIS - CONTE, MATTHEW 11/13/2024 ACCOUNT 424YN6CXS


                12/11/24   Conte, Matthew                                    S061          42334519       95.64
                           COMPUTERIZED RESEARCH
                           NY LEXIS - CONTE, MATTHEW 11/13/2024 ACCOUNT 424YN6CXS


                12/11/24   Smith, Kara                                       S061          42334493       99.66
                           COMPUTERIZED RESEARCH
                           NY LEXIS - SMITH, KARA 11/05/2024 ACCOUNT 424YN6CXS


                12/12/24   Mackinnon, Josh                                   S061          42343631       60.63
                           COMPUTERIZED RESEARCH
                           INTELLIGIZE USAGE REPORT - NOVEMBER 2024


                12/16/24   Okada, Tyler                                      S061          42340547      457.10
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - NOVEMBER 2024


                12/16/24   Smith, Kara                                       S061          42340545        3.00
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - NOVEMBER 2024
        Case 1:17-mc-00151-LPS                    Document 1584-1 Filed 03/04/25         Page 408 of 419 PageID
                                                            #: 36160




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                12/16/24   Roberts, Ian                                      S061          42340560        3.00
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - NOVEMBER 2024


                12/16/24   Gehnrich, Charles                                 S061          42340738       29.40
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - NOVEMBER 2024


                12/16/24   Curtis, Aaron J.                                  S061          42340458        4.60
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - NOVEMBER 2024


                12/16/24   Balido, Catherine                                 S061          42340774      117.90
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - NOVEMBER 2024


                12/16/24   Burrus, Maigreade B.                              S061          42340823        3.40
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - NOVEMBER 2024


                12/16/24   Okada, Tyler                                      S061          42340550       41.30
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - NOVEMBER 2024


                12/16/24   Conte, Matthew                                    S061          42340515        0.20
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - NOVEMBER 2024


                12/16/24   Tremain, Jack                                     S061          42340783        4.20
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - NOVEMBER 2024
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25              Page 409 of 419 PageID
                                                           #: 36161




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                           DISB TYPE    DISB ID#    AMOUNT

                12/16/24   SanGiovanni, Giana                                    S061          42340779       61.70
                           COMPUTERIZED RESEARCH
                           PACER USAGE REPORT - NEW YORK OFFICE - NOVEMBER 2024


                SUBTOTAL DISB TYPE S061:                                                                   $2,809.26

                12/12/24   Bentley, Chase A.                                     S064          42337011       85.00
                           COMPUTERIZED RESEARCH
                           NEWSWIRE SERVICE - NOVEMBER 2024 FOR CITGO NEWS ALERT


                12/12/24   Logan, Savannah L.                                    S064          42337021       85.00
                           COMPUTERIZED RESEARCH
                           NEWSWIRE SERVICE - NOVEMBER 2024 FOR CITGO / BANKRUPTCY SALE


                SUBTOTAL DISB TYPE S064:                                                                    $170.00

                12/03/24   WGM, Firm                                             S117          42321526      156.15
                           DUPLICATING
                           1041 PRINT(S) MADE BETWEEN 11/27/2024 AND 12/03/2024


                12/10/24   WGM, Firm                                             S117          42329750       82.65
                           DUPLICATING
                           551 PRINT(S) MADE BETWEEN 12/05/2024 AND 12/10/2024


                12/17/24   WGM, Firm                                             S117          42342438      219.75
                           DUPLICATING
                           1465 PRINT(S) MADE BETWEEN 12/11/2024 AND 12/17/2024


                12/18/24   WGM, Firm                                             S117          42349063        7.80
                           DUPLICATING
                           52 PRINT(S) MADE BETWEEN 12/18/2024 AND 12/18/2024
        Case 1:17-mc-00151-LPS                   Document 1584-1 Filed 03/04/25          Page 410 of 419 PageID
                                                           #: 36162




Robert B. Pincus, Special Master - Citgo Restructuring and M&A Process
67816.0003
2025000594


                                                    ITEMIZED DISBURSEMENTS

                           NAME
                DATE       DESCRIPTION                                       DISB TYPE    DISB ID#    AMOUNT

                SUBTOTAL DISB TYPE S117:                                                                $466.35


                           TOTAL DISBURSEMENTS                                                        $11,501.21
Case 1:17-mc-00151-LPS   Document 1584-1 Filed 03/04/25   Page 411 of 419 PageID
                                   #: 36163
      Case 1:17-mc-00151-LPS          Document 1584-1 Filed 03/04/25             Page 412 of 419 PageID
                                                #: 36164


Potter Anderson & Corroon LLP
1313 North Market Street
P.O. Box 951
Wilmington, DE 19899-0951
302 984 6000
www.potteranderson.com

Federal ID # XX-XXXXXXX


                                                   February 12, 2025
                                                   Bill Number 312893
Pincus, Robert B.                                  File Number (PINCRO-51819) / 21202.00001
rbpincus@gmail.com


         For legal services rendered as more fully set forth in the attached statement.

                                  Legal Services                    $23,433.50
                                  Disbursements                      $2,519.97
                                  Bill Total                        $25,953.47




                                                                                                          MFD
       Case 1:17-mc-00151-LPS             Document 1584-1 Filed 03/04/25          Page 413 of 419 PageID
                                                    #: 36165



Potter Anderson & Corroon LLP
1313 North Market Street
P.O. Box 951
Wilmington, DE 19899-0951
302 984 6000
www.potteranderson.com

Federal ID # XX-XXXXXXX



                                                          February 12, 2025
                                                          Bill Number 312893
Pincus, Robert B.                                         File Number (PINCRO-51819 ) / 21202.00001
rbpincus@gmail.com


         RE: Legal Advice to Special Master in U.S. District Court for District of Delaware


         Through December 31, 2024


Date              Atty      Description                                                         Hours      Value

12/02/24          BAPA      Analysis/Strategy                                                 0.20 Hrs   $168.00
                            Correspondence re presario international
12/02/24          MPM       Analysis and Advice                                               0.20 Hrs   $168.00
                            Review litigation filings and correspondence.
12/02/24          TEE       Document/File Management                                          1.50 Hrs   $187.50
                            Update docket
12/03/24          MCD       Analysis/Strategy                                                 0.70 Hrs   $315.00
                            Review and revise response to November 20 oral order;
                            email correspondence with co-counsel re same.
12/03/24          ALG       Analysis and Advice                                               1.20 Hrs   $624.00
                            Review draft ARTA and related correspondence re: PAC
                            comments to same
12/03/24          MTS       Pleadings                                                         0.50 Hrs   $762.50
                            Review of filings and emails
12/03/24          BAPA      Other Written Motions and Submissions                             0.70 Hrs   $588.00
                            Review, revise, coordinate filing of answering brief re
                            court's inclinations
12/03/24          NMTA      Other Written Motions and Submissions                             0.50 Hrs   $150.00
                            Review omnibus response, make edits, related
                            communications
12/04/24          BAPA      Pleadings                                                         0.40 Hrs   $336.00
                            Review draft notices of withdrawal of Alexander Welch
                            and Ray Schrock, related correspondence
12/04/24          NMTA      Other Written Motions and Submissions                             0.30 Hrs    $90.00
                            Draft notices of withdrawal for R. Schrock and A. Welch
12/04/24          MCD       Other Written Motions and Submissions                             0.50 Hrs   $225.00
                            Review and file notices of withdrawal for R. Schrock and
                            A. Welch; email correspondence with Weil team re same.
12/04/24          ALG       Analysis and Advice                                               0.50 Hrs   $260.00


                                                                                                             MFD
       Case 1:17-mc-00151-LPS         Document 1584-1 Filed 03/04/25          Page 414 of 419 PageID
                                                #: 36166
        Pincus, Robert B.
        Re Legal Advice to Special Master in U.S. D

Date           Atty     Description                                                    Hours          Value

                        Review procedural history of 2020 bond lawsuit
12/04/24       MPM      Analysis and Advice                                          2.50 Hrs   $2,100.00
                        Review litigation filings and correspondence.
12/06/24       ALG      Analysis and Advice                                          0.70 Hrs     $364.00
                        Review procedural history of 2020 bond claims and
                        related litigation matters and background re: auction of
                        Citgo assets
12/06/24       MTS      Pleadings                                                    1.00 Hrs   $1,525.00
                        Review of emails and filings
12/06/24       MCD      Other Written Motions and Submissions                        0.70 Hrs     $315.00
                        Review reply brief re November 20 Order; prepare to file
                        the same.
12/06/24       BAPA     Other Written Motions and Submissions                        0.50 Hrs     $420.00
                        Review and coordinate filing of reply brief re court's
                        inclinations
12/06/24       NMTA     Other Written Motions and Submissions                        0.20 Hrs         $60.00
                        Prepare draft exemption motion, related communications
12/06/24       NMTA     Other Written Motions and Submissions                        1.50 Hrs     $450.00
                        Review reply to opening statement of interested parties
12/07/24       MCD      Other Written Motions and Submissions                        0.30 Hrs     $135.00
                        Email correspondence re status conference; review and
                        revise motion for personal electronics exemption.
12/09/24       MCD      Other Written Motions and Submissions                        0.10 Hrs         $45.00
                        Review and file personal devices exemption.
12/09/24       MPM      Analysis and Advice                                          0.20 Hrs     $168.00
                        Review litigation filings and correspondence.
12/09/24       BAPA     Court Mandated Conferences                                   0.20 Hrs     $168.00
                        Correspondence re status hearing
12/10/24       MCD      Other Written Motions and Submissions                        0.80 Hrs     $360.00
                        Review and file response to September fee objections
12/10/24       BAPA     Other Written Motions and Submissions                        0.40 Hrs     $336.00
                        Review response to objections to the special master's
                        fees in the September status report, related
                        correspondence
12/10/24       LFM      Other Written Motions and Submissions                        0.50 Hrs     $162.50
                        Review brief in response to objections to Special Master's
                        fee report, make edits, prepare document for court filing
12/11/24       BAPA     Analysis/Strategy                                            0.20 Hrs     $168.00
                        Communication re upcoming status hearing
12/11/24       LFM      Court Mandated Conferences                                   1.30 Hrs     $422.50
                        Prepare logistics for court ordered status conference,
                        related communications
12/11/24       MTS      Pleadings                                                    0.30 Hrs     $457.50
                        Filings, order, and email review
12/11/24       MCD      Analysis/Strategy                                            0.40 Hrs     $180.00
                        Email correspondence re status conference hearing.
                        Coordinate logistics for room reservation.
12/12/24       MCD      Other Written Motions and Submissions                        2.30 Hrs   $1,035.00
                        Coordinate and correspondence re logistics for status


                                                                                                MFD
       Case 1:17-mc-00151-LPS         Document 1584-1 Filed 03/04/25           Page 415 of 419 PageID
                                                #: 36167
        Pincus, Robert B.
        Re Legal Advice to Special Master in U.S. D

Date           Atty     Description                                                     Hours          Value

                        conference; Review pro hac vice hamotions and cell
                        phone exemptions re the same; Conference call with Weil
                        team re speaking line.
12/12/24       MTS      Pleadings                                                     0.30 Hrs     $457.50
                        Review of filings, orders and emails
12/12/24       NMTA     Other Written Motions and Submissions                         0.50 Hrs     $150.00
                        Prepare pro hac vice motion for E. Keenan, prepare
                        electronics exemption order for E. Keenan, finalize for
                        court filing and service
12/12/24       NMTA     Analysis/Strategy                                             1.40 Hrs     $420.00
                        Hearing prep, prepare binders, coordinate for breakfast,
                        access card activation, delivery of binders to hotel, print
                        court orders for electronics exemption, related
                        communications
12/12/24       BAPA     Dispositive Motions                                           0.50 Hrs     $420.00
                        Correspondence re hearing logistics
12/12/24       LFM      Court Mandated Conferences                                    0.40 Hrs     $130.00
                        Follow up re logistics in preparation for court hearing
12/13/24       NMTA     Analysis/Strategy                                             2.60 Hrs     $780.00
                        Hearing prep, work from 600 N. King Street, assist with
                        food orders and set up, print jobs, be available if needed
12/13/24       MCD      Analysis/Strategy                                             9.50 Hrs   $4,275.00
                        Attend Status conference hearing; coordinate logistics re
                        the same.
12/16/24       MCD      Analysis/Strategy                                             0.20 Hrs         $90.00
                        Review Order re fee objections and responses;
                        correspondence re transcript and filings.
12/16/24       BAPA     Analysis/Strategy                                             0.20 Hrs     $168.00
                        Correspondence re status conference transcript
12/16/24       NMTA     Analysis/Strategy                                             0.20 Hrs         $60.00
                        Review oral order re deadlines, related communications
12/18/24       BAPA     Other Written Motions and Submissions                         0.50 Hrs     $420.00
                        Review, revise, coordinate filing of Special Master's
                        proposal regarding future billing
12/18/24       MTS      Pleadings                                                     0.10 Hrs     $152.50
                        Review emails and filings
12/18/24       LFM      Other Written Motions and Submissions                         0.40 Hrs     $130.00
                        Review proposal re future billing, make final edits,
                        prepare for court filing
12/18/24       MCD      Other Written Motions and Submissions                         0.70 Hrs     $315.00
                        Review and prepare to file statement of proposed billing.
12/20/24       MCD      Analysis/Strategy                                             0.10 Hrs         $45.00
                        Correspondence re joint status report.
12/20/24       NMTA     Analysis/Strategy                                             0.20 Hrs         $60.00
                        Review December 13, 2024 transcript for status report
                        information
12/20/24       BAPA     Other Written Motions and Submissions                         0.30 Hrs     $252.00
                        Correspondence re filing of open issues list
12/23/24       MCD      Analysis/Strategy                                             0.90 Hrs     $405.00


                                                                                                 MFD
       Case 1:17-mc-00151-LPS         Document 1584-1 Filed 03/04/25            Page 416 of 419 PageID
                                                #: 36168
        Pincus, Robert B.
        Re Legal Advice to Special Master in U.S. D

Date           Atty     Description                                                     Hours           Value

                        Review joint status report and exhibits; Assist with filing
                        re the same.
12/23/24       BAPA     Other Written Motions and Submissions                         1.00 Hrs        $840.00
                        Review, revise and coordinate filing of joint status report
12/26/24       MCD      Analysis/Strategy                                             0.20 Hrs         $90.00
                        Review notice of intent to redact; email correspondence
                        with co-counsel re the same.
12/26/24       MTS      Pleadings                                                     0.30 Hrs        $457.50
                        Review of emails and filings (12/24-12/26)
12/26/24       LFM      Other Written Motions and Submissions                         0.30 Hrs         $97.50
                        Review case file for determination of status of possible
                        redactions to 12/13/24 transcript, related communications
                        re status
12/26/24       BAPA     Other Written Motions and Submissions                         0.20 Hrs        $168.00
                        Correspondence re notice of intent to redact transcript
12/27/24       MTS      Pleadings                                                     0.10 Hrs        $152.50
                        Case review of filings and emails
12/30/24       MTS      Pleadings                                                     0.10 Hrs        $152.50
                        Review of filings and emails

                                                                              Total              $23,433.50


        LEGAL SERVICES SUMMARY

        Michael P. Maxwell                                             2.90 Hrs           $2,436.00
        Bindu A. Palapura                                              5.30 Hrs           $4,452.00
        Myron T. Steele                                                2.70 Hrs           $4,117.50
        Malisa C. Dang                                                17.40 Hrs           $7,830.00
        Alyssa G. Frank                                                2.40 Hrs           $1,248.00
        Laura M. Fernandes                                             2.90 Hrs             $942.50
        Nicole M. Tarantino                                            7.40 Hrs           $2,220.00
        Taylor E. Ehret                                                1.50 Hrs             $187.50
                                                                      42.50 Hrs          $23,433.50




DISBURSEMENTS

Through December 31, 2024

1404           Federal Express - Hard Costs                                                           94.17
1410           U.S. District Court                                                                    50.00
1414           Court Reporters - Transcripts                                                       1,945.80
1419           Meals                                                                                 274.00
1448           Professional Services                                                                 134.00



                                                                                                 MFD
   Case 1:17-mc-00151-LPS              Document 1584-1 Filed 03/04/25    Page 417 of 419 PageID
                                                 #: 36169
       Pincus, Robert B.
       Re Legal Advice to Special Master in U.S. D

1469          Parcels - Special Delivery                                                        22.00

                                                         Total Disbursements              $2,519.97




                 Total Due This Bill                                               $25,953.47

                                                        GRAND TOTAL DUE            $25,953.47


                                                        Credit Balance              $4,468.81




                                                                                          MFD
Case 1:17-mc-00151-LPS          Document 1584-1 Filed 03/04/25                 Page 418 of 419 PageID
                                          #: 36170




 CRYSTALLEX INTL CORP V. BOLIVARIAN REPUBLIC OF VENEZUELA
 C/O ROBERT B. PINCUS,
 SPECIAL MASTER OF U.S. DISTRICT COURT
 EMAIL INVOICE TO: BOB PINCUS -
 RBPINCUS@GMAIL.COM
                                                  Amount Remitted $_________________
 Invoice No. 111684
 Date        01/09/2025
 Client No.  15264

   Please return this stub with your payment to ensure proper credit to your account...thank you.


 Fees for Professional Services Rendered through December 31, 2024:                      Invoice No. 111684

   DATE           SERVICE                                STAFF                HOURS             AMOUNT

 12/02/2024    Administrative Services                    Mattson                 3.00     $      540.00
                Post payments from 11/15 to 11/30 and
                process bank reconciliation in QuickBooks.
 12/02/2024    Administrative Services                    Smith                   0.50            325.00
                Emails with Andrea and Bob P. regarding
                delay in September objection deadline,
                expected resolution.
 12/04/2024    Administrative Services                    Mattson                 1.00            180.00
                Post recent payment and send wire payments.
 12/04/2024    Administrative Services                    Smith                   0.50            325.00
                Review correspondence, approve; emails
                with Bob P. regarding status of delay in
                objection deadline.
 12/05/2024    Administrative Services                    Smith                   0.50            325.00
                Recap services for 11/24, emails with Bob P.,
                follow-up correspondence.
 12/05/2024    Administrative Services                    Smith                   0.75            487.50
                Emails with Bob P. regarding 1099 compliance
                for 2024, related; obtain W-9 info, other follow up.
 12/10/2024    Administrative Services                    Mattson                 1.00            180.00
                Post payments from first week of December;
                emails with Jack from Contrarian regarding
                payments allocation and revised statement.
 12/18/2024    Administrative Services                    Mattson                 1.00            180.00
                Post payments from second week of December
                and send wire payments for August fees.
 12/19/2024    Administrative Services                    Mattson                 4.00            720.00
                Send September invoices to AJC's/SPP's;
                respond to email inquiries.
 12/26/2024    Administrative Services                    Mattson                 0.50              90.00
                Post payments.
                                                                 Total For Services              3,352.50
Case 1:17-mc-00151-LPS           Document 1584-1 Filed 03/04/25                Page 419 of 419 PageID
                                           #: 36171




 CRYSTALLEX INTL CORP V. BOLIVARIAN REPUBLIC OF VENEZUELA
 ~Invoice No. 111684                                                                         Page 2


 Fees for Professional Services Rendered through December 31, 2024:

   DATE            SERVICE                                STAFF               HOURS              AMOUNT

 Reimbursable Expenses - QBO Intuit fee for
  December 12, 2024 to January 12, 2025                            $        24.50

                                                  Total For Reimbursable Expenses                     24.50

                                                        CURRENT AMOUNT DUE               $        3,377.00




  SUMMARY OF PROFESSIONAL SERVICES:

   NAME                                  HOURS                   RATE                            TOTAL
 Robert S. Smith                          2.25                  $650.00                        $ 1,462.50
 Andrea E. Mattson                       10.50                  $180.00                          1,890.00

 TOTAL                                    12.75                                                $ 3,352.50




 To pay online by EFT or credit card, please visit our secure payment portal on our website
 (www.santoracpagroup.com) - please click "Pay My Bill" at the top right of the home page.

 We appreciate the opportunity to be of service to you. If you have any questions or concerns regarding
 this invoice, please call our Billing Manager at Ext. 5134 immediately. If your payment is returned due to
 insufficient funds, we will assess a $25 charge.

 A late fee of 1½% per four-week period will be applied to the unpaid balance after 28 days.

      Santora CPA Group, 220 Continental Drive, Suite 112, Newark, DE 19713 (302) 737-6200
